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                                                                                                                                    July 19, 2021


                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                                     Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                           v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/



                                                          FOURTH ANNUAL REPORT

                       OF THE COURT APPOINTED MONITOR (APRIL 19, 2020 - APRIL 18, 2021)




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          Consistent with the Court’s Order of January 29, 2021, the Court Appointed Monitor

   (“CAM”)1 submits this Annual Report for Year Four of the Environmental Compliance Plan

   (“ECP”)2 (“CAM Fourth Annual Report” or “Report”). See Order Setting Status Conference

   Dates and CAM and TPA Report Deadlines (Jan. 29, 2021), Dkt. No. 217 (“Scheduling Order of

   January 29, 2021”). This Report focuses on developments during ECP Year Four: the period

   from April 19, 2020 – April 18, 2021. However, notable developments between April 18 and the

   date of this Report are included.3

   I.     PRELIMINARY STATEMENT

          For well over a year, Carnival Corporation & plc (“Carnival Corp.”) has been a cruise

   company largely without customers.4 During this period, the Company5 has operated massive




   1
    The CAM is Steven P. Solow, a partner at the law firm Baker Botts LLP (“Baker Botts”). The
   CAM retained, among others, Baker Botts and the marine consulting firm Martin & Ottaway as
   advisors to the CAM (collectively, the “CAM Team”).
   2
    Any terms not defined in this Report take the definitions provided in the ECP, the Joint
   Glossary of Terms (Mar. 30, 2018), Dkt. No. 58-1, or past CAM reports.
   3
     The CAM provided the Company and the United States (“U.S.”) Department of Justice
   (“DOJ”) a copy of this Report in advance of its submission for their review and comment. See
   Company Response to DRAFT CAM Fourth Annual Report (July 15, 2021) (“Company Draft
   Report Comments”). The CAM took the comments received into account; however, the
   comments did not alter the substance of the Report.
   4
    Limited passenger cruises in Europe began in late 2020 (before being temporarily suspended by
   early 2021), and again in March 2021. See CAM January 2021 Quarterly Report at 11-12. As
   noted below, the Company is in the process of resuming cruising on a wider scale in the U.S.,
   Caribbean, and Europe.
   5
    References to “the Company” refer collectively to all corporate entities under the Carnival
   Corp. corporate umbrella. These include All Brands Group, the Carnival Corp.-level entity that
   oversees the Company’s Operating Groups and Brands. Operating Groups (sometimes called
   “Operating Lines” or “Operating Companies”) are the four divisions of the Company, each of
   which operates one or more of the Company’s nine Brands: (1) Carnival Cruise Line, which
   operates the Carnival Cruise Line Brand; (2) Carnival UK, which operates the Cunard and P&O
   Cruises UK Brands; (3) Costa Group, which operates the AIDA and Costa Crociere (“Costa”)
   Brands; and (4) Holland America Group, which operates the Holland America Line, Princess
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   ships with skeleton crews. Ships built to hold thousands of guests and crew members have been

   waiting out the pandemic with crews of a little over one hundred.

          At the most recent Status Conference in April, the Court heard from the Third Party

   Auditor (“TPA”)6 about the efforts of these shipboard crews, supported by shoreside personnel,

   to maintain ships in a state of readiness to resume guest operations. The Court sought assurance

   that, as ships return to U.S. waters, they be capable of operating in compliance with the ECP and

   terms and conditions of probation. In a series of Orders, the Court required that the Company

   certify the status of each ship in the following areas, among others:

          o   Operability and condition of pollution prevention equipment.

          o   Condition of piping and other ship components.

          o   Availability of critical environmental spare parts for pollution prevention equipment.

          o   Sufficiency of staffing in the deck (navigational) and technical (engineering) teams.

          o   Adequacy of voyage planning support.

          o   Adequacy of waste offload support.

          o   Status of planned (preventive) maintenance tasks.

   See, e.g., Agreed Order on October 16, 2020 Status Conference (Oct. 21, 2021), Dkt. No. 207

   (“Compliance Certification Disclosure Order”).

          The Company provided voluminous information in response to the certification

   requirements. The TPA reviewed this information, and, within the limits of remote interviews

   and document reviews, reported that, on many of the items, the crews “are doing an unbelievable

   job in the pandemic era, finding ways to fix things and doing it quite well.” Status Conf. Tr. at


   Cruises, P&O Cruises Australia, and Seabourn Brands. This Report generally refers to
   Operating Groups and Brands collectively as “Brands.”
   6
    The TPA is ABSG Consulting Inc., an advisory and technical services provider for the marine
   and other sectors.

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   27 (Apr. 30, 2021). The TPA concluded that “in general” the dozens of ships returning to U.S.

   waters were “in good working order” and “probably ready to go back into service,” provided the

   ships are adequately staffed and nonconformities identified by the TPA are addressed, including

   repairs to Exhaust Gas Cleaning Systems. Id. at 31; see also infra, Part VI.C.2. This is a notable

   achievement given the economic reality of having to reduce crew and shoreside support staff. 7

          As of the date of this Report, in addition to its limited cruise operations in Europe, the

   Company has announced plans to resume cruising on a broader scale in the U.S., Caribbean, and

   Europe, “using a gradual, phased-in approach, with sailings announced on 42 ships to date

   through the end of fiscal year 2021.” See Carnival Corporation Brands Resume Cruising in US,

   Caribbean and Europe (June 23, 2021), https://www.carnivalcorp.com/news-releases/news-

   release-details/carnival-corporation-brands-resume-cruising-us-caribbean-and. On July 5, 2021,

   the first Carnival Cruise Line ship in almost 16 months sailed from the Port of Miami, Florida,

   on a cruise including stops in the Caribbean. Two other Carnival Cruise Line ships have started

   cruising from the Port of Galveston, Texas. See Carnival Breeze Returns To Service From

   Galveston Today; Third Carnival Cruise Line Ship To Resume Guest Operations (July 15, 2021),

   https://www.carnivalcorp.com/news-releases/news-release-details/carnival-breeze-returns-

   service-galveston-today-third-carnival. By the end of this month, at least five Carnival Cruise

   Line ships are expected to resume cruising from ports in Florida, Texas, and Washington. See

   Carnival Cruise Line Returns To Guest Operations From PortMiami, Bolstering Local

   Economic Impact (July 4, 2021), https://www.carnivalcorp.com/news-releases/news-release-



   7
    At the outset of the pandemic, the Company pledged to use the pause period “to ensure that
   when the ships return to service, they will come back stronger and better equipped” and
   “stronger, better, smarter.” Given the challenges presented by the pandemic, that was an overly
   optimistic promise that may never have reflected reality. See infra, Part VI.B.1(b).

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   details/carnival-cruise-line-returns-guest-operations-portmiami. By October, Carnival Cruise

   Line expects to have a total of 15 ships sailing from various U.S. ports. See Carnival Cruise

   Line Makes Plans For Additional Ship Restarts In September And October (July 19, 2021),

   https://www.carnivalcorp.com/news-releases/news-release-details/carnival-cruise-line-makes-

   plans-additional-ship-restarts.

          As more of the Company’s ships resume guest service, a new set of challenges begins.

   Even with ships in “good working order,” bringing on thousands of passengers and crew

   members while maintaining safe and compliant operations will be a complex and multi-layered

   endeavor. As the Company recognizes, “many crew members will be rejoining ships after a

   significant time away from the operation. New medical and public health protocols need to be

   learned and mastered, shipboard equipment and systems need to be tested and made ready, and

   refresher training for core operations must be completed.” HMP/01/2021 Guest Operations

   Return to Service Requirements. During this time, the CAM and TPA teams have resumed in-

   person ship visits and audits.

          Relief at the return to work for many crew members will be overlaid with the recognition

   that the past 16-18 months have bought significant loss and lasting trauma. The cruise industry

   was the seeming face of the pandemic in the early part of 2020, and the impacts of COVID-19

   persist. In addition to the sickness and fatalities suffered in those early days, as recently as June

   28, 2021, the CAM Team learned of the COVID-19-related death of an engineer who was known

   to our team. As crew members return to ships, the Company will need to be prepared to address

   the potential impacts of trauma on individuals, as well as on ship culture and operations.

          When this Report is provided to the Court, fewer than nine months will remain in the

   term of probation. The Company today is, in many respects, a different company than the one



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   sentenced by the Court in April 2017. It is different in ways that had not been required or

   contemplated by the ECP or by the original terms and conditions of probation.8 These changes,

   detailed throughout this Report, include:

          o   Developing a new Corporate Vision Statement and a set of coordinated Brand core
              values that, for the first time, articulated a corporate-wide emphasis on “compliance,
              environmental protection,” and “health, safety and well-being” as being as important
              as, and the “foundation” for, the well-established goals of delivering “unmatched
              joyful vacations for our guests” and “outstanding shareholder value.”9

          o   Increasing the level of visibility and engagement on compliance issues by the Board
              of Directors10 and top executive leadership.11

          o   Hiring a new member of the Carnival Corp. Board of Directors with significant
              compliance experience.

          o   Establishing a Compliance Committee of the Board of Directors, in addition to the
              existing Audit Committee, Health, Environment, Safety & Security (“HESS”)
              Committee, Compensation Committee, and Nominating & Governance Committee,
              as well as retaining independent outside counsel to advise the Compliance
              Committee, independent of management.




   8
     Some of the changes noted below were required by the agreement resolving the probation
   revocation petition. See Proposed Agreement for the Court’s Consideration Resolving
   Superseding Petition for Summons for Offender Under Supervision Dated April, 26, 2019 (June
   3, 2019), Dkt. No. 134 (“Probation Revocation Agreement”).
   9
    See, e.g., Carnival Corporation – Vision Statement (“Corporate Vision Statement”),
   https://www.carnivalcorp.com/corporate-information/mission-and-history.
   10
      Carnival Corp. is a dual-listed entity on the New York and London stock exchanges. It
   consists of Carnival Corporation, incorporated in Panama in 1972, and Carnival plc, incorporated
   in England and Wales in 2000. The two companies operate as a single economic enterprise with
   a single executive management team and identical Boards of Directors. See CAM Third Annual
   Report at 17, n.20. This Report refers to the Boards of Directors in the singular as the “Board of
   Directors.”
   11
      “Top executive leadership” in this Report generally refers to the Carnival Corp. President and
   Chief Executive Officer (“CEO”), Brand Presidents/CEOs, and other C-Suite level executives at
   All Brands Group and the individual Brands. “Top leadership” generally refers to top executive
   leadership as well as the Board of Directors. “Senior management” generally refers to personnel
   at the Director level and above.

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          o   Ongoing efforts by the Board to establish a means for holding senior executives
              accountable for meeting compliance goals, including through potential use of
              performance-based compensation.

          o   Ongoing efforts by the Board to set clear expectations and concrete goals for culture
              change efforts, aimed at addressing the shortcomings identified in the environmental
              compliance culture assessment, based on a survey of more than 70,000 Company
              employees (a response rate of approximately 75%). See Environmental Compliance
              Culture Assessment of Carnival Corporation 2018/2019 (Aug. 28, 2019)
              (“Environmental Compliance Culture Assessment”).

          o   Creating the Chief Ethics & Compliance Officer position, reporting directly to the
              Carnival Corp. CEO and to the Audit, HESS, and Compliance Committees of the
              Board of Directors.

          o   Growing the Ethics & Compliance organization under the Chief Ethics & Compliance
              Officer to over 60 positions across All Brands Group and the individual Brands, and
              largely preserving staffing and resources for the organization throughout the
              pandemic, despite major cutbacks across the corporation.

          o   Appointing a new Chief Operations Officer (a position that was previously eliminated
              in December 2016 after the individual in that role took another position in the
              Company), who reports directly to the Carnival Corp. CEO and has “oversight of
              major operational functions, including global maritime, global ports and destinations,
              global sourcing, global [information technology (‘IT’)] and global auditing.” CAM
              Third Annual Report at 50 (quoting Company press release).

          o   Appointing a new General Counsel who has stated a commitment: to “act as the
              conscience to our business leaders;” to help “lead in our efforts to continuously
              improve on compliance and environmental protection;” and to reshape the legal
              function into one capable of providing legal counsel in support of these goals for a
              global organization. See Status Conf. Tr. at 14-16 (Apr. 30, 2021).

          o   Recognizing the role that a diverse, equitable, and inclusive workforce plays in
              creating a sustainable culture of compliance and in effectively managing risk. Should
              the Company follow up on this recognition with meaningful concrete actions, it
              would represent historic changes for the cruise and broader maritime industry.12

          o   Ongoing progress toward meeting food waste and single-use plastic reduction goals.


   12
      According to the Company’s definitions: diversity includes “the representation of a range of
   backgrounds, traits, and experiences in a company’s workforce;” equity includes “the fair
   treatment, access, opportunity, and advancement for all people;” and inclusion includes “creating
   an environment of involvement, respect, participation and connection.” See Carnival
   Corporation Diversity, Equity, and Inclusion – Scope and Strategy (Jan. 7, 2021),
   PCL_ECP00178135-47 (“DEI Presentation”) at PCL_ECP0017838.

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           o   Ongoing progress toward equipping ships with technologies designed to eliminate or
               minimize the risk of discharging plastics and other contaminants in food waste.

           o   Ongoing efforts to develop IT and data tools to support compliance efforts.

           o   Ongoing efforts to support the continued development of the already impressive,
               cross-brand corps of Environmental Officers beyond ECP requirements. This
               includes:

                      Creating a Fleet Environmental Officer program, modeled on the Company’s
                       various “Fleet” programs in which experienced Captains, Chief Engineers,
                       and Human Resources (“HR”) Managers travel among the ships to provide
                       advice, counsel, and support to their shipboard counterparts.

                      Given that the Environmental Officer role does not fit neatly within any of the
                       traditional “deck,” “engine,” or “hotel” divisions on cruise ships, the Fleet
                       Environmental Officer program provides both support and mentorship to
                       shipboard officers, as well as a potential career path option for Environmental
                       Officers.

           o   Creating a new internal investigation group, called the Incident Analysis Group,
               reporting directly to the Chief Ethics & Compliance Officer, in response to what the
               Company acknowledges are longstanding shortcomings in its internal investigation
               program.

           o   Recognizing the need for more holistic approaches in certain critical compliance
               areas, including risk management and training, and beginning to explore possible
               governance frameworks in these areas.

           At the same time, the Company, as it readily admits, still has a long way to go. See, e.g.,

    Status Conf. Tr. at 11 (Apr. 30, 2021) (statement by Carnival Corp. CEO to Court that “we have

    worked really hard, but . . . we have a ways to go”). In this context, since the start of probation,

    Company employees, ship and shore, have expressed their needs, concerns, and frustrations to

    the CAM and TPA teams, as well as through the more than 70,000 responses to the

    environmental compliance culture survey. They have described concerns about whether there

    will be continuing support and resources for compliance efforts and programs, such as

    Environmental Officers; they have spoken about the challenge of facing issues of race and

    gender discrimination which have a long history in the maritime world, exacerbated by being



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    within the confines of a ship at sea; they have expressed frustrations about the lack of modern IT

    and data tools, and the costs imposed on even the lowest-paid crew members to access the

    internet in order to stay in touch with families over the course of months at sea; they have raised

    concerns about the durability of the Company’s commitment to long-term culture change; and

    they have shared their sense that the Company does not prioritize meeting the operational and

    compliance needs of the ships to the same extent as achieving other business goals (such as

    delivering a great guest experience and outstanding shareholder returns). The CAM and the TPA

    have synthesized those observations into more than 1,000 pages of prior CAM and TPA reports.

    More than any other input, these reports reflect the extraordinarily open approach of the

    Company’s employees to the monitorship, and both the CAM and TPA teams are deeply

    appreciative of the trust in our efforts shown by these individuals.

           As the CAM and TPA reports make clear, the Company’s top leadership began the period

    of probation with a marked and unhelpful tendency to take a defensive stance, seeking to

    minimize or deflect such issues—prompting the Court to remind the Company at one point that it

    “is a criminal . . . a recidivist criminal.” Status Conf. Tr. at 4 (Apr. 10, 2019). These behaviors

    reflect the types of “organizational defensive routines” that are not uncommon when leaders are

    faced with issues that are complex, embarrassing, or threatening. See C. Argyris, OVERCOMING

    ORGANIZATIONAL DEFENSES: FACILITATING ORGANIZATIONAL LEARNING (1990) at 25.

    Unfortunately, these attitudes hindered the Company’s progress in the early years of probation.

    Much of the progress described above occurred only after the Company faced the revocation of

    its probation in March 2019.

           Now, with increasing frequency across the Company, many top leaders have indicated

    that they hear what employees have been saying, and are willing to recognize and confront their



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    own past shortfalls and missteps in providing compliance support to the ships. In moving away

    from earlier misguided efforts to try to hide or minimize flaws (such as attempts to “ace” TPA

    audits through undisclosed ship visit programs that resulted in two probation violations), many

    top leaders have come to accept that these issues present an opportunity for them to lead the

    Company towards a culture of trust, care, and openness—an essential foundation for a

    sustainable compliance culture.13

           During these final months of probation, the CAM, at the Court’s direction and consistent

    with the ECP, will focus on the Company’s capabilities for developing and maintaining a

    sustainable compliance program and culture. See ECP § VI.F.5. The restart of guest operations,

    and the impending end of probation, provides an opportunity for the Company’s top leadership

    to pivot from a focus on the ECP and external oversight to a focus on leading change in both

    corporate governance and corporate culture to support compliance—and, consequently, the

    freedom to operate—far beyond the probationary period.

    II.    INTRODUCTION

           A.      Report Overview

           Part I of this Report opened with the CAM’s preliminary statement. Part II includes an

    overview of the CAM Team’s methodology and activities during ECP Year Four, as well as an

    Executive Summary of the CAM’s ECP Year Four findings, both as to progress and as to

    barriers and opportunities for improvement. Parts III-VII assess the Company’s “capabilities to

    meet the objectives of [the] ECP” in areas of focus identified by the Court and the CAM. See




    13
      Despite these positive steps, employees across the Company still report in confidence that they
    are at times criticized or questioned for being “too open with the CAM team.” See Employee
    Interview/Call Notes. These reports, though few in number, continue to raise concerns about the
    long-term commitment of top leadership.

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    ECP § VI.F.3(b).14 Finally, Part VIII assesses the external audit function performed by the TPA,

    as required by the ECP. See ECP §§ VI.F.1-3.

           The format and structure of this Report differ from earlier CAM reports, in an effort to

    provide more holistic assessments of the Company’s compliance efforts. As directed by the

    ECP, the CAM’s focus during ECP Years Four and Five is increasingly forward-looking,

    analyzing not only the Company’s past and current compliance performance, but also its

    capabilities for “a continual improvement process” after probation ends. See ECP § VI.F.5. To

    that end, Parts III-VII below have the following three-part structure:

           o   Part A: Summarizes the CAM’s understanding of the Company’s post-ECP goals for
               itself in the relevant area.

                   The goals detailed in this Report were compiled by the CAM as of result of its
                   communications with top leaders and senior management. However, in reviewing
                   the draft of this Report, the Company stated that, while it “agree[s] with many of
                   the goals,” it “cannot commit to the goals without further discussion across the
                   organization.” See Company Draft Report Comments. The Company further
                   stated that it “has not yet[] issued a ‘Post ECP-Vision statement,’ that has been
                   reviewed or subjected to commentary from employees, management or the board
                   or formally adopted.” Id. That said, the Company is taking steps toward realizing
                   many of the goals—some of which involve considerable expenditures of time and
                   resources.

           o   Part B: Summarizes the CAM’s findings of the Company’s progress toward
               achieving these goals.

           o   Part C: Summarizes the CAM’s findings of remaining barriers and opportunities
               for improvement toward achieving these goals.

           This Report assumes familiarity with the background of this matter, as well as the

    developments discussed in earlier CAM reports, the most recent of which was submitted on

    January 20, 2021. For a detailed overview of the case background, including the Company’s




    14
      ECP citations in this Report are to the second amended version that went into effect on June 3,
    2019, unless otherwise noted.

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    corporate history and organization, refer to the CAM Third Annual Report. See CAM Third

    Annual Report at 15-25.

           B.      CAM Team Methodology and Activities

           As described in the most recent CAM report, in light of the extraordinary circumstances

    brought on by the COVID-19 pandemic, the CAM and the Company, with the Court’s approval,

    agreed to modify the process for CAM reporting and for CAM and TPA visits and audits. These

    changes included shifting to a program of remote visits and audits beginning in March 2020, as

    well as foregoing two CAM Quarterly Reports (for September 2020 and April 2021) and instead

    engaging in more frequent calls, interviews, workshops, presentations, and other discussions and

    exchanges, both formal and informal. See CAM January 2021 Quarterly Report at 6-8;

    Scheduling Order of January 29, 2021. In the CAM’s view, this has continued to be a mutually

    productive process, despite the challenging conditions, with high levels of cooperation and

    engagement from Company employees, ship and shore. The CAM remains deeply appreciative

    of the efforts of the many dedicated individuals involved in supporting CAM Team visits,

    workshops, document requests, and other activities—with special thanks to the Environmental

    Corporate Compliance Manager and the rest of the Ethics & Compliance team, as well as the

    Environmental Officers.

           In accord with the Court’s Order of June 2, 2020, the CAM Team conducted the

    following remote ship and shoreside visits during ECP Year Four, relying primarily on electronic

    document review and videoconferencing. See ORDER RE: COVID-19 Impacts and Probation

    Obligations (June 2, 2020), Dkt. No. 189:




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           o 15 virtual ship visits, including one accompanying the TPA and one accompanying
             the Company’s internal Risk Advisory and Assurance Services (“RAAS”) auditors.15

           o 5 virtual shoreside office visits, including one accompanying the TPA and one
             accompanying RAAS.

           Overall, as in prior years, these visits ran smoothly, with good cooperation from both ship

    crews and shoreside personnel, including IT and administrative support staff. As discussed in

    the last CAM report, remote visits carry inherent limitations compared to in-person visits.

    Remote ship visits do not provide the same opportunity for in-person inspections or observations

    of equipment, spaces, and processes (such as food waste separation or the operation of pollution

    prevention equipment). Remote ship and shore visits alike also must proceed in a more formal

    fashion because interactions are scheduled in advance. As a result, there are no informal, organic

    interactions.16 Notwithstanding these limitations, the virtual visits provided the CAM Team with

    valuable insights into ECP areas of focus, including support for, and barriers to, a sustainable

    compliance culture. See CAM January 2021 Quarterly Report at 7-8.

           In June 2021, the CAM and TPA, with the Court’s approval and working in close

    coordination with the Company, resumed in-person visits and audits. From June 13-16, 2021,

    the TPA, accompanied by the CAM Team, performed its first in-person audit of a Covered

    Vessel since the start of the pandemic. From June 28-30, 2021, the CAM Team performed its




    15
      A detailed overview of the RAAS function is provided in Part VII below. See infra, Part
    VII.B.4.
    16
       The nature of videoconferencing software can also increase the difficulty associated with
    interviewing individuals who do not speak English as their first language. The CAM Team has
    experimented with using a remote interpreter service for certain interviews (in particular, with
    non-officer crew members known as “ratings”), with generally positive results. This is one area
    where virtual visits provide an opportunity not available during in-person visits.

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    first in-person visit of a Covered Vessel. The CAM and TPA will work with the Company to

    schedule additional in-person visits and audits.17

            In addition to the activities discussed above, the CAM Team has continued both to

    perform an ongoing review of documents produced by the Company and to receive confidential

    communications. The CAM Team also remains in regular communication with the TPA and the

    Interested Parties,18 including DOJ and the Office of Probation, and reports to the Interested

    Parties and the Court as required by the Court and the ECP.

            In ECP Year Five, the CAM will issue the following reports: (1) the CAM Fifth Annual

    Report, to be submitted to the Court by January 19, 2022; and (2) a final CAM Closing Letter, to

    be submitted to the Court by April 11, 2022. The term of probation will end on April 18, 2022.19

    See Scheduling Order of January 29, 2021.

            C.      Executive Summary

                    1.     CAM FINDINGS: PROGRESS

    The CAM’s findings related to the Company’s progress are:

        Corporate Governance and Leadership

                 1) Enhanced Compliance Expertise and Engagement by the Board of Directors:
                    Since the resolution of the probation revocation proceedings in June 2019, the
                    Board of Directors has taken significant steps to enhance its knowledge and

    17
       In accord with Court’s Order of June 8, 2021, to “assist in this return to in-person visits and
    audits,” the CAM and TPA teams have discretion to schedule some or all in-person visits and
    audits as “announced,” with advanced notice to the Company, in lieu of the “unannounced” visits
    and audits previously ordered by the Court. See Order on July 28, 2021 Status Conference (June
    8, 2021), Dkt. No. 223 at 2-3.
    18
      The Interested Parties are “[t]he Government, the United States Probation Office for the
    Southern District of Florida, the Seventh Coast Guard District (dp), and the U.S. Coast Guard
    Office of Investigations & Analysis.” ECP at § I.D.
    19
       Under Title 18 of the U.S. Code, the term of probation cannot be extended beyond the five-
    year period that will end on April 18, 2022. See 18 U.S.C. § 3564(d) (probation term may not be
    extended beyond maximum authorized term); see also id. at § 3561(c)(1) (maximum authorized
    term of probation for a felony conviction is five years).

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               engagement on issues related to its compliance oversight duties. These steps
               included: hiring a new Board member with significant compliance experience;
               forming a new Compliance Committee of the Board with its own outside counsel;
               and participating in a series of compliance training sessions. The Board has also
               agreed to take on responsibility for setting clear expectations and concrete goals
               for senior executives on culture change, which remain in progress. Perhaps most
               importantly, the Board has announced that it will establish a means to set concrete
               compliance goals for senior executives, and to hold them accountable for meeting
               those goals, including through performance-based compensation.

            2) Increased Visibility and Engagement on Compliance Issues by Top Executive
               Leadership: Similarly, the Company’s top executive leadership at both the All
               Brands Group and individual Brand levels has significantly increased its visibility
               and engagement on compliance issues since the resolution of the probation
               revocation proceedings. This includes frequent and consistent messaging, both
               within and outside the Company, on the importance of compliance, environmental
               protection, and health, safety, and well-being as the Company’s highest
               responsibilities and top priorities. Observable behavior and concrete actions by
               top leadership in support of this new messaging is necessary if compliance and
               environmental protection are to join the long-standing priorities of great guest
               experience and breakthrough shareholder returns.

                       In addition, throughout the pause, many senior leaders, including Brand
               Presidents and top Carnival Corp. executives, have made unprecedented efforts to
               engage directly with crew members on the ships, including through virtual town
               hall-style sessions, video updates, and in-person ship visits. Across the Brands,
               these contacts have been seen as welcome engagement, especially from deck and
               technical personnel, who have often complained that the focus of management is
               too often skewed towards the guest-facing side of the business. The Company’s
               top executive leadership has also agreed to take on responsibility for leading
               culture change efforts, setting culture strategy, and being held accountable for
               delivering results. These efforts remain in progress.

            3) New General Counsel and Realigned Global Legal Services Group: In March
               2021, the Company appointed a new General Counsel of Carnival Corp. The
               individual assuming this position has stated a commitment to act as the
               “conscience” to senior management, and to work with Ethics & Compliance,
               RAAS, and other departments to improve the Company’s compliance and
               continuous improvement efforts. The new General Counsel has also committed to
               revamping the legal function so that it has the structures and resources needed to
               provide legal counsel in support of these goals. As the Company’s employees
               have observed, the legal organization has historically been both under-staffed and
               insufficiently integrated with other departments and across the Brands.
               Realignment efforts are underway. For example, each Brand’s general counsel or
               legal lead now reports directly to the Carnival Corp. General Counsel, in addition
               to their current Brand business leaders. New in-house positions have also been


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                  created for a Global Maritime Counsel (filled) and Global Compliance Counsel
                  (recruitment underway).

              4) Establishment and Continued Support of the Ethics & Compliance Group:
                 In the Probation Revocation Agreement accepted by the Court, the Company
                 agreed to create the new position of Chief Ethics & Compliance Officer, reporting
                 directly to the Carnival Corp. CEO and the Board of Directors. The individual
                 serving in this role took office in August 2019. In establishing this C-Suite level
                 position, the Company placed compliance on equal footing as operations, at least
                 structurally, for the first time. The Company has since grown the Ethics &
                 Compliance group to over 60 positions across All Brands Group and the
                 individual Brands. Throughout the pandemic, the Company has continued to
                 provide support and resources for the Ethics & Compliance group, despite
                 massive reductions in personnel and resources across the corporation. In the less
                 than two years since the Ethics & Compliance group was established—most of it
                 over the most challenging period in the Company’s history—substantial progress
                 has been made in many areas, as highlighted throughout this Report.

       Culture

              5) Commitment to Measuring and Enhancing Compliance Culture: As detailed
                 in earlier CAM reports, the Company supported the efforts of the CAM and the
                 CAM’s maritime culture expert to conduct a first-of-its-kind environmental
                 compliance culture assessment based on a survey of more than 70,000 ship and
                 shoreside Company employees. The results, finalized in August 2019, revealed
                 opportunities for improving the Company’s compliance culture, especially in the
                 areas of trust, care, and openness. To its credit, the Company’s top leadership
                 accepted these results, and directed the Ethics & Compliance team to prepare a
                 plan to address the findings. The Chief Ethics & Compliance Officer retained an
                 outside consultant to support this effort. As an initial step, the consultant worked
                 with the Company to craft a new Corporate Vision Statement. The consultant
                 also worked with the Company on developing a Culture Action Plan. Despite
                 missed opportunities and delays, the plan has been finalized and is now being
                 implemented.

                         As planned, the CAM’s retained culture expert will administer a second
                  survey before the end of the period of probation in order to assess the Company’s
                  progress in supporting a sustainable compliance culture.

              6) Efforts to Improve and Clarify Culture Change Governance: Recognizing
                 the need for better coordination and consistency over its culture change efforts,
                 the Company finalized a culture governance framework in January 2021. Under
                 this framework, the Company’s top executive leadership has agreed to take on
                 ownership and accountability over culture change efforts. Importantly, the
                 framework also recognizes diversity, equity, and inclusion (“DEI”) as central to
                 broader culture improvement efforts. The framework has not yet been fully


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                  implemented, as efforts by the Board to set clear expectations and concrete goals,
                  and by top executive leadership to set culture strategy, remain in progress.

               7) Culture Action Plan Implementation: In August 2020, the Company produced
                  a final Culture Action Plan in response to the findings of the Environmental
                  Compliance Culture Assessment. The plan identifies a range of activities, from
                  awareness campaigns to training programs to crew wellness initiatives, many of
                  which are underway. The CAM continues to recognize the hard work and
                  dedication of the personnel working to improve culture and implement the
                  Culture Action Plan. These efforts continue to be led primarily by the Brands,
                  working in coordination with All Brands Group.

       Diversity, Equity, and Inclusion

               8) Commitment to Enhancing Shipboard DEI: The Company has acknowledged
                  that it has an opportunity to become an industry leader in addressing the historic
                  racial, ethnic, and gender disparities in shipboard officer positions which
                  characterize the maritime industry as a whole. The Company’s top leaders,
                  including the Carnival Corp. CEO, have repeatedly stated a commitment to DEI
                  in both internal and external communications. However, clear expectations and
                  accountabilities have yet to be established by top leadership. As the Company
                  returns to service, it has an opportunity to focus on DEI as a meaningful way to
                  better manage risk and compliance—in addition to being a moral, legal, and
                  business imperative.

               9) Integrating DEI into the Culture Action Plan and C.A.R.E. Framework: As
                  noted above, the Company has incorporated DEI as a central pillar of its culture
                  governance framework. DEI activities that have been carried out or are underway
                  under the Culture Action Plan include: integrating DEI factors into the selection
                  criteria developed by the Brands for making re-hire decisions for ship and shore
                  employees as operations resume; integrating DEI factors into other aspects of the
                  HR lifecycle, such as job applications and performance evaluations; and
                  launching a program of Brand-led “Courageous Conversations” about culture and
                  DEI issues. In addition, the Company has developed a “C.A.R.E. Framework,”
                  which is designed to require the systematic consideration of DEI or culture
                  impacts when making business decisions, and for those decisions to be re-
                  evaluated if there are unintended DEI or culture impacts. It remains unclear,
                  however, what impact the C.A.R.E. Framework is having in practice. While the
                  CAM has heard the strongly stated commitment to DEI expressed by many Brand
                  leaders involved in developing and implementing the Culture Action Plan and
                  C.A.R.E. Framework, these individuals appear to operate in the absence of clear
                  vision or direction from the All Brands Group.

       Support for Ship Operations

               10) Pause Priorities Plan Implementation and Fleet Readiness: After the onset of
                   the pandemic, the Company developed a “Pause Priorities Plan,” described as “a

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               list of priorities” during the pause period “to ensure that when the ships return to
               service, they will come back stronger and better equipped” and “stronger, better,
               smarter.” See infra, Part VI.B.1. The Pause Priorities Plan sets forth a range of
               initiatives under four categories: (1) Environmental; (2) Investigations;
               (3) Culture; and (4) Training. Numerous actions have been implemented, or are
               underway, under this plan that are designed to help support ship operations,
               including equipment installations and repairs. As directed by the Court, the
               Company submitted to the Interested Parties a series of certifications for ships
               returning to U.S. waters summarizing the status of 12 specific items from the
               Pause Priorities Plan. The TPA’s review of these certifications indicated that the
               ships returning to U.S. waters are generally capable of operating in compliance
               with the ECP and environmental laws, provided the ships are adequately staffed
               and nonconformities identified by the TPA are addressed, including repairs to
               Exhaust Gas Cleaning Systems. Meeting its obligations under the Court Orders
               was a significant achievement—especially for the shipboard crews, who the TPA
               found were doing “an unbelievable” and “amazing” job. See id. Whether the
               ships are coming back “stronger, better, smarter” as originally promised by the
               Company’s top leadership, however, is difficult to assess.

            11) Continued Food Waste Management Progress: The Company continues to
                make tangible progress on improving its shipboard food waste management. This
                includes remaining on track to meet or exceed its Probation Revocation
                Agreement commitments to: (1) reduce the purchase and consumption of single-
                use plastic items on its ships by 50% by December 31, 2021; (2) reduce the total
                weight of food waste generated on its ships by 10% by December 31, 2021; and
                (3) commit a minimum of $20 million in capital expenditures throughout the
                remainder of probation to optimize food waste management, which the Company
                has elected to do primarily through purchasing and installing food waste digesters
                on the majority of its ships. As discussed below, however, recent concerns have
                emerged related to certain aspects of food waste management processes, including
                food waste weighing practices and digester operations. Active investigations and
                reviews into these issues are underway.

            12) IT and Data Improvements: Recognizing its need for more centralized,
                modern, and data-driven strategies, the Company is continuing to move towards
                implementing a global, corporate-wide IT strategy. The Company also continues
                to make efforts to develop and implement IT and data tools designed to help
                improve both operations and compliance. Although progress on these efforts has
                generally been slow, some significant progress on certain efforts was made during
                ECP Year Four, including the development of dashboards that can provide
                analytics related to various operational and compliance issues. The Company also
                recently approved additional resources to complete the development of its Marine
                Assets Strategy Transformation (“MAST”) initiative a year ahead of the original
                pre-pandemic schedule. This project is designed to result in a single corporate-
                wide system for managing planned maintenance tasks and spare parts.



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            13) Waste Vendor Assessment Program Improvements: In March 2020, the
                Company launched a revised, corporate-wide waste vendor assessment program,
                prompted by multiple RAAS and TPA audit findings that the Company was not
                assessing third-party waste vendors as required by its internal procedures—and
                contrary to assurances in its public Sustainability Reports. In ECP Year Three,
                the CAM observed that the Company’s updated program improved upon its
                previous practice, but that it may be akin to the “check-the-box” approach that
                DOJ has cautioned against. In ECP Year Four, the Company made some
                meaningful strides with its waste vendor assessment program. These include
                revising its internal procedures to clarify, among other changes, the criteria for
                determining if a vendor should be suggested for a site visit, as well as the criteria
                for prioritizing site visits to the highest-risk vendors. Ongoing opportunities for
                improvement include: developing procedures for conducting, assessing, and
                documenting site visits; establishing protocols for performing negative media
                review searches of vendors that are designed to capture a wider range of potential
                hits; establishing a formal process for shipboard personnel to identify and report
                issues or concerns with waste vendors; and establishing a formal process for
                shoreside personnel to track or follow-up on such reports.

            14) Establishing a (Limited) Management of Change Procedure: Throughout the
                period of probation, crew members from across the Company have reported
                concerns to the CAM Team about the additional workload and demands
                associated with new Company procedures and initiatives. Unlike many other
                large organizations, Carnival Corp. has historically lacked a formal “Management
                of Change” process to evaluate and manage the potential impacts of such changes.
                The Company has recognized this shortcoming, and, in January 2021, published a
                corporate-wide Management of Change procedure, which became effective on
                April 30, 2021. The current procedure, however, is narrowly scoped, limited to
                “technical installation projects” on ships that result in “permanent system
                changes.” See infra, Part VI.B.5. Employees have raised concerns to the CAM
                Team about the program’s limited scope, as well as the lack of coordination and
                guidance from All Brands Group on implementing the program. The Company
                reports that it “intends to expand the scope over time,” but the Company has not
                provided a timetable for doing so. Company Draft Report Comments. A fully
                integrated Management of Change process—one that permeates all aspects of the
                Company’s actions and is applied consistently throughout the organization—
                would help address concerns about workloads and competing priorities, and also
                help with efforts to enhance management accountability, as it would require an
                assessment of how changes in processes, materials, budgets, and staffing impact a
                range of pre-existing obligations.

            15) Efforts to Improve Shore/Ship Communications Governance: Since the start
                of probation, officers and other crew members have shared frustration to the
                CAM Team over the massive volume of communication that flows largely
                uncontrolled from shoreside offices to the ships. At the same time, shipboard
                personnel report that their communications to shoreside often go unacknowledged
                and unaddressed. The Company’s internal RAAS auditors have identified similar

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                issues. The Company has recognized the need to address these communication
                flow problems, which are not unique to the Company or the cruise industry. A
                working group has been established to develop a strategy for improving shore-to-
                ship communications, building upon the prior work by RAAS. This effort
                remains in progress.

       Continuous Improvement

             16) No Repeat of the Underlying Offenses: As in prior years, the CAM is not aware
                 of any evidence of a recurrence on any of the Company’s Covered Vessels of the
                 same criminal conduct that occurred on the Caribbean Princess. However,
                 violations of environmental laws and the ECP persist. These include: prohibited
                 discharges and emissions; inoperable pollution prevention equipment; and
                 recordkeeping errors, including potential intentional falsifications. ECP Year
                 Four also saw notable upticks in incidents related to voyage planning and
                 execution and Exhaust Gas Cleaning System discharges. The CAM has always
                 emphasized, both in conversations with Company personnel and in earlier CAM
                 reports, that it would be unreasonable to ever expect zero violations in the course
                 of normal operations. Mistakes and mishaps will occur. The central question is:
                 how does the Company learn from them to minimize their future occurrence and
                 continuously improve compliance efforts?

             17) Commitment to Preserve Compliance Positions and Programs: The
                 Company’s top leadership has publicly pledged to preserve resources and support
                 for positions and programs set up during the probationary period to support
                 environmental compliance, such as the Chief Ethics & Compliance Officer,
                 Environmental Corporate Compliance Manager, shipboard and Fleet
                 Environmental Officers, Incident Analysis Group, and broader Ethics &
                 Compliance organization. Over the course of probation, Company employees at
                 various levels (primarily at senior management and top leadership levels) have
                 increasingly expressed to the CAM Team that they do not view April 18, 2022, as
                 an end date to the Company’s compliance and continuous improvement efforts.
                 At the same time, employees (at middle and lower management levels and among
                 shipboard officers and crew) continue to express concerns to the CAM Team
                 about management backsliding after probation ends. Such concerns are more
                 pronounced among employees who were present for the conclusion of the
                 Company’s prior ECP in August 2006—when the criminal activity underlying the
                 current conviction had begun, even before the prior ECP had ended. There is no
                 question that the Company has a far more robust compliance program in place
                 now than it did at the end of the prior ECP. Upholding the commitment to
                 preserve resources and support for this program will be critical for guarding
                 against the backsliding that could result in future threats to the Company’s
                 freedom to operate.

             18) Continued Strength of Shipboard and Fleet Environmental Officer Program:
                 The development and continued support of a strong, cross-brand Environmental
                 Officer program continues to be one of the Company’s most significant

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               achievements over the course of the monitorship. Notable developments in ECP
               Year Four include the formal launch of the Fleet Environmental Officer program,
               as well as ongoing efforts to establish a more defined and formalized career path
               for Environmental Officers. The CAM Team continues to be impressed by the
               talent and dedication of the Environmental Officers met through ship and
               shoreside visits (virtual and in-person). As noted above, continued support and
               resources for the shipboard and Fleet Environmental Officer programs, and for the
               Environmental Corporate Compliance Manager who oversees these programs,
               will be critical for the Company’s continuous improvement efforts after probation
               ends.

                        Despite the many bright spots in the program, shipboard Environmental
               Officers have increasingly expressed concerns to the CAM Team about the
               potential expansion of their role to include acting as part-time investigators on the
               ships, which may cause them to be viewed as “police officers” by other crew
               members, rather than as trusted compliance counselors. The Company has
               responded that these concerns are “a misunderstanding from [its] [Environmental
               Officers] attending the investigation training course.” Company Draft Report
               Comments. The Company further reports that, since becoming aware of these
               concerns, the Environmental Corporate Compliance Manager “has personally
               assured” Environmental Officers “that they will not become the [ships’] HESS
               investigators.” Id. The Company is also revising its internal procedures “to make
               it clear that [Environmental Officers] can support Environmental investigations”
               as needed, but “they won’t be in charge to lead them.” Id.

            19) Mature Internal Audit Function: As in prior years, the CAM continues to find
                that the Company has a mature internal audit function, housed within the
                independent RAAS department. The internal audit program is generally strong,
                with clear audit protocols and auditors who generally appear knowledgeable,
                professional, and qualified. In ECP Year Five, the CAM’s primary focus will be
                on RAAS’s capabilities to further integrate with the investigation, operations,
                risk, training, and broader Ethics & Compliance functions to support continuous
                improvement beyond the ECP. This function will be critically important to
                continuous improvement after the Company exits probation, and the support of
                the Company’s top leadership for this function is essential to compliance.

            20) Internal Investigation Improvements: The Company accepts that it historically
                has had a weak internal HESS investigation program. As detailed in earlier CAM
                reports, the Company’s efforts to revamp the program were subject to repeated
                delays and detours. In March 2019, the Company launched a new group, called
                the Incident Analysis Group, to lead the Company’s internal HESS investigations.
                In September 2020, the Company appointed a new Head of the Incident Analysis
                Group after the group was failing to make expected progress, including meeting
                stated expectations and commitments. Under the leadership of the new Head, the
                Incident Analysis Group has made some important progress in ECP Year Four,
                including: hiring additional investigators and support staff; delivering new
                trainings on investigation techniques and report-writing; working to create a more

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                 diverse corps of investigators; finalizing a new investigation manual; and ongoing
                 efforts to revise internal procedures on conducting investigations and continuous
                 improvement and lessons learned processes. The CAM recognizes the hard work,
                 dedication, and commitment of the Incident Analysis Group team. These efforts
                 are essential for establishing the basic building blocks of an effective internal
                 investigation program. However, these efforts will fall short without express
                 commitment and support from the Company’s top leadership for the
                 independence and authority of the Incident Analysis Group.

              21) Continued High Levels of Employee Cooperation and Engagement: As in
                  prior years, the CAM Team has continued to encounter impressive levels of
                  cooperation, engagement, and support from Company employees, ship and shore,
                  in both formal and informal interactions. One of the most important things the
                  Company can do to guard against risks of future noncompliance is to ensure
                  employees at all levels have the support they need to both succeed in their jobs
                  and to be unafraid to speak up when something does not seem right or could be
                  improved. This support is not limited to training and equipment, but also includes
                  compensation, mental and physical well-being and safety, and access to
                  mentorship and career growth opportunities. The Company’s pool of dedicated
                  and talented employees stand ready to help it succeed—and lead—in the area of
                  compliance the same way it has in other business areas.

                 2.      CAM FINDINGS: REMAINING BARRIERS AND OPPORTUNITIES FOR
                         IMPROVEMENT

    The CAM’s findings related to the Company’s remaining barriers and opportunities for
    improvement are:

       Corporate Governance and Leadership

              1) Taking Concrete Action to “Walk the Walk” of Compliance: The Company’s
                 employees continue to express concerns to the CAM Team that top leadership has
                 sent mixed messages by “talking the talk” of compliance, without taking
                 sufficient concrete steps to “walk the walk”—i.e., taking meaningful actions that
                 translate to direct support for the ships even when expenditure of resources is
                 required. Effective compliance leadership requires that rhetoric on compliance be
                 matched with taking on ownership and accountability for compliance efforts. As
                 the Company emerges from the pandemic, and as the period of probation draws to
                 an end, there is an opportunity for top leadership to continue to move beyond
                 messaging, and to shift from a focus on external oversight to a focus on asking:
                 How can I make compliance easier? What do people on ships need to support
                 compliance in a direct way? What concrete actions did I take today, and what
                 will I do tomorrow and each day after to own and be accountable for meeting
                 those needs?

              2) Overcoming Historic Anti-Learning Mindset: The CAM has observed that the
                 Company’s top leadership had a longstanding tendency to resort to techniques

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               that deflect or minimize negative or uncomfortable information, rather than
               embrace a learning culture approach to such information. Increasingly, however,
               there are signs that this mindset has shifted. As noted above, leaders at the Board
               and top executive leadership levels have significantly increased their visibility and
               engagement on compliance issues during ECP Year Four. The new Board
               member appears to be driving more sophisticated awareness of and approaches to
               compliance issues at the highest levels. Other leaders in new or newly filled
               positions at All Brands Group, including the Chief Ethics & Compliance Officer,
               Chief Operations Officer, and new General Counsel, also demonstrate what
               appears to be a genuine commitment to helping lead a mindset shift that starts at
               the very top.

            3) Improving Coordination and Unification of Compliance Efforts: Past CAM
               reports have found that the Company’s generally decentralized operations are a
               barrier to compliance. Despite the creation of an All Brands Group-based Ethics
               & Compliance group, there remains an engrained view in favor of decentralized
               approaches, which has resulted in delayed, uncoordinated, and ineffective
               solutions to some of the Company’s most serious and long-standing compliance
               challenges. This balkanized approach has also led to a lack of clarity among
               employees as to authority, responsibility, and accountability for compliance
               support and leadership between and across both: (1) All Brands Group and the
               individual Brands; and (2) Ethics & Compliance and other departments, including
               HR, RAAS, Legal, and Maritime Operations. Progress toward greater
               coordination and unification of compliance-related efforts in many areas has been
               made or is underway, both before and during the period of probation. Company
               employees have identified additional critical compliance areas in need of greater
               clarity and harmonization of approaches—most significantly: culture, DEI, IT
               and data, risk management, and training. As detailed in this Report, the Company
               is taking steps toward establishing more centralized governance approaches in
               each of these areas.

            4) Empowering Compliance Leaders with Authority to Carry Out
               Responsibilities: It is not clear that longstanding concerns about the authority
               provided to compliance leaders, including the Chief Ethics & Compliance Officer
               and the Environmental Corporate Compliance Manager, have been fully resolved
               in ECP Year Four. In general, there is a lack of clarity within the Company about
               how authority is delegated across departments and positions. Further, it is not
               clear that the delegations of authority in the Ethics & Compliance program charter
               and strategic plan extend beyond the Ethics & Compliance program to empower
               its leaders: to direct changes impacting other business areas, such as operations,
               finance, IT, or procurement; to verify and validate whether such changes have
               occurred; and to assess the effectiveness of such efforts as part of a process of
               continuous improvement. The individuals in Ethics & Compliance leadership
               positions are not set up for success so long as the Company does not establish
               clarity as to responsibility, authority, and accountability for compliance efforts.



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       Culture

              5) Missed Opportunities and Delays: As noted above, the Company’s response to
                 the Environmental Compliance Culture Assessment reflects missed opportunities,
                 including delays at the All Brands Group level in finalizing both the Culture
                 Action Plan and a culture governance framework. These delays appear to be
                 attributable to a lack of focused, coordinated leadership at the All Brands Group
                 level. Employees who took the survey have expressed frustration to the CAM
                 Team that, despite their time, effort, and openness in completing the survey, the
                 Company did not find a timely way to provide them with information about the
                 assessment’s findings and the steps that the Company would take in response.

              6) Unresolved Culture Change Governance Concerns: It remains to be seen if
                 the culture governance framework will resolve the concerns about a lack of
                 coordinated, centralized strategy or leadership on culture change efforts. The
                 framework continues to be viewed by employees as a somewhat confused set of
                 oversight and implementation responsibilities across a range of departments and
                 personnel at All Brands Group and the individual Brands.

              7) Establishing Accountability for Top Leadership: If there were a single take-
                 away for success in the way forward from the Environmental Compliance Culture
                 Assessment, it is that the Company’s top leaders need to be forthright in
                 addressing their own past failures to foster and develop a culture of compliance.
                 Any culture governance framework or culture action plan should require, as a
                 starting point, that the highest levels of leadership not only speak to their support
                 of compliance, but are held accountable to act in concrete ways that support
                 compliance. It is not yet clear that this has occurred. The return to service
                 presents an opportunity for Company leaders to explicitly introduce any new
                 strategy and vision for Company culture, as well as to set clear expectations for
                 culture going forward, and to commit to being held accountable for supporting
                 employees in meeting those expectations.

              8) Self-Assessment and Survey Concerns: Employees have raised concerns,
                 shared by the CAM, about the various self-assessments and surveys that the
                 Company’s consultant is administering or plans to administer as part of the
                 Culture Action Plan. These include concerns about the structure and content of
                 the question sets and survey instruments, as well as some potentially concerning
                 and misleading findings from a self-assessment of the Ethics & Compliance
                 program that was recently administered.

              9) Achieving a Just Culture: The Company has stated a commitment to move
                 away from an acknowledged historic blame culture and toward a just and fair
                 culture. The Company is to be credited for recognizing and taking steps to
                 address this barrier to compliance. While some progress has been made, further
                 efforts will be required. The perception of a blame culture continues to be felt
                 aboard the ships and in shoreside offices.


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               10) Maintaining Support for Crew Welfare, Including Mental Health and
                   Wellbeing: As part of the Culture Action Plan, each Brand developed strategies
                   to promote crew wellness aboard the ships during the pause. These efforts have
                   been well-received, and the CAM and TPA teams have observed high levels of
                   crew morale, despite their challenging circumstances, during virtual ship visits
                   conducted during the pause. At the same time, crew members expressed concerns
                   that, as passenger cruises resume, this level of attention may disappear as
                   management’s focus shifts away from support for ship operations, crew needs,
                   and welfare, to guest experience and revenue generation. As more ships prepare
                   for restart, the Company will also need to consider that many crew members
                   returning to work aboard may suffer from trauma or other mental health
                   conditions related to the effects of the pandemic, which may affect ship culture
                   and operations.

       Diversity, Equity, and Inclusion

               11) Developing a Centralized, Coordinated DEI Strategy: CAM Team discussions
                   with Company employees continue to reveal a vacuum of clear leadership at the
                   All Brands Group level on setting DEI strategy and goals, with most efforts left to
                   the Brands. This stands in stark contrast to the Company’s well-understood and
                   well-structured approach to setting expectations for achieving guest satisfaction
                   and financial goals. Despite the lack of overarching coordination on the
                   Company’s DEI strategy, several notable Brand efforts are in progress, as noted
                   above.

               12) Establishing Programs to Enhance DEI Among Shipboard Officers: There
                   does not yet appear to be a significant, coordinated effort led by All Brands Group
                   to launch a program (long term or immediate) with the aim of building a diverse
                   officer corps across the Company’s ships—including one with clear expectations,
                   accountabilities, and concrete goals. Again, any such efforts have been led by the
                   Brands. For example, Costa Group has launched cadet programs in the
                   Philippines, India, Ethiopia, and China, and recently reached an agreement with
                   Chinese and Italian authorities to recognize Chinese officer certifications on its
                   Italian-flagged ships. Carnival Cruise Line has partnered with schools in the
                   Bahamas, Panama, Philippines, and China to hire diverse engineers into its cadet
                   program. The CAM recognizes the commitment to DEI expressed by many of the
                   Brand leaders involved in efforts to help the Company seize the opportunity to
                   become a leader—and make history—in this space. However, progress requires
                   strong, centralized leadership on DEI, which remains lacking.

       Support for Ship Operations

               13) Prioritizing Ship Operational and Compliance Needs: Past CAM reports have
                   observed a general failure of the Company’s top leadership to understand what it
                   takes to fully support compliance, as well as repeated failures by top leadership to
                   listen and learn from its own employees about compliance challenges. Even
                   before the pandemic, the Company had repeatedly failed to adequately address

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               compliance support for its ships on issues identified by the Company’s internal
               and external studies and surveys, and supported by the findings of RAAS, the
               TPA, and the CAM. Crew members from across the Company, particularly deck
               and technical officers, have expressed to the CAM Team their sense that this
               compliance shortcoming may stem from a lack of appreciation for the maritime
               operations side of the Company’s business, in comparison to the value placed on
               the (revenue-generating) hotel and entertainment side. The notion of primacy (or
               at least parity) between meeting the operational and compliance needs of the ships
               and achieving other business goals is not yet part of the lived experience of the
               ships. As noted above, crew members have expressed appreciation for the
               increased levels of focus and attention to ship and crew needs during the pause,
               but they have also expressed concerns about the extent to which Company will
               prioritize ship and crew member needs as passenger operations resume.

            14) Exhaust Gas Cleaning System Concerns: Throughout the period of probation,
                operational issues with the reliability and maintainability of the Company’s
                Exhaust Gas Cleaning Systems have been one of the most common concerns
                raised by engineering crews to the CAM and TPA teams, including frustrations
                about the extra training and workload demands associated with the units, as well
                as voyage planning and execution challenges. The TPA issued two systemic
                findings related to Exhaust Gas Cleaning Systems in ECP Year Four: (1) one
                related to soot discharges and other surface effects from washwater discharges;
                and (2) one related to equipment condition and reliability. Despite ongoing
                efforts to respond to these findings, to the best of the CAM’s knowledge, the
                Company has not performed a systemic root cause analysis that looks beyond
                current technical issues to also examine the entire design, procurement, and
                installation processes that led to the current situation. Such an effort could yield
                lessons about project scoping, procurement, and Management of Change
                processes that would apply to other major shipboard technical installation projects
                the Company performs in the future.

            15) Emergent Food Waste Management Issues: Several food waste management
                concerns have recently emerged, including issues related to: (1) improper
                removal or disposal of food waste liquids in an apparent effort to reduce reported
                food waste numbers; (2) the breakdown of plastic components inside food waste
                digesters and potential discharge of plastic to the sea as a result; (3) food waste
                digester installation project management practices; and (4) improperly installed or
                fitted drain/scupper covers that may not fulfill their intended function to prevent
                non-food items from entering a ship’s grey water and overboard drainage systems.
                It is notable that the Company’s internal reporting and review mechanisms
                revealed these issues and concerns. The Company has several active
                investigations and reviews underway.

            16) Slow Progress on IT and Data Projects Critical for Compliance: Progress on
                IT and data efforts in support of compliance has generally been slow, both before
                and during the pandemic, including on projects designed to address persistent
                critical compliance risks. Some of the Company’s most important initiatives in

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                this space have been subject to repeated or significant delays, including: the
                development of voyage planning software, which is being done by an external
                party who has yet to deliver a product that meets the Company’s expectations; the
                MAST initiative to move to a single, corporate-wide planned maintenance and
                spare parts management system, some aspects of which were paused due to
                COVID-19; and the development of an app to automatically record attendance at
                shipboard trainings. In particular, the prolonged delay in developing software to
                support voyage planning appears to present a significant compliance risk in the
                face of continued voyage planning and execution-related incidents, which
                demonstrate that the Company’s current processes and tools are not fully
                effective.

             17) Integrating Compliance Considerations into Ship Design: The Court has
                 urged the CAM Team to inquire of Company personnel about whether or how
                 compliance concerns and best practices are reflected in the design or re-design of
                 the Company’s ships, and how and in what ways compliance demands are
                 impacting dry/wet dock processes. More than four years of probation have
                 illuminated a range of compliance challenges related, at least in part, to ship
                 design. During ECP Year Four, the CAM Team has sought to learn more about
                 the Company’s new build and dry/wet dock planning and execution processes,
                 including efforts to integrate compliance considerations into the design or re-
                 design of ships. This review is ongoing and will be a core focus area for ECP
                 Year Five.

       Continuous Improvement

             18) Achieving a Learning Culture: As noted above, the approach by the
                 Company’s top leadership to incidents (including near misses), findings, and
                 negative or uncomfortable information has historically been characterized by a
                 tendency to minimize or avoid chronic problems, rather than to seek to understand
                 them and address their root causes and risk factors. This defend-and-deflect
                 approach has been an obstacle to the learning culture that the Company seeks to
                 achieve. There are promising indications that this mindset is starting to shift.

             19) Establishing a Fully Independent and Empowered Internal Investigation
                 Program: The Incident Analysis Group cannot fulfill its purpose without clear
                 and unequivocal statements of support by top leadership, including the Board of
                 Directors, that investigators are empowered to act with independence and
                 authority, including to set the scope of investigations and to initiate independent
                 reviews of potential systemic issues as they arise. Importantly, the Company’s
                 new Investigations Manual sets forth principles that appear designed to empower
                 the Incident Analysis Group with the necessary independence and authority.
                 However, it is not yet clear that they do so fully, or that the Incident Analysis
                 Group has the resources and structures in place to exercise its independence and
                 authority in practice. The CAM and TPA teams also have ongoing concerns
                 about: investigation and report quality; investigation report timing; alignment
                 between Incident Analysis Group, Brand, and ship-led HESS investigations; and

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                      alignment between HESS and non-HESS (e.g., HR, financial, anti-bribery/anti-
                      corruption) investigations.

                   20) Developing a Holistic Risk Governance Framework: The Company has
                       acknowledged that it continues to lack a coordinated, holistic approach to risk
                       management—including one with clear accountabilities for managing and dealing
                       with risk. Progress toward a holistic approach has been hampered by a lack of
                       clarity at the highest leadership levels about lines of responsibility and
                       accountability between the various entities with a claim to risk management,
                       including RAAS, Maritime Operations, Ethics & Compliance, and Legal, as well
                       as the Brands. Defining a process of cross-departmental, cross-brand
                       coordination will be critical to the Company’s ability to identify, mitigate, and
                       manage risks to support continuous improvement.

                   21) Achieving a Continuous Learning Feedback Loop: The Company has
                       acknowledged that it does not yet have a clear continuous learning feedback loop
                       between its audit, investigation, operations, risk, training, and broader Ethics &
                       Compliance functions. Such a mechanism is critical for the Company’s
                       compliance efforts, including its capability to effectively: operationalize lessons
                       learned and best practices; identify and address systemic causes; and
                       systematically and holistically identify, prioritize, and communicate risks across
                       the Company to the Board of Directors and top executive leadership to enable
                       risk-based decision-making. While various efforts to enhance continuous
                       improvement and lessons learned processes are underway, there does not yet
                       appear to be an established mechanism for integrating these various efforts, which
                       may involve different (but overlapping) sets of stakeholders, timing cadences, and
                       subject matter focus areas.

    III.      CORPORATE GOVERNANCE AND LEADERSHIP

              A.      Potential Post-ECP Goals

    As described in Part II.A above, the goals detailed below were compiled by the CAM as
    of result of its communications with top leaders and senior management. However, in
    reviewing the draft of this Report, the Company stated that, while it “agree[s] with many
    of the goals,” it “cannot commit to the goals without further discussion across the
    organization.” See Company Draft Report Comments.

          Board of Directors: A Board of Directors with:

              o    Significant compliance expertise, including:

                         A permanent Compliance Committee.

                         Regular compliance trainings for all Board members.

                         Consideration of compliance expertise in recruiting new Board members.


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           o   Active oversight and engagement on compliance issues, including:

                     Culture.

                     DEI.

                     Investigations.

                     Risk management.

                     Broader Environmental, Social, and Governance (“ESG”) efforts, including
                      corporate sustainability goals20 and sustainability accounting.21

           o   Responsibility in these areas for:

                     Setting clear expectations and concrete goals for executive leadership.

                     Holding executive leadership accountable for meeting these expectations and
                      goals, including through performance-based compensation.

           o   A reporting relationship with executive management that embraces the improvement
               opportunities that come with acknowledging failures, and pushes management to
               effectively identify and prioritize risks (including systemic issues) facing the
               Company.

           o   A diverse membership that reflects the diversity of the Company’s workforce.



    20
       On June 22, 2021, the Company announced its initial 2030 sustainability goals and 2050
    aspirations. The initial goals, discussed throughout this Report, focus on climate action and
    waste reduction (including food waste). See infra, Part VI.B.2(b)-(c) (food waste reduction
    goals) and Part VI.C.5 (emission reduction goals). Additional goals and aspirations will be
    announced in Carnival Corp.’s forthcoming 2020 Sustainability Report, expected to be issued
    this summer. See Carnival Corporation Announces Initial 2030 Sustainability Goals (June 22,
    2021) (“Initial 2030 Sustainability Goals Announcement”), https://www.carnivalcorp.com/news-
    releases/news-release-details/carnival-corporation-announces-initial-2030-sustainability-goals.
    21
      The Sustainability Accounting Standards Board (“SASB”) sets industry-specific standards
    “that assist companies in disclosing financially material, decision-useful sustainability
    information to investors.” SASB, Cruise Lines Sustainability Accounting Standard (Oct. 2018)
    (“Cruise Lines SASB”) at 2. Sustainability accounting “reflects the governance and
    management of a company’s environmental and social impacts arising from production of goods
    and services, as well as its governance and management of the environmental and social capitals
    necessary to create long-term value.” Id. at 4. SASB issued standards for cruise lines in 2018,
    which address: greenhouse gas emissions; air quality; discharge management and ecological
    impacts; customer health and safety; labor practices; employee health and safety; and accident
    management. See id. at 3.

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       Top Executive Leadership: Executive leaders at All Brands Group and the individual
        Brands who:

           o   Exhibit consistent, high levels of visibility and engagement on compliance issues,
               including DEI and broader ESG efforts, through both:

                     Communications and messaging.

                     Concrete actions and commitments to support and carry out the messaging.

           o   Take responsibility and hold themselves accountable for setting strategy and
               delivering results on compliance issues, including culture, DEI, risk management,
               training, and support for ship operations.

           o   Establish clear lines of responsibility, authority, and accountability over compliance
               issues, including lines of accountability that are not driven by shame-and-blame
               strategies but by effective root cause analyses and corrective and preventive actions.

           o   Take a learning culture approach to information about compliance shortfalls, rather
               than a defensive, minimizing, or deflective approach.

           o   Composed of a diverse membership that reflects the diversity of the Company’s
               workforce.

       Legal Group: An in-house legal group with:

           o   A General Counsel who embodies the role of “counselor” to senior management—
               that is, someone who, supported by an appropriately sized and resourced legal team,
               is a legal watchdog, with the will and authority to stop actions that could undermine
               compliance efforts.

           o   A global legal organization that is:

                     Well-resourced, with staffing and resources comparable to or exceeding those
                      in similarly-situated corporations.

                     Well-coordinated across and between All Brands Group and the individual
                      Brands.

                     Well-integrated with other departments—including the audit, investigation,
                      operations, risk, training, and broader Ethics & Compliance functions—to
                      support the Company’s risk management and continuous improvement efforts.

                     Composed of a diverse membership that reflects the diversity of the
                      Company’s workforce.




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       Ethics & Compliance Group: An Ethics & Compliance group with:

           o    Support from the Board and top executive management, through words as well as
                actions that make clear that compliance is valued as much as other business
                imperatives.

           o    Sufficient resources and staffing, including continued support for positions and
                programs established during the probationary period, such as the Chief Ethics &
                Compliance Officer, Environmental Corporate Compliance Manager (and team),
                Brand equivalents to these positions, and shipboard and Fleet Environmental Officers.

           o    Ethics & Compliance leaders (across all compliance areas, not just environmental)
                who are empowered with the necessary authority to carry out their responsibilities,
                not just on paper but also in practice.

           o    Clear lines of responsibility, authority, and accountability across and between All
                Brands Group and the individual Brands.

           o    Effective integration with other departments—including the audit, legal, operations,
                risk, and training functions—to support the Company’s risk management and
                continuous improvement efforts.

           o    A diverse membership that reflects the diversity of the Company’s workforce.

           B.      Progress

                   1.      ENHANCED COMPLIANCE EXPERTISE AND ENGAGEMENT BY THE BOARD OF
                           DIRECTORS

       In line with DOJ guidance, a key aspect of the CAM Team’s focus is what “compliance
        expertise has been available on the board of directors,” as well as what “types of information
        have the board of directors and senior management examined in their exercise of oversight in
        the area in which the misconduct occurred.” See DOJ, Evaluation of Corporate Compliance
        Programs (Updated June 2020), available at https://www.justice.gov/criminal-
        fraud/page/file/937501/download (“DOJ Corporate Compliance Guidance”) at 11. This
        includes examining the capacity of the Company’s audit, investigation, operations, risk,
        training, and broader Ethics & Compliance programs to work in a unified way to provide
        meaningful information and analysis to both senior management and the Board of Directors,
        as well as the capacity of the Board of Directors to engage in compliance oversight and hold
        the Company’s executive leadership accountable for compliance shortcomings.

       The CAM recognizes that over the past year-and-a-half, like countless other businesses, the
        Company has faced unprecedented challenges, including the potential that the business
        would not be able to continue. After the onset of the pandemic, the Board of Directors and
        various of its Committees, including the Compliance and HESS Committees, began to meet
        more frequently, as often as weekly or more, to chart a path through the crisis. Though
        financial survival was paramount, the Board also used this time to further enhance its


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         knowledge and engagement on compliance issues. Members of the Compliance and HESS
         Committees have also remained in regular contact with the CAM.

                           a)      Actions in Response to Probation Revocation Agreement

        Following the Company’s guilty plea to six probation violations in June 2019, in which the
         Company’s top leadership acknowledged that it had failed in its probation obligations to fully
         support and promote compliance efforts, the Board of Directors was on notice that greater
         engagement, scrutiny, and accountability on their part was needed.

        As part of the resolution of the probation revocation proceedings, the Company agreed to
         some overdue steps to increase the Board’s knowledge and sophistication with regards to
         overseeing management compliance efforts. These actions include:

            o   Compliance Committee: The Company established a new Compliance Committee
                of the Board of Directors, comprised of independent directors, to oversee the Ethics
                & Compliance program. Initially, the Compliance Committee was announced as a
                temporary measure, but the Board soon determined to make it a permanent
                committee. Separately, in response to CAM observations, the Board retained a
                private law firm with significant Board-level representation experience to provide the
                Compliance Committee with legal counsel, independent of management. See CAM
                Third Annual Report at 102-03.22

            o   New Board Member with Significant Compliance Experience: The Company
                hired a new Board member with significant compliance experience. The new
                member’s experience includes approximately 15 years at a global corporation in
                various roles, including as General Counsel and as an Executive Vice President with
                oversight of global legal, compliance, ethics, security, and investigative functions.
                See CAM Third Annual Report at 103-04. This individual serves on both the
                Compliance and HESS Committees, and regularly engages with other Board
                members, the Chief Ethics & Compliance Officer, the new General Counsel, and the
                CAM, among others.

            o   Compliance Training Program: Led by the Chief Ethics & Compliance Officer,
                the Company developed an annual compliance training program for the Board, which
                has also been attended by many senior executives. See id. at 104-05. Eight hours of
                training over four sessions were delivered in 2020, including sessions with: (1) a

    22
       In addition, the Board continues to have both a HESS and an Audit Committee, each
    comprised of independent directors. The HESS Committee assists the Board “in fulfilling [its]
    responsibility to supervise and monitor [the Company’s] health, environment, safety, security
    and sustainability related policies, programs and initiatives . . . and compliance with related legal
    and regulatory requirements.” See Carnival Corp. 2020 Form 10-K at 19. The Audit Committee
    assists the Board with oversight of the Company’s financial statement integrity, compliance with
    non-HESS legal and regulatory requirements, internal audit function, and “[r]elevant elements”
    of risk management programs. See Audit Committees Charter (Rev. Apr. 16, 2021), available at
    https://www.carnivalcorp.com/committee-details/audit-committee.

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               Former U.S. Deputy Attorney General, with experience as General Counsel of a
               global corporation and service as a corporate monitor over the world’s largest auto
               maker. This session focused on strategies for integrating culture into business
               practices, as well as educating the Board on recent updates to the DOJ Corporate
               Compliance Guidance; and (2) a bestselling author, whose session focused on the
               importance of Board and executive leaders “asking the right, innovative questions and
               of creating a culture of inquiry.” Letter from Chief Ethics & Compliance Officer to
               CAM, Re: Carnival Corp. Positive Developments in ECP Year Four (June 18, 2021),
               PCL_ECP00225061-68 (“Company Updates Letter”) at PCL_ECP00225063. At
               least two additional sessions are being planned for 2021. See Employee
               Interview/Call Notes.

           o   Written Commitment to Compliance: Adopting a written statement reiterating the
               Company’s and the Board’s commitment to compliance. See CAM December 2019
               Quarterly Report at 35.

                          b)      Additional Actions

       The Board has taken further actions, above and beyond prior efforts, designed to increase its
        oversight of and engagement on compliance issues, including:

           o   Culture Governance Oversight: The Board has agreed to take on responsibility “to
               oversee and safeguard culture” and “to set clear expectations” and “concrete goals”
               for senior executives on culture change efforts, including DEI. See Coordinating our
               Efforts to Further Strengthen our Culture Across Carnival Corporation (Jan. 7,
               2021), PCL_ECP00178127-48 (“Culture Governance Framework Document”) at
               PCL_ECP00178132. As noted in Part IV.B below, the CAM is aware that the Board
               plans to set clear expectations and concrete goals with respect to culture and DEI, but
               has not yet done so. See infra, Part IV.B.2.

           o   Internal Investigations Oversight: The Board hired outside counsel to perform
               reviews of issues related to the Company’s internal investigations function, which
               resulted in recommendations to develop and implement new procedures for:
               (1) scoping investigations; (2) determining when to retain outside counsel to conduct
               investigations; and (3) escalating significant compliance allegations to the
               Compliance Committee. See CAM January 2021 Quarterly Report at 48-50; see also
               infra, Part VII.B.5(b). Drafts of the procedures are under review. See Employee
               Interview/Call Notes.

           o   Accountability Mechanism for Senior Executives: Perhaps most importantly, the
               Board has announced that, with the assistance of an outside consultant, it will
               establish a means to set concrete compliance goals for senior executives, and to hold
               them accountable for meeting those goals, including through potential performance-
               based compensation. This effort is expected to be completed in September 2021. See
               Employee Interview/Call Notes; see also Email from Chief Ethics & Compliance
               Officer to CAM (June 25, 2021). As discussed in earlier CAM reports, management
               accountability at the highest levels is critical to an effective Ethics & Compliance

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                function, including one that can provide the Board with clarity as to how and in what
                ways the most senior and powerful executives are providing leadership in support of
                compliance. See CAM January 2021 Quarterly Report at 25.

            o   Ethics & Compliance Retreat: Members of the Board participated in the opening
                session of the 2021 Ethics & Compliance retreat, as discussed below. See infra, Part
                III.B.4.

                    2.      INCREASED VISIBILITY AND ENGAGEMENT ON COMPLIANCE ISSUES BY TOP
                            EXECUTIVE LEADERSHIP

        DOJ recognizes that a “company’s top leaders – the board of directors and executives – set
         the tone for the rest of the company.” DOJ Corporate Compliance Guidance at 10. In
         evaluating a company’s compliance program, it is therefore critical to examine “the extent to
         which senior management have clearly articulated the company’s ethical standards, conveyed
         and disseminated them in clear and unambiguous terms, and demonstrated rigorous
         adherence by example.” Id. (emphasis added).

        Since the resolution of the probation revocation proceedings in June 2019, the Company’s
         top executive leadership at both the All Brands Group and individual Brand levels has
         significantly increased its visibility and engagement on compliance issues.23 Examples
         include:

            o   Communications: In internal and external communications, top executives
                consistently emphasize the importance of “compliance, environmental protection,”
                and “health, safety and well-being” as the Company’s “highest responsibilities” and
                “top priorities.”24 Company leaders also emphasize the importance of DEI as both a
                moral and business imperative, as discussed in Part V.B below. See infra, Part V.B.1.
                In addition, Company leaders report that executive leadership team meetings at both
                the All Brands Group and individual Brand levels regularly include topics such as
                compliance, culture, DEI, and crew welfare and wellbeing. See Leadership Updates
                Feedback at 1-9.

                        This is a notable change. At the end of ECP Year Two, the CAM found that
                         “[t]he Company does not express protection of the environment as a core
                         value, or one that takes precedence over revenue generation, in its
                         communications of corporate values.” CAM Second Annual Report at 65.




    23
      In general, the CAM Team has had less visibility into efforts by Costa Group, which operates
    the Costa and AIDA brands, because that operating group no longer has any Covered Vessels.
    While some communication continues with Costa Group, it is at a reduced level.
    24
      See, e.g., Corporate Vision Statement; see also Summary Response to CAM Request for
    Arnold Donald and Brand OpCo Leaders (June 25, 2021) (“Leadership Updates Feedback”);
    Arnold Donald Media Interviews & Speaking Engagements (June 7, 2021).

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                    Employees at many levels throughout the Company welcome these statements
                     by executive leadership, but remain concerned and sometimes skeptical that
                     these statements, and related concrete actions, will continue after the end of
                     probation. As discussed in Part III.C below, observable behavior by top
                     leadership, by taking concrete actions in support of this new messaging, is
                     necessary if compliance and environmental protection are to join the long-
                     standing messages by leadership on the expectation that employees deliver a
                     great guest experience and breakthrough shareholder returns. See id.;
                     Employee Interview/Call Notes; see also infra, Part III.C.1.

          o   Direct Engagement with Ships: Throughout the pause, many senior leaders,
              including Brand Presidents and top Carnival Corp. executives, have made
              unprecedented efforts to engage directly with crew members on the ships. As one
              Captain remarked, he had more conversations in the past 15 months with senior
              leadership than in the past 15 years. Across the Brands, these contacts have been
              seen as welcome engagement, especially from deck and technical personnel, who
              have often complained that the focus of management is too often skewed towards the
              guest-facing side of the business. See Employee Interview/Call Notes.

                    These efforts have included live town hall-style virtual sessions led by Brand
                     Presidents, as well as email updates, video updates, blogs, calls, PA system
                     broadcasts, and in-person visits to ships. Topics are reported to have included
                     compliance, health and safety, culture, crew wellbeing, feedback on shoreside
                     support, vaccinations, and business updates. See Leadership Feedback
                     Updates at 2-9.

                    Some of this engagement occurred as a result of the Court’s requirement for
                     returning ships to certify their state of repair and capacity for operating in
                     compliance with ECP and environmental requirements. Numerous high-level
                     executives took direct roles in talking with the ships about their preparedness,
                     and this attention was largely welcomed. See Employee Interview/Call Notes.
                     For example, the Carnival Corp. CEO spoke with over 50 shipboard personnel
                     regarding the Court attestations. See Leadership Updates Feedback at 1.

          o   Culture Governance: Top executive leadership has stated that it will take on
              “responsibility for leading the culture improvement efforts and monitoring progress”
              and for being “ultimately accountable for setting [culture] strategy and delivering the
              results.” See Coming Back Stronger “Pause Priorities Plan,” Revised DRAFT (July
              8, 2021) (“Pause Priorities Plan”); Culture Governance Framework Document at
              PCL_ECP00178132; see also infra, Part IV.B.2. As noted in Part IV.C below, the
              CAM is aware that top executive leaders plan to articulate a strategy for establishing a
              culture of compliance and determining how they will measure progress, but have not
              yet done so. See infra, Part IV.C.2.

          o   Compliance Training: Many senior executives, including the Carnival Corp. CEO,
              participated in the Board of Directors compliance training sessions discussed above.
              See Leadership Updates Feedback at 1.

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           o   CEO/Environmental Officer Coffee Chats: The Carnival Corp. CEO, in
               coordination with the Environmental Corporate Compliance Manager team, held
               virtual “coffee chats” with Environmental Officers from each Brand in 2021. Each
               call included more than 25 Environmental Officers, as well as the Environmental
               Corporate Compliance Manager and relevant Operating Line Compliance Manager.
               See id. Among other topics, Environmental Officers asked the CEO about his
               commitment to environmental compliance and the Environmental Officer program
               beyond the ECP. The CAM understands that the CEO committed to maintain
               resources and support for the program after probation ends. See Employee
               Interview/Call Notes. The CEO also stated this commitment to the Court at the April
               2021 Status Conference. See infra, Part VI.B.2.

           o   Ethics & Compliance Retreat: The Carnival Corp. CEO participated in the opening
               session of the 2021 Ethics & Compliance Retreat, as discussed below. See infra, Part
               III.B.4.

       Some employees, including some senior managers and leaders, have expressed concerns to
        the CAM Team that, as management focuses attention and resources towards environmental
        compliance, less attention and resources will be devoted to safety, security, or public health
        compliance. The CAM has made clear from the start of probation that safety is the top
        priority, ahead of all others. See Employee Interview/Call Notes. For any organization
        undergoing improvements in a critical compliance area, such as environmental, there is the
        risk that the organization will engage in trade-offs in other compliance areas, even safety.
        This should not be the case, but the employees’ concerns reflect a serious potential risk. One
        function of management leadership on compliance is to provide a centralized, holistic, risk-
        based approach designed to avoid inappropriate trade-offs between compliance areas—an
        approach that is supported by a robust Management of Change program. See infra, Part
        VI.B.5 and Part VII.C.4. This is a critical consideration for the Company as it seeks to
        resume passenger-carrying operations after such a long pause, and as it continues to build its
        Ethics & Compliance program. See CAM Second Annual Report at 48-49.

                   3.     NEW GENERAL COUNSEL AND REALIGNED GLOBAL LEGAL SERVICES GROUP

       In March 2021, the Company appointed a new General Counsel of Carnival Corp. The
        individual assuming this position is not new to the Company. He has been with the
        Company for nearly 25 years, including over 18 years as Deputy General Counsel. The new
        General Counsel states that his mandate “is to act as the conscience to our business leaders
        providing proper guidance and judgment while ensuring legal compliance.” Status Conf. Tr.
        at 14 (Apr. 30, 2021) (emphasis added). He has also stated a desire to help “lead in our
        efforts to continuously improve on compliance and environmental protection,” including on
        risk management efforts. See id. This includes both: (1) reviewing the structure,
        organization, and resources of the legal teams at All Brands Group and the individual
        Brands; and (2) identifying areas where the Legal, Ethics & Compliance, and RAAS
        departments can “link to improve our compliance, culture, and investigations.” See id. at 16;
        Employee Interview/Call Notes.



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       The Company has implemented structural and organizational changes designed to enhance
        the General Counsel’s role in supporting compliance efforts. For example:

           o   General Counsel Attendance at Board Meetings: The General Counsel will attend
               all future meetings of the Compliance Committee of the Board of Directors. He is
               also invited to attend regular Board meetings. See Employee Interview/Call Notes.

           o   Global Legal Services Group Realignment: The legal function has been realigned
               into a Global Legal Services Group, in which each Brand’s general counsel or legal
               lead reports directly to the All Brands Group General Counsel, in addition to their
               current Brand business leaders. The realignment is designed, in part, to “improve[]
               focus and integration of the global legal services group with compliance and risk
               management” and to develop “common practices to lower risk throughout [the]
               organization.” See Global Legal Services Group Realignment (May 11, 2020) at 1.

           o   New In-House Global Maritime Counsel Position: A new Global Maritime
               Counsel position has been created, to serve as “an internal, North America-based
               legal resource to advise on maritime laws and regulations impacting fleet operations
               (marine, technical, environmental) anywhere around the globe.” Id. at 2. This
               position has been filled.

           o   New In-House Global Compliance Counsel Position (Hiring Underway): Hiring
               is underway for a new Global Compliance Counsel position, which the Company
               aims to fill by the end of this summer. See Employee Interview/Call Notes.

       The new General Counsel, in coordination with the Board’s Compliance Committee, is also
        undertaking a benchmarking exercise to compare the structure, organization, practices, and
        resources of the Company’s legal organization with those of similarly situated corporations,
        including in the areas of claims and risk management. Company employees have reported to
        the CAM Team that, historically, the Company’s legal organization has been both under-
        staffed and insufficiently integrated with other departments and across the Brands. See id.

       The Court expressed to the new General Counsel at the April 2021 Status Conference that
        “this is now going to be your general counsel office and an opportunity to make your mark as
        truly the conscience of leadership.” Status Conf. Tr. at 19 (Apr. 30, 2021). As the Court
        observed, the former General Counsel, who was appointed in 1995, served in that role at the
        time of several of the Company’s prior environmental criminal convictions, including two
        that resulted in court-supervised ECPs before the current monitorship. See id.; CAM First
        Annual Report at 6-11 (discussing the Company’s history of environmental violations);
        CAM Second Annual Report at 12 (same).

                   4.     ESTABLISHMENT AND CONTINUED SUPPORT OF THE ETHICS & COMPLIANCE
                          GROUP

       DOJ highlights a range of factors for assessing the strength of a compliance program,
        including “[t]he resources the company has dedicated to compliance,” “[t]he authority and
        independence of the compliance function,” and actions by senior leaders and managers “to

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         demonstrate their commitment to compliance or compliance personnel . . . in the face of
         competing interests or business objectives.” See DOJ Corporate Compliance Guidance at 10-
         11.

        Under the Probation Revocation Agreement, the Company agreed to establish a new Ethics
         & Compliance group, based at All Brands Group and designed to provide centralized
         oversight and management of the Company’s compliance program. The Company has had a
         long-standing approach to compliance that was highly decentralized and lacked a C-Suite
         level compliance officer. See CAM Second Annual Report at 46-47. The Company has
         since made substantial efforts toward putting in place people, funding, structures, and
         systems for the revamped compliance function. These include:

            o   New Chief Ethics & Compliance Officer Position: As noted above, the Company
                created the new position of Chief Ethics & Compliance Officer, and in August 2019
                the individual serving in that position took office. This individual reports directly to
                the Carnival Corp. CEO and to the HESS, Compliance, and Audit Committees of the
                Board of Directors. In establishing this C-Suite level position, the Company placed
                compliance on equal footing as operations, at least structurally, for the first time.

                As of July 2021, the Chief Ethics & Compliance Officer is supported by a Deputy
                Chief Ethics & Compliance Officer (who also serves as Head of the Incident Analysis
                Group), as well as a part-time Chief of Staff (who also serves as Deputy
                Environmental Corporate Compliance Manager).

                The Company also promoted the Environmental Corporate Compliance Manager to a
                more senior position within the Company (from Vice President to Senior Vice
                President).25

            o   Ethics & Compliance Program Staffing: The Company has grown the Ethics &
                Compliance program to over 60 positions across All Brands Group and the individual
                Brands, comprised of:

                      An All Brands Group-based team that includes:

                              Three Corporate Compliance Managers for: (1) Environmental
                               compliance; (2) Health/Safety/Security compliance; and (3) General
                               compliance (e.g., antitrust, anti-corruption and bribery, anti-money
                               laundering, and privacy).26 The Environmental Corporate Compliance
                               Manager oversees programs for ECP reporting, Environmental Officer
                               training, Fleet Environmental Officers, food waste, and waste vendor
                               assessments, among others.

    25
     The other two Corporate Compliance Manager positions (for Health/Safety/Security and
    General compliance, as noted below) are Vice President-level positions.
    26
      The General Corporate Compliance Manager also serves as the Company’s Chief Privacy
    Officer.

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                             Heads of the following groups (which the Company refers to as
                              “functional areas”): Investigations, Training, Risk, and Data Privacy.

                             Directors, managers, analysts, assistants, and other support staff for the
                              above.

                     Brand-based teams that include:

                             Operating Company Ethics & Compliance Officers, who report
                              directly to the Chief Ethics & Compliance Officer.27

                             Operating Line Compliance Managers, who report directly to the
                              Environmental Corporate Compliance Manager.

                             Operating Line Training Managers, who report directly to the
                              Operating Line Compliance Managers, with a dotted line to the Ethics
                              & Compliance Corporate Training Director.

                             Other functional area heads and support stuff, which correspond in
                              varying degrees to those at All Brands Group.

                              See Ethics & Compliance Department and Program Organizational
                              Charts, PCL_ECP00225053-60 (provided to the Court and Interested
                              Parties under separate cover due to Confidential Business Information
                              concerns).

           o   Approval for New Hires: In recent months, the Company has added at least nine
               new Ethics & Compliance positions. Additional positions “will be evaluated for next
               fiscal year (later in the fall),” including potential additional investigators, data
               analysts, and support staff for the Health/Safety/Security Corporate Compliance
               Manager. See Company Draft Report Comments; Employee Interview/Call Notes.

           o   Ethics & Compliance Charter, Strategic Plan, and Financial Plan: Before the
               pandemic, the Company developed a charter, strategic plan, and financial plan for the
               Ethics & Compliance group. As noted below, in conjunction with the 2021 Ethics &
               Compliance retreat, the strategic plan is currently being revised. The CAM
               understands that the financial plan will also be revised once regular operations resume
               on a wider scale. See Employee Interview/Call Notes.

               On paper, these documents appear to give the Chief Ethics & Compliance Officer and
               the Environmental Corporate Compliance Manager “authority” and “control” to carry
               out their responsibilities. See CAM Third Annual Report at 176-79 (quoting Ethics &

    27
      The structure of the Ethics & Compliance teams differs at each Brand. For example, some
    Operating Company Ethics & Compliance Officers and their Deputies wear multiple hats, such
    as Chief Financial Officer, Chief Human Resources Officer, or General Counsel of their
    respective Brand.

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                Compliance charter and strategic plan). However, as detailed below, it remains
                unclear how—or if—these concepts are implemented in practice. It is also unclear
                whether these grants of authority extend beyond the Ethics & Compliance program to
                other business areas, such as operations, finance, IT, or procurement. The documents
                are also silent as to the authority of the Corporate Compliance Managers for
                Health/Safety/Security compliance and General compliance. See infra, Part III.C.4.

            o   Ethics & Compliance Retreats: Led by the Chief Ethics & Compliance Officer, the
                Company began a program of annual Ethics & Compliance program retreats in 2020.
                Due to the pandemic, the 2021 retreat was held through a series of targeted (1-3 hour)
                virtual sessions, staggered between March and June 2021. The sessions focused on
                setting priorities and identifying improvement opportunities in a range of areas,
                including: communications; compliance risk management; culture; internal
                investigations; lessons learned processes; and training. See 2021 Ethics and
                Compliance Program Retreat Agenda (May 19, 2021), PCL_ECP00217765-66.

                The kick-off session included remarks from the Carnival Corp. CEO and two
                members of the Board’s Compliance Committee. The final sessions focused on
                developing a set of concrete action items as follow-up from the retreat, many of
                which will be incorporated into the next iteration of the Ethics & Compliance
                strategic plan. See id. This action plan is currently being finalized. See Employee
                Interview/Call Notes.

        Throughout the pandemic, the Company has continued to provide support and resources for
         the Ethics & Compliance group, despite massive reductions in personnel and resources
         across the corporation.28 The Company’s top leadership has also issued directives that the
         Company’s cash preservation efforts should not “impact compliant, environmentally sound
         and safe operations.” See CAM Third Annual Report at 163, n.106 (quoting communication
         from Carnival Corp. CEO). The CAM has noted the relevance of former Deputy Attorney
         General Sally Yates’s admonition,29 cited by the Court at the April 24, 2020, Status
         Conference, “on just how important even in emergency times, unprecedented emergency
         times like this, that it’s so important to focus on the values that the company has and not just


    28
      While some positions were cut or furloughed, including investigators and CSMART
    environmental training staff, the Ethics & Compliance organization was largely preserved during
    the pandemic-related cut-backs. Even during the pandemic, the Company hired additional Ethics
    & Compliance personnel, including Fleet Environmental Officers, Incident Analysis Group
    investigators, and support staff for the Incident Analysis Group.
    29
      See A. Barbarino, Ex-DOJ Deputy Warns of Virus’ Long-Term Compliance Risks (Apr. 22,
    2020). Notably, this speech was delivered at a virtual conference hosted by the Ethics &
    Compliance Initiative (“ECI”). ECI describes itself as a “best practice community of
    organizations that are committed to creating and sustaining high quality ethics & compliance
    programs.” About ECI, https://www.ethics.org/about/. ECI also serves as a consultant to the
    Company on its culture survey response efforts, and former Deputy Attorney General Yates
    serves on the board of ECI. Our Boards of Directors, https://www.ethics.org/about/our-board/.

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        be focused on the bottom line. You need the bottom line to have an industry . . . but it can be
        a temptation to cut corners.” Status Conf. Tr. at 12 (Apr. 24, 2020).

       Overall, in the less than two years since the Ethics & Compliance group was established—
        most of it over the most challenging period in the Company’s history—substantial progress
        has been made in many areas. Since it was formed around the fall of 2019, the Ethics &
        Compliance group has spearheaded numerous environmental compliance-related initiatives,
        many of which go beyond the requirements of the ECP or Probation Revocation Agreement.
        Highlights are summarized in Appendix A.

       The CAM recognizes the hard work by the many talented and dedicated individuals, ship and
        shore, who have pushed these efforts forward under difficult circumstances, and amidst
        competing priorities. As the Company acknowledges, this work is not done. See, e.g., Status
        Conf. Tr. at 11 (Apr. 30, 2021) (statement by Carnival Corp. CEO to Court that “we have
        worked really hard, but believe me, we know, as you pointed out, we have a ways to go”).
        Many critical remaining barriers and opportunities for improvement are at the top leadership
        levels, as discussed in the next section.

           C.      Remaining Barriers and Opportunities for Improvement

                   1.      TAKING CONCRETE ACTION TO “WALK THE WALK” OF COMPLIANCE

       DOJ recognizes that “[e]ven a well-designed compliance program may be unsuccessful in
        practice if implementation is lax, under-resourced, or otherwise ineffective.” DOJ Corporate
        Compliance Guidance at 9. It is important to consider “whether the corporation’s employees
        are adequately informed about the compliance program and are convinced of the
        corporation’s commitment to it.” Id. at 9-10 (emphasis added). This includes looking at
        how “senior leaders, through their words and actions, [have] encouraged or discouraged
        compliance,” and asking: “What concrete actions have they taken to demonstrate leadership
        in the company’s compliance and remediation efforts? How have they modelled proper
        behavior to subordinates?” Id. at 10 (emphasis added).

       The Company’s employees continue to express concerns to the CAM Team that top
        leadership has sent mixed messages by “talking the talk” of compliance, without taking
        sufficient concrete steps to “walk the walk” in actions that translate to direct support for the
        ships. See Employee Interview/Call Notes. Examples discussed in this Report and earlier
        CAM reports include:

           o    Support for Ship Operations: The CAM found at the end of ECP Year Three that
                there had been a history of inadequate compliance support to the ships pre-pandemic
                on basic issues such as: working and reliable pollution prevention equipment; spare
                parts; sufficient crew staffing levels; manageable workloads; IT and data tools; food
                waste management; voyage planning; and waste offloads and waste vendor
                assessments. See CAM Third Annual Report at 137-64. As discussed in Part VI.B
                and Part VI.C below, the Company has initiatives underway in these areas, including
                the Pause Priorities Plan initiatives. See infra, Part VI.B.1. However, concerns
                remain about whether leadership is taking sufficient action to prioritize ship

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                operational and compliance needs—both now as the Company exits the pause, and in
                the future beyond the ECP. See infra, Part VI.C.1.

            o   DEI: There is a continued lack of leadership, coordination, and concrete action at the
                All Brands Group level to enhance DEI among deck and engine officers. As in other
                compliance areas, the lack of concrete action, in the face of a claimed commitment to
                DEI, is problematic for several reasons, including that it sends mixed signals which
                undercut employee confidence in the sincerity of the messaging. Further, as
                discussed in Part V.B below, a lack of DEI among shipboard and shoreside leadership
                teams works against effective risk management and the development of a sustainable
                compliance culture. See infra, Part V.B.1.

            o   Waste Vendor Assessments: From 2018-2020, RAAS and the TPA issued a series
                of remarkable audit findings that—in violation of internal procedures and contrary to
                statements in its public Sustainability Reports—the Company was not vetting the
                third-party waste vendors who receive wastes from its ships all around the world.
                Such a disconnect between public statements and reality not only created the risk of
                improper waste handling ashore, it sent employees the message that the Company
                was willing to make statements in its sustainability report that were not based in
                reality. Even viewed as an unfortunate oversight of the past, this kind of lapse makes
                senior management’s job of convincing employees of its sincerity more difficult. As
                discussed in Part VI.B below, in early 2020, the Company launched a new waste
                vendor assessment program. It has also changed the language in its Sustainability
                Reports, although it has not corrected the inaccurate statements from past reports.
                See infra, Part VI.B.4(a).

            o   Benchmarking and Metrics: The CAM observed at the end of ECP Year Two that
                the Company lacked benchmarks to measure the extent to which the Company is
                achieving its aspiration of “leaving the people and the places we touch even better.”
                See CAM Second Annual Report at 66-67; see also, e.g., Corporate Vision Statement.
                To the best of the CAM’s knowledge, the Company has continued to use the phrase,
                including in its public Sustainability Reports, without putting forth concrete metrics
                to measure, for instance, baseline environmental conditions and the impact of the
                Company’s activities on those conditions. See Employee Interview/Call Notes.30

        Effective compliance leadership requires that rhetoric on compliance be matched with taking
         on ownership and accountability for compliance efforts. A constant theme of conversations
    30
      As SASB observes: “Cruise vacations offer unique access to pristine ocean waters and
    destinations with delicate ecosystems. These sensitive ecosystems can be threatened by the size
    of the ships, the influx of tourists, and the scale of the resources consumed and waste generated
    onboard. Cruise ships discharge many types of treated and untreated wastewater at sea and non-
    degradable solid wastes on land. Careful management of ship discharge and mitigation of the
    ecological impacts of cruise line operations will ensure continued access to key ports and will
    help preserve the natural beauty that guests with to experience, both of which are key for
    companies to maintain market share as well as attract new customers.” Cruise Lines SASB at
    14.

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         between the CAM Team and the Company’s senior management is the fact that the
         Company’s employees are perceptive, and they pay attention to what management says and
         does. See Employee Interview/Call Notes. As a result, the Company is constantly teaching
         by example—by what it says and does, as well as by what it says and doesn’t do. If
         Company leaders reiterate statements like those in the Corporate Vision Statement, but do
         not pair those statements with concrete actions to address compliance needs, the messaging
         may have the perverse effect of sanctioning behavior that talks the talk of compliance, but
         does not walk the walk. This undercuts the espoused message, and teaches that it is better to
         appear committed than to be committed.

        As the Company emerges from the pandemic, and as the period of probation draws to an end,
         there is an opportunity for top leadership to continue to move beyond messaging, and to shift
         from a focus on external oversight to a focus on asking: How can I make compliance easier?
         What do people on ships need to support compliance in a direct way? What concrete actions
         did I take today, and what will I do tomorrow and each day after to own and be accountable
         for meeting those needs?

                    2.      OVERCOMING HISTORIC ANTI-LEARNING MINDSET

        The CAM has observed that the Company’s top leadership had a longstanding tendency to
         resort to techniques that deflect or minimize negative or uncomfortable information, rather
         than embrace a learning culture approach to such information. See CAM Third Annual
         Report at 107. This is not atypical. When organizations, and in particular their leaders, are
         faced with issues that are complex, embarrassing, or threatening, they may engage in what
         are known as “organizational defensive routines.” See C. Argyris, OVERCOMING
         ORGANIZATIONAL DEFENSES: FACILITATING ORGANIZATIONAL LEARNING (1990) at 25.
         These routines are characterized by actions “that prevent individuals or segments of the
         organization from experiencing embarrassment or threat. Simultaneously, they prevent
         people from identifying and getting rid of the causes of the potential embarrassment or
         threat.” Id. Such defensive behaviors “are antilearning, overprotective, and self-sealing.”
         Id.31

        As the environmental compliance culture survey of more than 70,000 Company employees
         illuminated, information—positive and negative—must be heard, valued and acted upon in a
         meaningful way to develop a culture of compliance. See infra, Part IV.B.1. Top leadership
         must “acknowledge and communicate that the unwanted environmental performance in the
         past is a result of how the organization works and not due to a handful of individuals alone.”
         Environmental Compliance Culture Assessment at 41-42. Top leadership must also “take[]
         ownership for compliance failures” and “acknowledge that change involves everyone,
         including them.” Id. at 42.

    31
       Argyris’s book is a seminal work in the field of organizational learning. See CAM March
    2020 Quarterly Report at n.33. Argyris was a Professor of Management Science at Yale
    University and a Professor Emeritus at Harvard Business School. Yale University has endowed
    a chair in his honor, and the current President of the University is the “Chris Argyris Professor of
    Psychology.” See https://www.yale.edu/about-yale/leadership-organization/peter-salovey.

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        Examples of the defend-and-deflect mindset, discussed in this Report and earlier CAM
         reports, include:

            o   Blaming “A Few Bad Apples:” Ascribing the crimes on the Caribbean Princess to
                “a few bad apples” and expressing views blaming employees, rather than taking
                broad corporate responsibility, for the years of violations. See CAM First Annual
                Report at 31.32

            o   Undisclosed Ship Visit Program: Sanctioning a “pre-TPA audit” ship visit program
                that was not disclosed to the TPA, CAM, or Interested Parties, the purpose of which
                appeared to be to avoid TPA audit findings, rather than to understand and address
                specific ship needs or uncover systemic or ongoing compliance challenges affecting
                ships on a fleetwide basis. See CAM April 2019 Quarterly Report at 47-52.

            o   Litigious Approach to Audit Findings on “Redundant” Pollution Prevention
                Equipment: Debating DOJ and the TPA over the definition of the ECP term “Major
                Non-Conformity”—in particular, as to whether the discovery of inoperable pollution
                prevention equipment should qualify as a Major Non-Conformity if “redundant”
                equipment performing the same function remains operable. As DOJ observed, the
                Company’s attitude “appear[s] to reflect an antagonistic corporate culture where
                management prizes avoiding adverse findings more than achieving actual compliance
                and progress.” Id. at 13-14 (quoting DOJ correspondence to Company). There may
                be significant compliance risks associated with the failure of “redundant” pollution
                prevention equipment, as evidenced by the role that successive breakdowns of
                “redundant” equipment played in the felony convictions in this matter. Rather than
                expending time, resources, and leadership attention to fighting such findings, it would
                seem more appropriate for the Company to prioritize providing ships with the support
                and resources needed to keep all pollution prevention equipment in good operating
                condition, and to embrace audit findings that elevate any issues with doing so to
                management’s attention. See id. at 10-14.

            o   Failing to Listen and Learn from Employee Concerns: Failing to effectively listen
                and learn from employees on a range of compliance-related concerns, including those
                related to: Exhaust Gas Cleaning Systems; DEI; food waste management; IT tools,


    32
       As required by the Probation Revocation Agreement, the Company’s top leadership issued a
    statement personally accepting responsibility for the probation violations. See Important
    Message from Chairman Micky Arison and CEO Arnold Donald (July 1, 2019) (stating that
    “Chairman Arison, Mr. [Stuart] Subotnick and I [Arnold Donald] take full responsibility for
    these violations”). The CAM is unaware of any such statement or apology issued with regard to
    the original criminal conviction. Instead, the Company issued a statement blaming employees,
    which read: “We are extremely disappointed about the inexcusable actions of our employees
    who violated our policies and environmental law . . .” See CAM First Annual Report at 31
    (quoting Statement from Princess Cruises (Dec. 1, 2016)) (emphasis added). As noted above, it
    is critical for top leadership to “take[] ownership for compliance failures” of the past in order for
    an organization to move forward. See Environmental Compliance Culture Assessment at 42.

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               including the automation of training recordkeeping; spare parts; and voyage planning.
               See infra, Part V and Part VI.C.1-4.

           o   Unsophisticated Approach to HESS Incident Reporting: Reporting on HESS
               events to the Board of Directors in a manner that appears designed to minimize
               incidents (including near misses) and risk factors, rather than to elevate them. In
               particular, such approaches may not effectively highlight the risks associated with
               low probability, high consequence events. See CAM January 2021 Quarterly Report
               at 87-89.

       An antilearning mindset can also be seen in the seeming inability for the Company to move
        effectively and with clarity on establishing robust programs for both internal investigations
        and risk management. See infra, Part VII.B.5, Part VII.C.2-3. This reflects a management
        culture that historically has not prioritized wanting to know everything, the bad along with
        the good, about the risks it faces and the systemic and cultural issues that may contribute to
        those risks. A mature organization understands that learning and acting upon hard truths
        through probing investigations and risk assessments will enhance its compliance, operational,
        and business performance, all of which are critical to helping ensure its continued freedom to
        operate.

       As discussed above, there are signs that this mindset has moved. Leaders at the Board and
        top executive leadership levels, including the Carnival Corp. CEO and Brand Presidents,
        have increased their visibility and engagement on compliance issues during ECP Year Four.
        See supra, Part III.B.1-2. The new Board member appears to be driving more sophisticated
        awareness of and approaches to compliance issues at the highest levels. Other leaders in new
        or newly filled positions at All Brands Group, including the Chief Ethics & Compliance
        Officer, Chief Operations Officer, and new General Counsel, also demonstrate what appears
        to be a genuine commitment to helping lead a mindset shift that starts at the very top.

                   3.     IMPROVING COORDINATION AND UNIFICATION OF COMPLIANCE EFFORTS

                          a)      Background

       Past CAM reports have found that the Company’s generally decentralized operations—a
        product of its remarkable growth through a series of mergers and acquisitions over several
        decades—are a barrier to compliance. Despite the creation of an All Brands Group-based
        Chief Ethics & Compliance Officer and Ethics & Compliance Department, there remains an
        engrained view in favor of decentralized approaches, which has resulted in “delayed,
        uncoordinated, and ineffective solutions to some of the Company’s most serious and long-
        standing compliance challenges.” See CAM Third Annual Report at 76, 174-75. This
        balkanized approach has also led to a lack of clarity among employees as to authority,
        responsibility, and accountability for compliance support and leadership between and across
        both: (1) All Brands Group and the individual Brands; and (2) Ethics & Compliance and




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         other departments, including HR, RAAS, Legal, and Maritime Operations—especially in
         critical areas like culture, DEI, risk, and training.33

        The CAM recognizes that centralization is not a panacea, and has consistently emphasized in
         conversations with Company personnel that centralization should not be pursued for its own
         sake. See Employee Interview/Call Notes. The CAM also recognizes that the Company
         attributes its historic business success in significant part to “its ability to manage brand
         autonomy, with each major cruise line maintaining separate sales, marketing and reservation
         offices.” See Vision, Mission & History, https://www.carnivalcorp.com/corporate-
         information/mission-and-history?c=200767&p=irol-history; Employee Interview/Call Notes;
         CAM Third Annual Report at 17, n.21. The assertion that the Company’s business success is
         a product of its decision to maintain largely autonomous operations across its Brands is often
         presented as an unqualified truth. However, individuals from all levels of the Company have
         expressed concerns that this approach may not be optimal from a compliance or maritime
         operations perspective. See Employee Interview/Call Notes.

                           b)      Positive Examples

        Progress toward greater coordination and unification of compliance-related efforts has been
         made or is underway, both before and during the period of probation. Examples include:

            o   Establishing the state-of-the-art Center for Simulator Maritime Training
                (“CSMART”) training center in The Netherlands to provide training to deck,
                technical, and Environmental Officers from across the Company’s Brands. CSMART
                opened in 2009 for two of the Company’s Brands, and significantly expanded in 2012
                to provide training to officers from all of the Company’s Brands. See CAM First
                Annual Report at 21-23; 34

    33
       The Ethics & Compliance charter states: “Due to the variety of environmental legal and
    regulatory issues and the maritime operations and compliance issues that frequently arise, [the
    Ethics & Compliance, Legal, and Maritime Operations] departments plan to develop more
    detailed protocols to provide clarity and guidance to various Company leaders and employees on
    where to direct certain questions or problems that may arise in addressing how such over-lapping
    issues should be addressed.” Corporate Ethics & Compliance Department Charter (Oct, 9, 2019)
    at 14. To the best of the CAM’s knowledge, no such protocols have been developed. The
    Company has confirmed that a “specific protocol was not developed,” but the Company
    “believe[s] [it has] addressed the concept through the following programs:” (1) a “Listen and
    Learn” campaign through which Ethics & Compliance personnel solicit feedback from
    employees through a range of mechanisms; (2) the risk registry currently underway, see infra,
    Part VII.C.3(b)(iv); (3) the accountabilities initiative currently underway, see supra, Part
    III.B.1(b); and (4) compliance reporting posters. See Company Draft Report Comments. These
    measures do not appear to directly address the barrier to compliance described above.
    34
      Due to the pandemic, the CSMART facility has been closed to in-person trainings since mid-
    March 2020. During this period, CSMART staff, in coordination with training, compliance, and
    operations personnel across the Company, have made significant efforts to transition training
    courses to a virtual format. See CAM January 2021 Quarterly Report at 73-75. The Company is
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           o   Unifying and standardizing policies and procedures from across the Brands into a
               single corporate-wide HESS management system, known as Global HESS. See CAM
               First Annual Report at App. B.

           o   Transitioning to a single, corporate-wide ISO 14001 certification for the Company’s
               Environmental Management System,35 instead of each Brand individually holding its
               own separate certification. See CAM December 2018 Quarterly Report at 25.36

           o   Developing a corporate-wide incident and near miss reporting system, known as
               SeaEvent. See CAM January 2021 Quarterly Report at 84-85; see also infra, Part
               VI.B.3 and Part VI.C.4.

           o   Ongoing development of the MAST initiative, which is designed to result in a single
               corporate-wide management system for planned maintenance37 and spare parts,
               including procurement and logistics. See CAM January 2021 Quarterly Report at 83-
               84; see also infra, Part VI.B.3 and Part VI.C.4.

           o   Consolidating the Company’s two North American Fleet Operations Centers (one
               based in Seattle and one based in Miami) into a single Miami-based center. See
               HESS Technical, Regulatory and Sustainability Report Q1 FY2021 (Apr. 2021),
               PCL_ECP00190483-574 (“HESS Board Report Q1 FY2021”) at
               PCL_ECP00190542.38 This project was completed in May 2021. See Company Draft


    targeting a potential October 2021 date for re-opening CSMART to in-person trainings. See
    Employee Interview/Call Notes.
    35
      The Environmental Management System is the Company’s set of “policies, procedures, and
    other documentation . . . that supports environmental operations.” ECP § I.D. The Company’s
    Environmental Management System is housed within its Global HESS system.
    36
       Developed and published by the International Organization for Standardization (“ISO”), ISO-
    14001 is an international standard that “sets out the criteria for an environmental management
    system and can be certified to.” ISO 14000 family – Environmental Management,
    https://www.iso.org/iso-14001-environmentalmanagement.html. To receive an ISO-14001
    certification, a company’s environmental management system must be audited by an accredited
    third-party body.
    37
      “Planned maintenance” refers to routine, preventive maintenance tasks performed to keep
    systems and equipment in working order (such as inspections, cleanings, alarm testing, or filter
    replacements), as opposed to maintenance tasks performed in response to an unexpected
    equipment breakdown, accident, emergency, or other incident. Planned maintenance tasks are
    entered into a ship’s planned maintenance system software, which generates automatic work
    orders when a task becomes due. The work orders include deadlines by which the task must be
    completed, unless postponed or suspended. Currently, the Company’s ships use one of two
    different planned maintenance systems. The Company is transitioning to a single system under
    the MAST initiative, discussed further in Part VI.B.3 below.
    38
      Fleet Operations Centers are staffed 24/7 and provide real time tracking, monitoring, and
    emergency response services to the ships, among other services. The Company also operates a
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               Report Comments. The CAM notes that this presents an opportunity for the
               Company to consider enhancing the level and breadth of services its Fleet Operations
               Centers provide to ships, including enhanced voyage planning and execution support,
               which could help address recurrent issues with prohibited discharges and emissions
               by Company ships into protected or restricted areas.

           o   Ongoing corporate reorganization to establish a global Health Services group under
               an All Brands Group Chief Health Officer. This includes establishing a central
               Miami-based Health Operations Center, which is connected to Regional Health
               Operations Centers based in: Hamburg, Germany; Southampton, United Kingdom;
               and Sydney, Australia. See HESS Board Report Q1 FY2021 at PCL_ECP00190546-
               47.

           o   Ongoing implementation of Ethics & Compliance-led programs on food waste
               management, waste vendor assessments, and shipboard and Fleet Environmental
               Officers. See infra, Part VI.B.2, Part VI.B.4, and Part VII.B.3.

                          c)      Areas of Opportunity

       The positive examples discussed above show that the Company is capable of achieving more
        unified approaches to historically decentralized aspects of its business. Company employees
        have identified additional areas of opportunity where there is a need for greater clarity and
        harmonization of approaches—most significantly, in the critical compliance areas of culture,
        DEI, IT and data, risk management, and training. As detailed in this Report, the Company is
        taking steps toward establishing more centralized governance approaches in each of these
        areas. See infra, Part IV.B.2 (culture), Part V.B.2-3 (DEI), Part VI.B.3 (IT and data), Part
        VII.C.3 (risk), and Part VII.C.4 (training).

       Continuing weaknesses in the Company’s corporate compliance function include:

           o   Lack of a formal process for corporate-wide consideration of learnings from incidents
               (including near misses), audits, investigations, government findings, consultants, and
               other sources to obtain the full benefits of that work.

           o   Lack of coordination on assessing regulatory requirements and the impact of changes
               of operations.

           o   Decision-making by consensus across different Brands, which may result in delayed
               responses to incidents (including near misses), findings, and other information, as
               well as inconsistent performance.

           o   Lack of a robust Management of Change process.




    Fleet Operations Center based in Hamburg, Germany, for its European brands. See About Us,
    https://www.carnival-maritime.com/about-us.31182.html.

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        Addressing these weaknesses through enhanced coordination and unification of efforts would
         allow the Company to better develop practices and procedures in support of compliant ship
         operations and to better monitor and assess their effectiveness.

        Some individuals within the Company have asserted that the International Safety
         Management (“ISM”) Code39 limits the Company’s ability to take a centralized approach to
         ship operations and compliance issues.

            o   Under the ISM Code, maritime companies are required to have a Safety Management
                System40 and must designate a person ashore responsible for “monitoring the safety
                and pollution-prevention aspects of the operation of each ship and ensuring that
                adequate resources and shore-based support are applied.” ISM Code (2018 ed.)
                (“ISM Code”) at §§ 1.4 and 4.

            o   To certify compliance with the ISM Code, a Document of Compliance is issued to a
                company.41 See id. at §§ 1.1.5, 13.1-2 (each “ship should be operated by a company
                which has been issued with a Document of Compliance…”). At Carnival Corp.,
                Documents of Compliance are issued to entities at the Brand level, rather than to an
                entity at the All Brands Group level.

            o   Some employees have stated that the fact that the Documents of Compliance are
                issued to the Brands means that the Brands must maintain control over the content of
                the Safety Management System. See Employee Interview/Call Notes. It is not clear
                that this is intended to be a limitation of the ISM Code. In particular, the Preamble to
                the ISM Code states: “Recognizing that no two shipping companies or shipowners
                are the same, and that ships operate under a wide range of different conditions, the
                Code is based on general principles and objectives.” See ISM Code at Preamble.



    39
       The ISM Code is “an international standard for the safe management and operation of ships
    and for pollution prevention . . . based on general principles and objectives, which include
    assessment of all identified risks to one Company’s ships, personnel and the environment and
    establishment of appropriate safeguards.” See ISM Code,
    https://www.imo.org/en/OurWork/HumanElement/Pages/ISMCode.aspx.
    40
       A Safety Management System is “a structured and documented system enabling company
    personnel to implement effectively the company safety and environmental protection policy.”
    Id. at § 1.1.4. The Company’s Safety Management System is contained within its Global HESS
    management system, which is an electronic platform that includes the Company’s HESS
    policies, procedures, and related guidance, notices, and other documents. The Company’s
    Environmental Management System is a component of the broader Safety Management System
    within Global HESS.
    41
       The ISM Code defines “company” as “the owner of the ship or any other organization or
    person such as the manager, or the bareboat charterer, who has assumed the responsibility for
    operation of the ship from the shipowner and who, on assuming such responsibility, has agreed
    to take over all duties and responsibility imposed by the Code.” Id. at § 1.1.2.

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           o   Even if it is a limitation of the ISM Code, as noted above, some employees have
               suggested that the Company could elect to have its Documents of Compliance issued
               to a single entity at the All Brands Group level that would then have ultimate
               decision-making authority for the content of the Safety Management System. See
               Employee Interview/Call Notes. The Company has responded by expressing concern
               that having Documents of Compliance issued to a single entity “is not an option
               without necessity for considerable change,” including revising “the entire structure of
               reporting and responsibilities.” Company Draft Report Comments. The Company
               also notes that an argument could be made “that having the [Documents of
               Compliance] embedded within each Brand brings the [Documents of Compliance]
               closer to operations and hence enhances compliance rather than distancing the
               [Documents of Compliance] from the operational unit.” Id. For the purposes of this
               Report, there does not appear to be consensus within the Company on the best path
               forward.

                   4.     EMPOWERING COMPLIANCE LEADERS WITH AUTHORITY TO CARRY OUT
                          RESPONSIBILITIES

                          a)      Background

       One of the “fundamental questions” DOJ asks in evaluating corporate compliance programs
        is whether a program is “adequately resourced and empowered to function effectively.” DOJ
        Corporate Compliance Guidance at 1-2 (emphasis added). Effective implementation
        “requires those charged with a compliance program’s day-to-day oversight to act with
        adequate authority and stature.” Id. at 11 (emphasis added). These individuals “must be
        empowered within the company.” Id. (emphasis added).

       In ECP Year One, the CAM found that the Company had failed to provide the Environmental
        Corporate Compliance Manager with ECP-required authority. See CAM First Annual Report
        at 4-5, 25-30. The Company did not act to remedy this finding until it faced the revocation of
        its probation near the end of ECP Year Two. See CAM Second Annual Report at 46-49, 91-
        92. In June 2019, the Company pleaded guilty to a probation violation for “failing to provide
        sufficient responsibility and authority to the [Environmental Corporate Compliance
        Manager] to implement the ECP.” Probation Revocation Agreement at 2. In doing so, the
        Company “acknowledge[d] that it failed to establish [an Environmental Corporate
        Compliance Manager] with authority (including resources, budget, and staff) as required to
        implement the ECP.” Id. at 10.

       At the end of ECP Year Three, while recognizing significant efforts to elevate and provide
        additional resources to the Environmental Corporate Compliance Manager position, the
        CAM found that the Company “does not yet appear to have provided the Environmental
        Corporate Compliance Manager with the authority required by the ECP,” or “to have
        provided either the Environmental Corporate Compliance Manager or the Chief Ethics &
        Compliance Officer (a position not created until ECP Year Three) with the authority required
        by the settlement of the Probation Revocation Petition.” CAM Third Annual Report at 76-
        77, 176-79. As detailed below, it is not clear that these concerns have been fully resolved in
        ECP Year Four.

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                            b)     Written Delegations of Authority

        In general, there is a lack of clarity within the Company about how authority is delegated
         across departments and positions. The CAM understands that there are no central corporate
         governing documents which enumerate such delegations. Instead, authorities are laid out in
         varying degrees of specificity across a range of documents, such as department charters, job
         descriptions, financial plans, and policies and procedures, including financial approval
         threshold policies. See, e.g., Approval Thresholds (Rev. Feb. 3, 2021) (setting financial
         approval thresholds for the Board of Directors and certain C-Suite executives, including the
         Carnival Corp. CEO, Chief Financial Officer, Chief Operations Officer, and Chief Maritime
         Officer, but not the Chief Ethics & Compliance Officer); see also Employee Interview/Call
         Notes. In practice, actual authority appears to be tied as much or more to an individual’s
         force of personality and perceived stature within the Company than to powers inherent in the
         position itself.

                            c)     Authority for Ethics & Compliance Leaders

        As noted above, the Ethics & Compliance charter and strategic plan state that the Chief
         Ethics & Compliance Officer and the Environmental Corporate Compliance Manager have
         “authority” and “control” to carry out their responsibilities. This includes the “authority and
         substantial control” of the Chief Ethics & Compliance Officer “to oversee and implement the
         Company’s overall ethics and compliance functions.” Carnival Corporation & plc’s Ethics &
         Compliance Strategic Plan: “Compliance Alliance 2020 and Beyond” (Oct. 9, 2019) (“Ethics
         & Compliance Strategic Plan”) at 27; see also Corporate Ethics & Compliance Department
         Charter (Oct. 9, 2019) (“Ethics & Compliance Charter”) at 2, 15.42

        Despite having such authority on paper,43 it is not clear how concepts such as “authority” and
         “control” are implemented in practice. Further, these grants of authority appear to be limited
         to authority and control over the Ethics & Compliance program itself, a grant of authority
         that states the obvious. For example:




    42
      The Ethics & Compliance governing documents do not appear to specify the authority of the
    other Corporate Compliance Managers (i.e., for Health/Safety/Security and General compliance)
    or functional leaders, including the heads of investigations and training. See, e.g., Ethics &
    Compliance Charter at 15. This indicates that these documents may have been drafted with the
    primary intent of appeasing the Court and DOJ, rather than ensuring that (all) compliance leaders
    are sufficiently empowered to carry out their duties.
    43
       The authority of the Environmental Corporate Compliance Manager is not always made
    explicit in written documents. For example, the Annual Environmental Compliance Report
    states that the Environmental Corporate Compliance Manager has “[o]verall responsibility” for
    ECP implementation, with no reference to “authority.” See Corporate Compliance Manager
    Annual Environmental Compliance Report 2020-2021, PCL_ECP00211308-614
    (“Environmental Corporate Compliance Manager Annual Report”) at PCL_ECP00211312.

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             o    The charter delegates to the Chief Ethics & Compliance Officer “full authority over
                  the Company’s Ethics & Compliance Program.” Ethics & Compliance Charter at 2
                  (emphasis added).

             o    Likewise, the strategic plan states that the Chief Ethics & Compliance Officer has
                  “authority and substantial control to oversee and implement the Company’s overall
                  ethics and compliance functions - including the ability to direct change and actions
                  across and within all brands (if, and when, necessary).” Ethics & Compliance
                  Strategic Plan at 27 (emphasis added).

             o    The Strategic Plan also states that the Environmental Corporate Compliance Manager
                  has “authority and control over Operating Line Compliance Managers.” Id.
                  (emphasis added).

         In that sense, these grants of authority appear to be redundant—i.e., the head of the Ethics &
          Compliance program is granted authority over the Ethics & Compliance program. It is
          unclear to what extent this authority extends beyond the Ethics & Compliance program to
          empower Ethics & Compliance leaders: to direct changes impacting other business areas,
          such as operations, finance, IT, or procurement; to verify and validate whether such changes
          have occurred; and to assess the effectiveness of such efforts as part of a process of
          continuous improvement.

         It is not uncommon for there be conflict between compliance and operational groups within
          an organization. The CAM Team has received numerous comments regarding continuing
          internal conflicts between Ethics & Compliance leaders and others within the company,
          including Maritime Operations leaders, that undercut the ability of the Chief Ethics &
          Compliance Officer and the Environmental Corporate Compliance Manager to exercise
          authority. The Company’s response was that: “The [Chief Maritime Officer] and [Chief
          Ethics & Compliance Officer] believe this is a mischaracterization.” Company Draft Report
          Comments. No matter how dedicated and talented the individuals in Ethics & Compliance
          leadership positions may be, they are not set up for success so long as the Company does not
          address even perceived uncertainty as to responsibility, authority, and accountability for
          compliance efforts.

    IV.      CULTURE

             A.      Potential Post-ECP Goals

    As described in Part II.A above, the goals detailed below were compiled by the CAM as of result
    of its communications with top leaders and senior management. However, in reviewing the draft
    of this Report, the Company stated that, while it “agree[s] with many of the goals,” it “cannot
    commit to the goals without further discussion across the organization.” See Company Draft
    Report Comments.




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        Culture Maturity: A corporate compliance culture characterized by:

            o   The highest level of cultural maturity—in particular, in the areas of trust, care, and
                openness—as assessed through tools that have been vetted for validity and reliability.

            o   A culture of continuous improvement where learnings from successes and failures are
                identified and incorporated into operations.

            o   A diverse, equitable, and inclusive workplace environment, shipboard and shoreside.

        Culture Governance: Corporate governance and leadership on culture characterized by:

            o   A Board of Directors that has set clear expectations and concrete goals on culture,
                including DEI, and holds top executive leadership accountable for delivering results.

            o   Top executive leadership that has set a clear strategy on culture, including DEI, and is
                responsible and accountable for achieving results.

            o   Oversight and monitoring of culture change efforts that is effectively coordinated
                between All Brands Group and the individual Brands.

            o   Commitment to culture change by leadership that is authentic and sincere (and
                believed by employees as such) and is purposefully, mindfully, and continuously
                reinforced.

        Just Culture: Moving beyond an admitted historic blame culture to a just culture approach,
         including one characterized by:

            o   The ability to effectively identify and analyze compliance shortcomings so that the
                Company holds not only individuals, but also itself, accountable for how systems or
                approaches it designs and implements contribute to unwanted behaviors and adverse
                events.

            o   Employees who are empowered, willing, and unafraid to report incidents, near
                misses, or other issues or concerns.

        Crew Welfare, including Mental Health and Wellbeing: Being a company that values and
         treats its crew members (of all ranks) as well as it treats its guests—including on issues of
         crew welfare (both physical and mental health and wellbeing), crew conditions, and
         compensation—and a company that is able to attract and retain top talent as a result.44


    44
      As SASB observes: “Cruise lines employ thousands of workers onboard each large vessel.
    Most ships are registered in countries where labor laws allow flexibility in many dimensions
    including pay, hours, fair treatment, and termination. Ship crews are multinational, and many
    are hired on a contract basis . . . Language barriers and the complexity of flag-state laws and the
    laws in workers’ home countries can make it difficult for workers to file charges in the case of
    labor law violations. Low morale among workers can impact their ability to meet customer
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            B.      Progress

                    1.     COMMITMENT TO MEASURING AND ENHANCING COMPLIANCE CULTURE

                           a)      Background

        In accepting the Company’s guilty plea in December 2016, the Court stated that it wanted to
         know “what was in the culture” because “there obviously was a culture, at least on [the
         Caribbean Princess], if not on other Princess Cruise Lines ships, that promoted dishonesty
         and the willingness to help each other out in getting around doing the right thing.” See Plea
         Hearing Tr. at 32 (Dec. 20, 2016). At the sentencing hearing in April 2017, the Court
         observed that “the culture really needs to be changed and [I’m] looking to [the CAM] to
         assist.” Sentencing Hearing Tr. at 13 (Apr. 19, 2017). The Company appeared to agree,
         stating: “[W]e’re committed to working with the court-appointed monitor and the third-party
         auditor over the next five years to continue to enhance our compliance program even more,
         and our focus is a culture of compliance.” Id. at 36.

        This recognition of the importance of culture is echoed in DOJ’s Corporate Compliance
         Guidance that states: “Beyond compliance structures, policies, and procedures, it is
         important for a company to create and foster a culture of ethics and compliance with the law
         at all levels of the company.” DOJ Corporate Compliance Guidance at 10. Accordingly, in
         evaluating compliance program effectiveness, DOJ considers the steps a company has “taken
         in response to its measurement of the compliance culture.” Id. at 16.

                           b)      Environmental Compliance Culture Assessment (Round One)

        As detailed in earlier CAM reports, the Company, in conjunction with the CAM and Propel
         Sayfr (now known as “SAYFR”), the CAM’s retained maritime culture expert, completed a
         first-of-its-kind environmental compliance culture survey of more than 70,000 ship and
         shoreside employees from late 2018 to early 2019. The survey results were finalized in
         August 2019. The results revealed a low level of compliance culture maturity throughout the
         Company, with the lowest scores—and greatest opportunities for improvement—in the areas
         of trust, care, and openness.45 See, e.g., CAM Third Annual Report at 71-72, 85-94. The
         final assessment noted that “[s]ignificant leadership efforts will be required to create a
         mature and sustainable compliance culture.” Environmental Compliance Culture Assessment
         at 3.

        To its credit, the Company’s top leadership accepted these results, and recognized that they
         are consistent with those of other studies commissioned by the Company. The Carnival
         Corp. CEO directed the Ethics & Compliance team to prepare a plan to address the findings


    service expectations, reducing a company’s revenues and market share.” Cruise Lines SASB at
    21.
    45
      Hundreds of comments also revealed widespread concerns about harassment and
    discrimination. As discussed in Part V.B below, such concerns relate directly to the Company’s
    compliance and risk management efforts. See infra, Part V.B.1(b).

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         before the assessment results were rolled out widely throughout the corporation. To support
         this effort, the Chief Ethics & Compliance Officer retained an outside consultant, ECI, in
         September 2019. As an initial step, ECI worked with the Company to craft a new Corporate
         Vision Statement. ECI also began working with the Company on developing a Culture
         Action Plan. See CAM January 2021 Quarterly Report at 32-33.

        Despite early support for and momentum towards a concerted, corporate-wide effort to
         address the assessment’s findings, initial progress on the action plan was slow. Much to the
         frustration of employees who had made significant efforts to answer the survey, details of the
         results, along with a plan to address the findings, were not timely or uniformly shared
         throughout the corporation, as the CEO had planned. See infra, Part IV.C.1.

        Although the survey results were provided to the Company in August 2019, the plan was still
         in draft form six months later when COVID-19 emerged as a concern in February 2020. The
         Company did not produce a revised Culture Action Plan until August 2020, approximately
         one year after the results were released, and that plan deferred many actions until after the
         pause. In the face of the pandemic, these delays might seem understandable.46 But there
         were months before the pandemic emerged when this critical effort was neither moved
         forward by top executive leadership, nor demanded by the Board of Directors. The failures
         of top executives to seize the moment, and of the Board to demand action, functioned as
         barriers to the Company’s stated aim of enhancing its compliance culture. See CAM Third
         Annual Report at 71-72, 164-72.

                           c)      Environmental Compliance Culture Assessment (Round Two)

        As planned, SAYFR will administer a second survey before the end of the five-year period of
         probation in order to assess the Company’s progress in supporting a sustainable compliance
         culture. The CAM Team and SAYFR are discussing the timing and further details of the
         survey administration.

        The CAM Team and SAYFR are also evaluating how the survey instrument should reckon
         with the effects of the COVID-19 pandemic and the profound impacts it has had on
         shipboard crew and shoreside employees.

                    2.     EFFORTS TO IMPROVE AND CLARIFY CULTURE CHANGE GOVERNANCE

        The Company has recognized the need for better coordination and “more consistency” over
         its culture change efforts, which “were often done independently or unilaterally, with no (or
         limited) coordination across the Corporation.” See Culture Governance Framework
         Document at PCL_ECP00178127; CAM January 2021 Quarterly Report at 33-34.



    46
       However, as noted above, the Court, quoting a former Deputy Attorney General, has
    admonished “just how important even in emergency times, unprecedented emergency times like
    this, that it’s so important to focus on the values that the company has and not just be focused on
    the bottom line.” Status Conf. Tr. at 12 (Apr. 24, 2020).

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        In January 2021, the Company finalized a culture governance framework setting out “roles,
         responsibilities and accountabilities” of various leaders, from Board Members to Brand
         personnel. See Culture Governance Framework Document at PCL_ECP00178127-33.47
         Under this framework, the Company’s executive leadership at All Brands Group and the
         individual Brands have agreed to take on ownership and accountability over culture change
         efforts. Further details on the framework are discussed in Part IV.C below. See infra, Part
         IV.C.2.

        Importantly, the framework establishes DEI as a “central pillar of our broader culture
         improvement efforts.” Culture Governance Framework Document at PCL_ECP00178128.

                    3.     CULTURE ACTION PLAN IMPLEMENTATION

        The Company produced a final Culture Action Plan in August 2020. The plan identifies a
         range of activities, some to be implemented during the pause and some to implemented after.
         See CAM January 2021 Quarterly Report at 32-37; Carnival Corporation Culture Action Plan
         for 2020-2021 (Aug. 2020), PCL_ECP00168638 (“Culture Action Plan”); Appendix – Work
         Plan for Culture Action Plan (Aug. 2020), PCL_ECP00168629.

        Highlights of Culture Action Plan activities are summarized in Appendix B.

        The CAM continues to recognize the hard work and dedication of the personnel working to
         improve culture and implement the Culture Action Plan. These efforts continue to be led
         primarily by the Brands, working in coordination with All Brands Group.

            C.      Remaining Barriers and Opportunities for Improvement

                    1.     MISSED OPPORTUNITIES AND DELAYS

        As noted above, the Company’s response to the Environmental Compliance Culture
         Assessment reflects missed opportunities,48 including delays at the All Brands Group level in
         finalizing both: (1) the Culture Action Plan—finalized one year after the assessment’s
         results were shared; and (2) a culture governance framework—established nearly a year and
         a half after the assessment’s results were shared. Based on the CAM Team’s discussions at
         all levels of leadership, these delays appear to be attributable to a lack of focused,
         coordinated leadership at the All Brands Group level. See CAM Third Annual Report at 166-
         67.

        Groups of senior shoreside and shipboard leaders were briefed (either by SAYFR or
         internally) on the results of the assessment, and there have been some Brand- and/or

    47
      The CAM understands that this framework replaces the “high-level” Steering Committee and
    Working Group anticipated under the Draft Culture Action Plan. See [Draft] Carnival
    Corporation Culture Action Plan (Jan. 29, 2020), PCL_ECP00154952-59 at PCL_ECP00154953.
    48
      This includes the failure to act promptly to address reports of harassment and discrimination, a
    key compliance risk factor. See infra, Part V.B.1(b).

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        Company-wide communications, training materials, and presentations which describe the
        results and follow-up actions at a high level. For example, in September 2019, an email was
        sent to Company employees stating that: “The [culture survey] results have showed that we
        have a lot of work to do in building a culture of trust - not blame. As your senior leadership
        we own the responsibility to create a better culture . . . One of the ways we have begun to
        take steps in the right direction is the creation of a Carnival Corporation Ethics &
        Compliance Department . . .” See Internal Communication (Sept. 20, 2019),
        PCL_ECP00167092-93.

       While it is important for top leadership to accept responsibility for leading culture change
        efforts, it is not sufficient to say “we own the responsibility to create a better culture.” It is
        critical that top leadership also “take[] ownership for compliance failures” of the past, and
        fully and openly “acknowledge and communicate that the unwanted environmental
        performance in the past is a result of how the organization works.” Environmental
        Compliance Culture Assessment at 41-42. As noted above, an overt acknowledgement by
        top leadership of its own role and accountability in past compliance failures is a critical
        missing element of Company communications. See supra, Part III.C.2.

       Crew members and shoreside employees who took the survey have expressed frustration to
        the CAM Team that, despite their time, effort, and openness in completing the survey, the
        Company did not find a timely way to provide them with information about the assessment’s
        findings and the steps that the Company would take in response. The unintended
        consequence is, ironically, to further undercut their confidence in management’s commitment
        to trust, care, and openness—the very areas in which the Company scored the lowest in the
        assessment. This is a self-inflicted wound. See Employee Interview/Call Notes.

                    2.      UNRESOLVED CULTURE CHANGE GOVERNANCE CONCERNS

       It remains to be seen if the culture governance framework will resolve the concerns about a
        lack of coordinated, centralized strategy or leadership. The framework continues to be
        viewed by employees as a somewhat confused set of oversight and implementation
        responsibilities across a range of departments and personnel at All Brands Group and the
        individual Brands. See id.

       Under the framework:

            o   The Board of Directors will “oversee and safeguard culture” and “set clear
                expectations for what it expects [the Company’s] senior leaders to achieve, and what
                concrete goals will be accomplished.” Culture Governance Framework Document at
                PCL_ECP00178132 (emphasis added).

                        The CAM is aware that the Board plans to set clear expectations and concrete
                         goals with respect to culture. See supra, Part III.B.1(b).

            o   Top executive leaders at All Brands Group and the individual Brands “are ultimately
                accountable for setting the strategy and delivering the results.” Culture Governance
                Framework Document at PCL_ECP00178132 (emphasis added).

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                      The CAM is aware that top executive leaders plan to articulate a strategy for
                       establishing a culture of compliance and determining how they will measure
                       progress. See Company Draft Report Comments.

           o   The “HR Leadership Team”49 will “oversee[] the execution with the brands” and
               develop “clear expectations and implementation steps that include key performance
               indicators (‘KPIs’),” including “ensuring that all on-going culture efforts prioritize
               and foster improvements” in DEI. Culture Governance Framework Document at
               PCL_ECP00178132 (emphasis added).

                      While it does appear that Brand HR leaders are undertaking efforts with
                       respect to establishing a culture of compliance, the CAM is not aware that any
                       “HR Leadership Team” has set clear expectations and implementation steps
                       consistently with a strategy set by top executive leadership, or in an effort to
                       meet concrete goals articulated by the Board. Nor could HR leaders be
                       expected to do so given that the Board and top executive leaders have yet to
                       provide the strategy and concrete goals described in the culture governance
                       framework. The CAM is also not aware of any corporate-wide KPIs for
                       culture.

           o   The Ethics & Compliance team will “monitor the implementation and execution
               efforts to ensure timely progress, general consistency between brands, the sharing of
               information and best practices, as well as to assess overall effectiveness.” Id. at
               PCL_ECP00178133 (emphasis added).

                      The CAM notes that there seems to be significant overlap between the role of
                       the “HR Leadership Team” and the Ethics & Compliance team. In addition,
                       the CAM is not aware of any concrete goals set by the Board, any desired
                       results identified by top executive leadership, or any KPIs set by the “HR
                       Leadership Team” to guide the Ethics & Compliance team in assessing overall
                       effectiveness.

                      Moreover, it is unclear what actual authority the Ethics & Compliance team
                       has “to ensure” timely progress. For instance, it does not appear that Ethics &
                       Compliance leaders have authority or responsibility to take action to address
                       implementation and execution efforts that are inadequate or inconsistent.


    49
      To the best of the CAM’s knowledge, the Company has no centralized “HR Leadership
    Team.” Instead, each Brand has its own HR department. HR leaders from across the Brands
    may coordinate via formal working groups or informal interactions, but the separate Brand HR
    departments largely operate independently from one another, as well as from other functions
    such as Maritime Operations and Ethics & Compliance. Although there is an All Brands Group
    Chief HR Officer, the CAM has been told unequivocally that the function of this position is
    limited to “executive compensation.” See Employee Interview/Call Notes. The Chief HR
    Officer appears to play an administrative and facilitating role for the Brand HR leaders, but does
    not, and is not apparently authorized to, lead culture change or DEI efforts. See id.

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           o   Brand HR, Learning & Development, and Communications Leaders will be
               responsible for “implementation and execution.” Id. (emphasis added); see also
               Carnival Corporation & plc Ethics & Compliance Q1 2021 Report to the Compliance
               Committees (“Compliance Committee Q1 2021 Report”).

                       It does appear that the Brand HR, Learning & Development, and
                        Communications Leaders are taking steps to establish a culture of compliance,
                        and the CAM Team will continue to monitor whether these efforts are being
                        undertaken with clear direction and support from the Board and top executive
                        leadership. The CAM Team will also monitor whether there is effective
                        coordination and oversight by the “HR Leadership Team” and the Ethics &
                        Compliance team.

                   3.      ESTABLISHING ACCOUNTABILITY FOR TOP LEADERSHIP

       Culture change in any organization is a difficult, often long-term effort, especially for an
        organization of the size and complexity of Carnival Corp. The Environmental Compliance
        Culture Assessment makes clear that the challenge is increased when an organization’s
        leaders are reluctant to recognize their own role in creating or maintaining a culture which
        enabled the organization’s past violations. See Environmental Compliance Culture
        Assessment at 41-42.

       If there were a single take-away for success in the way forward from the Environmental
        Compliance Culture Assessment, it is that the Company’s top leaders need to be forthright in
        addressing their own past failures to foster and develop a culture of compliance. See id. Any
        culture governance framework or culture action plan should require, as a starting point, that
        the highest levels of leadership not only speak to their support of compliance, but are held
        accountable to act in concrete ways that support compliance. If words are not backed up
        with concrete commitments to which leaders are held accountable, the culture change efforts
        will likely be viewed by employees as a hollow PR campaign or, for the next several months,
        an effort to placate the Court or DOJ. Leaders could be perceived as continuing a message
        that it is more important to say the right thing than to do the right thing. This is especially so
        if the messaging comes out without effective leadership accountability mechanisms in place.
        See CAM Third Annual Report at 168; see also supra, Part III.C.1.

       The return to service presents an opportunity for Company leaders to explicitly introduce any
        new strategy and vision for Company culture, as well as to set clear expectations for culture
        going forward, and to commit to being held accountable for supporting employees in meeting
        those expectations.

                   4.      SELF-ASSESSMENT AND SURVEY CONCERNS

       As part of the Culture Action Plan, ECI, in coordination with the Ethics & Compliance team
        and others, has administered, or is planning to administer, various self-assessments and
        surveys, including a High-Quality Program Self-Assessment and a series of monthly



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          (“pulse”), quarterly, and annual employee surveys. Company employees have raised
          concerns about these efforts, and the CAM shares those concerns, as summarized below.50

                             a)     High-Quality Program Self-Assessment

         The High-Quality Program Self-Assessment is a self-assessment of the Ethics & Compliance
          program, using ECI’s High-Quality Program self-assessment tool.51 As noted below, in
          ECI’s own words in its transmittal letter to the CAM, the self-assessment “is not intended to
          be a third-party verification of actual program implementation, nor is it a scientific testing
          of program effectiveness.” Letter from ECI to Chief Ethics & Compliance Officer (May 26,
          2021), PCL_ECP00217884-86 (“HQP Self-Assessment Transmittal Letter”) at
          PCL_ECP00217884 (emphasis added). Rather, it is a self-assessment designed to prompt
          “robust conversations” about what those within the Company perceive as the strengths and
          weaknesses in the program. Id.

         The High-Quality Program Self-Assessment focuses on five principles ECI has determined
          are critical for an effective Ethics & Compliance program: (1) Strategy; (2) Risk
          Management; (3) Culture; (4) Speaking Up; and (5) Accountability. The self-assessment
          administered to Carnival Corp. consisted of question sets provided to three small groups
          within the Company (41 members of the Ethics & Compliance team, 129 senior executives,
          and the 12 members of the Board of Directors), and the results were compared to similar self-
          assessments conducted at approximately 70 other organizations. See HQP Self-Assessment,
          Carnival Corporation & plc Report, Comparison of E&C, Senior Leaders and Board of
          Directors (June 10, 2021), PCL_ECP00223913 (“HQP Self-Assessment Report”) at 4-9.

              o   The first question set was administered to 41 members of the Ethics & Compliance
                  team in August 2020 “to gather input on the extent to which Carnival has
                  implemented the elements of an [Ethics & Compliance] program that are generally
                  accepted by the [Ethics & Compliance] industry as critical to a [High-Quality
                  Program].” HQP Self-Assessment Transmittal Letter at PCL_ECP00217885. This
                  first question set had a 98% response rate, indicating that 40 people responded.

              o   The second question set was administered to 129 senior executives in December 2020
                  and January 2021 to “gauge the extent to which leaders: a) were aware of the
                  presence of key [Ethics & Compliance] program practices, b) understood and
                  accepted their role in leading [Ethics & Compliance] in their portion of the business,
                  and c) actively engaged in the behaviors that are essential to the growth of a strong
                  ethical culture in the organization.” Id. This question set had a 76% response rate,
                  indicating that 98 people responded.


    50
      ECI, through its general counsel, requested that the assessment and survey instruments and
    materials not be shared with SAYFR, the CAM’s maritime culture expert, despite the fact that
    confidentiality agreements were in place. Accordingly, the CAM does not have the benefit of
    SAYFR’s review of these materials.
    51
         See https://www.ethics.org/hqp/.

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           o   The third and final question set was administered to the 12 members of the Board of
               Directors to “ascertain the extent to which they were: a) aware of the priorities and
               key activities of the [Ethics & Compliance] program, b) understood their role in
               prioritizing [Ethics & Compliance], and c) actively engaged in the activities that are
               essential for proper oversight of the [Ethics & Compliance] effort.” Id. This question
               set had a response rate of 75%, indicating that 9 people responded.

       The High-Quality Program Self-Assessment presents the following as key findings, among
        others:

           o   The Ethics & Compliance team’s ratings of its program were generally consistent
               with those of other companies’ Ethics & Compliance departments.

           o   The more senior the leader, the more positive the perception of the Company’s Ethics
               & Compliance efforts. Board members rated the Company’s Ethics & Compliance
               efforts most favorably out of the three groups of survey respondents.

           o   All three groups rated themselves in the top two tiers of maturity for all five
               assessment principles (i.e., Strategy, Risk Management, Culture, Speaking Up, and
               Accountability). Despite high ratings across the board, all three groups rated Risk
               Management as the area needing most improvement. The Ethics & Compliance
               Department rated itself highest in Culture. The senior executives and the Board rated
               themselves highest in Strategy.

               See HQP Self-Assessment Report at 11-33.

       The High-Quality Program Self-Assessment also presents the following recommendations:

           o   The Board should “[d]evelop incentives and accountability systems for leaders’ roles
               in identifying risks, strengthening culture and ensuring consistent
               accountability/disciplinary action across all employee levels.” Id. at 36 (emphasis
               original).

           o   Senior executives should “[i]mplement systems to help leaders identify and mitigate
               key compliance risks;” “[p]rioritize communication with employees about [senior
               leaders’] commitment to integrity and steps [senior leaders] are taking to promote
               [Ethics & Compliance];” and “[f]ocus on the implementation of systems of
               accountability across all employee levels.” Id. (emphasis original).

           o   The Ethics & Compliance team should “[d]evelop strategies for . . . [r]isk assessment
               through issue spotting and early remediation of compliance gaps using root cause
               analysis,” and “[f]ollow-up/response to employees who report suspected
               wrongdoing.” Id. (emphasis original).

       Importantly, the transmittal letter accompanying the final High-Quality Program Self-
        Assessment report states that the self-assessment “is not intended to be a third-party
        verification of actual program implementation, nor is it a scientific testing of program
        effectiveness.” HQP Self-Assessment Transmittal Letter at PCL_ECP00217884 (emphasis
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        added). Rather, it “contains a set of metrics developed by practitioners in the [Ethics &
        Compliance] industry to provide a way to help organizations consider their program
        activities relative to what the industry considers to be best practice.” Id. (emphasis added).
        The self-assessment “fulfills its intended purpose if an organization completes the
        assessment, holds robust internal conversations with leadership about their level of
        satisfaction with their results and the current state of their efforts, and then adjusts its [Ethics
        & Compliance] program objectives based on identified gaps, new goals for the program, or
        heightened priorities.” Id. (emphasis added).

       The statements that the High-Quality Program Self-Assessment is neither “a third-party
        verification of actual program implementation,” nor “a scientific testing of program
        effectiveness” is consistent with views of employees and the CAM. It is not an objective
        survey or assessment of the Company’s compliance program or culture. Rather, the self-
        assessment is a tool to prompt conversations about the Ethics & Compliance program. The
        fact that it does not measure actual program effectiveness also explains the discrepancy
        between what might appear to be high scores and the Company’s acknowledged deficits in
        the areas being measured. For example, the self-assessment results rated Risk Management
        highly (either the highest (“optimizing”) or second-highest (“managing”) maturity level),
        despite the fact that the Company has acknowledged, including to the Court, that it does not
        have either a coordinated, holistic approach to risk management or clear accountabilities for
        managing and dealing with risk. See, e.g., Status Conf. Tr. at 55-56 (Apr. 30, 2021); see also
        infra, Part VII.C.3. The Company states that it recognizes that, despite the high ratings, “risk
        management was rated the lowest out of the five principles by each group surveyed
        indicating it as an area of opportunity.” Company Draft Report Comments. The Company
        further states that the “results of the self-assessment will not hamper the Company’s
        commitment to continue focusing on improving risk.” Id.

                            b)      Pulse, Quarterly, and Annual Surveys

       ECI also plans to administer a series of monthly “pulse” surveys, quarterly “panel” surveys,
        and annual “all-employee” surveys, designed to “measure the progress of [the Company’s]
        culture change efforts” in response to the findings of the Environmental Compliance Culture
        Assessment. See Culture Action Plan at 10. As noted below, because the survey instruments
        have not yet been tested for validity and reliability, it has not been established that they will
        provide, or be intended to provide, valid measurements of progress.

       The first pulse survey was launched on June 7, 2021, to all ship and shoreside employees. It
        was open for a two-week period. Results are not yet available. Plans for future pulse
        surveys (which might proceed on a bi-monthly, rather than monthly, basis initially), as well
        as quarterly and annual surveys, are still being developed. See Employee Interview/Call
        Notes.

                            c)      Areas of Concern

       The CAM Team has heard multiple concerns about these self-assessment and survey efforts
        from Company personnel, and they seem well-founded. Although not always expressed in
        these terms, the employee concerns primarily relate to:

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           o   Validity and Reliability Testing: The CAM Team is aware of a reliability analysis
               as to the High-Quality Program Self-Assessment administered to the Ethics &
               Compliance department. The CAM Team is not aware of any validity and reliability
               analysis of the High-Quality Program Self-Assessment question sets administered to
               the Board of Directors or to senior leaders, or for the pulse, quarterly, or annual
               survey instruments.

               ECI has reported that it will assess the validity and reliability of the pulse survey
               instrument after the initial round of survey administration, and that it could not do so
               earlier because the questions were developed specifically for Carnival Corp. See id.
               The CAM Team will review any such assessments.

               Survey Instrument Question Sets: Because ECI requested that the CAM’s
               maritime culture expert, SAYFR, not have access to the assessment and survey
               instrument materials, the CAM Team’s ability to assess the survey instruments is
               limited. Nonetheless, it is apparent that the pulse survey contains repeated compound
               questions. For example, several questions ask the respondent to rate the behaviors of
               “Ship Leadership,” defined as “ship captain, hotel general manager and chief
               engineer.” A respondent may wonder how they should answer if, for example, the
               respondent would rate the captain highly and the hotel general manager poorly. This
               type of question asks employees to rate the behaviors of multiple specific individuals
               with a single rating. This is a classic compound question. Rather than recognizing it
               as problematic, the Company’s response attempts to equate this question with a
               question from the SAYFR assessment which asks respondents for their perception of
               whether “[m]anagement pressure causes us to break company policies.” See
               Company Draft Report Comments. Asking employees to rate the behavior of
               multiple specific leaders with a single rating differs from asking employees to rate
               how management pressures collectively influence the employees’ own behaviors.

               There are multiple other examples of compound questions in the pulse survey
               question sets.

               High-Quality Program Self-Assessment Conclusions: Some of the conclusions
               from the High-Quality Program Self-Assessment are concerning. For example, the
               assessment observes that “[s]ome of the differences in perspective at lower levels of
               the organization may be the result of a lack of visibility into leadership activity (e.g.,
               leaders’ integrity & accountability, owning risks).” HQP Self-Assessment Report at
               35. However, it does not go on to explicitly observe the other side of the coin: that
               the higher ratings of Board members and senior executives may be due to the fact that
               they have a “lack of visibility” into the challenges faced by those carrying out the
               day-to-day functioning of the organization.52



    52
      The Company notes that, 24 pages earlier, the report says that: “The higher the level of leader,
    the more positive the perspective of the [Ethics & Compliance] effort. This finding is consistent
    with ECI’s research that ‘the view is rosier at the top.’” Company Draft Report Comments. This
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                Further, ECI’s transmittal letter makes clear that the High-Quality Program Self-
                Assessment does not purport to measure “actual program implementation” or
                “program effectiveness,” but rather assesses “how company leaders self-measure the
                maturity of the various elements of the [Ethics & Compliance] program.” See HQP
                Self-Assessment Transmittal Letter at PCL_ECP00217884 (emphasis added). These
                qualifications are not included in the final assessment report. Moreover, the question
                sets to the Board of Directors and to senior leaders state that the “report will indicate,
                by principle, the maturity level of the [Ethics & Compliance] program.” See ECI
                HQP Assessment Board Question Set; ECI HQP Assessment Senior Leaders
                Question Set.

                Because vital information about the assessment’s limitations is not included in the
                report (and indeed, the question sets to the Board and senior leaders have seemingly
                contradictory information), there is a risk that the Company will interpret the high
                scores as indicators that its program is both mature and effective, even in the face of
                significant and acknowledged deficits in the areas measured in the assessment. The
                exclusion of this information also seems counter to the stated purpose of the self-
                assessment to engender “robust internal conversations” to address “identified gaps.”
                See HQP Self-Assessment Transmittal Letter at PCL_ECP00217884.53

                    5.     ACHIEVING A JUST CULTURE

        The SAYFR Environmental Compliance Culture Assessment identified concerns about a
         blame culture. These findings are consistent with the findings of other assessments of the
         Company’s culture, including those by the Company’s own consultants. See CAM
         September 2019 Quarterly Report at 19-22 (summarizing surveys and reports that have
         “consistently identified concerns regarding a blame culture and lack of trust between
         employees, supervisors and managers”).

        The Company has stated a commitment to move away from a blame culture and toward a just
         and fair culture. See, e.g., Culture Governance Framework Document at PCL_ECP00178127
         (noting that the Corporate Vision Statement includes a commitment to a “positive and just
         corporate culture”). Under a just and fair culture approach, an organization, while
         appropriately holding individuals accountable, also holds itself accountable for how systems
         or approaches it designs and implements contribute to unwanted behaviors and adverse
         events. See CAM First Annual Report at 30, n.26. As the CAM has observed, “individual

    is not the same as a statement that the “rosier” views held by leadership may be due to leadership
    not having visibility into the challenges faced by those carrying out day-to-day operations.
    53
       The Company states that “[p]rior to the survey and during [its] briefings on findings, ECI
    conveyed to the company that the purpose of the [High-Quality Program Self-Assessment] was
    to enable [the Company] to gauge internal perceptions of its progress in order to initiate an
    internal dialogue about priorities going forward,” and that the “absence of such a disclaimer has
    not precluded the ‘robust internal conversations’ that were initially intended.” Company Draft
    Report Comments. The Company also states that “regardless of whether the self-assessments are
    positive, it will not hamper our efforts as a company to make improvements.” Id.

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        accountability is important (especially if there has been intentional wrongdoing), but a focus
        on individual errors without also identifying or addressing potential systemic causes can
        foster a culture of blame and fear, attributes of the Company’s culture found throughout its
        brands in the [SAYFR] Environmental Compliance Culture Assessment.” CAM Third
        Annual Report at 196.

       Reversing a longstanding blame culture is not a short-term effort. Employees have expressed
        concerns to the CAM Team that some members of top leadership think this problem has been
        addressed (as exhibited through statements from leaders like “we used to have a blame
        culture but don’t anymore”). See Employee Interview/Call notes.

       While the Company is to be credited for recognizing and taking steps to address this barrier
        to compliance, further efforts will be required. The perception of a blame culture continues
        to be felt aboard the ships and in shoreside offices. See Employee Interview/Call Notes.
        That is not to say no progress has been made. Many employees report that they would feel
        more comfortable reporting a compliance concern without fear of retaliation now than in the
        past, and the increase in Environmental Open (“Hotline”) Reports from Year 1 – Year 4
        indicates improvement in Speak Up culture. But it is difficult to know if a widespread
        change has occurred. The Company’s own internal investigations reveal some views to the
        contrary. For example, one investigation found: “Most of the interviewees stated they felt
        empowered to use Hotline Reporting System; however several interviewees were not
        confident that the reporter’s anonymity would be protected . . . Although onboard senior
        management perceived a healthy speaking up culture, there were several statements made
        by crew members that indicated speaking up was not always easy.” Final Report,
        IAG2021006 (June 14, 2021), PCL_ECP00223914-22 at PCL_ECP00223919 (emphasis
        added).

                   6.      MAINTAINING SUPPORT FOR CREW WELFARE, INCLUDING MENTAL HEALTH
                           AND WELLBEING

                           a)     Pause Initiatives

       As part of the Culture Action Plan “Promoting Team Wellness” initiative, described in
        Appendix B of this Report, each Brand developed strategies to promote crew wellness aboard
        the ships during the pause. These activities have included: free internet to communicate
        with friends and family; free mental health counseling resources; training for shipboard
        leadership on warning signs for mental health issues; moving crew to guest cabins to be more
        comfortable; and outdoor activities for crew, such as games and movie screenings. See
        Employee Interview/Call Notes; Leadership Updates Feedback at 2-9. The extent to which
        each of these strategies will continue once passenger operations resume remains to be seen,
        but, as noted below, the needs of the crew will continue.

       In virtual ship visits conducted during the pause, the CAM and TPA teams observed high
        levels of crew morale, despite their challenging circumstances. Notably, many crew
        members have expressed deep appreciation for the increased attention from shoreside
        personnel (from managers up to Brand Presidents and top Carnival Corp. executives),
        enabled in part by enhanced IT support for videos and call conferencing. See Employee

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         Interview/Call Notes. As discussed in Part III.B above, some of that engagement occurred as
         a result of the Court’s requirement for returning ships to certify their compliance readiness.
         See supra, Part III.B.2.

        At the same time, crew members expressed concerns that, as passenger cruises resume, this
         level of attention may disappear. There is a general apprehension that management’s focus
         will shift away from support for ship operations, crew needs, and welfare, to guest
         experience and revenue generation. See Employee Interview/Call Notes; see also infra, Part
         VI.C.1.54

                           b)      Restart Initiatives

        As more ships prepare for restart, the Company will need to consider that many crew
         members returning to work aboard may suffer from trauma or other mental health conditions
         related to the effects of the pandemic. As one study observed:

            Cruise ship employees who are stuck at sea have found themselves in a peculiar situation
            that they cannot change because they depend on multilateral dialog and agreements
            between cruise line companies, the CDC, airlines, and various governments. As
            uncertainty crawls in every pore of cruise ships, causing waves of stress, depression,
            anxiety, and panic, cruise ship employees are in need to create a common sense from
            what appears to be a hopeless situation. The COVID-19 pandemic is having an
            overwhelming effect on all life aspects of cruise ship employees, including mental and
            physical health.

         A. Radic, et al., Fear and Trembling of Cruise Ship Employees: Psychological Effects of the
         COVID-19 Pandemic, Int’l Journal of Envt’l Rsch. and Pub. Health (Sept. 16, 2020)
         (emphasis added).55



    54
       Throughout the period of probation, crew members have expressed to the CAM Team a sense
    that the Company values guest experience over crew experience. See Employee Interview/Call
    Notes. The Company has long conveyed that its mission, in addition to delivering breakthrough
    shareholder returns, is to “deliver joyful vacation experiences . . . by exceeding guest
    expectations.” See Carnival Corporation – Our Mission,
    https://www.carnivalcorp.com/corporate-information/mission-and-history. Corporate
    philosophies emphasizing employee experience, rather than guest experience, have been
    embraced by other leaders in the transportation and travel industries. For example, a co-founder
    of Virgin Group Ltd., is quoted as saying: “Clients do not come first. Employees come first. If
    you take care of your employees, they will take care of the clients.” See, e.g., Why you should
    put employees, not customers, first (Nov. 2, 2016), https://nzbusiness.co.nz/article/why-you-
    should-put-employees-not-customers-first.
    55
      SASB observes that even under normal working conditions, “[w]orkers often put in long hours
    for months at a stretch and stay in shared quarters, which can make it difficult to recuperate.”
    Cruise Lines SASB at 21.

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        The Company’s Brands report that they plan to provide a range of mental health and
         wellbeing services to crew members on ships returning to service, ranging from support
         hotlines to mental health awareness trainings, with offerings differing by Brand. See
         Leadership Updates Feedback at 3-9. It will be critical for the Company to maintain focus,
         support, and resources for crew mental health and wellbeing as ships return to service,
         including sharing best practices between Brands and establishing mechanisms for soliciting
         feedback directly from crew members about their needs and concerns.

        The CAM Team intends to further explore the steps the Company is taking to plan for and
         address the potential impacts of trauma on individuals, as well as how those impacts may
         affect ship culture and operations. This will include the extent to which the Company is
         incorporating trauma-informed techniques in its many auditing, inspection, interviewing, and
         training processes, an approach the CAM Team is seeking to undertake as well.

    V.      DIVERSITY, EQUITY, AND INCLUSION

            A.      Potential Post-ECP Goals

    As described in Part II.A above, the goals detailed below were compiled by the CAM as of result
    of its communications with top leaders and senior management. However, in reviewing the draft
    of this Report, the Company stated that, while it “agree[s] with many of the goals,” it “cannot
    commit to the goals without further discussion across the organization.” See Company Draft
    Report Comments.

        Culture: A corporate culture that employees experience as supporting a diverse, equitable,
         and inclusive workplace, shipboard and shoreside.

        DEI Governance: Corporate governance and leadership on DEI characterized by:

            o    A Board of Directors that has set clear expectations and concrete goals on DEI, and
                 holds top executive leadership accountable for delivering results.

            o    Top executive leadership that has set a clear strategy on DEI, and is responsible and
                 accountable for achieving results.

            o    Oversight and monitoring of DEI efforts that is effectively coordinated between All
                 Brands Group and the individual Brands.

            o    Commitment to DEI by top leadership that is authentic and sincere (and believed by
                 employees as such) and is purposefully, mindfully, and continuously reinforced.

            o    Diversity at the top leadership and senior management levels that reflects the
                 diversity of the Company’s workforce.

        DEI Achievements: Becoming an industry leader in addressing historic ethnic, racial, and
         gender employment disparities in the maritime industry, while at the same time enhancing
         the Company’s ability to address some of the compliance challenges tied to a lack of DEI,
         such as the ability to spot and manage risks. At minimum, this will entail having:
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            o    Individuals in shipboard and shoreside leadership and senior management positions
                 who reflect the diversity of the Company’s workforce, including:

                        Shipboard officers, especially in the deck and technical departments.

                        Internal investigators and auditors.

                        Board of Directors.

                        Top executive leadership.

                        Senior shoreside management.

            o    Coordinated strategies for establishing pipelines of diverse candidates for these
                 positions, such as through cadet programs and enhanced collaboration with Global
                 Talent Partners for shipboard officers.

            B.      Progress

                    1.      COMMITMENT TO ENHANCING SHIPBOARD DEI

                            a)      Background

        Past CAM reports have observed the interrelationship between DEI and compliance and
         noted that that there is an opportunity for the Company to promote compliance and support
         risk management by enhancing DEI among its ship officers, particularly in the engine and
         deck departments. Past CAM reports have also reflected on the Company’s strong
         relationships with its Global Talent Partners56 around the world and the largely untapped
         opportunity to widen the range of countries and nationalities from which it recruits and
         develops future engine and deck officers. See, e.g., CAM Second Annual Report at 54-63;
         CAM Third Annual Report at 236-43; CAM January 2021 Quarterly Report at 37-43.57

        In addition, CAM reports have discussed the frustration and disappointment expressed by
         crew members and shoreside employees in various positions across the Company over the
         longstanding and continuing lack of ethnic, racial, and gender DEI within the shipboard
         officer ranks—including allegations of racism, sexual harassment, and retaliation. See, e.g.,
         CAM Third Annual Report at 241. As noted in Part IV above, the Environmental

    56
       Global Talent Partners are agencies, generally referred to as “manning agencies” in the
    maritime industry, located around the world that cruise lines and other companies use to recruit
    and train many of the (typically non-officer) crew members on their ships. Holland America
    Group has moved from calling these businesses “manning agencies” to “Global Talent Partners,”
    to shift from an overtly gendered nomenclature to one that focuses on the notion that the
    individuals hired from these agencies provide needed skills or talent, and that the agencies are
    partners in the Company’s efforts. In support of that effort, CAM reports adopt that term.
    57
      The CAM Team’s main focus is on DEI issues impacting shipboard crew, rather than
    shoreside personnel.

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         Compliance Culture Assessment results included hundreds of comments revealing concerns
         about harassment and discrimination. See supra, Part IV.B.1 and Part IV.C.1. One theme
         among these responses is the “need to eliminate harassment or discrimination” aboard,
         including preferential treatment by supervisors for those who share the same nationality, or
         who share the same gender (especially among deck and technical officers), or those with
         whom supervisors have romantic relationships. See CAM Third Annual Report at 241-42
         (quoting Environmental Compliance Culture Assessment); Employee Interview/Call Notes.

        DEI challenges are not unique to the Company. They are worldwide. However, it is widely
         recognized that the cruise industry and the maritime industry as a whole lag significantly
         behind other industries.58 For instance:

            o   Officer positions on cruise ships are filled predominantly by men from Western
                European countries, while non-officer positions are filled predominantly by men from
                Asian, South American, or other non-Western European countries. See CAM January
                2021 Quarterly Report at 39 (citing study).

                       As of 2019, the Company reported that it sourced its shipboard officers
                        primarily from European countries (Italy, the United Kingdom, the
                        Netherlands, Germany, and Norway), while the remaining (non-officer) crew
                        positions “are sourced from around the world, with the largest contingent from
                        the Philippines, Indonesia and India.” Carnival Corp. 2019 Form 10-K at 20.
                        The Company’s 2020 report is less detailed, providing only that its “shipboard
                        and shoreside employees are sourced from over 100 countries.” Carnival
                        Corp. 2020 Form 10-K at 17.

                       As discussed in earlier CAM reports, the Company has asserted “that there are
                        limitations created by labor laws, union agreements, and various flag state
                        requirements that constrain the company’s ability rapidly to make major
                        changes to the composition of its workforce.” CAM March 2020 Quarterly
                        Report at 153 (quoting Company statements to Court and Company Draft
                        Report Comments). The CAM Team’s review indicated that none of the Flag
                        States to which its Covered Vessels are registered (i.e., the Bahamas,
                        Bermuda, the Netherlands, Panama, and the United Kingdom) restrict officer
                        nationality, with the limited exception of the Netherlands, which generally
                        requires that ship Captains be either Dutch or European Union citizens, but
                        does not appear to restrict the nationalities of other officers.59


    58
      The commercial airline industry has a relatively long history of employing women as pilots.
    However, women still make up only around 5-7% of the pilots on major carriers United, Delta
    and American. See J. Wells, Top US airlines want to hire women pilots. So where are the
    applicants? (Aug. 2, 2019), https://www.cnbc.com/2019/08/02/top-us-airlines-want-to-hire-
    women-pilotswhere-are-the-applicants.html.
    59
       However, these Flag States may only accept certain Standards of Training, Certification, and
    Watchkeeping (“STCW”) officer endorsements from specified countries. Notably, countries
    from which STCW officer endorsements are accepted generally appear to include countries from
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                        All Costa Non-Covered Vessels are registered in Italy, which historically has
                        required all officers and crew to be either Italian or European Union citizens,
                        with some limited exceptions. See id. at 154. However, Costa Group reports
                        that it “worked with Chinese and Italian Authorities to obtain in February
                        2021 a bi-lateral agreement recognizing Chinese Officer certification on board
                        Italian flag ships.” Leadership Updates Feedback at 4.

            o   In addition, the number of women seafarers in the maritime industry across all
                positions has historically been low. A 2015 study found that women make up on
                average approximately 20% of the workforce on cruise ships, and are primarily
                “represented in service-oriented positions.” CAM January 2021 Quarterly Report at
                39 (quoting study). The study further observed that, while “typical” in the industry,
                such gender imbalances are “not an inevitable feature of cruise ship working life,”
                but are “by-products of company recruitment policies and procedures at a corporate
                level; and of shipboard management sensitivity to crew stresses and strains.” Id.
                (quoting study) (emphasis added).60

        As the CAM has observed, the Company has “an extraordinary opportunity to be a leader in
         addressing historic ethnic, racial, and gender employment disparities in the maritime
         industry, and to address compliance challenges related to labor supply,” including difficulties
         in recruiting and retaining shipboard officers, especially engineering officers, due to a global
         shortage of qualified individuals from the European countries from which these officers have
         traditionally been sourced. See CAM January 2021 Quarterly Report at 39-40. It remains to
         be seen whether the disruptions to the cruise industry from COVID-19 temporarily
         ameliorates the global shortage of available qualified ship officers. Regardless, the Company
         and the industry face a long-term officer shortage if they continue to rely on recruiting
         primarily from the traditional European countries. There is a critical need for the Company
         to create a broader pipeline of talent from which it can recruit and train officers. See CAM
         Third Annual Report at 242.

        The Company, including the Carnival Corp. CEO, has acknowledged this opportunity, and
         has stated a commitment to “strive to increase the diversity of its shipboard workforce across
         certain positions.” See Status Report by Princess Cruise Lines, Ltd. (July 12, 2019), Dkt. No.
         148 at 6; Employee Interview/Call Notes. Making progress on DEI could also help the

    which many of the Company’s non-officer personnel are recruited, such as the Philippines,
    Indonesia, and India. See CAM March 2020 Quarterly Report at 153-54.
    60
      In March 2020, Celebrity Cruises, a competing cruise line, announced the first cruise ship to
    sail with “an entirely female bridge and hotel officer team, led by the first American female
    cruise ship captain.” S. Grogan, The first ever all-female cruise ship crew sets sail (Mar. 9,
    2020). The team included women from 16 countries, including Greece, New Zealand, South
    Africa, and the Philippines. According to media reports, the “sailing is part of Celebrity Cruises’
    Bridge the Gap campaign, which aims to inspire a new generation of women to pursue maritime
    careers. Currently, just 2 per cent of the world’s mariners are female, but women make up 22
    per cent of the bridge teams on Celebrity Cruises.” Id. The initiative was “introduced by the
    company’s president and CEO . . . who was the first woman to run a major cruise line.” Id.

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        Company to overcome the gaps in trust, care, and openness that were identified by the
        environmental compliance culture survey of over 70,000 of its employees.

                           b)     Link Between DEI, Compliance, and Risk Management

       The Company, including its CEO and other top leaders, have publicly stated that DEI is not
        just a moral and legal issue, but also a business imperative. See CAM Third Annual Report
        at 239-40; CAM January 2021 Quarterly Report at 38-39. A growing body of research
        illuminates a fourth justification for DEI: that of building a sustainable compliance culture.
        As the Company returns to service, it has an opportunity to focus on DEI as a meaningful
        way to better manage risk and compliance. Likewise, a continuing lack of DEI among
        shipboard officers will exacerbate existing compliance and risk management problems.

       The role of DEI in supporting compliance is cited by the Company’s culture consultant, ECI.
        See e.g., ECI, How to Leverage Workplace Diversity to Increase Regulatory Compliance
        (June 22, 2018), https://www.ethics.org/how-to-leverage-workplace-diversity-to-increase-
        regulatory-compliance/. As DEI becomes the norm throughout an organization, it helps to
        “minimize[] [the organization’s] risk for compliance failure,” while allowing individual
        employees to “improve their immediate, everyday workplace experience.” Id.

       Additional studies, summarized below, reveal a meaningful link between creating a diverse,
        equitable, and inclusive work force and building a sustainable culture of compliance,
        including one that is able to effectively identify and manage risks.

                                     i.   General Research

       A diverse workforce has been linked to:

           o   Better Performance Across Multiple Industries: A meta-analysis of 140 studies
               found that Boards of Directors with more gender diversity fulfilled monitoring and
               strategy involvement responsibilities more often, and that this increased oversight
               was associated with higher accounting returns. See C. Post and K. Byron, Women on
               Boards and Firm Financial Performance: A Meta-Analysis, 58:5 Acad. Mgmt.
               Journal 1546, 1546-71 (2015). Additionally, a 2014 meta-analysis of 25 studies
               found that increased diversity in healthcare settings helps reduce or eliminate racial
               health disparities while increasing patient compliance and satisfaction scores. See T.
               A. LaVeist and G. Pierre, Integrating the 3Ds – Social Determinants, Health
               Disparities, and Health-Care Workforce Diversity, 129 Pub. Health Reports 2 (2014).
               Given the extensive former military experience of many of the Company’s personnel,
               it is notable that one study of nearly 850 armies in 250 wars fought since 1800 found
               that the most inclusive armies have usually prevailed on the battlefield, rather than the
               largest or best-equipped ones. See J. Lyall, The military is making changes in
               response to Black Lives Matter protests. That’s good for fighting wars. (July 28,
               2020), https://www.washingtonpost.com/politics/2020/07/28/military-is-making-
               changes-response-black-lives-matter-protests-thats-good-fighting-wars/.



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           o   Better Risk Perception: Increased diversity helps eliminate the groupthink and
               affinity bias that homogenous groups of employees tend to exhibit, and which can
               cause compliance risks to be overlooked. Research demonstrates that white men tend
               to have the lowest risk perceptions, which could make homogenous groups of white
               men prone to underestimate the risks of compliance failures. See, e.g., D. M. Kahan
               et al., Culture and Identity-Protective Cognition: Explaining the White Male Effect in
               Risk Perception, 4:3 Journal of Empirical Legal Studies 465, 465-66 (2007). Another
               study found that women had stricter ethical stances than men, concluding that having
               more women in the workplace may improve ethical decision-making. See W. A.
               Weeks et al., The Effects of Gender and Career Stage on Ethical Judgment, 20
               Journal of Bus. Ethics 301, 301 (1999).

           o   Better Creativity and Workplace Adaptability: The occasional friction that may
               result from more diverse teams can actually help them perform better, as “the debate
               and unfamiliarity that come with diversity is an important catalyst for creativity and
               deep thinking.” D. Rock et al., Diverse Teams Feel Less Comfortable – and That’s
               Why They Perform Better, Harvard Bus. Review (Sept. 22, 2016),
               https://hbr.org/2016/09/diverse-teams-feel-less-comfortable-and-thats-why-they-
               perform-better. The expectation is that, as diversity increases, so does workplace
               adaptability. See ECI, How to Leverage Workplace Diversity to Increase Regulatory
               Compliance (June 22, 2018), https://www.ethics.org/how-to-leverage-workplace-
               diversity-to-increase-regulatory-compliance/. This flows from the notion that
               “[e]mployee readiness to adopt new points of view and new policy directly affects
               compliance programs” because “[a]n open and willing organization more readily
               accepts policy requirements,” minimizing the risk of compliance failure. Id. This
               same reasoning presumably holds true for the safety context as well.

       Diversity alone is not enough. To leverage the full compliance benefits of diversity, the
        workplace must also have an inclusive culture. The business community at large
        acknowledges the importance of inclusivity. See, e.g., Deloitte Insights, Diversity and
        inclusion: The reality gap (Feb. 28, 2017) (observing that “research comparing high-
        performing teams against lower-performing teams supports the view that people must feel
        included in order to speak up and fully contribute.”); McKinsey & Co., Diversity wins: How
        inclusion matters, Preface (May 2020) (recognizing the “dynamics around inclusion” as “a
        critical differentiator for companies”). A key risk of a non-inclusive culture is:

           o   Less Willingness to Speak Up (“Spirals of Silence”): Employees’ sense of
               psychological safety and perception of levels of trust, care, and openness within an
               organization can determine whether those employees stay silent when compliance
               failures occur. See, e.g., J. R. Detert and E. R. Burris, Leadership Behavior and
               Employee Voice: Is the Door Really Open?, 50:4 Acad. of Mgmt. Journal 869
               (2007); M. Vakola and D. Bouradas, Antecedents and consequences of organisational
               silence: an empirical investigation, 27:5 Employee Relations 441 (Oct. 2005); S. F.
               Premeaux and A. G. Bedeian, Breaking the Silence: The Moderating Effects of Self-
               Monitoring in Predicting Speaking Up in the Workplace, 40:6 Journal of Mgmt.
               Studies 1537 (Sept. 2003). The threat and fear of isolation can prevent employees
               from raising compliance issues. See F. Bowen and K. Blackmon, Spirals of Silence:

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                The Dynamic Effects of Diversity on Organizational Voice, 40:6 Journal of Mgmt.
                Studies 1393, 1393 (Sept. 2003). The decision to remain silent may then create
                “spirals of silence” that echo throughout the organization, resulting in instances where
                important information does not reach senior management. Id.

                Predictably, companies that allow racist, sexist, or otherwise discriminatory behavior
                to go unchecked create a lack of psychological safety for their employees. See A.
                Bagalini, 5 ways racism is bad for business – and what we can do about it (Jul. 14,
                2020), https://www.weforum.org/agenda/2020/07/racism-bad-for-business-equality-
                diversity/. This, in turn, could contribute to spirals of silence. It bears repeating that
                silence in the face of improper or questionable conduct figured in both the tragedy of
                the Costa Concordia,61 as well as the criminal activity aboard the Caribbean Princess.

                                     ii.   Cruise Industry Context

        If diversity were measured by the number of nationalities working aboard, the cruise industry
         would be a DEI leader. The cruise industry is anything but. What belies the diversity in
         numbers is the fact that, as noted above, ships typically operate with various national groups
         that are almost entirely stratified and separated into relatively homogenous and non-inclusive
         groups, with non-Europeans concentrated in service-oriented positions or low-ranking
         engineering and deck positions. Likewise, most women on cruise ships are concentrated in
         service-oriented positions. This stratification—in particular, the lack of senior officer
         diversity—poses a threat to compliance for the reasons described above.

        A growing body of research further supports the notion that ships face enhanced compliance
         risks when they are diverse within the crew population as a whole, but stratified and non-
         inclusive across the hierarchy of shipboard position ranks.

            o   As one study observes, “categorization into cultural subgroups lies at the heart of
                many of the negative outcomes of diversity in organizations, including reduced social
                cohesion, lower organizational commitment, and an increased chance of
                miscommunication and conflict.” J. Hofhuis et al., Diversity climate enhances work
                outcomes through trust and openness in workgroup communication, 5 SpringerPlus
                714 (2016), https://springerplus.springeropen.com/articles/10.1186/s40064-016-2499-
                4; see also F.J. Milliken, Diversity and Corporate Social Responsibility: Exploring
                the Potential Connections between Top Management Team/Board Diversity, CSR,
    61
      Cultural and workplace conditions affecting the willingness of bridge officers to challenge the
    Captain were found to have contributed to the 2012 Costa Concordia tragedy, in which more
    than 30 people lost their lives when the ship sailed too close to shore and partially sank. See
    CAM First Annual Report at 30; CAM December 2019 Quarterly Report at n.32; see also A. Di
    Lieto, BRIDGE RESOURCE MANAGEMENT: FROM THE COSTA CONCORDIA TO NAVIGATION IN THE
    DIGITAL AGE (1st Ed. 2015). The CAM has observed that the Costa Concordia incident
    “galvanized efforts within the Company and in the broader cruise industry to drive systemic
    change, including changing shipboard [safety] culture [in the bridge] . . . Many in the Company
    view the Caribbean Princess prosecution as an analogous opportunity to change culture with
    regards to environmental compliance.” CAM First Annual Report at 30.

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               and Workforce Diversity, THE OXFORD HANDBOOK OF CORPORATE SOCIAL
               RESPONSIBILITY: PSYCHOLOGICAL AND ORGANIZATIONAL PERSPECTIVES (Oct. 2019).

           o   As noted in a recent Human Rights at Sea report: “If an individual does not feel
               comfortable in their working environment, they are less likely to draw attention to a
               problem or to ask for help—this increases the risk of accidents and injuries.” J.
               Rawley, We are ALL someone’s Daughter. We chose to be Seafarers: A reality check
               on Diversity and Hope in 2021, Human Rights at Sea, 4 (Feb. 2021).

       Strong leadership towards achieving a robust DEI culture is becoming recognized as an
        essential component of a robust compliance program for any organization—including a
        cruise company. The ISM Code requires that “[e]very Company should develop, implement
        and maintain a [Safety Management System] which includes . . . defined levels of authority
        and lines of communication between, and amongst, shore and shipboard personnel.” ISM
        Code, Part A, § 1.4. As the above research demonstrates, a deficient DEI culture could result
        in crew members who do not feel they can speak up about compliance issues, jeopardizing
        the communication that is essential for an effective compliance program and preventing ships
        from implementing an effective Safety Management System. As Carnival Corp.’s history of
        noncompliance issues shows, some of its biggest compliance risks can be traced to
        continuing patterns of stratification and exclusion. Research indicates that if employees at
        every rank of the ship hierarchy feel supported by a diverse, equitable, and inclusive culture,
        they are far more likely to identify and raise compliance issues.

                           c)     Stated Commitment to DEI

       The Company has stated a commitment to DEI. For instance, the Corporate Vision
        Statement reads, in part: “We are committed to a positive and just corporate culture, based
        on inclusion and the power of diversity.” Corporate Vision Statement (emphasis added). As
        noted in Part III.B above, members of top leadership, including the Carnival Corp. CEO,
        have communicated the importance of DEI as a moral and business imperative, in both
        internal and external communications. See supra, Part III.B.2; see also CAM Third Annual
        Report at 239-40 (providing examples). For example, the President of Holland America
        Group reports that they have addressed DEI topics at “regular all hands/town hall meetings
        and in other leadership messaging,” including in response “to feedback from teammates
        about recognizing and engaging on current topics facing society—such as the recent increase
        in Asian hate crime, and the sentencing in the George Floyd trial—as well as recognizing
        milestones such as Pride, the formalization of Juneteenth as a federally recognized
        commemoration, and more.” See Leadership Updates Feedback at 9.

       In addition, at the April 30, 2021, Status Conference, the Carnival Corp. CEO expressed to
        the Court that the Company is “committed to . . . enhancing diversity, equity, and inclusion
        throughout all aspects of [the] company.” Status Conf. Tr. at 6 (Apr. 30, 2021). The CEO
        emphasized that DEI “particularly in the deck and technical departments . . . is a key factor
        for our longterm success . . . [T]here is no doubt in my mind that to be our best, we must
        have a diverse and inclusive work force in all areas.” Id. at 11 (emphasis added). The CEO
        also stated, “a commitment and an expectation of inclusion and diversity in the [internal


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          investigator] team.” Id. at 48; see also infra, Part VII.C.2(c) (discussing efforts to enhance
          diversity among Incident Analysis Group investigators).

         While these statements are important, words and intentions are insufficient absent a
          commitment and dedication of resources. Clear expectations and accountabilities must also
          be established at the top leadership levels. As discussed in Part V.C below, employees do
          not see these words matched with leadership action. They continue to express concerns
          about the long-term impacts on the viability of the Company from a lack of concrete actions
          and improvements in the DEI space, as well as short-term concerns that this inaction will
          result in increased acts of harassment and discrimination. See infra, Part V.C.1-2.

                             d)      Awards and Recognition

         The Company has received various awards and recognition related to corporate culture and
          DEI. These include: Forbes’ list of America’s Best Large Employers of 2021 (ranked #179);
          Forbes’ list of Best Employers for Diversity for 2021 (ranked #383); Newsweek’s list of
          America’s Most Responsible Companies for 2021 (ranked #196); Glassdoor’s Employees’
          Choice Awards for the Best Places to Work for 2021 (ranked #58); and a 2021 recognition by
          the Human Rights Campaign as a Best Place to Work for LGBTQ Equality.62

         Based on the CAM Team’s review, these awards appear to be largely based on surveys of
          (mostly U.S.-based) shoreside employees,63 and therefore it is likely the survey populations
          are a small percentage of the Company’s overall employee base. They do not specifically
          focus, as the Environmental Compliance Culture Assessment did, on the tens of thousands of
          shipboard maritime employees and the shoreside staff who support them.

                     2.      INTEGRATING DEI INTO THE CULTURE ACTION PLAN        AND C.A.R.E.
                             FRAMEWORK

                             a)      Culture Action Plan

         As discussed in Part IV.B above, the Company has incorporated DEI as a “central pillar” of
          its culture governance framework and made it a component of the Culture Essentials program
          under the Culture Action Plan. See supra, Part IV.B.2; infra, App. B. According to the
          Company, this was prompted by the recognition that “DEI efforts needed to be prioritized,
          better coordinated, and fully incorporated as a central pillar of our culture improvements.”
          Compliance Committee Q1 2021 Report at PCL_ECP00190577.

         DEI activities that have been carried out or are underway under the Culture Action Plan,
          largely led by the Brands, include:




    62
      This recognition focuses largely on corporate policies and is not based on employee survey
    data.
    63
         Not all of the awards make their methodology publicly available.

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            o   Integrating DEI factors into the Bring Back selection criteria developed by the Brands
                for making re-hire decisions for ship and shore employees as operations resume.64

            o   Integrating DEI factors into other aspects of the HR lifecycle, such as job applications
                and performance evaluations.

            o   Brand-led “Courageous Conversations” about culture and DEI issues.

                See infra, App. B.

        A range of additional initiatives, which differ by Brand, are underway in areas including:
         DEI goals and targets; employee surveys; Global Talent Partner outreach; recruitment; and
         training. Highlights of these efforts are summarized in Appendix C.

                           b)        C.A.R.E. Framework

        As discussed in the last CAM report, in ECP Year Four, Brand HR leaders, in coordination
         with the Ethics & Compliance team and other All Brands Group leaders, developed what the
         Company calls the “C.A.R.E. Framework.” The CAM has observed that the C.A.R.E.
         Framework was a laudable step toward greater centralization of the Company’s DEI
         approach. See CAM January 2021 Quarterly Report at 40.65

        The C.A.R.E. Framework is designed to require the systematic consideration of DEI or
         culture impacts when making business decisions, and for those decisions to be re-evaluated if
         there are unintended DEI or culture impacts. C.A.R.E. means: Consider intended goal to
         achieve; Ask if there is any unintended culture/DEI impact; Rethink actions to mitigate the
         impact; and Evaluate how to proceed if mitigation does not fully address the impact. DEI
         Presentation at PCL_ECP00178142.

        Since the initial presentation to the CAM Team on the C.A.R.E. Framework in December
         2020, the CAM Team has met with each of the Brands to learn how the framework is being
         implemented in practice. At least one Brand, Carnival Cruise Line, has created resources for
         the C.A.R.E. Framework and plans to use the entertainment department as a pilot group. See
         CCL May 2021 Culture Updates – Preparing for Restart with the Expected Behaviors (June
         7, 2021), PCL_ECP00219315. Other Brands appeared to view the framework as largely a
         “branding” effort that has not had discernable impacts on how they do things. See Employee



    64
      The CAM Team will continue to seek to learn more about how DEI considerations were
    factored into decisions about which employees (ship and shoreside) to retain, let go, or furlough.
    The CAM Team will also seek to understand any impacts to employee diversity as a result of
    these staffing decisions.
    65
      As noted in Part IV.C above, there does not appear to be a centralized HR leadership team
    driving these efforts. The All Brands Group Chief HR Officer has not played a visible role in
    leading or coordinating culture change efforts, including in the DEI space. See supra, Part
    IV.C.2.

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        Interview/Call Notes. At present, based on the Brand presentations, it is difficult to evaluate
        what, if any, concrete impacts the framework is having.

       The CAM has heard the strongly stated commitment to DEI expressed by many of the Brand
        leaders involved in developing and implementing the Culture Action Plan and C.A.R.E.
        Framework. However, as discussed in the following section, these individuals appear to
        operate in the absence of clear vision or direction as to what is expected from them, or what
        defines success, from the All Brands Group.

           C.      Remaining Barriers and Opportunities for Improvement

                   1.      DEVELOPING A CENTRALIZED, COORDINATED DEI STRATEGY

       The Company’s DEI efforts have historically been decentralized, without coordinated
        leadership or strategy at the All Brands Group level. Throughout the first three years of the
        probationary period, DEI efforts at the All Brands Group level remained unfocused, and
        efforts across the Brands did not appear consistent or coordinated—despite examples of
        laudable efforts spearheaded by individuals within the various Brands. As noted above, it
        was not until ECP Year Four that the Company took steps (at least in writing) toward
        centralizing its DEI approach through the Culture Action Plan and C.A.R.E. Framework.
        Despite the lack of overarching coordination on the Company’s DEI strategy, several notable
        Brand efforts are in progress, as discussed above and in Appendix C. See supra, Part V.B.2;
        infra, App. C.

       Employees continue to report a vacuum of leadership at All Brands Group, with most efforts
        left to the Brands. For example, the CAM Team has received conflicting responses from
        employees when they are asked who at All Brands Group is setting DEI strategy or
        coordinating DEI efforts. Despite what the Culture Governance Framework Document may
        say, it appears that ownership and responsibility for DEI largely relies upon individuals at the
        Brand level, primarily within each Brand’s HR department. There is widespread confusion
        and frustration over the lack of overarching strategy throughout the corporation in this area.
        See Employee Interview/Call Notes. This stands in stark contrast to the Company’s well-
        understood and well-structured approach to setting expectations for achieving guest
        satisfaction and financial goals. See CAM Second Annual Report at 63-64, 71-85.

                   2.      ESTABLISHING PROGRAMS TO ENHANCE DEI AMONG SHIPBOARD OFFICERS

       There does not yet appear to be a significant, coordinated effort led by All Brands Group to
        launch a program (long term or immediate) with the aim of building a diverse officer corps
        across the Company’s ships—including one with clear expectations, accountabilities, and
        concrete goals. Again, any such efforts have been led by the Brands. See supra, Part V.B.2;
        infra, App. C.

       On issues of racial and ethnic diversity, Brands are still in the early stages of developing or
        implementing plans to increase DEI among shipboard officer ranks, such as programs to
        source new officers from non-traditional areas, including regions outside of Europe. While
        Costa Group and Carnival Cruise Line began such programs before the pandemic, most

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         Brands are still in the scoping phase of considering possible approaches. As of the date of
         this Report:

            o   Carnival Cruise Line has partnered with schools in the Bahamas, Panama,
                Philippines, and China “to hire diverse technical candidates into [its] cadet program.”
                See Leadership Updates Feedback at 2.

            o   Costa Group has launched cadet programs in the Philippines, India, Ethiopia, and
                China. As noted above, Costa Group recently lobbied for and facilitated a bi-lateral
                agreement between Chinese and Italian Authorities to recognize Chinese officer
                certifications on its Italian-flagged ships. See id. at 4; Company Draft Report
                Comments.

            o   Other Brands have not yet launched formal programs. See Employee Interview/Call
                Notes.

        On issues of gender diversity, Company employees observe that actions appear reactive,
         rather than proactive, despite a stated goal of having more female deck and technical officers.
         To the best of the CAM’s knowledge, there is no comprehensive strategy for recruiting or
         retaining female officers.66 This includes a lack of consistent policies for maternity leave and
         return to work, or for accommodating child-care responsibilities in setting schedules. Brands
         appear to address such issues on a case-by-case basis. Such a strategy has, at times, enabled
         the Company to accommodate an individual woman’s specific situation, but such an
         approach is far from comprehensive, and is likely to hinder the ability to recruit and retain
         more women. Indeed, many employees from various ranks and departments, ship and shore,
         have suggested to the CAM Team that existing recruitment and retention processes for
         female officers are inadequate, which has contributed to other cruise companies poaching
         female officers. See Employee Interview/Call Notes.

            o   Senior shoreside managers have told the CAM Team that it is inconvenient and
                expensive to accommodate women officers. See id.67 However, given the research
                summarized above on the links between DEI and compliance, up-front investments in
                accommodating more women could instead be viewed as supporting the Company’s
                long-term compliance (and business performance) goals.

        As noted above, the CAM recognizes the commitment to DEI expressed by many of the
         Brand leaders involved in efforts to help the Company seize the opportunity to become a

    66
      The CAM Team is gathering further information about the Company’s policy (or policies) and
    practices for investigating and addressing instances of sexual harassment or the creation of a
    hostile workplace.
    67
      For example, one Brand has struggled to accommodate female deck officers who complained
    about the requirement that they remain on deck for long hours while wearing white pants (given
    their monthly cycles). The Company has now committed to provide the women with darker
    colored pants. However, there was reportedly resistance to making this minor accommodation in
    the Company’s uniform policy. See id.

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          leader—and make history—in this space. However, progress requires strong, centralized
          leadership on DEI, and not the efforts of a few committed employees.

    VI.      SUPPORT FOR SHIP OPERATIONS

             A.      Potential Post-ECP Goals

    As described in Part II.A above, the goals detailed below were compiled by the CAM as of result
    of its communications with top leaders and senior management. However, in reviewing the draft
    of this Report, the Company stated that, while it “agree[s] with many of the goals,” it “cannot
    commit to the goals without further discussion across the organization.” See Company Draft
    Report Comments.

         Safe, Compliant, and Environmentally Conscious Ships: Ships that are known for, and
          promoted as, being safe, compliant, and environmentally conscious, as much as for being
          “fun,” “ultra-luxury,” or otherwise guest-experience focused.

         Prioritized Ship Operational and Compliance Needs: Ship operational and compliance
          needs that are prioritized as much as (or more than) the revenue-generating aspects of the
          Company’s business, including:

             o    Ships with:

                        All pollution prevention equipment in working order.

                        All necessary spare parts (including but not limited to critical environmental
                         spare parts) and related equipment and tools aboard, with the ability to acquire
                         additional materials efficiently and without undue budget pressures.

                        Adequate crew complements, especially in the deck and technical
                         departments, in terms of both numbers of crew members and adequacy of
                         their skills and qualifications.

                        Ready access to sufficient shoreside and monetary resources to repair,
                         maintain, and replace equipment, piping, and other ship components.

             o    Diverse, equitable, and inclusive shipboard workforces, including among deck and
                  technical officers.

             o    Manageable workloads for both crew members and shoreside support staff, supported
                  by:

                        A robust Management of Change program that governs all aspects of
                         operations and business decision-making, including changes to equipment,
                         processes, budgets/plans, policies and procedures, work assignments, and
                         employment conditions.



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                       A manageable and well-governed stream of communications between
                        shoreside offices and the ships.

                       Ready access to sufficient shoreside and monetary resources to address
                        ongoing and unplanned needs.

           o    A successfully executed global IT strategy that provides:

                       Modern and effective IT and data systems and tools in support of compliance,
                        including: voyage planning software; planned maintenance and spare parts
                        management systems; training attendance tracking and reporting tools;
                        incident and near miss reporting, tracking, and analysis tools; reliable
                        shipboard Wifi connectivity and bandwidth; and a modernized Global HESS
                        platform.

                       Data management and analysis tools that allow for sophisticated analysis of
                        compliance data across the corporation.

           o    Robust and effective programs for:

                       Minimizing shipboard food waste and single-use items.

                       Assessing waste vendors and managing waste offloads.

                       Integrating compliance considerations into ship design, including during new
                        build and dry/wet dock processes.

                       Identifying lessons learned from successes and failures (including near
                        misses) and incorporating those learnings into operations as part of a
                        continuous improvement process.

       Procurement practices that leverage the size of the organization for both: (1) purchases of
        provisions, equipment, and spare parts; and (2) large capital projects, such as major pollution
        prevention equipment installations (e.g., Exhaust Gas Cleaning Systems), as well as a process
        for assessing the success of, and lessons learned from, past procurement efforts (including
        the adequacy of Management of Change processes).

       Clear goals, expectations, ownership, and accountabilities in each of these areas.

           B.      Progress

                   1.      PAUSE PRIORITIES PLAN IMPLEMENTATION AND FLEET READINESS

                           a)      Background

       After the onset of the pandemic, in April 2020, the Company reported that it was developing
        a Pause Priorities Plan, described as “a list of priorities” during the pause period “to ensure
        that when the ships return to service, they will come back stronger and better equipped” and

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         “stronger, better, smarter.” CAM Third Annual Report at 52-53 (quoting April 2020
         Probation Supervision Report, Attachment 5) (emphasis added); Status Conf. Tr. at 45 (Apr.
         24, 2020) (emphasis added); Environmental Excellence Newsletter Issue 03-2021 at 4. A
         draft Pause Priorities Plan was submitted in June 2020. See CAM January 2021 Quarterly
         Report at 15. The plan has since been revised several times, most recently on July 8, 2021.
         The Company has provided the CAM Team with regular updates on the general status of its
         implementation.

        The Pause Priorities Plan sets forth a range of initiatives, with corresponding approximate
         timelines, under four categories: (1) Environmental; (2) Investigations; (3) Culture; and
         (4) Training. Numerous actions have been implemented, or are underway, under this plan
         that are designed to help support ship operations, including:

            o   Installing food waste digesters.

            o   Providing full sets of critical environmental spare parts for pollution prevention
                equipment.

            o   Changing shift rotations for engineers in the Engine Control Room (from six four-
                hour watches per day to four six-hour watches per day, and expanding from three to
                four shifts) to allow for more optimal alignment of work schedules with rest and meal
                times.

            o   Implementing dry bilge upgrades to minimize the amount of liquid that enters the
                bilges, which are the lowest portion of a ship inside the hull where liquids
                accumulate.68

            o   Repairing pollution prevention equipment and leaking piping and other ship
                components.

            o   Reviewing the completion status of planned maintenance items related to
                environmental compliance.

                See Pause Priorities Plan at 9-17.

        As the CAM has observed, many of the environmental initiatives relate to basic compliance
         support for ships, and cover issues identified since the beginning of probation. At the time
         the COVID-19 crisis emerged, well into ECP Year Three, the Company had still not
         comprehensively addressed previously identified ship needs related to compliance. See
         CAM Third Annual Report at 138-41. The Company’s ongoing struggles to effectively
         prioritize the operational and compliance needs of ships, above or on par with other business
         interests, is discussed in Part VI.C below. See infra, Part VI.C.1.


    68
      Excess bilge water accumulation was a significant contributing factor to the illegal activity that
    occurred on the Caribbean Princess and other Company ships. See Joint Factual Statement
    (Dec. 1, 2016), Dkt. No. 2-1 at 8-11.

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                             b)     Fleet Readiness for Ships Returning to U.S. Waters

         Since October 2020, the Court has issued two Orders regarding the readiness of Company
          ships returning to operations. The Court’s goal in issuing these Orders was to learn about the
          condition of ships that would be returning to U.S. waters. In the Court’s view, these Orders
          were a prudent precaution given that the pandemic had restricted in-person ship visits or
          audits by the CAM or TPA, as well as by the Company’s own internal auditors and external
          certification and regulatory bodies.

              o   Compliance Disclosure Certifications: The first Order requires the Company to
                  submit Compliance Disclosure Certifications for ships returning to U.S. waters,
                  summarizing the status of 12 specific items related to ship maintenance and repair
                  (such as repairs to pollution prevention equipment and leaking piping). The items
                  come directly from the Pause Priorities Plan. See Compliance Certification
                  Disclosure Order.

              o   Planned Maintenance Task Updates: The second Order was issued in response to
                  challenges the ships were reported to be facing in completing certain planned
                  maintenance tasks due to pandemic-related issues, such as reduced crew levels,
                  difficulties in bringing third-party contractors or vendors aboard, difficulties in
                  obtaining needed materials like spare parts, and certain equipment being taken out of
                  service. The Order requires the Company to submit information on planned
                  maintenance activities on a monthly basis, including: (1) identification of outstanding
                  planned maintenance tasks on a ship-specific basis; and (2) plans for addressing these
                  tasks. See Order on January 27, 2021 Status Conference (Feb. 22, 2021), Dkt. No.
                  218.

         The Company has timely complied with both Orders, submitting a total of 33 certifications
          for ships returning to U.S. waters as of the date of this Report, as well as monthly planned
          maintenance task updates for all Covered Vessels. As discussed in Part VIII below, the TPA
          has reviewed these submissions on an ongoing basis. See infra, Part VIII.B. To help verify
          the information in the submissions, the TPA also conducted virtual audits of 31 out of the 33
          ships that have submitted Compliance Disclosure Certifications so far.69 The TPA’s review
          to date indicates that the ships returning to U.S. waters are generally capable of operating in
          compliance with the ECP and environmental laws, provided the ships are adequately staffed
          and nonconformities identified by the TPA are addressed, including repairs to Exhaust Gas
          Cleaning Systems. The TPA’s review also indicates that the Company has facially adequate
          plans for addressing outstanding planned maintenance items, provided the ships are supplied
          with adequate staffing and resources. See Status Conf. Tr. at 31 (Apr. 30, 2021).

         In general, crew members and other Company employees have expressed to the CAM and
          TPA teams that the Court-required submissions were a substantial, but worthwhile,
          undertaking. One benefit reported by many crew members was the opportunity to directly
          share information and insight about ship needs with members of the most senior shoreside


    69
         The TPA plans to perform verification audits of the additional ships.

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         leadership, including the Carnival Corp. CEO and Chief Operations Officer. See Employee
         Interview/Call Notes.

        Meeting its obligations under the Court Orders was a significant achievement—especially for
         the shipboard crews, who the TPA found were doing “an unbelievable job in the pandemic
         era, finding ways to fix things and doing it quite well,” including “an amazing job” in
         repairing leaking components and reducing bilge water. Status Conf. Tr. at 26-27 (Apr. 30,
         2021). Whether the ships are coming back “stronger, better, smarter” as originally promised
         by the Company’s top leadership, however, is difficult to assess.

                           c)      Integration into Ethics & Compliance Strategic Plan

        Now that the Company is exiting the pause, it plans to “close out” the Pause Priorities Plan.
         See Company Draft Report Comments. The Ethics & Compliance team plans to issue a final
         report on the implementation status of the Pause Priorities Plan initiatives. Any non-
         environmental initiatives still in progress will be monitored and tracked through the
         forthcoming revised Ethics & Compliance Strategic Plan. Any environmental initiatives still
         in progress will be tracked independently until complete. See id.; Employee Interview/Call
         Notes.

                    2.     CONTINUED FOOD WASTE MANAGEMENT PROGRESS

                           a)      Background

        During ECP Years Two and Three, the discharge of non-food items, including plastics, in
         food waste70 and grey water71 waste streams from the Company’s ships came to light as a
         systemic, corporate-wide issue. Such discharges may violate the International Convention
         for the Prevention of Pollution from Ships (“MARPOL”), which generally prohibits the
         discharge of all garbage,72 including all plastics, into the sea. See MARPOL Annex V, Reg.
         3.1-3.2.73 In June 2019, the Company pleaded guilty to a probation violation for a

    70
      “Food waste” in this Report generally refers to “soft” food waste (such as wet food scraps and
    other digestible items), and not to “hard” food waste (such as bones, shells, tough skins, and
    other nondigestible items).
    71
      The grey water system processes wastewater coming from various sources on the ships,
    including kitchen galley drains. If those sources do not have adequate filtration devices (such as
    drain/scupper covers), plastics and other non-food items may enter grey water pipework, which
    may ultimately go to tanks that are discharged overboard. See CAM January 2021 Quarterly
    Report at 62-63.
    72
      Garbage is broadly defined under MARPOL to include, among other things, “domestic wastes
    and operational wastes” and “all plastics,” with certain exceptions that do not apply here. See
    MARPOL Annex V, Reg. 1.9.
    73
      Although MARPOL permits the discharge of food waste under specified conditions, see, e.g.,
    MARPOL Annex V, Reg. 4.1.1-2, whenever food waste or other garbage is “mixed with or
    contaminated by other substances prohibited from discharge [e.g., plastics] or having different
    discharge requirements, the more stringent requirements shall apply.” MARPOL Annex V, Reg.
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         commingled food waste discharge, along with a failure to accurately record this discharge.
         See CAM January 2021 Quarterly Report at 55 (citing Probation Revocation Agreement at
         11).

        As discussed in earlier CAM reports, as early as February 2018, in responses to the ECP-
         required Fleet Engineering Survey, the Company’s employees identified the problem of
         ongoing discharges of plastics and other non-food items commingled with food waste due to
         inadequate shipboard waste sorting and disposal processes. However, the Company’s top
         leadership did not respond to the employees’ concerns about possible plastic discharges into
         the ocean until it faced probation revocation in March 2019. For employees, the failure of
         management to act on a self-reported problem (until confronted by the Office of Probation)
         reflects a larger failing by the Company’s top executive leadership and Board of Directors.
         Employees believe that these leaders viewed such incidents as missteps by individual actors,
         without also considering whether they may be the result of inadequate systems and processes.
         Their concerns are compounded by the Company’s longstanding lack of focus on compliance
         culture, as well as its lack of robust systems for internal investigations (including root cause
         analysis), risk governance, data management and analysis, and management accountability.
         See CAM January 2021 Quarterly Report at 55-56.

        In connection with its guilty plea, the Company acknowledged the need to improve the
         management of food waste on its ships to prevent discharges of plastics and other non-food
         items, and agreed to take actions to prioritize this issue, including:

            o   Establishing a Food Waste Task Force and two Food Waste Tiger Teams.74

            o   Implementing a three-part program to improve its food waste management practices,
                which addresses: (1) training, supervision, staffing, and culture improvements;
                (2) reducing single-use plastics and food waste; and (3) technology and design
                improvements.

            o   Committing to: (1) reduce the purchase and consumption of single-use plastic items75
                on its ships by 50% by December 31, 2021; and (2) reduce the total weight of food
                waste generated on its ships by 10% by December 31, 2021.



    4.4. Therefore, a food waste discharge that would otherwise be permitted under MARPOL is not
    permitted if the food waste is contaminated with plastics or other non-food items that cannot be
    legally discharged.
    74
      “Tiger Team” is a term of art that arose from aeronautics in the 1960s to describe a team of
    technical experts who are given unrestricted freedom to track down and assess all possible
    sources of failure in a system, and to develop solutions. The term is “generally applied to a high-
    functioning team of specialists who come together to complete a specific project.” See What is a
    Tiger Team Approach?, https://trextel.com/what-is-a-tiger-team-approach-how-to-successfully-
    launch-technology-and-save-space-missions-too/.
    75
      The Company describes single-use plastic items as including “straws, cups, lids, stir sticks,
    cutlery, cocktail picks, tooth picks, butter packets, serving sauce packets, honey packets, sugar
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           o   Committing a minimum of $20 million in capital expenditures throughout the
               remainder of probation to optimize food waste management.

           o   Submitting a range of plans, reviews, and assessments, as discussed in earlier CAM
               reports. See, e.g., CAM Third Annual Report at 73-74, 107-22; CAM January 2021
               Quarterly Report at 56.

       At the end of ECP Year Three, the CAM made a finding that “under the leadership of the
        Environmental Corporate Compliance Manager, the Company was making tangible progress
        on improving its food waste management.” CAM Third Annual Report at 73. The Company
        reported that it was on track to meet its Probation Revocation Agreement commitments to
        reduce single-use plastics and food waste weight. The Company had also begun a program
        to install food waste digesters on the majority of its ships (which remains in progress, as
        detailed below), which the Company’s prior reviews and assessments had concluded were
        the best technology option for addressing its food waste management challenges. See id.
        This progress continued through the beginning of ECP Year Four. See CAM January 2021
        Quarterly Report at 57-64.

       As of the date of this Report, the Company continues to make tangible progress on improving
        its shipboard food waste management. This includes remaining on track to meet or exceed
        its various Probation Revocation Agreement commitments. However, as discussed in Part
        VI.C below, recent concerns have emerged related to various aspects of food waste
        management processes, including food waste weighing practices and digester operations.
        Active investigations and reviews are underway. See infra, Part VI.C.3.

                          b)      Single-Use Plastics Reduction

       The Company’s self-reported data indicates that it is on track to meet or exceed its Probation
        Revocation Agreement commitment to reduce single-use plastics on ships by 50% by
        December 31, 2021. The Company has incorporated this commitment into its recently
        announced 2030 sustainability goals. See Initial 2030 Sustainability Goals Announcement.

       As of July 2021, the Company reports that single-use plastics have been reduced by a
        fleetwide average of approximately 98%, based on comparing the 12-month period from
        June 2020 – May 2021 to the Fiscal Year 2018 baseline. Non-plastic single-use items over
        the same time period have been reduced by approximately 99%. See Sustainability Single
        Use Items Global Meeting (July 2021), PCL_ECP00226766-77 (“Single Use Items Update”)



    packets, sweetener packets, plastic bags in retail stores, Company provided Q-tips, Company-
    provided individual shampoo bottles, plastic garbage bags in cabins, and balloons used during
    outdoor events.” Probation Revocation Agreement at 7. The Company excludes water bottles
    “because they are recycled” and plastic gloves “because they are critical to food safety and
    medical hygiene.” Environmental Compliance Scorecard Q1 FY2021 (Apr. 2021),
    PCL_ECP00190448-82 (“Environmental Compliance Scorecard Q1 FY2021”) at
    PCL_ECP00190466.

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        at PCL_ECP00226767-69. Items that have been eliminated from ships include Q-tips,
        garnish picks, and chop sticks. See Company Updates Letter at PCL_ECP00225067.

           o   These significant reductions are likely attributable in part to the drastically reduced
               number of crew members and passengers aboard ships during 2020, compared to the
               2018 baseline year of normal operations. The Company likely will need to
               reintroduce some items as guest operations resume on a wider scale. In addition, new
               public health and safety protocols may require the re-introduction of certain items,
               such as plastic bags for garbage bins or individual condiment packets. See Single Use
               Items Update at PCL_ECP00225073.

           o   The Company reports that it does not expect any increases from the restart of guest
               operations or the implementation of new public health and safety protocols to
               compromise its ability to meet its Probation Revocation Agreement commitment. See
               id.; Employee Interview/Call Notes. The Company has also voluntarily set the 50%
               reduction goal again for December 2022 (beyond the December 2021 goal set in the
               Probation Revocation Agreement) “to prove to [itself]” that it can achieve the goal
               when it is “no longer getting an assist from the pandemic.” Company Draft Report
               Comments.

       As discussed in earlier CAM reports, the Company is taking a two-tiered approach to
        reducing single-use items. The first tier, which is complete, focused on eliminating or
        reducing small items and items with obvious substitutes (like plastic cutlery, cups, and
        straws). A second tier is focused on eliminating or reducing other single-use items
        (including amenity bottles, plastic bags, yogurt containers, and cling wrap). This tier is
        approximately 79% complete as of July 2021. See Single Use Items Update at
        PCL_ECP00226767. In addition, the Company is exploring approaches for addressing other
        single-use plastics, beyond those in tiers 1 and 2, such as coffee pods and face masks. Id. at
        PCL_ECP00226774.

       As the Company’s outside consultant has observed, reducing or eliminating single-use
        plastics is an “important goal” because “the most effective way to stop plastic from being
        discharged into the ocean is to avoid using it onboard in the first place. If plastic ends up in a
        pulper/vacuum system, it will likely be macerated into smaller pieces that might be
        indistinguishable from the organic matter it is blended with.” Food Waste Equipment
        Technical Review (Oct. 31, 2019) at 2. According to the International Union for
        Conservation of Nature, “[p]lastic pollution is the most widespread problem affecting the
        marine environment.” Issues Brief: Marine Plastics (May 2018) at 1, available at
        https://www.iucn.org/sites/dev/files/marine_plastics_issues_brief_final_0.pdf. Marine
        species “ingest or are entangled by plastic debris, which causes severe injuries and deaths.”
        Id. In addition, plastic pollution “threatens food safety and quality, human health, coastal
        tourism, and contributes to climate change.” Id. It is estimated that as much as 90% of the
        plastic in the ocean comes from land-based sources, including plastic flushed out to sea due
        to “inadequate waste disposal and management” practices ashore. See id.; see also Our
        planet is drowning in plastic pollution—it’s time for change!,
        https://www.unep.org/interactive/beat-plastic-pollution/. Even if the percentage of plastic
        waste coming directly from cruise ships is relatively small, it nonetheless constitutes an

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         addition to the sea of a waste that the U.S. National Oceanic and Atmospheric Administration
         reports “can stick around indefinitely, wreaking havoc on marine ecosystems.” See A Guide
         to Plastic in the Ocean, https://oceanservice.noaa.gov/hazards/marinedebris/plastics-in-the-
         ocean.html. The threat of plastic pollution from land-based sources also underscores how
         critical it is for the Company to thoroughly vet the shoreside vendors it relies on to receive
         and properly dispose of wastes from its ships.

                           c)      Food Waste Weight Reduction

        The Company’s self-reported data indicates that it is on track to meet or exceed its Probation
         Revocation Agreement commitment to reduce the total weight of food waste (per capita)
         generated on its ships by 10% by December 31, 2021. The Company also appears to be on
         track to meet or exceed its recently announced sustainability goals and aspirations to reduce
         food waste by 30% by 2022, and by 50% by 2030. See Initial 2030 Sustainability Goals
         Announcement.

        As of April 2021, the Company reports that the weight of food waste generated on its ships
         (per capita) was reduced by a fleetwide average of approximately 40%, based on comparing
         a two-week measurement period in April 2021 to the two-week October 2019 baseline. See
         Food Waste Reduction Performance Update (Apr. 2021), PCL_ECP00221559 at 1.

            o   The Company acknowledges that the April 2021 and October 2019 figures “are not
                directly comparable,” given that the 2021 measurements took place with a limited
                number of guests and crew aboard ships across the Company’s fleet. Id. However,
                the data is calculated on a per capita basis, which helps to control for the discrepancy
                in the size of the comparison populations. See id.; Employee Interview/Call Notes.

            o   The Company reports that, although “there is an expectation that food waste will
                likely increase” as guest operations resume, it does not expect any such increases to
                compromise its ability to meet its Probation Revocation Agreement commitment. See
                Cross-Brand Food Waste Measurement, Report 2021-03 (Mar. 3, 2021) (“Cross-
                Brand Food Waste Measurement Report”) at 6; Employee Interview/Call Notes;
                Company Updates Letter at PCL_ECP00225067-8.

        Notably, as discussed in Part VI.C below, concerns have recently emerged regarding
         shipboard food waste measurement practices. See infra, Part VI.C.3. In March 2021, RAAS
         completed a Focus Review76 into food waste measurement and reporting processes. The final
         report found that different Brands, and even some ships within the same Brand, were taking
         inconsistent approaches to food waste calculations—in particular, in how they treat food
         waste liquids (such as soup, beverages, or thawing liquids). For example, out of 19 ships
         sampled, four ships reported removing liquids from food waste (through straining or other



    76
       As discussed in Part VII.B below, RAAS Focus Reviews are cross-brand analyses of business
    issues that may cover a range of topic areas, from spare parts to superintendent workloads. See
    infra, Part VII.B.4.

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         means) before the waste was measured. See Cross-Brand Food Waste Measurement Report
         at 10.

            o   The RAAS report does not analyze the extent to which these inconsistencies may
                impact the accuracy or reliability of the Company’s self-reported food waste weight
                reduction data. The RAAS report also does not analyze the potential root cause(s)
                underlying the inconsistent liquid removal practices (such as whether some ships may
                have been driven by a desire to drive down reported food waste numbers).

            o   Relatedly, an internal investigation is ongoing into allegations of improper food waste
                measurement and liquid disposal practices on several Company ships, as discussed in
                Part VI.C below. See infra, Part VI.C.3. These allegations were reported around the
                same time the RAAS review was finalized. It is unclear if the reports were prompted
                by, or otherwise tied to, the RAAS review.

        The RAAS review also identified several opportunities for clarifying food waste
         measurement, reporting, and recordkeeping requirements. See Cross-Brand Food Waste
         Measurement Report at 10-15, 17. Following the review, the Company published a new
         procedure in May 2021 which clarifies, among other things, the types of liquids that can be
         removed from food waste. It expressly prohibits other liquids from being “strained, filtered
         or otherwise extracted” from food waste. ENV 1304 Measuring, Recording, and Reporting
         of Food Waste at § 3. The new procedure also requires ships to weigh and record food waste
         continuously (e.g., daily or more). Previously, ships were required to weigh and record food
         waste only during a two-week period each quarter. See id. at § 2.

                           d)      Food Waste Digester Installations

        The Company has committed in its Pause Priorities Plan to allocate $10 million to purchasing
         food waste digesters in Fiscal Year 2021, with the goal of installing those digesters on ships
         within 60 days of their return to service. See Pause Priorities Plan at 10. The Company
         reports that it has met its Probation Revocation Agreement obligation to commit at least $20
         million in capital expenditures on food waste technologies before the end of probation. See
         Company Draft Report Comments.

        As of the date of this Report, the Company continues to move forward with its digester
         installation plan.77 However, as detailed below, recent concerns have emerged regarding
         aspects of digester installations and operations, including allegations of the breakdown of
         plastic digester components and associated potential discharge of plastic into the ocean. See
         infra, Part VI.C.3. The Company is actively examining these issues, as well as potential
         corrective and preventive actions. The CAM understands that the Company may re-evaluate


    77
      As discussed in the last CAM report, the current plan differs from the plan submitted in
    January 2020. Due to food waste reductions that were underway before the pandemic, the
    Company determined that fewer digesters than originally anticipated are needed. Installation
    timelines have also been adjusted in light of COVID-19 impacts. See CAM January 2021
    Quarterly Report at 61.

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        its digester installation plan depending on the outcome of its investigations and reviews into
        these concerns. See Employee Interview/Call Notes.

       Under the current plan, the Company expects to complete all digester installations before the
        end of 2021. Installations continue to be prioritized for those ships resuming guest
        operations the earliest. As of June 2, 2021, the Company reports that, out of 93 ships in its
        fleet: (1) 33 ships (or approximately 35%) have either a full set of digesters (21 ships) or a
        food waste drying system (12 ships) installed; (2) 31 ships (or approximately 33%) have a
        partial set of digesters installed; (3) 21 ships (or approximately 23%) have no digesters
        installed but have digesters on order; and (4) 8 ships (or approximately 9%) have no
        digesters installed or on order. See Maritime Operations Monthly Dashboard (May 2021),
        PCL_ECP00224689 at 21. All digesters are projected to be installed before December 2021.

       To further support its digester installation plan, the Company has taken additional actions,
        including:

           o   Establishing, in February 2021, a Food Waste Digester Working Group, led by All
               Brands Group, with approximately 30 members from across Brands and departments.
               The working group’s purpose is to share knowledge, best practices, and lessons
               learned on everything from technical installations to operational processes to training.
               See Employee Interview/Call Notes.

           o   Developing a list of critical spare parts for digesters, which was completed in
               February 2021. See Company Updates Letter at PCL_ECP00225068; Company Draft
               Report Comments.

           o   Beginning to develop digester-related trainings for crew members, including a
               computer-based training. See Company Updates Letter at PCL_ECP00225068.

           o   Beginning to develop “micro-procedures” on how to operate digesters, to supplement
               existing procedures and manuals. See id.

           o   Revising its procedure on food waste segregation and disposal to include simplified
               and less labor-intensive processes for ships that rely exclusively on digesters to
               process their food waste. See ENV 1302 Segregation and Disposal of Food Waste;
               Environmental Corporate Compliance Manager Annual Report at
               PCL_ECP00211335.

       Notably, the Company issued a new procedure in May 2021 requiring each ship (including
        new builds) to install digesters “with sufficient capacity to meet the daily expected food
        waste production plus spare capacity.” DER 2006 Food Waste Processing Equipment at § 2.
        Food waste dryers or dehydrators are allowed as an alternative, or in addition, to digesters.
        Id. This policy effectively requires all food waste to be processed either by digesters or by
        drying systems, or, if it cannot be processed, to be offloaded ashore. It also effectively
        prohibits all food waste discharges to sea (except for digester effluent, which the Company
        has decided to classify as food waste, rather than grey water, going forward, as discussed in
        prior CAM reports). See id. at § 1; CAM January 2021 Quarterly Report at 62; Company

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         Draft Report Comments; HESS Committee Meeting Minutes (Apr. 14, 2021),
         PCL_ECP00217910-14 at PCL_ECP00217911.78

                           e)     Other Food Waste Management Initiatives

        The Company has undertaken additional food waste management initiatives not discussed
         above, including:

            o   Holding a webinar, in conjunction with CSMART, in early June 2021 with hotel,
                technical, and environmental personnel, ship and shore, on recent changes to food
                waste procedures. See May 2021 Probation Supervision Report, Attachment 5,
                PCL_ECP00225117-20 (“May 2021 Probation Supervision Report Attachment 5”) at
                PCL_ECP00225117.

            o   Providing ships with new, standardized signage for operating shipboard food waste
                processing equipment, including digesters. See Pause Priorities Plan at 11;
                Environmental Corporate Compliance Manager Annual Report at
                PCL_ECP00211335.

            o   Developing a Hotel Food Waste Compliance Self-Assessment form to be completed
                by ships before resuming passenger cruises, designed “to make sure food waste
                procedures are properly implemented at restart.” See Pause Priorities Plan at 11.

            o   Continuing to report and track food waste management performance in its food waste
                dashboards, which track data on “the number of instances in which shipboard
                employees found non-food waste at any point in the food waste disposal system” or
                grey water system. Company Updates Letter at PCL_ECP00225068. The Company
                reports that the dashboards indicate “significant reduction of contaminants found in
                food waste,” based on comparing data from Q4 Fiscal Year 2020 to Q2 Fiscal Year
                2019 (the first quarter in which the Company tracked the dashboard data). See
                Environmental Corporate Compliance Manager Annual Report at
                PCL_ECP00211336-37; see also Company Updates Letter at PCL_ECP00225068.




    78
       The Company reports that this policy was introduced before issues came to light regarding the
    potential breakdown and discharge to the sea of plastic digester components, as discussed in Part
    VI.C.3 below. As a result of “the current [plastic] media challenge,” the Company is “allowing
    lawful discharges to sea” of food waste that has not been processed by a digester (e.g., through
    historic practices such as the use of food waste pulpers or chutes), until there is “a workable
    solution” to the digester issues. Company Draft Report Comments. As the CAM has observed,
    to the extent ships must rely on historic (pre-digester) food waste management practices, should
    there be evidence that these methods fail to prevent the discharge of non-food waste in violation
    of MARPOL Annex V or U.S. law, there is a risk of both corporate and individual liability. See
    CAM January 2021 Quarterly Report at 63-64.

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                   3.      IT AND DATA IMPROVEMENTS

                           a)     Background

       The CAM has observed that the Company’s IT and data resources in support of compliance
        historically have been: non-centralized, with different systems (or versions of systems) in
        use by different brands; outdated; and not able to support the collection and sophisticated
        analysis of environmental compliance data across the corporation, in contrast to the way the
        Company is able to analyze financial information. See CAM Third Annual Report at 127-37.

       The Company has recognized its need for more centralized, modern, and data-driven
        strategies. Throughout the period of probation, the Company has made efforts to develop
        and implement IT systems and tools designed to help improve both operations and
        compliance, and to enhance its data management and analysis capabilities. As discussed in
        Part VI.C below, progress on these efforts has generally been slow over the course of
        probation, notwithstanding the pandemic. See infra, Part VI.C.4. That said, some significant
        progress on certain efforts has been made during ECP Year Four, and the Company is
        continuing to move towards implementing a global, corporate-wide IT strategy. See CAM
        January 2021 Quarterly Report at 81.

       Effective IT and data tools are critical to any organization’s compliance and risk
        management efforts. DOJ recognizes that it is critical for compliance personnel to have
        access to “relevant sources of data to allow for timely and effective monitoring and/or testing
        of policies, controls, and transactions.” See DOJ Corporate Compliance Guidance at 12.

       Company compliance activities supported by IT and data tools include:

           o   Hosting internal policies and procedures.

           o   Managing internal and external communications, including between ship and shore.

           o   Enabling incident and near miss reporting, tracking, and analysis, including data
               visualization to help identify and manage risks.

           o   Managing and tracking findings and corrective/preventive actions from audits and
               investigations.

           o   Managing spare parts, including logistics and procurement.

           o   Managing, reporting, and analyzing planned (and unplanned) maintenance activities.

           o   Supporting voyage planning, including environmental planning.




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            o   Improving the delivery and tracking of trainings.

            o   Optimizing crew staffing and workloads.79

                           b)     Global IT Strategy

        Historically, the Company’s individual Brands have pursued their own, brand-specific IT and
         data strategies and initiatives. As the CAM has observed, such efforts are “sometimes at
         odds or incompatible with other cross-brand efforts.” See CAM January 2021 Quarterly
         Report at 81-82 (citations omitted). In recent years, beginning in late 2018, the Company
         committed to pursuing a global, corporate-wide approach to IT and data. While this effort
         remains under development, progress has been made. See id.

        To support a global approach, the Company has made some organizational changes. For
         instance, in December 2018, the Company appointed an All Brands Group Chief Information
         Officer. Each Brand Chief Information Officer now reports directly to this individual. New
         positions were also created within All Brands Group to provide technical expertise on
         developing and implementing corporate-wide maritime IT and data initiatives. For example,
         the Company appointed: a Senior Director of Maritime Innovation that reports to the Chief
         Maritime Officer; a Maritime IT Director that reports to the All Brands Group Chief
         Information Officer; and an IT liaison from the Ethics & Compliance department. Together,
         these three positions comprise the Maritime & Environmental IT group, which is designed to
         promote continuous improvement in the IT space, with a maritime and environmental focus.
         See Employee Interview/Call Notes.

        Among other initiatives, the Maritime & Environmental IT group has instituted a cross-brand
         Maritime IT Working Group. According to the Company, this working group “has the
         specific function to support implementation of the holistic maritime IT strategy led by
         [Maritime & Environmental IT].” Company Draft Report Comments. Its membership
         includes leaders from the IT, Maritime Operations, and Ethics & Compliance departments.
         Id.



    79
      IT and data systems can also expose organizations to cybersecurity threats. The International
    Maritime Organization has recognized “the urgent need to raise awareness on cyber risk threats
    and vulnerabilities to support safe and secure shipping,” and issued a regulation, which went into
    effect on January 1, 2021, that requires maritime companies to include cybersecurity risk
    assessments in their internal HESS policies and procedures. See IMO Resolution MSC.428(98)
    (June 16, 2017). In response, the Company has published in Global HESS both: (1) a
    cybersecurity framework designed to “implement a risk-based approach that identifies, protects,
    detects, responds and recovers from any cybersecurity event,” see CYB 1000 Maritime
    Operational Technology Cybersecurity Framework at § 1; and (2) incident response plan
    requirements designed to “[d]efine the response plan for cyber incidents impacting [operational
    technology] systems or operations.” See CYB 1005 Incident Response Plan Requirements for
    Critical Ship Systems at § 1. The Company is also developing cyber security standards for new
    builds. See HESS Board Report Q1 FY2021 at PCL_ECP00190561.

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        These changes are designed to support better alignment and standardization of IT and data
         across the corporation. For example, one focus of the maritime IT strategy is to reduce the
         number of incompatible “legacy” systems in use throughout the Brands. Another is to
         enhance the compatibility of various data sources to enable better cross-brand data sharing
         and analysis. The MAST program, discussed in detail in Part VI.C.4 below, is a specific
         example of an effort to align the entire corporation on a single software management system.
         Notably, the Company recently approved additional resources to complete the development
         of the MAST initiative a year ahead of the original pre-pandemic schedule. See Employee
         Interview/Call Notes.

        Highlights of additional IT initiatives are summarized in Appendix D.

                            c)      Data Visualization Efforts

        During ECP Year Four, the Company has taken steps to enhance its data visualization
         capabilities. The goal of data visualization is to represent information in a form that makes it
         easier to understand and process, such as a chart, graph, diagram, map, or picture. This
         “visualized” data can then be shared in dashboards, which may be static or interactive
         (allowing viewers to “drill down” into different data points, or see updates in real time).
         Notable efforts underway include:

            o   Compliance Risk Intelligence Group Dashboards: In 2021, the Company
                reorganized its Ethics & Compliance Risk function to create a four person team
                known as the Compliance Risk Intelligence Group, led by the Senior Director of
                Compliance Risk and Analytics and reporting directly to the Deputy Chief Ethics &
                Compliance Officer. One of its primary responsibilities is to provide data analysis
                support to stakeholders across the Company. Since its formation, the Compliance
                Risk Intelligence Group has created over 20 different data visualization dashboards,
                in response to requests from stakeholders in the Maritime Operations, Ethics &
                Compliance, and Legal groups. Several of these dashboards provide analytics related
                to various operational and compliance issues, such as: Global HESS procedure
                suggestions; critical spare parts for pollution prevention equipment; compliance
                training; Hotline Reports; investigations; audit findings; Self-Reported Non-
                Conformities;80 and HESS incidents and near misses. See CRIG Data Intelligence
                Dashboards Correspondence and Attachments (Apr. 6, 2021); Company Updates
                Letter at PCL_ECP00225065.

            o   Holland America Group Pollution Prevention Equipment Event Dashboards: At
                least one Operating Group, Holland America Group, has started to use data
                visualization to track and trend pollution prevention equipment events in a more
                sophisticated manner than has traditionally been done within the Company. See, e.g.,
                Pollution Prevention Equipment Event Review Dashboards, PCL_ECP00221561-88.
                For instance, these dashboards can provide information about equipment failures on a
                granular level (e.g., based on the specific component of the equipment that failed), as
    80
     Since January 2019, ships have been required to self-report instances where they are unable to
    meet the requirements of Company procedures. See HMP 1106 Self Reported Non-Conformities.

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                well as track and trend repeat issues over time. See id. The CAM understands that
                this effort began in July 2020. Other Operating Groups have recognized a similar
                need to track, trend, and visualize equipment failures in a more detailed and holistic
                way (including specific component failures, time out of service, and repair times).
                Such methods could provide better insights into predicting and preventing pollution
                prevention equipment events. See Employee Interview/Call Notes.

            o   RAAS Dashboards: RAAS continues to develop dashboards that analyze and trend
                certain HESS metrics central to its audit function, including HESS audit findings,
                planned maintenance status, and crew experience and training. See CAM January
                2021 Quarterly Report at 86. RAAS has made improvements to the dashboards since
                the last CAM report, including: expanding the HESS audit findings dashboard to
                include TPA audit findings; revising the planned maintenance status dashboard to use
                the same data and definitions as the monthly Court-ordered planned maintenance
                submissions; and completing beta testing of the crew experience and training
                dashboard at three Operating Groups. These dashboards currently do not provide real
                time access to data and must be manually updated. See Employee Interview/Call
                Notes.

                            d)      Return to Service IT Efforts

        Employees report that the Company is prioritizing IT projects critical to the return to service.
         For example, current IT priorities include contact tracing and vaccination and consent form
         tracking systems. The Company is also working on improving existing crew personnel
         management systems to enable better management of crew immigration status, vaccination
         status, credentials, travel logistics, and ship assignments. See Employee Interview/Call
         Notes.

                    4.      WASTE VENDOR ASSESSMENT PROGRAM IMPROVEMENTS

                            a)      Background

        In March 2020, the Company launched a revised, corporate-wide waste vendor assessment
         program.81 The redesigned program was prompted by multiple RAAS and TPA audit
         findings that the Company was not assessing third-party waste vendors as required by its

    81
       This Report uses the term “waste vendor” to refer generally to entities or facilities that receive
    or handle wastes offloaded from the Company’s ships at the ports it calls upon around the world.
    Waste streams that may be offloaded include: black water/sewage; food waste; garbage/solid
    waste; hazardous waste (including medical waste); grey water; and oily wastes (e.g., sludge,
    bilge water, and other oily waste or residues). Waste vendors may include barges that dock
    alongside the ship, trucks that remain ashore, or other types of reception facilities. Waste may be
    transferred from the ship to the waste vendor manually (such as by hand or via a forklift or other
    machinery, for solid waste streams), via a hose connection (for liquid waste streams), or other
    means depending on the waste stream. Before the pandemic, the Company had a working list of
    approximately 600 different waste vendors and visited approximately 900 ports around the
    world, although it did not offload waste in every port. See Employee Interview/Call Notes.

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         internal procedures—and contrary to assurances in its public Sustainability Reports that
         “shoreside waste facilities are evaluated prior to offloading the waste from the ships.” See
         CAM Third Annual Report at 204 (quoting Sustainability Reports for Fiscal Years 2013
         through 2017).82

        While relevant law does not appear to impose a legal obligation on the Company to assess
         waste vendors, assessing third-party risk is integral to compliance. DOJ recognizes that a
         well-designed corporate compliance program should apply risk-based due diligence to third-
         party relationships and “incentivize compliance and ethical behavior by third parties.” DOJ
         Corporate Compliance Guidance at 7-8.83 As DOJ expressed to the Court in this case: “We
         would certainly hope that when the company does begin cruising again, that there has been
         meaningful vetting, that the company know where the waste that it discharges ashore is
         going, and that it’s being treated properly and not just going back into the ocean.” Status
         Conf. Tr. at 11 (Apr. 24, 2020).

        In ECP Year Three, the CAM observed that the Company’s updated program improves upon
         its previous practice. However, the CAM raised concerns about the program, including the
         risk that the limited review process may be akin to the “check-the-box” approach that DOJ
         has cautioned is often inefficient and ineffective. See CAM January 2021 Quarterly Report
         at 68 (citing DOJ guidance).

        During ECP Year Four, the CAM Team has continued to engage with All Brands Group and
         individual Brand personnel responsible for implementing the program. These individuals
         have expressed passion and dedication to implementing and continuously improving the
         program. Highlights of these efforts, along with some of the CAM Team’s ongoing
         concerns, are discussed in the following sections.

                            b)     Redesigned Program

        The Company describes the redesigned waste vendor assessment program, launched in
         March 2020, as a three-step process, relying on:

            o   (1) Self-Assessment “Duty of Care” Forms: The Company sends Duty of Care
                self-assessment forms to each vendor requesting basic (but unverified) information
                that the vendor fills out and returns to the Company.


    82
      The Company’s 2018 and 2019 Sustainability Reports were revised to “tout[] the Company’s
    goal to ‘[f]urther develop and implement [waste] vendor assurance procedures.’” CAM
    December 2019 Quarterly Report at 61 (discussing revisions to the Company’s 2018
    Sustainability Report). However, these reports do not correct the inaccurate assurances of waste
    vendor vetting from prior years.
    83
      Making inaccurate statements in its sustainability reports may also have implications for the
    Company’s ESG ratings. Moreover, the Company has incorporated waste vendor assessment
    requirements into its Environmental Management System procedures in Global HESS, and
    compliance with those procedures is audited by international certification bodies.

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            o   (2) Negative Media Reviews: The Company performs searches of commercial
                databases for public negative media reports involving the vendor, a process referred
                to as a “negative media review.”

            o   (3) “Red Flag” Reviews: The Company performs internal “red flag” reviews of
                information collected during the first two steps. Relevant factors considered during
                these reviews include: past violations; insurance and licensing; facility accessibility
                and visitation permissibility; waste removal methodologies; and third-party audits.

                See CAM January 2021 Quarterly Report at 67-68; ENV 1004 Environmental
                Management of Waste Vendors (“ENV 1004”); ENVC 1004 Company Environmental
                Management of Waste Vendors (“ENVC 1004”).

        In late 2019, the Company established a Waste Vendor Working Group with representatives
         from All Brands Group and each of the Brands. The working group is tasked with
         overseeing the development, implementation, and continual improvement of the program.
         See Employee Interview/Call Notes.

        The program is centrally coordinated at the All Brands Group level, with responsibility for
         the three steps described above split between All Brands Group and the individual Brands.
         The Brands primarily oversee the self-assessment process, while All Brands Group performs
         the negative media reviews, and the Waste Vendor Working Group performs the internal
         “red flag” reviews. See id.

                           c)      Program Updates

        The Company has made some meaningful strides with its waste vendor assessment program
         in ECP Year Four. As of the date of this Report, the Company has implemented its
         assessment process for all waste vendors located in potential layup and restart locations, and
         nearly all other waste vendors that are not mandated by the ports.84 See Maritime Operations
         Monthly Dashboard (May 2021), PCL_ECP00224689 at 34. According to the Company,
         “only 35 vendors (out of 597) are pending final vetting completion.” Company Draft Report
         Comments.

        In addition, in May 2021, the Company revised its internal procedures for the waste vendor
         assessment program. Among other changes, the revisions clarify:

            o   That all waste vendors, including port-mandated vendors, must undergo negative
                media reviews.




    84
      As discussed in the last CAM report, the Company revised its internal procedures in October
    2020 to exempt port-mandated vendors (i.e., vendors the Company is required to use by a Port
    Authority, as opposed to vendors chosen by the Company) from the waste vendor assessment
    process. See CAM January 2021 Quarterly Report at 68-69.

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           o   The process for ships to issue a Self-Reported Non-Conformity if they learn they will
               have to use an unapproved vendor.

           o   The criteria for determining if a vendor should be suggested for a site visit. The
               CAM has observed that the prior procedures did not provide instruction on when site
               visits were advisable or how to conduct them. The revised procedures now detail the
               criteria used to determine whether to conduct a site visit, as well as the criteria for
               prioritizing site visits to the highest-risk vendors. See ENVC 1004 § 2.3. The
               procedures do not yet provide instruction on how to conduct, assess, or document
               such visits. The Company reports that “[c]urrent procedures do not yet document
               how to perform a site visit as site visits are not currently feasible due to the
               pandemic.” Company Draft Report Comments. Once site visits become feasible,
               “the procedures will be developed jointly with a 3rd party vendor who [the Company]
               will work with to develop the site visit program.” Id. This “is the next phase of the
               project” and a “work in progress.” Id. The Company did not provide an expected
               date of completion.

               See ENV 1004 §§ 2.1-2.3; ENVC 1004 §§ 2.1-2.3, 2.5.

       The Company describes its approach as “risk based due to the volume of vendors and
        different regulatory bodies/requirements at all levels including international, national, local,
        port specific, etc.” Company Draft Report Comments. In addition to the three steps outlined
        above, “[i]n the future, site visits will include additional document review and onsite
        checks.” Id.

       The Waste Vendor Working Group is also now coordinating with the Company’s Anti-
        bribery and Corruption team “to conduct negative media anti-bribery and corruption
        screenings on identified waste vendors.” Compliance Committee Q1 2021 Report at
        PCL_ECP00190616. The screening process “is ongoing.” Id.

       In addition, the Company is considering possible software solutions to automate the
        management of Duty of Care vendor self-assessment forms. See Employee Interview/Call
        Notes; Company Draft Report Comments. Similarly, the Company has proposed
        enhancements to SeaEvent (the Company’s incident and near miss reporting and case
        management system) that would allow it to better track and trend reportable waste vendor
        issues. See SeaEvent v1.10 Enhancements.

                           d)      CAM Team Review

       The CAM Team reviewed more than 500 waste vendor due diligence documents provided by
        the Company, including Duty of Care self-assessment forms, negative media review reports,
        and Waste Vendor Working Group notes. The CAM Team also conducted additional spot-
        checks on specific waste vendors.

       The CAM Team’s review revealed that the Company has identified and elevated issues with
        some waste vendors to the Waste Vendor Working Group, and engaged directly with vendors


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      to seek assurances about the sufficiency of remedial measures to address “red flags.” For
      example:

         o   A negative media search for one waste vendor identified that the vendor had received
             fines related to environmental violations. The Company reports that it “follow[ed] up
             with [the] waste vendor to understand corrective and preventive actions put in place
             in response to fines identified via negative media.” Environmental Management of
             Waste Vendors Call (Apr. 7, 2021), PCL_ECP00189446-54 at PCL_ECP00189449.
             Based on the vendor’s response, it was deemed a “high risk” and was categorized as
             “unapproved.” See id.; see also ENV 1004-A1 List of Approved Vendors.

         o   Another vendor’s self-assessment form revealed potential issues with its bilge and
             sludge hose testing. The Company reached out to the vendor and learned that it did
             not test its hoses annually. Accordingly, the vendor was categorized as “approved but
             contingent” for liquid waste streams, meaning that offloads can only occur with
             approval from shoreside management prior to the offload. Approval is granted “on a
             case by case basis.” See Waste Vendor Committee Call Minutes (Apr. 21, 2021),
             PCL_ECP00211188-89; see also ENV 1004 at § 2.2. According to the Company, the
             shoreside contact “confirms there is no other option available for that particular
             offload before approving using the contingent vendor. If an approved vendor is
             available, the shoreside contact will reject the request.” Company Draft Report
             Comments.

     The Company has also begun to categorize waste vendors with prior reported environmental
      incidents as subject to what employees describe as “probationary approval,” under which the
      vendor must provide quarterly updates to the Company as a condition of approval. See
      Employee Interview/Call Notes. To date, however, the Company has not formalized this
      probationary approval process in its procedures. The Company reports that the types of
      information requested “vary based on the prior incident.” Company Draft Report Comments.
      The types of information that can be requested in the quarterly updates include:

         “1) Details of any environmental or pollution related violations and incidents with
         corrective actions where appropriate and any resolution or strategy implemented to
         prevent the violation from reoccurring.

          2) Documents (updates to policy or procedures) or training materials disseminated to
         employees regarding a culture of compliance and ethical behavior.” Id.

     The CAM Team’s review also revealed opportunities for improving the Company’s vetting
      process, including:

         o   Establishing consistent protocols for performing searches on all names or variations
             that may be associated with a waste vendor, such as acronyms, aliases, alternate
             spellings (or misspellings), or parent/subsidiary corporate entities. Based on the
             CAM Team’s review, the Company’s negative media review process has not captured
             all relevant negative media reports. Spot checks resulted in negative media hits that
             did not appear in the Company’s commercial database reports. For example, one

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              CAM Team search of an approved waste vendor found that the owner had been
              convicted of federal weapons charges and sentenced to prison during the relevant
              search period. The owner’s name is part of the name of the waste vendor company.
              It is possible that the Company’s search was limited to the exact waste vendor entity
              name and, as a result, missed the negative media that would have been identified by
              searching for variations or components of the name.

          o   Establishing consistent protocols for vetting related corporate entities for vendors that
              have been part of a merger, acquisition, or other corporate re-structuring. The
              Company has acknowledged that its negative media reviews do not include search
              terms designed to capture these corporate changes. See Employee Interview/Call
              Notes.

                          e)     Waste Vendor Incidents

      The Company has continued to report incidents and near misses involving its waste vendors,
       including discharges or potential discharges of wastes (such as sludge and other oily wastes)
       into the sea during waste offload operations due to an error or equipment failure attributable
       at least in part to the vendor. See Internal Incident Log.

      One recent incident involving a vendor (a fuel supplier rather than a waste vendor) has led to
       local prosecutors filing charges against the vendor, as well as the Captain and Chief Engineer
       of a Company ship, as a result of a discharge that occurred during fuel bunkering operations.
       See Carnival Corp. Special Condition No. 13 Report (May 28, 2021). According to the
       Company, “[p]roceedings against the Captain and Chief Engineer are pending and no
       resolution date is currently known. The local coastguard has yet to issue an administrative
       fine associated with the incident but required the Company to post security of EUR37,000
       plus stamp duty (which likely represents the estimated value of the eventual fine).”
       Company Draft Report Comments.

                          f)     Continuous Improvement Efforts

      The Company has stated a goal to “lead the cruise industry in this area [of waste vendor
       vetting].” Environmental Compliance Scorecard Q1 FY2021 at PCL_ECP00190467.
       Benchmarking efforts to track this goal, though, are in their infancy, and so it is unclear how
       the Company intends to “lead the industry,” since it has not identified the standard against
       which it is to be measured. According to the Company, certain continuous improvement
       initiatives, such as the software intended to automate portions of the vetting process, may
       support benchmarking efforts. See Employee Interview/Call Notes.

      Now that the Company is nearing the completion of its initial vetting process for its (non-
       port-mandated) vendors,85 the CAM understands that the Waste Vendor Working Group is


  85
    Each vendor must be vetted again within three years of the date it was approved or before
  renewing a contract, whichever is soonest, or if there are “reports of consistent poor service or
  known reported incidents.” ENV 1004 at § 2.1.

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      shifting its focus toward continuous improvement efforts to strengthen the program. See
      Employee Interview/Call Notes.

     Ongoing opportunities for improvement identified by the CAM Team, in addition to those
      noted in the preceding sections, include addressing the following:

         o   Clarifying what is meant by “reports of consistent poor service” or “known reported
             incidents,” both of which are listed in the Company’s procedure as events that can
             trigger the vetting of a previously approved waste vendor. See ENV 1004 at § 2.1.

         o   Relatedly, establishing a formal process for: (1) shipboard personnel to identify and
             report issues or concerns with waste vendors, including clarifying what constitutes
             “consistent poor service;” and (2) shoreside personnel to track or follow-up on such
             reports. The CAM understands that, currently, these processes happen in an informal,
             ad hoc way. Ship may contact shoreside (typically via email) if there is a concern
             with a waste vendor, but there is no requirement to do so, no procedure detailing how
             the ships should communicate this information, no designated point of contact
             shoreside to receive these communications, and no consistent way of assessing and
             managing this information. See Employee Interview/Call Notes.

     The CAM Team will continue to examine the Company’s efforts to develop and implement
      its revised waste vendor assessment program, including processes for: performing site visits;
      performing negative media reviews; continuously monitoring vendors; and reporting,
      investigating, tracking, and following up on incidents (including near misses) and concerns.

                 5.     ESTABLISHING A (LIMITED) MANAGEMENT OF CHANGE PROCEDURE

                        a)      Background

     Throughout the period of probation, crew members from across the Company have reported
      concerns to the CAM Team about the additional workload and demands associated with new
      Company procedures and initiatives. See Employee Interview/Call Notes. Many
      organizations have a formal process, known as “Management of Change,” to evaluate and
      manage the potential impacts of such changes. As described by the American Bureau of
      Shipping, a Management of Change process:

         “is a combination of policies and procedures used to evaluate the potential impacts of a
         proposed change so that it does not result in unacceptable risks. Developing an effective
         [Management of Change] strategy requires establishing, documenting, and successfully
         implementing formal policies to evaluate and manage both temporary and permanent
         modifications in the facility or ship including equipment, materials, operating
         procedures and conditions, and personnel.”

         American Bureau of Shipping, Guidance Notes on Management of Change for the
         Marine and Offshore Industries (Feb. 2013) at 1 (emphasis added).

     The CAM has observed that implementing (well-intentioned) initiatives without an effective
      a Management of Change process “at the outset” blinds management to “what new
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        challenges or trade-offs might result, in light of existing staffing levels and workloads on the
        ships.” CAM January 2021 Quarterly Report at 26.

       By early 2020, the Company recognized this shortcoming, and announced it would develop a
        corporate-wide Management of Change procedure. The effort was delayed several times
        during the pandemic. See id. at 26-27.

                           b)      New Procedure

       In January 2021, the Company published a narrowly scoped Management of Change
        procedure, which became effective on April 30, 2021. Its objective is to “establish a
        consistent process to control and reduce risks when changes are made that significantly
        impact ship operations.” HMP 1600 Management of Change (“HMP 1600”) at § 1
        (emphasis added). The procedure establishes a formal process, with template checklists and
        forms, for identifying changes to be managed, as well as for developing, approving,
        implementing, reviewing, and completing Management of Change plans for those changes.
        See id. at § 2.1.

       The HMP 1600 Management of Change process is limited to “technical installation
        projects”86 on ships that result in “permanent system changes.”87 See id.; HMP 1600-A1
        Introduction to Management of Change (“HMP 1600-A1”). It does not apply to the activities
        and business decisions typically covered by Management of Change procedures, such as
        changes to: policies and procedures; trainings; IT tools and systems (including projects like
        MAST); job positions, job duties, or job shifts/rotations; compensation and employment
        conditions; shoreside equipment or resources; vendor or service provider contracts;
        organizational structure; or financial plans/budgets. Further, Management of Change
        programs typically are not limited to only those changes which “significantly impact”
        operations.

       The Company states that it “intends to expand the scope over time.” Company Draft Report
        Comments. The Company appears to be taking a piecemeal approach to doing so. For
        instance, the Company reports that “[o]ther areas outside of technical installations are being
        considered for inclusion in further, targeted, Management of Change procedures.”
        Compliance Committee Q1 2021 Report at PCL_ECP00190596. The Company has not
        provided a timetable for building out its program.

       An appendix to the HMP 1600 procedure states that Management of Change “principles,” but
        not the formal HMP 1600 process, “must be adopted for any operational or organizational
        change.” HMP 1600-A1 (emphasis added). However, there is no protocol for applying or
        assessing adherence to these principles for changes outside the scope of the HMP 1600

  86
       “Technical installation projects” is not defined.
  87
     “Permanent system changes” is defined as “[s]ignificant changes to or new installation of
  major equipment or systems that require at least one of the following: Creation of new training;
  Amendment to PMS; Change to operational processes; Additional Resources (human or
  financial); Changes in Job Responsibilities.” Id. at § 2.1.1.

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       process. In the absence of such a protocol, some departments are determining their own
       approaches. For instance, the Ethics & Compliance group reports that it is “developing
       specific procedures to be used in assuring that management of change principles are being
       followed in the various activities [the Ethics & Compliance] Department is undertaking.”
       Compliance Committee Q1 2021 Report at PCL_ECP00190596. Again, this indicates a
       piecemeal—and balkanized—approach to building out the program, and an absence of clear
       leadership and accountability for making progress on this effort.

                          c)      Areas of Concern

      Employees have raised concerns to the CAM Team about the program’s limited scope, as
       well as the lack of coordination and guidance from All Brands Group on implementing the
       program, including on training employees on how to use the checklists and forms. The CAM
       understands that the Brands are developing their own approaches to these issues. For
       example, Carnival UK has revised the template forms, and has also decided to go beyond the
       procedure’s current limited scope to apply the Management of Change process to any change
       that impacts maritime operations. Carnival UK has developed its own trainings specific to its
       revised forms and protocols. See Employee Interview/Call Notes. While these appear to be
       laudable efforts by an individual Brand, they illuminate the Company’s balkanized approach
       to rolling out its Management of Change program.

      A fully integrated Management of Change process—one that permeates all aspects of the
       Company’s actions and is applied consistently throughout the organization—would help
       address concerns about workloads and competing priorities, and also help with the effort to
       enhance management accountability, as it would require an assessment of how changes in
       processes, materials, budgets, and staffing impact a range of pre-existing obligations. See
       CAM January 2021 Quarterly Report at 26.

                  6.      EFFORTS TO IMPROVE SHORE/SHIP COMMUNICATIONS GOVERNANCE

                          a)      Background

      Since the start of probation, officers and other crew members have shared with the CAM
       Team their frustration with the massive volume of communication that flows largely
       uncontrolled from shoreside offices to the ships. They have described “a tidal wave of
       communication from shore, including uncoordinated and unprioritized email
       inquiries.” CAM First Annual Report at 72. These communications come through a variety
       of channels, such as emails, newsletters, bulletins, case studies, surveys, reports, and notices,
       including Instructional Notices announcing procedure changes.88 The flow of these (well-
       intentioned) communications contributes to a sense by those shipboard that their time and
       responsibilities are not fully understood or valued by those ashore. Others report that
       constant changes in rules and expectations are unnerving at times. Further, these ungoverned

  88
    Instructional Notices are notifications that are sent to the ships containing new or revised
  procedural requirements that require “immediate” implementation “before these changes are
  reflected in Global HESS.” INT 1005 Development, Approval, Release, and Implementation of
  Documents.

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      communication channels have led to concerns from shipboard officers about their ability to
      be appropriately informed about demands being made of officers and crew. See Employee
      Interview/Call Notes.

     At the same time, shipboard personnel report that their communications to shoreside often go
      unacknowledged and unaddressed. See id.

                         b)      Ongoing Efforts to Address Concerns

     The Company’s internal auditors have identified similar issues. In July 2020, RAAS
      completed a Focus Review of the various reports that shipboard deck and engine departments
      are required to create and send shoreside. That review found that shipboard officers “are
      overwhelmed by administrative tasks,” and that “nearly 60K (24%) of shipboard reporting
      hours” could be saved through “automation, streamlining, and eliminating key reports.”
      Cross-Brand Deck and Engine Reporting, PCL_ECP00166236-64 at PCL_ECP00166241-43.
      The review also found that, for 17-46% of reports, “shoreside feedback is ‘never’ or ‘almost
      never’ provided.” Id. at PCL_ECP00166241.

     The Company has recognized the need to address these communication flow problems,
      which are not unique to the Company or the cruise industry. In November 2020, a working
      group was established to “[d]evelop a communications strategy and approach” for shore-to-
      ship communications, including to “[c]oordinate and harmonize communications going out
      as well as the communications and feedback asked of the ships.” HESS Committee Meeting
      Presentation (Apr. 14, 2021), PCL_ECP00217915-61 at PCL_ECP00217924 (emphasis
      original).

         o    The working group is building upon the RAAS Focus Review discussed above. In its
              final report, RAAS issued detailed recommendations for streamlining reporting
              processes and reducing burdens on shipboard crew. The working group reviewed and
              updated those recommendations. See Employee Interview/Call Notes. The Company
              reports that the working group has finished its analysis, “and is putting the output into
              a presentation format.” Company Draft Report Comments.

     In addition, a May 2021 session of the Ethics & Compliance retreat, discussed in Part III.B.4
      above, was dedicated to “Improving Fleet Engagement & Compliance Communications,”
      including “potential steps to take and opportunities for improvement” in addressing “ship-
      shore communication challenges.” See Meeting Agenda (May 21, 2021),
      PCL_ECP00221856-57 at PCL_ECP00221857; Meeting Presentation (May 21, 2021),
      PCL_ECP00218429-40 at PCL_ECP00218438. Action items from the retreat session are
      being developed. See Employee Interview/Call Notes.

         C.      Remaining Barriers and Opportunities for Improvement

                 1.      PRIORITIZING SHIP OPERATIONAL AND COMPLIANCE NEEDS

     Past CAM reports have observed a general failure of the Company’s top leadership to
      understand what it takes to fully support compliance—that doing so requires not just words,

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       not just a slogan, but also actions that translate to direct support for ship operations. The
       CAM has also observed repeated failures by top leadership to listen and learn from its own
       employees about compliance challenges. Even before the pandemic, the Company had
       repeatedly failed to adequately address compliance support for its ships on issues identified
       by the Company’s internal and external studies and surveys, and supported by the findings of
       RAAS, the TPA, and the CAM. These issues include:

          o   Working and reliable pollution prevention equipment,89 including repeated issues with
              Oily Water Separator and Exhaust Gas Cleaning System equipment.90

          o   Spare parts, including critical environmental (ECP) spare parts,91 as well as non-ECP
              spare parts.92

          o   Sufficient crew levels, including adequate numbers of crew with the requisite
              competency levels.

          o   IT support.

          o   Data management and analysis capabilities.

  89
     Since ECP Year Two, the TPA has recommended that the Company “[b]uild in a reliability,
  availability, and maintainability (RAM analysis) solution into the design, procurement,
  installation, and operation of pollution prevention equipment” to “address the complete lifecycle
  of equipment and systems being installed on their assets.” See TPA Second Annual Report at 6;
  TPA Third Annual Report at 37; TPA Fourth Annual Report at 8. The Company has yet to fully
  implement this recommendation. At the end of ECP Year Three, the Company reported that it
  “was planning to perform a study of pollution prevention equipment” using an alternative
  methodology, known as Reliability Centered Maintenance, that the Company believes “will meet
  the same goal as the RAM methodology,” but this effort “was delayed due to COVID-19.”
  CAM Third Annual Report at 145, n.93. As of the date of this Report, the Company reports that
  it has “engaged third parties to assist [it] with the MAST initiative which will embrace the
  [Reliability Centered Maintenance] methodology.” Company Draft Report Comments.
  90
    To the best of the CAM’s knowledge, the Company historically has not tracked and trended
  pollution prevention equipment failures on a granular level (e.g., based on the specific
  component of the equipment that failed). As noted in Part VI.B above, it was only recently (July
  2020) that one Operating Group, Holland America Group, started to do so. See supra, Part
  VI.B.3(b).
  91
    A RAAS Focus Review into “drivers for inconsistent critical spare part identification across
  the brands and non-compliance with spare minimums” found that “Brands are not consistently
  assessing similar equipment and parts as environmentally critical.” RAAS Q1 Report (Apr. 16,
  2021), PCL_ECP00190754-72 at PCL_ECP00190761.
  92
     Crew members continue to report difficulties to the CAM and TPA teams in getting non-ECP
  spare parts, as well as other materials (e.g., for onboard pipe replacements), which they attribute
  to cost saving measures. These challenges have been exacerbated by the pandemic but were
  experienced before the pandemic as well. See Employee Interview/Call Notes.

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           o   Food waste management support.

           o   Voyage planning support.

           o   Waste offload and waste vendor assessment support.

               See, e.g., CAM Third Annual Report at 75, 137-64.

       That is not to say that no progress has been made. As discussed throughout this Report, the
        Company has important efforts underway in many of these and other areas.

       In interviews with the CAM Team, crew members from across the Company, particularly
        deck and technical officers, have expressed their sense that this compliance shortcoming may
        stem from a lack of appreciation for the maritime operations side of the Company’s business,
        in comparison to the value placed on the (revenue-generating) hotel and entertainment side.
        See Employee Interview/Call Notes. Employees note that the Company emphatically
        describes itself as “one of the world’s largest leisure travel companies”93 and “the largest
        cruise vacation company in the world.”94 Those statements are consistent with the business
        imperative of being a choice leisure destination for a wide range of guests. However, an
        unintended consequence is the frustration felt by many of the Company’s skilled mariners at
        the Company’s failure to emphasize that it is also a maritime company—a large maritime
        company with the largest fleet of passenger cruise ships in the world, which it must operate
        safely (always the number one priority), as well as compliantly. Notably, the language of the
        Corporate Vision Statement has been revised to state that great guest experience and
        outstanding shareholder returns are achieved on the “foundation” of “compliance,
        environmental protection and the health, safety and well-being” of guests, communities, and
        shipboard and shoreside employees.95 But the notion of primacy (or at least parity) between
        meeting the operational and compliance needs of the ships and achieving other business
        goals is not yet part of the lived experience of the ships. See Employee Interview/Call Notes.

       As discussed above, crew members have expressed appreciation for the increased levels of
        focus and attention to ship and crew needs during the pause, including direct engagement by
        top Carnival Corp. and Brand executives with the ships, some of which was prompted by the
        Court’s requirement for returning ships to certify their compliance readiness. Crew members
        have also expressed concerns about the extent to which the Company will prioritize ship and
        crew member needs as passenger operations resume. See supra, Part III.B.2, Part IV.B.3,
        and Part IV.C.6.



  93
    See Carnival Corporation & plc 2020 Annual Report at 1 (“Carnival Corp. 2020 Annual
  Report”), available at https://www.carnivalcorp.com/static-files/48701769-9f2c-48c6-ac4f-
  4772bad2ff8b.
  94
    See World’s Leading Cruise Lines, https://www.carnivalcorp.com/corporate-
  information/worlds-leading-cruise-lines.
  95
       See Corporate Vision Statement.

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                  2.      EXHAUST GAS CLEANING SYSTEM CONCERNS

                          a)     Background

      Exhaust Gas Cleaning Systems, also called “Advanced Air Quality Systems” (the Company’s
       term) or “scrubbers,” are a type of pollution prevention equipment that removes sulfur oxide
       compounds from a ship’s engine and boiler exhaust gases. See CAM Third Annual Report at
       216-17 (citations omitted). The Company’s Exhaust Gas Cleaning Systems use an open loop
       design, in which seawater drawn from the ocean is used as washwater that is sprayed onto
       engine exhaust gases, causing a chemical reaction that removes sulfur oxide compounds from
       the exhaust. The washwater is filtered and mixed with sea water before being discharged
       back into the sea. Id. at 217.

      The Company began installing Exhaust Gas Cleaning Systems on its ships to comply with
       international regulations that limit sulfur emissions, including: (1) North American and
       European marine fuel sulfur limits that went into effect in 2015; and (2) the global marine
       fuel sulfur limit that went into effect in January 2020. See CAM Third Annual Report at
       217-18; MARPOL Annex VI, Reg. 14.1.3.96 The Company began testing the systems on its
       ships in 2006 and installed the first units in 2014. These installations have continued through
       2021, and are ongoing. See AAQS/EGCS Development and Timeline (Mar. 28, 2021),
       PCL_ECP00214999-5014 at PCL_ECP00215002. The Company reports that, due to early
       challenges presented by “fleet size and dry dock schedules,” it did “not have the time to test”
       the equipment on a limited sample of ships “to work out all the issues before expanding
       production to be ready to meet” the 2015 and 2020 fuel sulfur caps. Id. Therefore, the
       Company did not conduct extended operational trials of the initial units. Instead, the
       Company decided to move forward with “a significant production flow early,” and to make
       necessary changes or upgrades later (reactively) based on issues identified through ongoing
       operation of the systems. See id.

      Currently, more than 250 Exhaust Gas Cleaning System units are installed on the Company’s
       approximately 93 ships.97 See id. The Company projects to have more than 310 Exhaust Gas
       Cleaning Systems installed on its ships by the end of Fiscal Year 2024. Id.

      As noted above, Exhaust Gas Cleaning Systems are one option for complying with the global
       sulfur fuel cap. Another option is using low-sulfur fuel. Low-sulfur fuel is generally more
       expensive than the higher-sulfur fuel that can be burned with an Exhaust Gas Cleaning

  96
    Under the global sulfur cap, ships must burn fuel with (1) less than 0.50% sulfur content if
  outside an Emission Control Area; or (2) less than 0.10% sulfur content if inside an Emission
  Control Area. See MARPOL Annex VI, Regulation 14.1.3 and 14.4.3. If higher-sulfur fuel is
  burned, the ship must use an approved equivalent method to reduce sulfur emissions. Id. at 4.1;
  MEPC.259(68). Exhaust Gas Cleaning Systems are one such method. See id.
  97
    An Exhaust Gas Cleaning System unit is associated with a single engine. Cruise ships have
  multiple engines (typically between four and six). Therefore, ships may have multiple Exhaust
  Gas Cleaning Systems. Many ships have a mixture of both Exhaust Gas Cleaning System-
  equipped and non-Exhaust Gas Cleaning System-equipped engines.

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        System. The CAM understands that the Company’s decision to install Exhaust Gas Cleaning
        Systems was primarily a business decision, as relying entirely on low-sulfur fuel would
        significantly increase annual fuel costs, as well as increase the risk of fuel unavailability as
        demand for low-sulfur fuel would be expected to intensify after the new sulfur cap
        regulations went into effect.98 See Employee Interview/Call Notes; see also Carnival plc,
        Strategic Report and IFRS Financial Statements: Year Ended November 30, 2013 at 38 (
        “[Exhaust gas cleaning] technology will help mitigate higher fuel costs”); Carnival Corp.
        2020 Annual Report at 35 (“We manage our exposure to fuel price risk by managing our
        consumption of fuel. Substantially all of our exposure to market risk for changes in fuel
        prices relates to the consumption of fuel on our ships. We manage fuel consumption through
        ship maintenance practices, modifying our itineraries and implementing innovative
        technologies.”). The Company does use low-sulfur fuel under certain circumstances, such as
        when Exhaust Gas Cleaning Systems are out of service, when local restrictions prohibit the
        use of Exhaust Gas Cleaning Systems,99 or on engines that are not equipped with Exhaust
        Gas Cleaning Systems.100

                           b)      Systemic Concerns

                                     i.   Background

       Throughout the period of probation, operational issues with the reliability and maintainability
        of the Company’s Exhaust Gas Cleaning Systems have been one of the most common
        concerns raised by engineering crews to the CAM and TPA teams. Engineers have also
        consistently expressed frustrations to the CAM and TPA teams about the extra training and
        workload demands associated with the units, including voyage planning and execution
        challenges. See Employee Interview/Call Notes.

       As detailed in prior CAM reports, these issues have resulted in direct compliance impacts,
        including: emission limit exceedances; prohibited washwater discharges; and equipment
        failures or malfunctions. See, e.g., CAM January 2021 Quarterly Report at 93-94; see also,
        e.g., Quarterly Issue Tracker (Apr. 9, 2021), Dkt. No. 219-1; Internal Incident Log; HESS
  98
     As SASB observes, “[f]uel constitutes a major expense for industry players,” providing an
  “incentive for investing in upgrades or retrofits to boost fuel efficiency.” Cruise Lines SASB at
  8.
  99
    As discussed in prior CAM reports, an increasing number of coastal states and ports around
  the world (including in Asia, Europe, the Middle East, and the U.S.) have enacted local
  regulations that restrict or prohibit the use of open loop Exhaust Gas Cleaning Systems in port.
  See, e.g., North P&I Club, No Scrubs: Countries and Ports where Restrictions on EGCS
  Discharges Apply (Updated May 19, 2021), https://www.nepia.com/industry-news/no-scrubs-
  more-ports-declare-ban-on-egcs-discharges-update/; see also CAM March 2020 Quarterly
  Report at 148-50.
  100
      As discussed in Part VI.C below, the Company has also made significant investments in
  liquefied natural gas (“LNG”) propulsion technology for new build ships, which can reduce toxic
  air pollutants associated with traditional maritime fuel oils, including sulfur oxides, nitrogen
  oxides, and particulate matter. See infra, Part VI.C.5(d)(i).

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        Board Report Q1 FY2021 at PCL_ECP00190506-09 (noting repeated issues with Exhaust
        Gas Cleaning Systems, including issues related to equipment, alarms, and voyage planning
        and execution); TPA Third Annual Report at 27-28 (finding that Exhaust Gas Cleaning
        System issues were the most significant category of Major Non-Conformity findings during
        ECP Year Three audits); TPA Fourth Annual Report at 20-21, 27 (same for ECP Year Four
        audits, including “self-reported severe water leaks or wastage of the exhaust piping” and
        “instances of sensors that were not working or were not calibrated”).

       The Company also experienced “an increase in reports regarding soot, discoloration and
        other surface effect events” during the pause. See Q4 2020 Safety, Environmental &
        Security Awareness Bulletin at 12; CAM January 2021 Quarterly Report at 93-94.101 The
        Company reports that the rate of soot discharge incidents increased during the pause because
        ships were being operated at “low engine load” (i.e., low power-generating capacity) for
        prolonged periods of time compared to normal operations. These circumstances “led to an
        accelerated build up of soot in the engine exhaust systems, leading to more inadvertent soot
        releases to be captured by the exhaust cleaning system.” Company Draft Report Comments.

                                    ii.   TPA Systemic Findings

       During ECP Year Four, the TPA issued two “systemic” findings regarding Exhaust Gas
        Cleaning Systems:

           o   Soot Discharges: The TPA issued a finding regarding “the repeated discharge of
               soot into oceans and navigable waterways.” Letter from TPA to Company, Systemic
               Exhaust Gas Cleaning Systems Soot Discharges (Jan. 13, 2021) at 1.102

                      The TPA identified over 60 such incidents on both Covered and Non-Covered
                       Vessels between June 2017 and October 2020—nearly 50 of which occurred
                       before the pause. Id.

                      The TPA recommended that the Company “more fully investigate and
                       evaluate the reliability, availability, and maintainability” of Exhaust Gas
                       Cleaning Systems “from design through operations,” including equipment
                       design and “the efficacy of any mitigation measures (e.g., washwater filters)
                       to determine the underlying causes of the recurring soot discharges and gain
                       some measure of control over their occurrence.” Id. at 2.

           o   Equipment Condition and Reliability: The TPA also issued a finding regarding
               “systemic issues with the condition of [Exhaust Gas Cleaning Systems] installed on
               [Company] vessels.” Letter from TPA to Company, Systemic Major Non-Conformity
               on AAQS Systems on Company Vessels (Feb. 23, 2021).



  101
     As noted below, the TPA also identified nearly 50 such incidents that occurred before the
  pause.
  102
        Soot discharges are not regulated by MARPOL.

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                      The TPA identified, as part of its Compliance Certification Disclosure review,
                       that almost 60% of ships returning to U.S. waters “had indicated the [Exhaust
                       Gas Cleaning Systems] required repair or replacement of components.” Id. at
                       1. Additionally, the TPA identified instances of “significant deterioration”
                       and “leaks” during ECP Year Four virtual ship audits. Id. at 2.

                      The TPA recommended that the Exhaust Gas Cleaning Systems “be re-
                       evaluated to see if they are suitable for the potentially corrosive conditions of
                       a marine operating environment, or if design changes may be warranted.” Id.
                       at 3.

       In response to the soot discharge finding, the Company states that it is “working to minimize
        soot in water events as rapidly as possible” and is planning to conduct both: (1) a “fleet wide
        survey” to solicit feedback from Exhaust Gas Cleaning System operators; and (2) a “trend
        analysis to determine specifically whether and how we can further improve the Exhaust Gas
        Cleaning Systems].” Letter from Company to TPA, Soot Discharges from Exhaust Gas
        Cleaning Systems (Apr. 22, 2021) (“Soot Discharge Response Letter”). The Company has
        also revised its Exhaust Gas Cleaning System procedures,103 and required Exhaust Gas
        Cleaning System operators to attend soot-related training sessions. See Soot Discharge
        Response Letter at 1-2.104 The Company further reports that it has “installed washwater
        filters on most ships and the installation process on the remaining ships has continued
        throughout the pandemic.” Company Draft Report Comments. The Company is also
        “promoting operating techniques, soot cleaning and other methods to minimize soot in water
        events as rapidly as possible.” Id.

       In response to the equipment condition and reliability finding, the Company reports that it
        conducted a “fleetwide review” that included looking at Exhaust Gas Cleaning System
        equipment status and repair plans. See Letter from Environmental Corporate Compliance
        Manager to TPA, Systemic Major Non-Conformity on AAQS Systems on Company Vessels

  103
     Some procedure revisions could be seen to conflict with the Company’s Corporate Vision
  Statement, which states: “[W]e intend to be an exemplary corporate citizen leaving the people
  and the places we touch even better.” See supra, Part III.C.1. For example, an Instructional
  Notice states that the Company’s desire to “minimize the risk of soot in water” is due to “the
  perception problems” that the “events create for the Company.” See ENV/02/2020 Avoiding
  AAQS / EGCS Surface Effects / Soot in Water Events in Port and at Anchor (Rev. May 10, 2021)
  (emphasis added). The procedure also directs ships to “soot blow every night while underway or
  at anchor,” seemingly to avoid doing so during the day when “perception problems” are more
  likely. See ENV/03/2021 Engine Exhaust System Cleaning to Avoid Soot in Water Events in Port
  and at Anchor (May 10, 2021). The Company notes that “soot blowing is done in the interests of
  safety to prevent a soot fire.” Company Draft Report Comments.
  104
     At the same time, some senior executives have expressed views that minimize the
  significance of soot discharge incidents. See, e.g., Outside Counsel, Supplemental Report:
  Handing of [Covered Vessel] Hotline at 3 (senior executive and subject matter expert “advised
  that soot discharges were never regulated or considered as harmful and soot is normal although
  unsightly, and can be a cause for concern if it happens in port”).

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      (Mar. 30, 2021). The CAM also understands that the Ethics & Compliance team recently
      hired a new Environmental Compliance Manager whose duties will include identifying
      potential solutions to Exhaust Gas Cleaning System challenges. See Employee
      Interview/Call Notes; Ethics & Compliance Memorandum.

     Despite the above efforts, to the best of the CAM’s knowledge, the Company has not
      responded to these systemic TPA findings with a systemic root cause analysis that looks
      beyond current technical issues to also examine the entire design, procurement, and
      installation processes that led to the current situation. Such an effort could yield lessons
      about project scoping, procurement, and Management of Change processes that would apply
      to other major shipboard technical installation projects the Company performs in the future.

                 3.     EMERGENT FOOD WASTE MANAGEMENT ISSUES

     As discussed in Part VI.B above, the Company has made tangible progress since the
      Probation Revocation Agreement on improving its shipboard food waste management,
      including: reducing single-use plastics; reducing food waste generation; reducing the
      frequency of contaminants found in food waste and grey water systems; and installing
      technologies (i.e., food waste digesters and dryers/dehydrators) designed to minimize the risk
      of discharges of plastics and other contaminants. See supra, Part VI.B.2.

     However, recent Hotline Reports, incident reports, internal investigation reports, and RAAS
      reviews have revealed some emergent food waste challenges. These include concerns related
      to:

         o   Improper Removal/Disposal of Food Waste Liquids to Reduce Reported Food
             Waste Numbers (Under Investigation): On March 28, 2021, a crew member on a
             Covered Vessel reported to the shipboard Environmental Officer and Public Health
             Officer that kitchen galley workers were improperly blending, liquifying, and
             disposing of food waste down grey water drains instead of weighing it and disposing
             of it with other food waste—in potential violation of MARPOL Annex V, as well as
             Company procedures. A preliminary investigation confirmed (via CCTV footage)
             that such practices were occurring. See Special Condition No. 13 Report (Apr. 2,
             2021). Similar practices have since been alleged on at least two other ships. See
             Special Condition No. 13 Report (Apr. 22, 2021); Environmental Open Report #53-
             2021 (June 8, 2021). A wider review of ships within the fleet revealed the use of
             other similar methods, apparently designed “to reduce the measured/reported weight
             before disposal,” including: straining, filtering, or otherwise removing liquids from
             food waste; disposing of food waste liquids via galley drains; and dehydrating food
             waste in ovens. See HESS Weekly Flash Report (Apr. 14, 2021),
             PCL_ECP00190794-800. In response to these reports, the Company issued a notice
             to all ships that the “manipulation of food waste measurement data to create a more
             favorable (but misleading) result; and the discharge of food waste down galley drains
             and sinks (or any other similar practices)” are “strictly prohibited and must be
             discontinued immediately.” Environmental Compliance Notice #01-2021 (Apr. 23,
             2021). The Company has also published a new food waste measurement procedure,


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             which clarifies that only specified liquids can be removed from food waste. See ENV
             1304 Measuring, Recording, and Reporting of Food Waste at § 3.

                    The Incident Analysis Group has launched an investigation “to determine root
                     causes and identify any systemic issues across the fleet.” Special Condition
                     No. 13 Report (Apr. 22, 2021). That investigation is ongoing.105

                    These allegations—of improper actions apparently designed to drive down
                     reported food waste numbers—are concerning, if substantiated. However, it
                     is a positive sign that crew members felt comfortable speaking up to report
                     them. In contrast, the activity on the Caribbean Princess went on for years
                     before a whistleblower came forward. The CAM Team will continue to
                     monitor and report on the outcome of the Incident Analysis Group
                     investigation, including the extent to which it examines potential cultural and
                     other systemic causes.

         o   Breakdown of Plastic Digester Components and Potential Discharge of Plastic
             (Under Investigation): Two anonymous Hotline Reports in April 2021 alleged that
             plastic components (small plastic pieces used to house microbes) inside digester units
             were breaking apart and potentially entering pipework that discharges to the sea—in
             potential violation of MARPOL Annex V, as well as Company procedures. See
             Environmental Open Report #49-2021 (Apr. 7, 2021); Environmental Open Report
             #50-2021 (Apr. 13, 2021). An initial technical review validated these concerns, and
             the Company temporarily suspended the use of digesters. See ENV/02/2021 Food
             Waste Digester Biomedia (Rev. June 18, 2021). Working with the manufacturers, the
             Company has developed temporary solutions that allow units to operate without the
             problematic plastic components. The Company is working with the manufacturers to
             develop permanent solutions. See Employee Interview/Call Notes. An Incident
             Analysis Group investigation is also ongoing.

         o   Food Waste Digester Installations: An anonymous Hotline Report in February
             2021 alleged concerns about how the food waste digester installation project on a
             Covered Vessel was planned and executed. The Incident Analysis Group, supported
             by RAAS, investigated the allegations and identified opportunities for improving
             project management, including improving the communications flow between shore
             and ship, as well as adhering to Management of Change processes. See Final Report,
             IAG2021004 (May 14, 2021) at 13-14. In addition, RAAS initiated a cross-brand
             review of digester installation projects to “assess and benchmark” each Brand’s
             “overall change governance, planning, and review/approval practices.” Id. at 1. That
             review is underway.


  105
     As discussed above, in March 2021, RAAS issued a report that highlighted inconsistencies in
  how ships were measuring food waste, including the removal by some ships of liquids before
  waste was measured. See supra, Part VI.B.2. The CAM understands that the RAAS review is
  not directly tied to the Incident Analysis Group investigation, but that it will be considered as
  part of the investigation.

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           o   Grey Water System Drain/Scupper Covers: Drain/scupper covers are designed to
               prevent non-food items from entering a ship’s grey water and overboard drainage
               systems. See DER 2005 Grey Water and Downstream Filtration (“DER 2005”).106 In
               May 2021, an Environmental Officer on a Covered Vessel reported that some scupper
               covers on the ship, including in the galley, could be removed by lifting them up with
               a finger, even though they were installed with anti-tamper fasteners, as required by
               Company procedure. See HESS Weekly Flash Report (May 12, 2021),
               PCL_ECP00217339-48. A fleetwide review led by the Environmental Corporate
               Compliance Manager revealed a similar situation on other ships. See Environmental
               Compliance Notice #02-2021. Preliminary conclusions from the review indicate
               several possible causes: fasteners were never properly tightened/secured in place
               upon delivery from the shipyard; fasteners came loose over time due to vibrations or
               ship movement; or fasteners were not correctly tightened after maintenance or
               cleaning. See Must See Message (June 28, 2021). According to the Company, there
               were no “reports or comments that the cause could be related to malicious intent.” Id.
               For next steps, the Company’s new build team is “identifying appropriate measures
               (preventative actions) to avoid future occurrence on newbuilds,” while Technical,
               Environmental, and Food Waste working groups are “identifying appropriate
               measures for existing ships.” Id.; see also infra, Part VI.C.5(d) (discussing the
               integration of compliance considerations into ship design, including new build
               processes).

       It is notable that the Company’s internal reporting and review mechanisms revealed these
        issues and concerns. In evaluating compliance programs, DOJ considers “whether and how
        the misconduct was detected, what investigation resources were in place to investigate
        suspected misconduct, and the nature and thoroughness of the company’s remedial efforts.”
        DOJ Corporate Compliance Guidance at 14. As noted above, the Company has several
        active investigations and reviews into these issues underway. The CAM Team will continue
        to monitor and report on these efforts.

                   4.     SLOW PROGRESS ON IT AND DATA PROJECTS CRITICAL FOR COMPLIANCE

       As noted in Part VI.B.3 above, progress on IT and data efforts in support of compliance has
        generally been slow, both before and during the pandemic. This includes slow progress on
        projects designed to address persistent critical compliance risks. Some of the Company’s




  106
     In June 2019, the TPA found that missing drain/scupper covers were causing non-food items,
  including plastics, to drain into a ship’s grey water system and potentially overboard. The
  Company confirmed that a similar issue existed on other ships. In December 2019, the Company
  issued the DER 2005 procedure, which sets time frames for installing drain/scupper covers on
  various systems. These deadlines were not met on many ships. The Pause Priorities Plan sets a
  goal of completing any pending drain/scupper cover installations required by DER 2005 before
  ships return to service. See Pause Priorities Plan at 11; CAM January 2021 Quarterly Report at
  62-63.

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        most important initiatives in this space have been subject to repeated or significant delays,
        including:

           o   Voyage Planning Software: As detailed in earlier CAM reports, in response to
               voyage planning and execution challenges,107 the Company began evaluating, around
               the fall of 2018, potential software solutions to help simplify and automate the voyage
               planning process. As detailed in prior CAM reports, the current voyage planning
               process is guided by a complex spreadsheet called “the Matrix.”108 No such software
               product existed on the market. In late 2019, the Company executed a contract with a
               vendor to develop a new software solution. The project has since been subject to
               delays, beginning before the pandemic. See CAM January 2021 Quarterly Report at
               82-83.

               In late February 2021, the Company began a round of testing of the new software,
               which involved piloting the software on two ships. The Company reports that the
               initial testing results were generally disappointing. A second round of testing was
               completed in late June 2021, “and the remaining defects are being addressed by the
               vendor,” including through bi-weekly releases of software patches. See Company
               Draft Report Comments. The Company will provide an initial decision to the vendor
               about whether it will move forward with accepting the software by the end of July
               2021. If the Company decides to move forward, it “will begin planning for roll out,
               including needed resources and training, procedure revisions, management of change,
               etc. and will begin a small ship pilot program to help inform the above.” Id. The

  107
      A voyage plan lays out a ship’s intended route, along with relevant conditions (such as
  weather, current, and tides), restrictions, and potential problems or hazards. Each voyage plan
  includes an environmental plan, which identifies when and where certain environmental
  operations (such as discharges and emissions) can occur, based on the ship’s location and
  applicable international, national, local, or Company restrictions, such as the special
  requirements that apply in U.S. marine sanctuary waters. Voyage planning challenges often
  relate to misunderstandings or miscommunications as to the location of environmental boundary
  lines and/or the applicable requirements within a set of environmental boundary lines. Accuracy
  of this information, and effective onboard communication between deck and engineering
  personnel, is essential for preventing prohibited discharges and emissions. See CAM Second
  Annual Report at 37-39.
  108
     The Matrix is periodically updated by shoreside personnel and uploaded to Global HESS.
  Based on information in this spreadsheet and related online links, deck officers in charge of
  voyage planning, in consultation with Environmental Officers, are responsible for developing the
  environmental plan portion of the ship’s overall voyage plan, including information about when
  and where discharges and emissions are permitted or restricted. The CAM has observed that this
  “time-consuming and labor-intensive approach is rife for potential human error (including, at
  times, incorrect information within the Matrix itself), and is a frequent source of complaints to
  the CAM Team by shipboard personnel across the Company’s brands.” See, e.g., CAM January
  2021 Quarterly Report at 90-92; CAM Third Annual Report at 130-31, 159-60. Some crew
  members have even stated that they are concerned that relying on the information in the Matrix
  could result in potential personal legal exposure. See Employee Interview/Call Notes.

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            vendor will have until December 31, 2021, “to deliver full operating capability which
            is designed to further automate the voyage planning process.” Id.

            It is unclear if the Company will accept the software. If accepted, the software would
            be “initially used for environmental regulatory planning support, automated schedule
            creation and improved environmental regulatory situational awareness during voyage
            execution.” Voyage and Environmental Planning Application (Apr. 2, 2021).

            The CAM recognizes that unexpected and uncontrollable delays are not uncommon
            when working with third-party developers on novel software solutions. In the
            meantime, however, the Company continues to experience voyage planning and
            execution-related incidents on its ships, many of which are attributable at least in part
            to errors in using or interpreting the Matrix, or to inaccurate information within the
            Matrix itself. See CAM January 2021 Quarterly Report at 89-92 (listing examples).

            This appears to present a significant compliance risk. In response, the Company has
            developed training and case study programs that primarily focus on (re-)training ship
            officers on existing methods and processes (e.g., on using the Matrix and electronic
            navigational chart systems). See, e.g., Safety & Environmental Awareness Bulletin
            (Q1 2021) at 3-4. As the CAM has recognized, these efforts are well-intentioned, and
            are an effort to take prompt action in response to a noted uptick in voyage planning
            and execution-related incidents while the software solution remains under
            development. See CAM January 2021 Quarterly Report at 89-90.

            However, to the best of the CAM’s knowledge, there has been no significant effort to
            conduct a systemic review (following an established root cause analysis
            methodology) into the root cause(s) of recurrent voyage planning and execution
            challenges, or to evaluate potential systemic reforms to the voyage planning process
            outside of the much-delayed software solution. Many crew members have expressed
            to the CAM Team a desire for a dedicated shoreside-based resource to provide
            enhanced voyage planning support to ships. See Employee Interview/Call Notes.
            This has not won the support of key senior shoreside management. See, e.g., HESS
            Committee Meeting Minutes (Feb. 24, 2021), PCL_ECP00211108-13 at
            PCL_ECP0021112 (non-verbatim statements from meeting minutes that voyage
            planning support “is not currently a function the Fleet Operations Centers are
            designed for” and that there is “adequate staffing onboard to resource appropriately
            for challenging operations”). The messaging that goes to ships is that they need to
            “[pay] attention to detail” and “stay[] focused” to “work towards zero errors.” See
            Safety & Environmental Awareness Bulletin (Q1 2021) at 8. Such messaging is
            sometimes perceived as fostering a culture of blame and fear among crews. They
            express concerns that there is the potential for discipline after an incident, but no
            accountability for those responsible for failing to give the ships adequate voyage
            planning tools, resources, and support. See Employee Interview/Call Notes.

        o   MAST Planned Maintenance and Spare Parts Management Software: The
            MAST initiative is an effort that began around March 2018 to develop a single,
            corporate-wide planned maintenance and spare parts management system software.

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             Before the pause, the initial version of the MAST software was approximately 50%
             complete. However, completion and subsequent testing on ships was delayed by
             approximately one year (until about December 2021) due to the pandemic. In the
             meantime, the Company has continued to move forward during the pause on efforts to
             develop standard nomenclature for pollution prevention equipment and related spare
             parts, as well as common maintenance plans, across the entire fleet—a process
             referred to as “data globalization” or “data normalization.” See CAM January 2021
             Quarterly Report at 83-84.

             Significant progress on MAST has been made since the last CAM report. In early
             2021, standard nomenclature for bilge and sludge system equipment and related
             maintenance plans was approved. Similar approvals are expected soon for Exhaust
             Gas Cleaning Systems and food waste systems. A similar process will be undergone
             for garbage and wastewater systems, although substantial work remains to be done.
             See Employee Interview/Call Notes.

             In April 2021, the Company approved the retention of a third-party vendor to assist in
             speeding along the data globalization effort. The Company has also approved
             additional resources to complete the MAST software development, with the goal of
             having the software ready for beta testing by the end of 2021 or early 2022. Under
             the current proposed schedule, the Company aims to implement MAST on 20 ships
             by the end of 2022, with implementation on the rest of the fleet complete by the end
             of 2024—a year earlier than the pre-pandemic schedule.109 In addition, the Company
             plans to install MAST on all new build ships starting in 2022. See Employee
             Interview/Call Notes.

         o   Training Attendance Recording App: One of the most frequent and consistent
             complaints Environmental Officers have expressed to the CAM Team is the lack of
             an automated system for recording and reporting attendance at shipboard trainings.
             Although the process may differ somewhat by Brand or by ship, an Environmental
             Officer generally must pass around a paper sign-in sheet at each training, manually
             transcribe this information into a spreadsheet, and send that spreadsheet shoreside.
             This is a time-consuming administrative burden. In contrast, when passengers report
             for the mandatory safety “mustering” at the beginning of each cruise, their ID cards
             can be scanned in a matter of seconds (or less), allowing for automatic recording and
             tracking of which passengers have or have not attended the required briefing. See id.

             The Company reports that an initial version of a training attendance recording app
             was developed in 2019 and tested on ships in 2019 and 2020. However, it has not yet
             undergone a full shipboard trial. See id.; Company Draft Report Comments.

             The use of such an app has the potential to prevent recurrence of training
             recordkeeping incidents, such as the training record falsifications by Environmental
             Officers on two Covered Vessels that led to a violation of probation. See Probation

  109
     The Company reports that “[t]his is the target and will be validated as part of the project
  planning activity that is currently in work.” Company Draft Report Comments.

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               Revocation Agreement at 10 (Ex. A, Violation No. 3).110 If a reliable automation tool
               were available, inadvertent errors likely would be avoided, and intentional
               falsifications likely would be highly impractical, as they would require an
               Environmental Officer to have access to the crew ID cards of any individuals falsely
               reported to have attended a training.

       The current status of these and other IT and data initiatives is summarized in Appendix D.

                   5.      INTEGRATING COMPLIANCE CONSIDERATIONS INTO SHIP DESIGN

                           a)     Background

       The Court has urged the CAM Team to inquire of Company personnel about whether or how
        compliance concerns and best practices are reflected in the design or re-design of the
        Company’s ships, and how and in what ways compliance demands are impacting dry/wet
        dock processes.111 As to ship design, the Company has stated that the multi-year process of
        getting a ship built means that the design of ships being built, or about to be built, had long
        ago largely been set. See Employee Interview/Call Notes.

       The Court has also expressed particular interest in how the Carnival Corp. Chairman of the
        Board, who is recognized for his leadership role in new ship design, is “making concrete
        design changes to make sure that the new ships that are coming online are able to address
        some of the failures in the past.” Status Conf. Tr. at 69-70 (Jan. 8, 2020); see also, e.g.,
        Status Conf. Tr. at 40 (Apr. 30, 2021).

       Now, more than four years of probation have illuminated a range of compliance challenges
        related, at least in part, to ship design. For instance, some of these relate to:

           o   Food and other solid waste management, including: garbage room/recycling center
               design; galley space design; and installations of digester, dryers, and other
               technologies.

           o   Liquid waste stream management, including: cross-contamination of waste streams
               from piping and tank arrangements; design of piping (e.g., piping being routed behind
               other piping or machinery or through tanks) that inhibits the ability to perform repair
               and maintenance outside of dry/wet docks; and leaks from deteriorated or corroded
               piping and other equipment or components.

  110
     As the CAM has observed, the Company’s internal investigations into these incidents were
  cursory, “plac[ing] sole blame on the [Environmental Officer] and lack[ing] any discussion of
  other possible causes or lessons learned.” See CAM First Annual Report at 32.
  111
      A dry/wet dock is when a ship is taken out of service and brought to dock in a shipyard to
  allow for repairs, inspections or surveys, project installations or upgrades, re-modeling/re-
  furbishing, cleaning, and other technical, renovation, or cosmetic activities. In a dry dock, the
  dock is drained of water to allow access to portions of the ship that are normally underwater. In
  a wet dock, the ship remains afloat. A dry dock is typically a longer and more intensive process.

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           o   Design of Engine Control Room user interfaces and displays, including: alarm
               integration;112 alarm fatigue/flooding; accessibility of monitors and controls; and
               legibility/readability of diagrams and displays.

       The Company has, at times, recognized the role that ship design can play in either promoting
        compliance or serving as a barrier to compliance, including the impact that ship design has
        on the ease with which compliant operations can be carried out in an efficient manner. See
        Employee Interview/Call Notes; see also, e.g., Workload Analysis of HA Group Technical
        and Environmental Officers (Jan. 1, 2019), PCL_ECP00149393-602. The CAM understands
        that, before the pandemic, design changes were either being considered, or in the process of
        being implemented, to: (1) improve food waste separation; (2) redesign piping to avoid
        cross-contamination between waste streams; (3) eliminate leaks and redesign piping to
        minimize bilge water accumulation; and (4) reconfigure piping arrangements to allow for
        more routine maintenance and more efficient bilge water offloads on select ships. See
        Employee Interview/Call Notes. Nevertheless, the Company continues to report incidents
        and near misses related to these issues.

       As discussed in the following sections, during ECP Year Four, the CAM Team has sought to
        learn more about the Company’s new build and dry/wet dock planning and execution
        processes, including efforts to integrate compliance considerations into the design or re-
        design of ships. This review is ongoing and will be a core focus area for ECP Year Five.

                           b)      Company New Build Processes

       The Company’s new build process is largely driven by a centralized organization called
        Carnival Corporate Shipbuilding, based out of Southampton, United Kingdom. Carnival
        Corporate Shipbuilding works with shipbuilding companies to contract for and coordinate on
        the design and construction of each new ship. It also oversees the warranty process, through
        which design and construction defects identified in the first two years after a ship is delivered
        are identified and presented as claims to the shipbuilder. See id.

       To carry out this process, Carnival Corporate Shipbuilding works with the relevant Brand to
        determine design wants and needs for each new ship. This includes:

           o   Determining where the ship is intended to sail and how many passengers the ship
               should carry.

           o   Developing a basic design and specification for the ship, which is used to negotiate a
               contract for ship construction. Once contracted, the shipbuilder develops detailed
               drawings and specifications. These are reviewed by personnel at both Carnival


  112
      See, e.g., Environmental Compliance Scorecard Q1 FY2021 at PCL_ECP00190460 (“Many
  of the air emission violations stem from a lack of awareness of the [Exhaust Gas Cleaning
  System’s] status, which can be attributed to a combination of: (1) challenges to maintain
  situational awareness due to the fact that the [Exhaust Gas Cleaning System] monitoring systems
  are not fully integrated into all ship integrated monitoring and alarm systems . . .”).

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             Corporate Shipbuilding and the relevant Brand. Ultimately, Carnival Corporate
             Shipbuilding signs off on the drawings and specifications. See id.

     Carnival Corporate Shipbuilding personnel are located at each of the shipyards constructing
      Company ships. These individuals are responsible for overseeing construction for
      conformity with the drawings and specifications. While they may be joined by Brand
      personnel at various times throughout construction, the day-to-day shipyard construction
      oversight is performed by Carnival Corporate Shipbuilding personnel. See id.

     During the design and construction of a ship, changes to legal or Company requirements may
      occur that the ship will be expected to meet when delivered. When this happens, changes
      may be made in three possible ways: (1) a change order is issued to the contract with the
      shipbuilder, requiring the shipbuilder to make the change; (2) the Company pays for labor
      and materials that are used to make the change when the ship is still in the shipyard; or
      (3) the Company makes the change after the ship is delivered. To determine which approach
      to take, Carnival Corporate Shipbuilding brings the proposed change to the shipbuilder and
      requests a pricing estimate. This pricing information is then provided to the Brand, which
      will decide its preferred approach. However, if a change is to be implemented via a change
      order, then approval from the Carnival Corp. Chairman of the Board of Directors is required.
      See id.

     Carnival Corporate Shipbuilding uses a dashboard to track the implementation of any
      changes necessary for compliance with Company requirements. See CCS Newbuild
      Corporate Standards Dashboard.

     After a ship is delivered, Carnival Corporate Shipbuilding also tracks the ship for the first
      two years and serves as the conduit for making warranty claims against the shipbuilder for
      any design or construction deficiencies. See Employee Interview/Call Notes. The CAM
      Team intends to learn more about how this process is used to address identified compliance
      issues, for current as well as future new build ships.

                         c)     Company Dry/Wet Dock Processes

     In contrast to the new build process, the Company’s dry/wet dock processes are handled
      almost exclusively by personnel at the Brands. See id.

     Generally, a dry/wet dock must be scheduled at least 12-18 months in advance, due to the
      limited number of locations that have docks large enough to accommodate the Company’s
      ships. The duration of the dry/wet dock is also set at least 12-18 months in advance. While a
      dry/wet dock could be extended, both the Company and the shipyard have an incentive to end
      on time, even if the work is incomplete. See id.

     The CAM understands that dry/wet dock planning processes differ between Brands. In
      general, these processes entail:

         o   Building the specifications for a dry/wet dock, primarily by shoreside personnel,
             including superintendents from marine, technical, and hotel departments, with input

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               from shipboard personnel. One Operating Group, Carnival UK, has formalized the
               tracking of issues raised by the ships between dry docks in a Business Risk Register.
               The other brands track identified issues, but less formally.

           o   Prioritizing potential dry/wet dock projects, with highest priority given to projects
               that must be done due to a legal or Company requirement. This information is refined
               by layers of review by marine, technical, and hotel personnel.113

           o   Submitting the dry/wet dock scope for approval through the Company’s annual
               budgeting process.

               See id.

       When performing a dry/wet dock, planned work may not be completed, or additional
        unplanned items may be identified that will need to be completed. In these cases, the Brands
        use either existing shipboard employees or riding teams to perform this remaining work
        following the dry/wet dock. See id.

       The CAM understands that many dry/wet docks were postponed during the pause due to
        COVID-19. The CAM also understands that the Company is planning to complete all or
        most of the planned dry/wet docks before those ships return to service. See id.114

                          d)      Integration of Compliance Considerations

                                    i.   Positive Examples

       During the period of probation, the Company has implemented several concrete design
        changes to its existing and new build ships in response to compliance concerns or in support
        of its sustainability goals. These include:

           o   Ongoing efforts aimed at “identifying appropriate measures (preventative actions) to
               avoid future occurrence on newbuilds” of drain/scupper covers coming loose and
               potentially allowing contaminants to enter grey water systems, as discussed in Part
               VI.C above. See supra, Part VI.C.3.

           o   Implementing a dry bilge initiative to minimize the amount of bilge water that is
               generated on ships. This requires certain ship design and equipment upgrades, such
               as re-routing piping and installing “catch-all” containments or trays, to allow for
               “capturing and managing liquids before they enter the bilge.” DER 2004 Bilge Water

  113
     The Brands must also consider the time allotted and the ability of contractors to work in the
  limited space available. This may result in not addressing projects that, while important, would
  interfere with the ability to accomplish other work. For example, if there is important work
  needed on the main engine, the Company may not replace leaking piping over the main engine
  because contractors would have to be working in the same location at the same time.
  114
     The Company reports that it “is conducting the drydocks in accordance with plans and
  approval by the Flag States.” Company Draft Report Comments.

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             Production Minimization Requirements at § 1. As noted in Part VI.B above, excess
             bilge water accumulation was a significant contributing factor to the illegal activity
             that occurred on the Caribbean Princess and other Company ships. See supra, Part
             VI.B.1(a).

         o   Installing a display of the electronic navigational charts used on the bridge (known as
             an “ECDIS” display) in the Engine Control Room to improve the engine team’s
             awareness of the ship’s location when performing discharge operations. See CCS
             Newbuild Corporate Standards Dashboard.

         o   Making significant investments in LNG technology for new build ships, which can
             reduce toxic air pollutants associated with traditional maritime fuel oils, such as
             sulfur oxides, nitrogen oxides, and particulate matter. See CAM Third Annual Report
             at 83-84. The Company is also working on identifying and implementing new
             technologies (such as batteries, fuel cells, or biofuels) to power ships to support the
             Company’s goal of reducing its 2008 baseline carbon footprint by 40% by 2030, and
             by 50% by 2050. The Company also aspires to build zero emissions ships by 2050.
             See Initial 2030 Sustainability Goals Announcement.

         o   Installing shore power connections on ships that visit ports with shore power hook-up
             capabilities. Shore power allows ships to draw power from land-based generation
             sources, rather than burn fuel to run their engines in port. The Company’s goal is to
             increase fleetwide shore power connection capability to at least 60% of the fleet by
             2030. See id.

     The CAM also understands that Carnival Corporate Shipbuilding has begun to receive
      feedback directly from the Environmental Corporate Compliance Manager about issues that
      are being identified on multiple ships in the fleet. This process is currently informal and ad
      hoc. See Employee Interview/Call Notes.

                                  ii.   Areas of Concern

     Throughout the period of probation, audit findings, investigation findings, and discussions
      with Company personnel by the CAM and TPA teams have illuminated concerns about the
      Company’s processes for integrating compliance considerations into dry/wet dock and new
      build planning and execution processes. For example:

         o   Many crew members have provided the CAM and TPA teams with examples of
             compliance-related projects that were rushed or left incomplete during dry/wet docks,
             resulting in compliance challenges and high workload demands in the often chaotic
             days and weeks following a dry/wet dock. See Employee Interview/Call Notes. For
             example, during one ship audit conducted shortly after a dry dock, the TPA issued a
             Major Non-Conformity finding regarding a grey water/grease tank that was out of
             service because a project to replace the tank was not completed during a recent 10-
             day dry dock period. A remaining tank that was in service could not contain the
             volume of grey water that was being generated, leading to overflows into the bilges.
             As a result, crew members had to continually pump grey water from the in-service

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             tank using portable pumps and hoses. This operation had to be staffed 24/7, placing a
             significant workload demand on the engine room crew. The Company’s investigation
             determined that repair of the tank was not prioritized because it was not viewed as
             “environmentally sensitive equipment.” See Final Report, IAG2020012 (June 24,
             2020) at 1. Notably, the investigation did not look more broadly at how pervasive an
             issue this is or whether other instances have arisen that did not result in Major Non-
             Conformities.

         o   Multiple ships have been found to have inaccurate ballast water system drawings that
             “had not been identified during either the pre-installation survey, installation or
             commissioning” of new ballast water treatment systems. See, e.g., Final Report,
             IAG2019056 (Mar. 12, 2020) at 1, 5. In at least one instance, this led to a violation of
             U.S. Coast Guard ballast water regulations. See id.

         o   One ship’s ballast water treatment system could not operate properly because it was
             “installed and configured incorrectly during new build by the yard.” See HESS
             Weekly Flash Report (June 24, 2020), PCL_ECP00166762.

         o   Multiple ships have experienced piping corrosion and failures that have resulted in
             HESS incidents and near misses. See, e.g., Flash Report (June 17, 2020) (failure of
             piping installed during dry dock attributed to “[p]oor quality materials”); Final Report
             (May 28, 2021) at 1-2 (blackout while under way caused by corroded and leaking
             grey water piping and “a poor system design that routed pipes above [high voltage]
             components, increasing risk of water damage within these components”).

         o   One ship experienced challenges in responding to a fire due to a loss of
             communications during the fire because the ship’s design did not include a dedicated
             location for communications equipment that was separate from high-risk fire
             locations. See Final Report (May 26, 2021).

         o   As discussed above, recent concerns have emerged that the tamper-resistant fasteners
             on drain/scupper covers (designed to prevent contaminants from entering the grey
             water system, such as when kitchen galleys are washed down for cleaning) on some
             ships “were likely never properly tightened/secured in place upon delivery from the
             shipyard.” See Must See Message (June 28, 2021). The Company’s new build team
             is “tasked with identifying appropriate measures (preventative actions) to avoid future
             occurrence on newbuilds.” Id.; see also supra, Part VI.C.3.

     Concerns raised by such events include:

         o   The Company has no formal procedures governing dry/wet dock or new build
             processes in Global HESS.

         o   According to the Company, “the scope of RAAS audits of Carnival Corporate
             Shipbuilding with regard to new builds, or the Brands with regard to dry/wet docks
             ha[s] been focused on efficiency and effectiveness of operations and ha[s] not
             included compliance risks.” Company Draft Report Comments.

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         o    The Company does not appear to have a formal process for prioritizing projects based
              on their actual or potential impacts on compliance. As noted above, one internal
              investigation revealed that a tank repair was not prioritized during dry dock because it
              was not viewed as “environmentally sensitive equipment,” even though leaving the
              tank out of service resulted in bilge water management and workload challenges,
              leading to an audit finding. See Final Report, IAG2020012 (June 24, 2020). The
              investigation did not look more broadly at what may have led to this planning
              oversight or how pervasive such issues may be throughout the Company.

                         e)      CAM Team Review

     As directed by the Court, the CAM, in collaboration with its marine engineering consultants,
      has requested records from the Company related to: (1) “the scope of work undertaken
      during at least one major drydock that occurred during the probationary period;” and (2) “a
      select set of newbuilds designed and/or constructed during the probationary period.” See
      Order on July 28, 2021 Status Conference (June 8, 2021), Dkt. No. 223 at 3. Once received,
      the CAM Team plans to evaluate how the Company has integrated some of the compliance
      considerations identified during the course of the probationary period into the design and
      renovation of ships.

  VII.   CONTINUOUS IMPROVEMENT (ECP § VI.F.5 REVIEW)

         A.      Potential Post-ECP Goals

  As described in Part II.A above, the goals detailed below were compiled by the CAM as of result
  of its communications with top leaders and senior management. However, in reviewing the draft
  of this Report, the Company stated that, while it “agree[s] with many of the goals,” it “cannot
  commit to the goals without further discussion across the organization.” See Company Draft
  Report Comments.

     Compliance as Integral Part of How Business is Done: The notion that compliance efforts
      will continue as an integral part of how business is done when probation ends on April 18,
      2022, because the ECP requirements, and the additional compliance measures undertaken
      during probation, are fully integrated into the Company’s operations.

     Continuous Improvement Beyond April 2022: A program of continuous improvement to
      support the Company’s compliance efforts beyond the end of probation, including:

         o    No repeat of the underlying offenses that led to the criminal conviction in this case.

         o    Evolution from the management approaches that created the culture of “excessive
              frugality” that the Company believes contributed to those crimes.

         o    Preservation of support and resources for programs and positions set up during the
              probationary period, such as the Chief Ethics & Compliance Officer, Environmental
              Corporate Compliance Manager, shipboard and Fleet Environmental Officers,
              Incident Analysis Group, and broader Ethics & Compliance organization.

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         o    Top leadership that embraces a learning culture approach, rather than a defend-and-
              deflect approach, in response to incidents (including near misses), findings, and other
              information.

         o    A continuous learning feedback loop between the audit, investigation, legal,
              operations, risk, training, and broader Ethics & Compliance functions, including the
              capability to effectively:

                     Operationalize lessons learned.

                     Identify and address systemic causes.

                     Systematically and holistically identify, prioritize, and communicate risks
                      across the Company to the Board of Directors and top executive leadership.

                     Implement robust Management of Change processes.

         B.      Progress

                 1.      NO REPEAT OF THE UNDERLYING OFFENSES

     As in prior years, the CAM is not aware of any evidence of a recurrence on any of the
      Company’s Covered Vessels of the same criminal conduct that occurred on the Caribbean
      Princess. That is, based on the CAM Team’s ship and shoreside facility visits and
      interviews, review of TPA and RAAS audit reports, and assessment of environmental
      incident reports, there has been no observed evidence of employees on a Covered Vessel
      intentionally bypassing pollution prevention equipment to discharge oily wastewater coupled
      with falsification of records and conspiracy to conceal such illegal acts.

     However, violations of environmental laws and the ECP persist. These include: prohibited
      discharges and emissions; inoperable pollution prevention equipment; and recordkeeping
      errors, including potential intentional falsifications. See Internal Incident Log; Quarterly
      Issue Tracker (Apr. 9, 2021), Dkt. No. 219-1. ECP Year Four also saw notable upticks in
      incidents related to voyage planning and execution and Exhaust Gas Cleaning System
      discharges. See CAM January 2021 Quarterly Report at 87-95. The CAM has always
      emphasized, both in conversations with Company personnel and in earlier CAM reports, that
      it would be unreasonable to ever expect zero violations in the course of normal operations.
      Mistakes and mishaps will occur. The central question is: how does the Company learn
      from them to minimize their future occurrence and continuously improve compliance efforts?

     With the end of probation, the Company will confront the risk to its future freedom to
      operate illuminated in DOJ’s statements at the April 2021 status conference: “The company
      can put people on the ship that perform the function of our TPA and our CAM in the future.
      They need to do that because otherwise they will be back. And when I think about that
      possibility as unpleasant as it is, I think of what the remedy would have to be in the future.
      In the view of the prosecution team generally, we have kind of shot our bolt on this. I can’t
      imagine an environmental compliance plan that would be significantly more demanding and


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        effective to any greater degree than what we have right now . . . [W]e need to look ahead.
        What will be the remedy for any future violation?” Status Conf. Tr. at 37 (Apr. 30, 2021).

                   2.      COMMITMENT TO PRESERVE COMPLIANCE POSITIONS AND PROGRAMS

       The Company’s top leadership has publicly pledged to preserve resources and support for
        positions and programs set up during the probationary period to support environmental
        compliance, such as the Chief Ethics & Compliance Officer, Environmental Corporate
        Compliance Manager, shipboard and Fleet Environmental Officers, Incident Analysis Group,
        and broader Ethics & Compliance organization. At the April 30, 2021, Status Conference the
        Carnival Corp. CEO committed: “Over the course of the ECP, the company implemented a
        lot of changes at a structural level, and we are going to carry those forth after the ECP.”
        Status Conf. Tr. at 6 (Apr. 30, 2021). He also stated that “there’s no question we are going to
        maintain [the Environmental Corporate Compliance Manager organization] and sustain it.”
        Id. at 64. The CAM understands that the CEO reiterated these commitments directly to
        Environmental Officers during coffee chat sessions, as noted in Part III.B above. See supra,
        Part III.B.2.

       Over the course of probation, Company employees at various levels (primarily at senior
        management and top leadership levels) have stated that they do not view April 18, 2022, as
        an end date to the Company’s compliance and continuous improvement efforts. Those
        statements have been made with increasing vehemence as the end of probation approaches.
        At the same time, employees (at middle and lower management levels and among shipboard
        officers and crew) continue to express concerns about management backsliding after
        probation ends. These range from concerns that there will be reduced support for
        maintaining supplies of critical environmental spare parts, to concerns that the role of the
        Environmental Officer will be diluted with other tasks, as occurred the past. See Employee
        Interview/Call Notes. Such concerns are more pronounced among employees who were
        present for the conclusion of the Company’s prior ECP in August 2006— when the criminal
        activity underlying the current conviction had begun, even before the prior ECP had ended.115

       There is no question that, as discussed throughout this Report, the Company has a far more
        robust compliance program in place now than it did at the end of the prior ECP. The
        Company has restructured its corporate governance, creating the position of Chief Ethics &
        Compliance Officer, a role supported by a large and well-funded group. There is also greater
        awareness of the need for effective internal investigation and risk management functions, and
        efforts are underway to provide IT support on issues ranging from procurement to training to
        voyage planning—all of which are necessary to support continuous improvement. The
        Board of Directors is also taking more active stances on compliance, and the nascent efforts
        to hold senior executives accountable on compliance holds promise.




  115
     According to the Joint Factual Statement, the illegal activity on the Caribbean Princess and
  four other ships took place between 2005 and 2013. See Joint Factual Statement (Dec. 1, 2016),
  Dkt. No. 2-1 at 2-3, 11.

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                 3.      CONTINUED STRENGTH OF SHIPBOARD AND FLEET ENVIRONMENTAL OFFICER
                         PROGRAMS

                         a)     Background

     The CAM has consistently observed that the development of a strong, cross-brand
      Environmental Officer program, including the launch of the Fleet Environmental Officer
      program, “has been one of the Company’s most significant achievements over the course of
      the monitorship.” See, e.g., CAM January 2021 Quarterly Report at 72 (quoting
      CAM/Company Communication). These efforts have been led by the Environmental
      Corporate Compliance Manager and his talented team, including the Ethics & Compliance
      Corporate Training Director, with support from CSMART staff and Brand compliance and
      training personnel, including the Operating Line Compliance Managers and Operating Line
      Training Managers. Since ECP Year One, these individuals have provided “increasing levels
      of support, resources, and training to onboard Environmental Officers . . . help[ing] to create
      a strong corps of Environmental Officers who have consistently impressed the CAM Team
      with their dedication, knowledge, energy, and commitment to helping the Company improve
      its environmental compliance performance.” CAM Third Annual Report at 123.

     The Company has continued to build on these efforts in ECP Year Four. The goal of these
      efforts is to have a continuous presence on every ship of at least one individual whose
      primary purpose is to counsel, guide, inform, and support environmental compliance efforts.
      In the CAM’s view, the Environmental Officer program remains “an example of how strong,
      centralized management and support (through innovative training and communication tools,
      among other efforts) can create a high-functioning and integrated cross-brand group.” CAM
      January 2021 Quarterly Report at 72.

                         b)     Environmental Officer Training

     The Company continues to innovate in Environmental Officer training, including developing
      and delivering:

         o   CSMART Training Courses: The Company has continued its program of virtual
             CSMART training courses for Environmental Officers, including Environmental
             Excellence. See id. at 73-78. The first virtual Environmental Excellence course was
             held in August 2020, and CSMART has delivered six virtual courses as of June 2021.
             See Company Updates Letter at PCL_ECP00225064. At each session, the CAM has
             been invited to share remarks and engage in a Q&A with the attendees. The CAM
             continues to be struck by the thoughtfulness and engagement of the Environmental
             Officers at these sessions. Some recurring themes from recent discussions have
             related to: IT support, especially for shipboard trainings; return to service challenges,
             including heavy training loads; the Company’s commitment to DEI; and the
             Company’s support for the Environmental Officer role after probation ends. See
             Employee Interview/Call Notes.

             As discussed in earlier CAM reports, the current iteration of this course focuses on
             providing Level 2 investigation training to Environmental Officers. See CAM

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             January 2021 Quarterly Report at 51-52, App. C. Increasingly, the CAM Team has
             become aware of concerns by Environmental Officers about the potential expansion
             of their role to include that of shipboard investigator. Even when not acting as
             investigators, Environmental Officers report that they are sometimes perceived as
             “police officers” by other crew members, rather than as trusted resources for
             reporting or seeking guidance on environmental compliance concerns. This tension
             could be exacerbated if Environmental Officers take on more of an investigative
             function. While Environmental Officers say they are more than willing to serve as
             subject matter experts to assist an environmental investigation, they feel that it may
             be optimal for another position to be the lead investigator for Level 1 and 2 ship-led
             investigations. See Employee Interview/Call Notes.

             Environmental Officers have also described the “backsliding” that occurred after the
             end of the Company’s prior ECP as attributable in part to the expansion of the
             Environmental Officer’s role to include other obligations, diluting their
             environmental compliance counseling role. See id.

             The Company has responded that these concerns are “a misunderstanding from [its]
             [Environmental Officers] attending the investigation training course.” Company
             Draft Report Comments. The Company further reports that, since becoming aware of
             these concerns, the Environmental Corporate Compliance Manager “has personally
             assured” Environmental Officers “that they will not become the [ships’] HESS
             investigators.” Id. The Company is also revising its internal procedures “to make it
             clear that [Environmental Officers] can support Environmental investigations” as
             needed, but “they won’t be in charge to lead them.” Id.

         o   Virtual Learning Webinars: Previously known as Learning Nuggets, these are
             environmentally-focused webinars that bring together environmental, deck, and
             technical personnel. Topics have included: recordkeeping; waste vendor vetting and
             waste offloads; food waste management; voyage planning; and interpreting data from
             pollution prevention equipment. See Company Updates Letter at
             PCL_ECP00225063-4; May 2021 Probation Supervision Report Attachment 5 at
             PCL_ECP00225118; Environmental Excellence Newsletter Issue 03-2021 at 5.

         o   New-Hire Environmental Officer Shipboard Training: The Company has revised
             its training course for new hire Environmental Officers (known as “Environmental
             Officer 1”), which is now being delivered shipboard by a Fleet Environmental
             Officer. Previously, the course was delivered shoreside at CSMART. See
             Environmental Excellence Newsletter Issue 02-2021 at 10.

     Led by the Ethics & Compliance Corporate Training Director, the Company has also
      redesigned environmental trainings for both shipboard and shoreside personnel, including:

         o   Shipboard Environmental Awareness Training: The shipboard general
             environmental awareness training (known as “TRG 2302”) for crew members at the
             beginning of each contract was converted to a computer-based format so that crew


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             members can take it during their quarantine period. See Company Updates Letter at
             PCL_ECP00225064.

         o   Shipboard Job-Specific Environmental Workplace Training: The shipboard job-
             specific environmental workplace trainings (known as “TRG 2308” and “TRG 2309”)
             were updated to be better tailored to each crew member’s job, and to be delivered “in
             a more efficient and standardized manner.” Id.

         o   Shoreside Environmental Awareness Training: The environmental awareness
             training for shoreside personnel (known as “TRG 2307”) was simplified from three
             modules to one module, and updated with “more opportunities for employee
             engagement.” Id.

     In addition to trainings, at least three Operating Line Compliance Managers hold regular
      Environmental Officer coffee chats. The Company also launched a coffee chat program with
      the Carnival Corp. CEO, as discussed in Part III.B above. See supra, Part III.B.2.

     The Company also continues to host the Environmental Hub online chat forum where
      Environmental Officers can interact, ask questions, and share best practices with one another,
      as well as shoreside personnel. See CAM January 2021 Quarterly Report at 71-72;
      Employee Interview/Call Notes.

                        c)      Fleet Environmental Officer Program

     In August 2020, the Company launched a new Fleet Environmental Officer program, under
      which Fleet Environmental Officers “mentor, coach, and guide new [Environmental Officers]
      in their roles.” Company Updates Letter at PCL_ECP00225067. Led by the Director of the
      Fleet Environmental Officer program, who reports to the Environmental Corporate
      Compliance Manager, the Company has continued to grow and support the program
      throughout the pandemic. As of June 2021, the program has ten officers—including the first
      two female Fleet Environmental Officers. See id.; May 2021 Probation Supervision Report
      Attachment 5 at PCL_ECP00225118. Additional diversity within the Fleet Environmental
      Officer corps includes one officer from Asia and one officer from South Africa. See
      Company Draft Report Comments.

     The Fleet Environmental Officers provide a range of support services to both shipboard and
      shoreside staff, including:

         o   Serving as mentors to assigned mentees, as well as any Environmental Officers who
             need assistance.

         o   Visiting ships before they return to service to assist with training delivery and
             compliance checks/self-audits.

         o   Providing shipboard “Environmental Officer 1” training to new hire Environmental
             Officers.

         o   Helping to develop and revise environmental policies and procedures.

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           o   Helping CSMART to develop and deliver environmental trainings and webinars, with
               one Fleet Environmental Officer assigned to CSMART on a rotating basis.

           o   Assisting the Incident Analysis Group in investigations as subject matter experts.

           o   Helping to revise the Environmental Officer competency framework and Professional
               Development Record, discussed in the next section.

               See Company Updates Letter at PCL_ECP00190602; Environmental Excellence
               Newsletter Issue 02-2021 at 5, 10; Environmental Excellence Newsletter Issue 03-
               2021 at 10; Compliance Committee Q1 2021 Report at 26; May 2021 Probation
               Supervision Report Attachment 5 at PCL_ECP00225118.

       The Company reports that it “has received positive feedback from crew members” on the
        Fleet Environmental Officer Program, with “most of the ships asking for an additional visit
        in the near future.” Company Updates Letter at PCL_ECP00225067; May 2021 Probation
        Supervision Report Attachment 5 at PCL_ECP00225118. The CAM Team has received
        similarly positive feedback.116 The CAM Team has also remained in regular contact with the
        Director of the program, who exhibits dedication and passion for his role and, with support
        from the Company, has helped drive substantial growth and improvements in the program in
        a relatively short (less than one year) time period.

                          d)     Environmental Officer Career Path

       The Director of the Fleet Environmental Officer program, in coordination with the Maritime
        Professional Development team,117 is leading efforts to revise the competency framework and
        Professional Development Record for Environmental Officers.

           o   A competency framework is a defined set of knowledge, skills, and behaviors
               required for a specific rank or position.118

  116
    As noted in earlier CAM reports, the program is based on the Chief Maritime Officer’s Fleet
  Captain and Fleet Chief Engineer programs, both of which were suspended as part of the
  COVID-19-related staff reductions announced in May 2020. See CAM January 2021 Quarterly
  Report at 76. The Company began bringing these programs back in June 2021. See Company
  Draft Report Comments.
  117
     The Maritime Professional Development team reports to the head of CSMART, who in turn
  reports to the Chief Maritime Officer. The group focuses on developing and implementing
  operational trainings for deck, technical, and environmental personnel. It also leads the
  development of competency frameworks and Professional Development Records for non-
  Environmental Officer maritime crew.
  118
     Behavioral competencies may relate to: an individual’s response to a specific set of
  conditions; the way in which they conduct themselves; their action and response to a stimulation;
  their response to the environment; or the way they conduct themselves when interacting with
  another individual, group, or event. Examples of behavioral competences include:
  “Communicates importance of message through change in voice as appropriate to the situation”
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           o   A Professional Development Record is an individualized career progression map that
               links each stage of an individual’s career path to their attainment of specific
               competencies from the framework—providing clarity about the knowledge, skills,
               and behaviors an individual must demonstrate to move forward in their careers. See
               id. at 22.

       The revised Professional Development Record aims to establish a consistent process for
        training, evaluating, and promoting Environmental Officers across the Brands. It lays out a
        four-stage career progression map, beginning with the initial shipboard new-hire-in-training
        period and culminating (after at least five years as an Environmental Officer at sea) with the
        Fleet Environmental Officer position.119 Individuals who do not wish to become Fleet
        Environmental Officers can remain as shipboard Environmental Officers or seek other
        opportunities, such as moving into a shoreside management or CSMART role (although there
        is no defined career path or set of competencies for these alternative pathways). See
        Employee Interview/Call Notes.120

       Each stage of this career path will be linked to specific knowledge, skill, or behavioral121
        competencies. To progress to the next stage, the Environmental Officer must be
        independently assessed (by a designated “assessor”) as “competent” in each competency.
        The assessment must also be independently verified (by a designated “verifier,” who is
        different from the assessor). Assessors and verifiers differ at each stage but may include a
        Fleet Environmental Officer, CSMART instructor, or shipboard officer such as the Captain,
        Staff Captain, Chief Engineer, or Staff Chief Engineer. If an assessment identifies concerns
        in any competency area, the assessor must provide a plan for additional mentoring or
        learning opportunities. The goal of the program is not to shame or penalize, but to help each
        individual achieve competence. Detailed written guidance is provided to Environmental
        Officers, assessors, and verifiers on completing each stage of the process.122 Progress is
        tracked in the GLADIS learning management system. See EO PDR Overview (June 2021),
        PCL_ECP00219134.

       As of the date of this Report, the program is undergoing finalization and approval, with the
        goal of rolling it out within the next few months. The CAM understands that the program
        will be periodically reviewed and updated, but that there is not yet a formal mechanism

  and “Applies language appropriately e.g. Includes, but is not limited to, clear phrasing, concise,
  correct terminology and speed of delivery.” See Competency Framework EO PDR Approach –
  SitRep (June 2021), PCL_ECP00219135 at 16-21.
  119
     The Company is also considering establishing a Senior Environmental Officer position before
  the Fleet Environmental Officer role. Currently, not all Brands have such a role.
  120
     The CAM understands that, except for the final Fleet Environmental Officer stage, there are
  no compensation increases tied to each promotion in the first three stages.
  121
    An effort is underway to integrate the Culture Essentials attributes into the behavioral
  competencies.
  122
     However, the CAM understands that no special training, such as anti-bias training, is
  currently provided to assessors and verifiers in their role as evaluators.

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      (outside of the assessments themselves) for soliciting feedback from Environmental Officers
      or crew members who interact with Environmental Officers (including Global Talent Partner
      recruits), or for incorporating learnings from audits, investigations, or risk assessments—
      although there are informal processes through which these activities may occur. See
      Employee Interview/Call Notes; see also infra, Part VII.C.5 (discussing the general lack of a
      continuous learning feedback loop within the Company between training and other
      functions).

     This is a critical and promising effort. The lack of a clear career path for the Environmental
      Officer position was one of the earliest concerns raised in CAM reports. This concern
      reflected statements from numerous Environmental Officers. See, e.g., CAM September
      2018 Quarterly Report at 18; CAM December 2018 Quarterly Report at 19-21. In addition to
      supporting the development and retention of skilled Environmental Officers, the program
      could provide opportunities to bolster the visibility and integration of the Environmental
      Officer role with other departments on the ships, enhancing the value of the services that
      Environmental Officers provide.

                        e)      Support for Continuous Improvement

     The CAM Team continues to be impressed by the talent and dedication of the Environmental
      Officers met through ship and shoreside visits (virtual and in-person), as well as during the
      interactive sessions held at each Environmental Excellence course.

     As discussed above, continued support and resources for the Environmental Officer program,
      including the Fleet Environmental Officers, will be critical for the Company’s continuous
      improvement efforts after probation ends. See supra, Part VI.B.2. The Company has
      committed, both publicly and internally, to preserving these programs and positions beyond
      the ECP. Upholding this commitment is not only the right thing to do, but also in the
      Company’s best interests for avoiding future prosecutions and maintaining its freedom to
      operate.

                 4.     MATURE INTERNAL AUDIT FUNCTION (ECP § VI.F.4 REVIEW)

                        a)      Background

     The ECP requires the CAM to “conduct a review of [the Company’s] internal environmental
      audits with respect to Covered Vessels and Covered Personnel.” ECP § VI.F.4. This review
      “shall assess the ability of [the Company’s] internal audit process to accomplish the
      objectives of the ECP, including any inadequacies with respect to [the Company’s]
      performance, whether personnel-based or related to any of its Covered Vessels, systems,
      equipment, or components.” Id.

     The Company has a mature internal audit function, housed within the independent RAAS
      department that reports directly to the Carnival Corp. Board of Directors. See CAM Third
      Annual Report at 225-27 (providing an overview of the RAAS audit process). Past CAM
      reports have found that the internal audit program is generally strong, with clear audit
      protocols and auditors who generally appear knowledgeable, professional, and qualified.

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      See, e.g., CAM Third Annual Report at 224-36. That general assessment has not changed for
      ECP Year Four. In ECP Year Five, the CAM’s primary focus will be on RAAS’s
      capabilities to further integrate with the investigation, operations, risk, training, and broader
      Ethics & Compliance functions to support continuous improvement beyond the ECP.

                         b)      ECP Year Four Audit Activities

     In ECP Year Four, RAAS experienced significant staff reductions and transitioned to a
      program of remote audits due to the pandemic. As of June 2020, RAAS’s overall staff had
      been reduced by approximately 60%, with staffing for the internal HESS audit function cut
      from approximately 32 to 14 employees. See id. at 231-32. As of the date of this Report, the
      staffing for RAAS’s internal HESS audit function has increased from approximately 14 to 24
      employees, and RAAS anticipates further increases to its staff in 2022. RAAS has begun to
      conduct in-person audits of some ships and shoreside offices, mainly in Europe. RAAS plans
      to return to in-person audits on a wider scale when practical. For now, RAAS will continue
      with remote audits for ships and shoreside facilities that are not safe or practical to visit in-
      person. See Employee Interview/Call Notes.

     In addition to its regular audits, RAAS launched the following programs during ECP Year
      Four:

         o   Return to Service Program: The Company describes the return to service program
             as “a program of support to management and not a RAAS only project.” Company
             Draft Report Comments. Under this program, RAAS auditors, in conjunction with
             shoreside management and shipboard crews, conduct HESS reviews on ships
             returning to service. These reviews are intended to identify and help address HESS-
             related findings and observations before the ship begins sailing with passengers. As
             part of the program, RAAS compiles and shares findings and observations with the
             Brands to raise awareness of issues that may need to be addressed fleetwide. To date,
             RAAS has conducted approximately eight visits under the return to service program.
             RAAS plans to follow the return to service visits with an in-person audit within three
             months of the ship’s return to service. See Employee Interview/Call Notes.

         o   Self-Assessment Program: This program aims to “help maintain HESS awareness
             during the pause in cruise operations, [] to provide an opportunity to address non-
             conformity trends identified through internal audit[s,] and to assist in expanding the
             knowledge and understanding of the Global HESS procedure requirements across the
             fleet.” See Global HESS Self-Assessment Program (June 2020),
             PCL_ECP00167789-90. Under this program, crew members conduct “self-audits” of
             HESS procedures associated with recurrent or significant audit findings. RAAS
             notifies the ship about the relevant HESS procedure to be audited; provides a
             questionnaire to the ship to guide the self-audit; and provides the ship with a set time
             frame (which varies by procedure) to perform the self-audit. See Company Draft
             Report Comments.

             RAAS has overseen self-assessments on HESS policies and procedures related to:
             Exhaust Gas Cleaning Systems; refrigerant gases; fleet maintenance management;

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             machinery space fire prevention; and lifesaving appliance maintenance management.
             The self-assessment findings have been used to develop corporate-wide action plans
             and to “identify topics or provisions for potential clarifications and modifications to
             HESS procedures.” See Company Updates Letter at PCL_ECP00225062.

     As in prior years, RAAS issued periodic reports throughout ECP Year Four synthesizing
      audit results and key trends from audit findings. Key findings RAAS identified for Fiscal
      Year 2020 and the first quarter of Fiscal Year 2021 relate to: (1) critical spare parts missing
      for Exhaust Gas Cleaning Systems; (2) crew members missing Exhaust Gas Cleaning System
      trainings; (3) entries missing in Exhaust Gas Cleaning System record books; (4) waste
      vendors not assessed before being used for waste disposal; (5) sewage and grey water tank
      inspections not performed per the required frequency; (6) missing Oil Record Book entries;
      (7) food waste pulper/vacuum stations found unsupervised while in operation; and (8) work
      orders in the planned maintenance system found postponed without any evidence of joint
      review. See RAAS Q1 Report (Apr. 16, 2021), PCL_ECP00190754-72 at
      PCL_ECP00190767-71; RAAS Q4 Report (Jan. 12, 2021), PCL_ECP00188880-907 at
      PCL_ECP00188886-89; RAAS HESS Update (Jan 12, 2021), PCL_ECP00217485 at 3-5.
      Many of these findings correspond to findings and areas of concern identified and reported
      on by the CAM and TPA.

                         c)     Initiatives in Response to Critical Feedback

     As discussed in earlier CAM reports, some Company personnel have provided critical
      feedback about the internal audit program, including concerns about:

         o   Auditor attitude, audit consistency, and auditor competency (including a focus on
             “nit-picky” findings).

         o   A tendency for both ship and shoreside management to dispute audit findings, rather
             than seek to understand, correct, and prevent them.

             See CAM Third Annual Report at 225-28.

     RAAS has made significant efforts to address critical feedback and to re-envision and re-
      invigorate RAAS’s role and perception within the Company, including:

         o   RAAS Maritime Retreat: A RAAS Maritime Retreat for auditors was held in
             August 2019, which highlighted several challenge areas, including: the group’s
             quality assurance process; perceptions by others within the Company of RAAS and
             its auditors; and consistency of audit protocols and audit findings. See id. at 234.

         o   HESS 3.0 Audit Process Initiative: This initiative is designed to address several
             areas for improvement, including: (1) audit planning; (2) field work and follow-up
             work; (3) auditor training and competency; (4) group communication and culture; and
             (5) root cause and data analytical enhancements. See id. RAAS continues to make
             progress on the HESS 3.0 initiative, particularly in the area of data analytics as a
             means to identify correlations between audit findings and other factors (such as crew

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             tenure on a ship, training, and rank or position) that could provide continuous
             improvement opportunities. See Employee Interview/Call Notes.

         o   HESS 3.0 Rebranding—Tone from the Top Initiative: RAAS launched this
             initiative, in collaboration with the All Brands Group Communications and Marketing
             group, to improve RAAS’s overall perception within the Company. See CAM Third
             Annual Report at 235. Although COVID-19 has slowed the progress of this initiative
             due to staff departures, RAAS intends to further this initiative as part of the
             Company’s efforts surrounding culture. See Employee Interview/Call Notes. The
             support of top leadership will be critical to this effort.

                        d)      Role of RAAS Beyond Audits

     RAAS’s role is not limited to performing audits. As stated by the Chief Audit Officer, the
      name of the organization, “Risk Advisory and Assurance Services” implies a vision that goes
      beyond a “narrow construct of inter[nal] audit.” Status Conf. Tr. at 54 (Apr. 30, 2021).

     Other functions of RAAS include:

         o   Performing risk assessments. See infra, Part VII.C.3(b).

         o   Generating dashboards to analyze and trend certain HESS metrics. See supra, Part
             VI.B.3(c).

         o   Performing non-HESS (e.g., financial, fraud) investigations. See infra, Part
             VII.B.5(a) and Part VI.C.2(d).

         o   Performing reviews, known as Focus Reviews, into various business issues, as
             discussed in the next section.

                        e)      Support for Continuous Improvement

     To support continuous improvement efforts, the Company has recognized the need to better
      integrate the internal audit function with other functions, including investigations, legal,
      operations, risk, and training.

     Some efforts toward such integration are underway, including:

         o   Quarterly HESS Lessons Learned Meetings: As discussed in Part VII.C below,
             RAAS participates, along with leaders from Ethics & Compliance and Maritime
             Operations, in quarterly HESS Lessons Learned meetings. These meetings started in
             early 2020 and focus on identifying issues and trends from different inputs, including
             audits, investigations, and incident and near miss reports. See infra, Part VII.C.5(b).

         o   Revised “Continuous Improvement From Lessons Learned” Processes: As
             discussed in Part VII.B below, RAAS is coordinating with the Incident Analysis
             Group and other stakeholders on revising the Company’s internal procedure
             governing the processes “through which [Global HESS] procedures are continuously

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            improved by incorporating lessons learned from internal and external audit findings,
            HESS events, near misses and incident analyses, and to describe how lessons learned
            are to be communicated to management and the fleet.” HMP 1303 HESS Procedure
            Continuous Improvement from Lessons Learned (“HMP 1303”) at § 1; see also infra,
            Part VII.B.5(c). The CAM understands that the revised procedure will establish
            formal mechanisms for coordination between RAAS, the Incident Analysis Group,
            and Maritime Operations on identifying and disseminating lessons learned. See
            Employee Interview/Call Notes.

            Focus Reviews: RAAS periodically performs Focus Reviews that analyze business
            issues across the corporation, using its internal resources and expertise. Examples of
            Focus Reviews into environmental compliance issues, discussed in this and past
            CAM reports, include: food waste measurement; food waste digester installations;
            environmental critical spare parts for pollution prevention equipment; deck and
            engine reporting; and ship superintendent workloads. See id.

            To the best of the CAM’s knowledge, there is no established, formal process for
            identifying issues for Focus Reviews. This is one area where there may be an
            opportunity for greater coordination between RAAS and the Incident Analysis Group,
            including clarifying the relationship between RAAS Focus Reviews and Incident
            Analysis Group investigations into potential systemic issues. See id.

        o   RAAS Audits of the Incident Analysis Group: RAAS has begun to audit the
            Incident Analysis Group. The first audit, related to overall governance of the Incident
            Analysis Group, has commenced. This will be followed by a separate audit, which
            will focus on compliance with the internal procedures governing internal
            investigations (known as the “HMP 1302” procedure) and continuous improvement
            and lessons learned processes (known as the “HMP 1303” procedure, as noted
            above). Revisions to these procedures are underway. See Company Draft Report
            Comments; see also infra, Part VII.B.5.

        o   Root Cause Analysis Process: According to the Company, RAAS “has developed
            new, more detailed categories for its process of determining the root cause of non-
            conformities [i.e., audit findings] in order to avoid the over-use of generalized topics
            such as ‘lack of awareness’ as a root cause. The more specific root causes will help
            to create more effective action plans.” Company Updates Letter at
            PCL_ECP00225062.

            The CAM Team has not reviewed the RAAS root cause analysis process. The CAM
            notes the importance of adopting consistent root cause analysis methodologies across
            the different entities in the Company who perform such analyses, including RAAS
            and the Incident Analysis Group. This may be another area of opportunity for greater
            coordination across different departments.

        o   Data Analytics and Predictive Modeling: RAAS is working to enhance its data
            analytics and predictive modeling capabilities to support continuous improvement


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               efforts, including the dashboards designed to analyze and trend certain HESS metrics.
               See supra, Part VI.B.3(c).

       As the CAM has observed, a large part of RAAS’s success depends “on support from the
        Board and [Senior] Executive Management.” CAM Third Annual Report at 235-36 (citing
        RAAS Cruise Control Newsletter). Messaging from leadership has a direct “impact on the
        effectiveness of support RAAS receives in carrying out its responsibilities.” Id. (citing
        same). For RAAS to reach its full potential, it must be viewed as a set of in-house experts
        and partners who can work with ships and shoreside personnel alike to identify areas of risk
        and opportunities for improvement at all levels and across multiple departments within the
        Company. The Company has expressed to the Court that “the executive management and the
        board fully recognize the critical role of RAAS in ensuring that the company has a strong
        governance model now and . . . post [E]CP.” Status Conf. Tr. at 52 (Apr. 30, 2021).

                   5.     INTERNAL INVESTIGATION PROGRAM IMPROVEMENTS

                          a)      Background

       The Company accepts that it historically has had a “critically flawed” internal investigation
        program for HESS investigations—a CAM finding from ECP Year One supported by similar
        findings from the TPA and the Company’s own consultants. See CAM January 2021
        Quarterly Report at 43. This under-developed investigation function has also more broadly
        impacted the Company’s compliance and risk management efforts. Without effective
        analysis of incidents and near misses, the Company has lacked the ability to both understand
        and address the compliance problems it faces. See id. at 43-44.

       As detailed in earlier CAM reports, the Company’s efforts to revamp its internal
        investigation program were subject to repeated delays and detours. See, e.g., CAM Third
        Annual Report at 182-83; CAM January 2021 Quarterly Report at 44. After missing the
        internal deadlines set in a September 2018 timeline submission to the Court, the Company
        launched a new group in March 2019, called the Incident Analysis Group, to lead the
        Company’s internal HESS investigation program.123 In September 2020, the Company
        appointed a new Head of the Incident Analysis Group after the group was failing to make
        expected progress. The current Head also serves as the Deputy Chief Ethics & Compliance
        Officer.

                          b)      Outside Counsel Review and Recommendations

       As detailed in the last CAM report, the Company retained a law firm in October 2020 to
        investigate concerns about the Incident Analysis Group’s structure and independence, which
        were initially reported in July 2020 via the Company’s Hotline system. This was the second
        law firm retained to investigate these concerns, after the CAM identified numerous

  123
     Before the restructuring of the Company’s internal investigation function, RAAS was
  responsible for HESS investigations (separate and apart from its audit function). As noted in
  Part VI.B above, RAAS remains responsible for certain non-HESS investigations (e.g., financial,
  fraud). See supra, Part VI.B.4(d).

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        deficiencies in the report produced by the first firm that was retained. See CAM January
        2021 Quarterly Report at 46-47.124

       The final report from this second investigation included a series of findings and
        recommendations under the following topics: (1) Incident Analysis Group independence;
        (2) blame culture; (3) root cause analysis; (4) overall quality of investigations and reports;
        (5) Hotline Report investigations, and (6) brand/operating group-level investigator training
        and independence. See Outside Counsel, Internal Investigation Report: Issues Related to the
        Incident Analysis Group (Dec. 15, 2020) (“Outside Counsel Report on Incident Analysis
        Group Issues”); CAM January 2021 Quarterly Report at 48-50 (summarizing findings and
        recommendations).

           o   In response to one of the recommendations, the Incident Analysis Group was re-
               structured to fall directly under the leadership of the Incident Analysis Group Head,
               the Chief Ethics & Compliance Officer, and, importantly, the Compliance Committee
               of the Boards of Directors.

           o   The status of the Company’s implementation of the additional recommendations is
               summarized in Appendix E.

       In January 2021, a separate report (by yet a third firm) providing the “postmortem” on the
        first investigation, requested by the Court, was finalized. See Outside Counsel, Investigative
        Report Regarding the [Redacted] Hotline Complaint Investigation (Jan. 25, 2021). That
        report included three recommendations: (1) ensuring investigations are appropriately scoped,
        including in light of any broader implications presented by the underlying allegations and the
        context in which they arise; (2) establishing a clear policy on determining when to engage
        outside counsel to investigate compliance allegations and the criteria for selecting outside
        counsel; and (3) promptly escalating significant compliance allegations, along with the plan
        for investigation them, to the Compliance Committee. See id. at 24-25. The CAM
        understands that efforts are underway to draft new procedures in response to each of these
        recommendations. See Employee Interview/Call Notes.




  124
     The Company ultimately retained three different law firms to conduct investigations related to
  these allegations: (1) the first law firm produced a report in September 2020 that the CAM
  found to be deficient in numerous respects; (2) the second law firm was engaged by the
  Compliance Committee of the Boards of Directors to “conduct a fresh review of the work that
  had been done by the [prior] firm, to supplement the initial investigation as necessary, and to
  prepare a report that, among other things, addresses the concerns raised” by the CAM, see Letter
  from Outside Counsel to CAM (Oct. 15, 2020); and (3) the third law firm, which also serves as
  independent counsel to the Compliance Committee of the Boards of Directors, was retained by
  the Compliance Committee to conduct a “postmortem on how that first decision was made, as to
  who was selected to do the investigation and what were the lessons learned from that,” as
  directed by the Court. See Status Conf. Tr. at 51 (Oct. 16, 2020); CAM January 2021 Quarterly
  Report at 46-47.

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                          c)      Investigation Program Updates

       Under the leadership of the new Head, the Incident Analysis Group has made progress
        toward improving the internal investigation program, including implementing many of the
        recommendations in the Outside Counsel Report on Incident Analysis Group Issues.
        Highlights of these efforts include:

           o   Hiring additional Incident Analysis Group investigators, bringing the total size of the
               group to seven investigators. Two additional recently hired investigators are
               scheduled to join by the end of September 2021, and recruitment is ongoing for at
               least three more open positions, including for an investigator with classic (i.e., “law
               enforcement-type”) investigations training and experience.

           o   Hiring additional support personnel, including: a Director of Training; a Director of
               Program Management and Quality Assurance; a Technical Editor; and an Executive
               Assistant.

           o   Delivering new trainings to Incident Analysis Group investigators on report-writing
               and classic investigative techniques.

           o   Developing a competency framework for Incident Analysis Group investigators.

           o   Launching a new software database platform to assign and track Incident Analysis
               Group investigations, including investigation descriptions, root cause analysis
               findings, and corrective and preventive actions.

           o   Creating an investigations manual for Incident Analysis Group investigators.125

           o   Working to create a more diverse corps of Incident Analysis Group investigators.

           o   Ongoing efforts to revise internal procedures on: (1) conducting investigations
               (known as the “HMP 1302” procedure), which the CAM understands is being revised
               to correspond with the recently published Investigation Manual; and (2) continuous
               improvement and lessons learned processes (known as the “HMP 1303” procedure),
               which, as noted in Part VII.B above, the CAM understands is being revised to
               establish formal mechanisms for coordination between RAAS, the Incident Analysis


  125
      Under the Pause Priorities Plan, a draft manual was originally expected in December 2020.
  On March 31, 2021, the CAM Team received a draft of the manual for feedback. In the view of
  the CAM and TPA teams, the draft “lack[ed] clear direction on critical issues (such as the scope
  of investigations), fail[ed] to provide clear guidance on investigative techniques, and in some
  instances . . . would lead to confusion about best practices.” Letter from CAM to Company,
  Joint CAM/TPA Feedback on Draft Investigations Manual (May 7, 2021), at 1. On June 18,
  2021, the CAM Team received an updated draft manual that addressed many of the CAM and
  TPA’s prior concerns. A final manual was published on July 1, 2021, which the CAM and TPA
  teams are reviewing. See Incident Analysis Group HESS Investigation Manual (July 1, 2021)
  (“Investigation Manual”).
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             Group, and Maritime Operations on identifying and disseminating lessons learned.
             See supra, Part VII.B.4(e).

             See IAG Improvement Plan Tracker, PCL_ECP00190028; see also infra, App. E.

     The CAM recognizes this progress, as well as the hard work, dedication, and commitment of
      the Incident Analysis Group investigators, leaders, and other team members. These efforts
      are essential for establishing the basic building blocks of an effective internal investigation
      program. The CAM Team also continues to hear positive reports from Company personnel
      regarding the leadership and engagement of the new Incident Analysis Group Head. See
      Employee Interview/Call Notes.

     However, as discussed in Part VII.C below, these efforts will fall short if the Company’s top
      leadership does not embrace the central finding from the Outside Counsel Report on Incident
      Analysis Group Issues: that investigations must be independent, including from the
      influence of the operations function. To be independent, investigators must be empowered
      with authority (both in words and in reality) to determine what issues to investigate, to set the
      scope of investigations, and to follow the facts wherever they lead, including to systemic
      issues.

                 6.      CONTINUED HIGH LEVELS OF EMPLOYEE COOPERATION AND ENGAGEMENT

     As in prior years, the CAM Team has continued to encounter impressive levels of
      cooperation, engagement, and support from Company employees, ship and shore, in both
      formal and informal interactions. Crew members and shoreside personnel from across ranks
      and departments have candidly shared information and observations on the Company’s
      compliance efforts, and this Report (as with prior CAM reports) aims to be a mirror of what
      the CAM Team has learned and confirmed from these interactions. The Company also
      continues to provide the resources and support needed to respond to CAM document and
      information requests and to produce reports and other documents, as required by the ECP and
      terms and conditions of probation.

     The CAM continues to appreciate the efforts of those with whom the CAM Team engages
      most closely: the Ethics & Compliance group, including the Chief Ethics & Compliance
      Officer, the Environmental Corporate Compliance Manager, and the other members of their
      teams at both All Brands Group and the individual Brands; CSMART staff involved in
      developing or implementing environmental and compliance training; RAAS personnel who
      perform or oversee HESS audits; and shipboard and Fleet Environmental Officers. These
      individuals continue to display a commitment to environmental compliance and to drive
      forward compliance efforts.

     The Company’s employees are its greatest asset, as well as its greatest protection against
      future risks of noncompliance. One of the most important things the Company can do to
      guard against such risks is to ensure employees at all levels have the support they need to
      both succeed in their jobs and to be unafraid to speak up when something does not seem right
      or could be improved. This support is not limited to training and equipment, but also
      includes compensation, mental and physical well-being and safety, and access to mentorship

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      and career growth opportunities. The Company’s pool of dedicated and talented employees
      stand ready to help it succeed—and lead—in the area of compliance the same way it has in
      other business areas.

         C.      Remaining Barriers and Opportunities for Improvement

                 1.     ACHIEVING A LEARNING CULTURE

     As discussed in Part III.C above, the approach by the Company’s top leadership to incidents
      (including near misses), findings, and negative or uncomfortable information has historically
      been characterized by a tendency to minimize or avoid chronic problems, rather than to seek
      to understand them and address their root causes and risk factors. See supra, Part III.C.2.
      This defend-and-deflect approach has been an obstacle to the learning culture that the
      Company seeks to achieve. As recognized above, there are promising indications that this
      mindset is starting to shift. See id.; see also supra, Part VII.B.2.

                 2.     ESTABLISHING A FULLY INDEPENDENT AND EMPOWERED INTERNAL
                        INVESTIGATION PROGRAM

                        a)      Elements of an Effective Internal Investigation Program

     As noted in Part VII.B.5 above, effective internal investigations are critical for the
      Company’s compliance and risk management efforts. Without this tool, the Company lacks
      clarity about the nature and scope of the compliance problems it faces, as well as information
      needed to develop appropriate corrective and preventive actions. DOJ cites “the existence of
      a well-functioning and appropriately funded mechanism for . . . timely and thorough
      investigations” as a “hallmark of a compliance program that is working effectively.” DOJ
      Corporate Compliance Guidance at 16. In evaluating compliance programs, DOJ considers
      steps a company takes to “ensure that investigations are properly scoped” and “independent,
      objective, appropriately conducted, and properly documented.’” Id. at 7, 16. DOJ also looks
      at: “How high up in the company do investigative findings go?” Id. at 16.

     The value of internal investigations is to provide management with the information necessary
      to manage the Company’s risks. This information may not always be pleasant, but it should
      always be welcome—and actively desired. Top leadership must require, and make clear its
      support for, “adequate and honest root cause analysis” that “identif[ies] root causes, system
      vulnerabilities, and accountability lapses, including among supervisory managers and senior
      executives.” Id.

     In response to questions by the Court, the Company agreed that effective internal
      investigations require, at a minimum, the empowerment of investigators to act with
      independence and authority. This includes the ability to expand an investigation’s scope to
      “pursue the facts wherever they lead them.” Status Conf. Tr. at 39 (Apr. 30, 2021). It also
      means that “investigators must be independent from other parts of the organization[,]
      especially from the operations role since operations are usually the typical subject of
      investigations.” Id. The Company also agreed that investigators must have the authority to
      initiate further investigations “if the facts reveal systemic issues beyond the individual

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      circumstances of the incident.” Id.; see also id. at 40, 42 (statements of agreement and
      support from the Carnival Corp. CEO, Chairman of the Board, and Incident Analysis Group
      Head).

     At the January 2021 and April 2021 Status Conferences, the Carnival Corp. CEO and Chief
      Ethics & Compliance Officer also pledged to provide the support and resources that the
      Incident Analysis Group needs, both now and after probation is over. See Status Conf. Tr. at
      46 (Jan. 27, 2021); Status Conf. Tr. at 48-50 (Apr. 30, 2021).

                         b)     Incident Analysis Group Independence and Authority

     The Incident Analysis Group cannot fulfill its purpose without clear and unequivocal
      statements of support by top leadership, including the Board of Directors, that investigators
      are empowered to act with independence and authority, including to set the scope of
      investigations and to initiate independent reviews of potential systemic issues as they arise.

     Importantly, the Company’s new Investigations Manual, published on July 1, 2021, sets forth
      the following five principles of an Incident Analysis Group investigation:

             “1. Investigations must be independent from other operational parts of the
             organization.

             2. Once the investigation begins, its full scope will be determined by the information
             gathered during the investigation. It should not be limited to the parts of the
             organization whose actions are being investigated.

             3. Critically, the investigators have the support from leadership and the board of
             directors to pursue and determine the facts wherever they lead them.

             4. If the facts reveal systemic issues beyond the individual circumstances of the
             incident, these should be the basis for further investigations.

             5. The analysis and learnings of the investigation underpins and drives the process of
             continuous improvement for areas such as operations, procedures and training, to
             diversity, sustainability and ship’s design.”

             Investigation Manual at 6.

     These principles appear designed to empower the Incident Analysis Group with the necessary
      independence and authority to perform its function. However, it is not yet clear that they do
      so fully, or that the Incident Analysis Group has the resources and structures in place to
      exercise its independence and authority in practice. For instance:

         o   One of the principles states: “If the facts reveal systemic issues beyond the individual
             circumstances of the incident, these should be the basis for further investigations.”
             Id. (emphasis added). The reference to the “circumstances of the incident” does not
             make clear that the Incident Analysis Group can pursue investigations of potential
             systemic issues that it identifies on its own, based on issues or concerns arising

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               outside of an existing HESS incident or Hotline Report investigation. The Head of
               the Incident Analysis Group has acknowledged that there is not currently a process
               for identifying or assigning such issues to the Incident Analysis Group, but that
               efforts to establish such a process are underway.126 See Employee Interview/Call
               Notes. Any such process must maintain the ability of the Incident Analysis Group to
               determine for itself what systemic issues will be investigated, and that independence
               and authority must be promoted by top leadership. While input from other business
               functions, such as RAAS or Maritime Operations, may help to flag potential issues
               for further review, the final decision must rest with the Incident Analysis Group.

           o   Employees have also expressed concerns that the Incident Analysis Group does not
               currently have sufficient resources to perform systemic reviews, as the group is
               struggling to stay on top of its existing workload.127 As noted in Part VII.B above, the
               Incident Analysis Group recently hired several new investigators and support
               personnel, and is actively recruiting additional investigators. See supra, Part VII.B.5.
               Further resources and support may be needed for the Incident Analysis Group to have
               the capacity to carry out its directives “to pursue and determine the facts wherever
               they lead them” and perform “further investigations” into systemic issues. See
               Employee Interview/Call Notes.

       As discussed in this and earlier CAM reports, the CAM and TPA teams have identified a
        number of potential systemic issues that could benefit from a further review, including:

           o   Exhaust Gas Cleaning System issues, including: persistent operational and reliability
               challenges; workload concerns; voyage planning and execution-related challenges;
               and project scoping, design, and procurement processes. See CAM January 2021
               Quarterly Report at 93-95; see also supra, Part VI.C.2.

           o   Voyage planning and execution issues, including: persistent incidents; delayed IT
               development; and adequacy of shoreside support processes. See CAM January 2021
               Quarterly Report at 89-92; see also supra, Part VI.C.4.


  126
     Currently, investigation assignments are governed by the Company’s Internal HESS Incident
  Analysis Matrix. This matrix establishes three levels of investigations: (1) Level 3, or Incident
  analysis Group-led investigations; (2) Level 2, or Brand-led investigations; and (3) Level 1, or
  ship-led investigations. For each level, criteria are set out to determine the default investigative
  body for a HESS incident (e.g., oil discharges are assigned as Level 1, 2, or 3 based on the
  quantity discharged and whether the discharge was “related to misuse of the bilge system”). See
  HMP 1302-A Internal HESS Incident Analysis Matrix. However, the matrix does not specify
  how investigations are to be assigned for issues that arise outside the context of a traditional
  HESS incident. There is a general statement that “company shore management may decide to
  investigate events not listed in this document at their discretion.” Id. But neither “shore
  management” or “event” are defined. See id.
  127
     The CAM understands that an outside law firm was recently retained for an investigation
  primarily because of resource limitations within the Incident Analysis Group. See id.

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         o   Recordkeeping falsifications, including recurrent incidents where crew members have
             recorded in the planned maintenance system that planned maintenance tasks (such as
             inspections, cleanings, and alarm tests) have been completed when the work has not
             been done. See CAM Third Annual Report at 214-14; CAM March 2020 Quarterly
             Report at 144-45; CAM September 2019 Quarterly Report at 90; see also, e.g.,
             TEC/02/2021 Verification of Emergency Bilge Valve testing Record Keeping (June
             10, 2021) (corporate-wide Instructional Notice issued following indications on a
             Company ship that “emergency bilge valves had not been tested in spite of [planned
             maintenance system] records indicating they had”); Flash Report (June 30, 2021)
             (noting a “number of discrepancies” and inaccuracies in Planned Maintenance System
             entries on one ship); Environmental Excellence Newsletter Issue 03-2021 at 2 (noting
             recent cases “where we have seen record falsification and other[s] that are under
             investigation where it appears there may have been falsification”).

         o   Crew staffing and workload issues, including recruitment, hiring, promotion, and
             training processes that have led to instances where under-qualified individuals were
             tasked with critical compliance functions. See CAM Third Annual Report at 150-58;
             see also, e.g., Final Report, IAG2021002 (Mar. 26, 2021) (“The premature promotion
             of the first engineer junior resulted in a situation where the first engineer junior
             lacked the competency to work as part of a team.”); Final Report, IAG2020024 (Feb.
             26, 2021) (“The inability to relieve crew members resulted in an engineer who was
             unfamiliar with the role being assigned as an EOOW.”); Final Report, IAG2020050
             (Feb. 24, 2021) (“The investigation identified substandard engine watchkeeping
             practices . . . The operator was a very experienced engineering officer; however, over
             the last five years, he had only spent limited periods as a watchkeeping engineer.”).

     Valuable insights could also have been gleaned had investigations been performed into
      potential systemic issues that may have contributed to the Company’s probation violations,
      which related to:

         o   Interfering with TPA audits through undisclosed ship visit programs.

         o   Failing to provide the Environmental Corporate Compliance Manager with sufficient
             authority.

         o   Falsifying training records on multiple ships, which could be tied to potential issues
             of workload, IT support, and blame culture, among others, that the Company’s
             perfunctory initial investigations did not explore.

         o   Failing to have adequate food waste management practices in place to guard against
             the discharge of prohibited contaminants, as well as a failure to listen and learn from
             earlier employee concerns about this issue.

         o   Improperly contacting U.S. Coast Guard officials regarding a disputed ECP term.

         See Probation Revocation Agreement at 10-11.



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                         c)      DEI Among Incident Analysis Group Investigators

     The Company has expressed that “DEI is of critical importance across the business, but
      specifically in investigations” because the Incident Analysis Group “interact[s] broadly with
      the ships . . . if [the Incident Analysis Group] were to have a different reflection of DEI
      within the team of investigators, then this would most likely improve our investigation
      program and compliance efforts.” Status Conf. Tr. at 47 (Apr. 30, 2021). The Carnival
      Corp. CEO also stated that “there’s . . . a commitment and an expectation of inclusion and
      diversity in the [Incident Analysis Group] team.” Id. at 48.

     There is currently a lack of diversity among the existing Incident Analysis Group
      investigators. At the time of this Report, the Incident Analysis Group lacks any non-
      European investigators. The Incident Analysis Group recently hired its first female
      investigator, and is making diligent efforts to further increase diversity in its ranks, including
      engaging a specialist search firm to assist in finding diverse candidates for open investigator
      positions. See Employee Interview/Call Notes.

                         d)      Other Concerns

     Other ongoing concerns include:

         o   Investigation and Report Quality: The CAM and TPA teams have continued to
             express concerns with investigation and report quality, including with regard to root
             cause analysis, corrective actions, and preventive actions, as well as overall report
             readability. The Incident Analysis Group has taken steps to improve investigation
             report quality, including: providing investigations with training on classic
             investigative techniques; hiring a Technical Editor; providing investigators with a
             report writing training; developing new report writing procedures; and developing a
             new report writing template. On June 16, 2021, the CAM and TPA teams met with
             the Incident Analysis Group to discuss these concerns and look forward to continuing
             to engage on these issues. See Employee Interview/Call Notes.

         o   Investigation Report Timing: Final Incident Analysis Group investigation reports
             are consistently issued many months after an investigation is assigned (sometimes as
             long as 10 months after an incident occurred). These delays hinder the Company’s
             ability to implement lessons learned in a timely manner. The CAM understands that
             delays may be due in part to a range of factors, including: pre-existing backlogs of
             incomplete investigations begun under the prior Head; staff reductions during the
             initial months of the pause; a continuing lack of sufficient investigators to keep up
             with the rate of new investigations; recent investigator turnover (including departures
             and the onboarding of new investigators); recent time investments in additional
             trainings for both new and existing investigators; and a desire to prioritize report
             quality over timeliness. As noted above, these issues raise concerns about whether
             the Incident Analysis Group has sufficient resources and support to carry out its
             function. See id.



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        o   Approach to Brand Investigations: Brand investigations and Incident Analysis
            Group investigations continue to lack formal alignment. For example, there is not yet
            an investigations manual for Brand-led investigations, nor is there consistent training
            for Brand investigators. Brand investigation reports also do not follow a consistent
            format. The level of review and oversight by the Incident Analysis Group over
            Brand-led investigations is poorly defined. The CAM understands that the Incident
            Analysis Group Director of Training is working to develop an investigations training
            for Brand investigators, and that the Company anticipates a Brand-led investigations
            manual by year end. See id.

        o   Approach to Shipboard Investigations: Similarly, the CAM understands that there
            is no formal alignment between Incident Analysis Group and ship-led investigations.
            As with Brand-led investigations, the level of review and oversight by the Incident
            Analysis Group over these investigations is unclear. The CAM understands that the
            Incident Analysis Group Director of Training is working to develop a shipboard
            investigations training, which the Company anticipates will be completed by the end
            of 2021. See id.

            As discussed above, the Company has also been providing investigation training to
            Environmental Officers through the Environmental Excellence CSMART courses.
            Environmental Officers have increasingly expressed concerns to the CAM Team that
            taking on an investigator role will contribute to their being perceived as “police
            officers” on the ships, rather than as trusted resources and advocates for compliance.
            The Company reports that these concerns are the result of a misunderstanding, and
            that it is taking steps to address the concerns, including revising its internal
            procedures to clarify that Environmental Officers may support environmental
            investigations but will not lead them. See supra, Part VII.B.3(b).

        o   Integration with non-HESS Investigations: There is a general lack of clarity on
            how Incident Analysis Group HESS investigations are integrated or coordinated with
            non-HESS investigations, such as HR investigations carried out by HR personnel,
            financial investigations carried out by RAAS, or anti-bribery/anti-corruption
            investigations carried out by RAAS (in coordination with the General Corporate
            Compliance Manager). This is a critical gap. A single incident can have both HESS
            and non-HESS aspects that need to be investigated—such as a prohibited discharge
            that may be tied to allegations of a hostile workplace environment, to undue
            budgetary pressures, or to an improper relationship with an external vendor (such as a
            fuel supplier or a waste vendor). The CAM understands that the current approach is
            to handle such scenarios on a case-by-case basis. Often, the investigation will be split
            into its HESS and non-HESS components, with separate investigations led by
            different groups into the same incident proceeding in parallel. This practices results
            in multiple interviews of the same individuals regarding the same incidents, as well as
            multiple investigation reports.

            The CAM understands that the Ethics & Compliance group plans to hold an
            investigations retreat in the fall of 2021 to bring together the various entities
            responsible for conducting investigations across the Company to discuss, among

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             other goals, ways to better integrate and coordinate their efforts. See Employee
             Interview/Call Notes.

                        e)      Support for Continuous Improvement

     As discussed in Part VII.C below, the Company has recognized the need for better
      integration of its audit, investigation, operations, risk, training, and broader Ethics &
      Compliance functions to help drive a process of continuous improvement. See infra, Part
      VII.C.5. Internal investigations and internal audits are two of the most critical components
      of a continuous improvement program.

     In April and May 2021, the CAM Team held meetings with members of both RAAS and the
      Incident Analysis Group to discuss ways to better align their processes. From these
      meetings, the CAM understands that several efforts are underway to support better
      coordination between these groups. For instance, as discussed in Part VII.B above:

         o   The Incident Analysis Group and RAAS are coordinating on revisions to the HMP
             1303 procedure on continuous improvement and lessons learned processes.

         o   The groups have begun coordinating more closely on flagging issues for RAAS Focus
             Reviews that arise out of Incident Analysis Group investigations, including in the
             area of food waste management.

         o   RAAS plans to begin auditing the Incident Analysis Group by year end, which will be
             an important component for identifying continuous improvement opportunities for the
             investigation function as it continues to develop.

             See supra, Part VI.C.3 and Part VII.B.4.

     Parties at these meetings agreed on the need to further explore opportunities for improving
      coordination between RAAS and the Incident Analysis Group to support the Company’s
      continuous improvement efforts, as well as clarifying their respective roles in potentially
      overlapping functions (such as RAAS Focus Reviews into corporate-wide business issues
      and Incident Analysis Group investigations into systemic issues). See Employee
      Interview/Call Notes. The CAM Team looks forward to continuing to engage on these
      issues.

                 3.     DEVELOPING A HOLISTIC RISK GOVERNANCE FRAMEWORK

                        a)      Background

     The “starting point” for evaluating “whether a company has a well-designed compliance
      program” includes “how the company has identified, assessed, and defined its risk profile,
      and the degree to which the program devotes appropriate scrutiny and resources to the
      spectrum of risks.” DOJ Corporate Compliance Guidance at 2. This includes “[t]he
      effectiveness of the company’s risk assessment and the manner in which the company’s
      compliance program has been tailored based on that risk assessment,” as well as “revisions to
      corporate compliance programs in light of lessons learned.” Id. at 3.

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       The Company has acknowledged that it continues to lack a coordinated, holistic approach to
        risk management—including one with clear accountabilities for managing and dealing with
        risk. See, e.g., CAM January 2021 Quarterly Report at 23-24, 28-30; Status Conf. Tr. at 55-
        56 (Apr. 30, 2021). The ability to systematically and holistically identify and prioritize risks
        across the Company—and to determine lines of accountability for those risks—is critical for
        compliance. This is even more important during economically challenging times when
        resources are limited. Without such an ability, the Company, including its Board of
        Directors, will lack critical information to determine which of the many serious risks it faces
        is in greatest need of those resources.

       Progress toward a holistic approach has been hampered by a lack of clarity at the highest
        leadership levels about lines of responsibility and accountability between the various entities
        with a claim to risk management, including RAAS, Maritime Operations, Ethics &
        Compliance, and Legal, as well as the Brands. Defining a process of cross-departmental,
        cross-brand coordination will be critical to the Company’s ability to identify, mitigate, and
        manage risks to support continuous improvement.

                           b)      Current Approach to Risk

       The Company has described its current risk management model as consisting of three lines of
        defense: (1) the first line of defense is management, who is the “primary owner” of risk and
        is responsible for managing it; (2) the second line of defense is Ethics & Compliance, which
        helps management “ensure compliance with laws and regulations;” and (3) the third line of
        defense is the internal audit function, which “provides independent assurance that
        management and compliance have controls in place that are reasonably designed and are
        operating to effectively manage the identified risks.” Status Conf. Tr. at 52-53 (Apr. 30.
        2021).

       This model has resulted in multiple types of risk assessments being carried out by different
        entities across the Company, including RAAS, Maritime Operations, Ethics & Compliance,
        and Legal, as well as the Brands, without any formal Enterprise Risk Management128 program
        to integrate these disparate approaches. See Employee Interview/Call Notes.


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      Enterprise Risk Management “is the process through which an organization identifies,
  assesses, monitors and mitigates key risks that impact the mission and objectives of the
  institution.” Enterprise Risk Management (June 3, 2021), https://www.temple.edu/about/ethics-
  compliance/enterprise-risk-management. It is considered a best practice in organizations, in part
  due to “increasing volatility, complexity and ambiguity of the world.” See Enterprise Risk
  Management Integrating with Strategy and Performance Executive Summary at 1 (June 2017),
  https://www.coso.org/Documents/2017-COSO-ERM-Integrating-with-Strategy-and-
  Performance-Executive-Summary.pdf (citations omitted). In particular, Enterprise Risk
  Management allows management to better understand the impact of risk on strategic decisions
  and allows a Board of Directors to determine what a company’s risk appetite should be. See id.
  at 1-2. It also allows large companies, like Carnival Corp., to take a broader view of risk than
  would be taken by any individual business unit. See, e.g., M. Beasley, What is Enterprise Risk
  Management (ERM), https://erm.ncsu.edu/library/article/what-is-enterprise-risk-management
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                                   i.   RAAS

     Before the Ethics & Compliance group was formed, RAAS was the primary facilitator of risk
      assessment across the Company. RAAS still provides risk assessment services to the Brands
      upon request. In doing so, they work with each Brand’s senior leadership to discuss
      perceived business risks. These risk assessments are largely qualitative in nature, with
      limited quantitative information about the frequency or severity of the risk. The process does
      not generate a formal risk mitigation plan. See Employee Interview/Call Notes.

     In addition to these Brand risk assessments, RAAS was directed by All Brands Group
      leadership to assess the risks created by moving ships into a pause status as a result of the
      pandemic. In coordination with the Ethics & Compliance team, RAAS requested
      information and held discussions with each of the Brands on how they determined the pause-
      related risks. This was again a largely qualitative analysis. As detailed in a past CAM
      report, the assessment identified the inability to perform all critical maintenance on the ships
      as the most significant new environmental risk to emerge during the pause. See CAM
      January 2021 Quarterly Report at 29.

     RAAS has never been asked to do a comprehensive, cross-brand risk assessment. Such a
      review could allow the Company to identify any shared risks across Brands, significant risks
      being missed by one or more Brands, or differences in how well Brands are mitigating risks.
      See id. While Brands may face differing risks, understanding the reasons for those
      differences could provide insight into how risks can be mitigated across the Company.
      Currently, there is some ad hoc sharing of best practices between the Brands through
      working groups organized by subject matter areas, but these groups are not specifically
      focused on identifying and mitigating risks.

                                  ii.   Maritime Operations

     The Maritime Operations group, in conjunction with relevant stakeholders, performs certain
      risk assessments that are required by maritime codes or certification standards, such as the




  (July 17, 2020) (“ERM seeks to create a top-down, enterprise view of all the significant risks that
  might impact the strategic objectives of the business.”). The Committee of Sponsoring
  Organizations of the Treadway Commission has developed a framework that links Enterprise
  Risk Management with strategy and business performance. It also provides a set of principles to
  guide an organization in tailoring its risk management program to complement and enhance
  compliance initiatives. See Enterprise Risk Management – Integrating with Strategy and
  Performance (June 2017), https://www.coso.org/Documents/2017-COSO-ERM-Integrating-
  with-Strategy-and-Performance-Executive-Summary.pdf. Guidance on applying the framework
  was issued in late 2020. See Compliance Risk Management: Applying the COSO ERM
  Framework (Nov. 2020), https://www.coso.org/Documents/Compliance-Risk-Management-
  Applying-the-COSO-ERM-Framework.pdf.

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        ISM Code or the ISO 14001 certification standard for Environmental Management
        Systems.129 These include:

           o   Environmental Aspects and Impacts Register: The ISO 14001 certification
               standard requires companies to evaluate the Environmental Aspects130 and Impacts131
               of their operations. See ISO 14001 Third Ed. at 8 (Sept. 15, 2015). Each year, the
               Company develops an Environmental Aspects and Impacts Register. It is audited
               annually by an accredited third-party body. See Employee Interview/Call Notes.

               The register has both qualitative and quantitative features: (1) it qualitatively
               identifies Environmental Aspects of ship operations that may interact with the
               environment, as well as the potential Environmental Impacts of each Aspect,
               including impacts to air, water, and land; (2) it quantitatively rates the significance of
               each Environmental Aspect, based on ranking the severity and the likelihood of
               environmental, financial, regulatory, and reputational harms. The Company
               considers “Significant” Environmental Aspects to be those in the top 25% of
               significance scores.132 See ENVC 1006 Establishing Environmental Aspects and
               Objectives (“ENVC 1006”); ENVC 1006-A1 Environmental Aspects and Impacts
               Register.

               The Company “must take the Significant Environmental Aspects into account when
               establishing, implementing, and maintaining its environmental procedures within the
               HESS management system.” ENVC 1006 at § 2.3. The Company must also consider
               Significant Environmental Aspects, among other factors, when developing its
               Environmental Objectives, which appear to correspond to corporate sustainability
               goals. Compare ENV 1006-A2 Carnival Corporation’s Environmental Objectives to
               Carnival Corp. & plc Sustainability 2019 Goals Update,
               https://carnivalsustainability.com/2019-goals-update. In discussions with the CAM
               and TPA teams, however, Company personnel have not been able to point to a clear

  129
     An ISO-14001 certification indicates that a company’s environmental policies and procedures
  meet the criteria set out in the standard for setting up an effective Environmental Management
  System. A certification confirms that the policies and procedures are in place and that the
  company is capable of implementing them; it does not confirm that a company is complying with
  these policies and procedures at all times. As noted in Part III.C.3 above, ISO 14001
  certifications used to be obtained at the Brand level, but they are now obtained at the All Brands
  Group level.
  130
     An Environmental Aspect is an “element of an organization’s activities or products or
  services that interacts or can interact with the environment.” ISO 14001 Third Ed. at 2 (Sept. 15,
  2015).
  131
    An Environmental Impact is a “change to the environment, whether adverse or beneficial,
  wholly or partially resulting from an organization’s environmental aspects.” Id.
  132
     The significance score is calculated as: (Likelihood Environmental * Severity
  Environmental) + (Likelihood Financial * Severity Financial) + (Likelihood Regulatory *
  Severity Regulatory) + (Likelihood Reputational * Severity Reputational).

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             process or protocol for systemically considering Significant Environmental Aspects
             when developing or revising Global HESS procedures or sustainability goals. See
             Employee Interview/Call Notes.

         o   Management Reviews: To meet ISM Code requirements, the Company requires
             both shipboard and shoreside management to perform annual Management Reviews
             of “all elements of the HESS system,” including audit findings, incidents, and “any
             other evidence of system failure.” See HMP 1501 Management Reviews at § 2.
             Management Reviews also “must reflect on continuing suitability, adequacy and
             effectiveness of the management system, opportunities for continual improvement,
             and necessary changes to the management system.” Id. Shipboard Management
             Reviews expressly must examine risk assessments as well as “changes in . . . risks
             and opportunities.” See id. at § 2.1. However, the Company’s procedures do not
             appear to provide guidance on how to perform these examinations of risk issues.
             Overall, there does not appear to be a standardized, cross-brand approach to
             performing Management Reviews, with each Operating Group issuing its own
             instructions and report forms. It is also unclear how the Management Review process
             fits in with the Company’s other continuous improvement and lessons learned
             processes, as discussed in Part VII.C below. See infra, Part VII.C.5.

                                 iii.   Ethics & Compliance

     When the Ethics & Compliance group was formed in August 2019, the Company recognized
      that risk assessment is a key underpinning of any compliance program. A functional leader
      for risk assessment was brought into the group soon after its inception. As discussed in Part
      VI.B above, the Ethics & Compliance Risk function reorganized in 2021. It is now known as
      the Compliance Risk Intelligence Group (or “Group”). See supra, Part VI.B.3. Its mandate
      is “to identify and assess all compliance risks.” See May 2021 Probation Supervision Report,
      Attachment 3, PCL_ECP00225102-08 at PCL_ECP00225102. The Compliance Risk
      Intelligence Group’s activities include:

         o   Baseline Compliance Risk Assessment: As discussed in earlier CAM reports, the
             Compliance Risk Intelligence Group began developing a Baseline Compliance Risk
             Assessment in late 2019. It covers all HESS and General compliance areas. In June
             2020, the Company provided the CAM Team with a preliminary draft. The CAM
             provided high-level feedback, including that it was: not comprehensive or internally
             consistent; largely based on qualitative information from limited sources, not
             quantitative information; and did not include risks associated with culture. Further
             work on the draft assessment was put on hold during the pause. See CAM January
             2021 Quarterly Report at 28-29. The Group has since renewed its efforts to revise
             and finalize the risk assessment, and has been receptive to the CAM feedback. See
             Ethics & Compliance Program, 2021 Retreat, Presentation Slides (Mar. 23, 2021),
             PCL_ECP00210214-42; PCL_ECP00210238-40. The updated Baseline Compliance
             Risk Assessment is expected to be completed in mid-July 2021. See Employee
             Interview/Call Notes.



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           o   Environmental Deep Dive Risk Assessment: The Group has also started
               developing an Environmental Deep Dive Risk Assessment that focuses on
               environmental compliance risks. The goal is to identify the top three areas of
               environmental compliance risk, utilizing the Environmental Aspects and Impacts
               Register, among other sources. An initial draft from January 2021 identified the
               following three top risk areas: (1) port facility waste handling/disposal; (2) non-
               compliant discharges to sea; and (3) emissions to atmosphere. See Environmental
               “Deep Dive” Assessment Update #1 (Jan. 13, 2021). The assessment has not been
               finalized. Further work to be done includes: reviewing data related to the identified
               risks; developing measures to reduce the frequency and/or severity of the risks; and
               evaluating controls to address the risks. See Employee Interview/Call Notes.

               After the Baseline Compliance Risk Assessment is complete, the Group plans to
               perform similar deep dive assessments for both Health/Safety/Security and General
               compliance risks. To support these assessments, the Group will utilize existing risk
               assessments prepared by Maritime Operations in those areas (which are similar to the
               ISO 14001 Environmental Aspects and Impacts Register) to the extent they exist. See
               id.

           o   Risk Dashboards: The Group has developed electronic dashboards to help visualize
               environmental compliance risks. The dashboards incorporate data from various
               sources, including audit findings, Self-Reported Non-Conformities, and incident and
               near-miss reports. The Group uses these dashboards to provide regular environmental
               risk intelligence briefings to Ethics & Compliance and Maritime Operations
               personnel. See Employee Interview/Call Notes; see also supra, Part VI.B.3(c).

               The CAM understands that the Group also plans to use the dashboard data to
               incorporate more quantitative measures into the environmental “deep dive” risk
               assessment, as well as to help assess the effectiveness of risk mitigation measures.
               However, the CAM understands that the Group intends to continue to rely primarily
               on qualitative information for the baseline compliance risk assessment because of a
               concern that the lack of data in the General compliance areas (such as anti-bribery
               and anti-money laundering) could lead to a skewed identification and prioritization of
               risks. See Employee Interview/Call Notes.133

           o   Coordination on RAAS and Legal Efforts: The Group has also coordinated with
               RAAS and Legal on risk assessment efforts, including the RAAS pause risk
               assessment, discussed above, and the legal risk register, discussed in the following
               section.

                                   iv.    Legal

       Historically, the Company’s Legal function has focused on managing risks related to
        litigation and guest and crew claims (e.g., passenger slip-and-falls or workplace injuries). An

  133
      It is not clear that the Company has developed a plan to collect and analyze data and metrics
  in the General compliance space that would resolve this issue going forward.

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      important goal of the recently realigned Global Legal Services Group, discussed in Part
      III.B.3 above, is to broaden its engagement on risk activities, including to: “improve focus
      and integration of the global legal services group with compliance and risk management;”
      and develop “common practices to lower risk throughout [the] organization.” See Global
      Legal Services Group Realignment (May 11, 2020) at 1.

     The Ethics & Compliance team and the Global Legal Services Group are coordinating to
      develop a legal risk register. The goal is two-fold:

         o   On the legal side, to identify the major laws the Company must comply with
             throughout its various operations around the globe, along with a listing of relevant
             requirements the Global Legal Services Group will monitor for changes.

         o   On the compliance side, to identify risk scenarios for complying with those
             requirements. See Employee Interview/Call Notes.

     This is a profoundly important undertaking. To effectively identify, mitigate, and manage
      compliance risks, the Company must first understand the scope of its compliance obligations.
      Notably, the initial version of the legal risk register will not include local laws or
      requirements in every place the Company operates. Many crew members have expressed to
      the CAM Team that obtaining and interpreting information about local requirements is a
      significant burden on shipboard staff. See id. To be of most use to the ships, later versions
      of the legal risk register should include local requirements. Moreover, the Global Legal
      Services Group team may be better suited to handle this type of analysis.

                        c)      Deficiencies in Current Approach to Risk

     The Company’s current model does not address key aspects of how the three lines of defense
      (management, Ethics & Compliance, and internal audits) work with each other and other
      parts of the corporation. For instance, it does not describe the role of certain key
      stakeholders, including the Global Legal Services Group and the Board of Directors. In
      addition, the model does not detail how management of various business areas works with
      either Ethics & Compliance or RAAS to identify, assess, monitor, and mitigate risks. Nor
      does the current model address: who has the authority to determine that a risk assessment
      needs to be conducted; who is responsible for identifying new requirements that generate
      new or emerging risks; what information management needs in order to appropriately make
      decisions about how to address a risk; whether Ethics & Compliance can mandate a
      particular mitigation plan that they view as necessary to mitigating a risk to an acceptable
      level; whether RAAS has the ability to suggest new mitigation measures; or how Ethics &
      Compliance, RAAS, and other business functions will implement a continuous feedback loop
      to ensure consistent monitoring and updates to the risk management process.

     Further, it is not clear to the CAM Team that any of the Company’s current disparate
      approaches is leading to better risk management in a concrete way, or that the risk
      assessments conducted to date have had significant practical impacts on how the Company
      makes decisions or allocates resources. For example, while the Company has identified,
      through both the Environmental Aspects and Impacts Register and the Environmental Deep

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      Dive Risk Assessment, that the discharge of untreated bilge water is one of its highest
      environmental compliance risks, the Company does not appear to have mechanisms in place
      for measuring the effectiveness of its risk mitigation efforts, such as its environmental critical
      spare parts policy (requiring, among other things, that these parts be air-freighted to ships),
      the dry bilge initiative, or the ECP-required annual budget certification process (designed to
      confirm that Covered Vessels are allocated adequate funds for waste offloads and repair and
      maintenance). Measuring the effectiveness of mitigation efforts is important to
      understanding: (1) how much residual risk remains; (2) whether additional mitigation
      measures are needed, and (3) the impact of any changes to those measures.

                         d)      Ongoing Efforts to Address Deficiencies

     The Company has recognized the need to improve its approach to risk. Recent ongoing
      efforts include:

         o   Common Definition of Compliance Risk: The Ethics & Compliance function
             recently developed an internal definition of “compliance risk” as “the threat posed to
             a company’s financial, organizational, or reputational standing resulting from
             violations of laws, regulations, codes of conduct, or organizational standards of
             practice.” See Compliance Risks: What You Don’t Contain Can Hurt You (2017),
             https://www2.deloitte.com/us/en/pages/finance/articles/cfo-insights-compliance-
             risks.html). The Ethics & Compliance team is now seeking agreement from leaders
             in other parts of the Company on this definition, in part, to help clarify the role and
             authority of Ethics & Compliance function for risks that may fall into overlapping
             areas of authority (such as operational risks that are also compliance risks). See
             Employee Interview/Call Notes.

             Risk Management Proposal: RAAS has developed a concept proposal “to further
             support the achievement of business goals and objectives through enhanced risk
             management.” See A Concept for Enhancing Risk Management (Mar. 9, 2021),
             PCL_ECP00223112-15 at PCL_ECP00223113. The high-level proposal focuses on
             setting up a process for managing “freedom to operate” risks (which are not defined),
             utilizing existing resources, structures, and expertise. See id. It would entail
             coordination between RAAS, executive leadership at both All Brands Group and the
             Brands, and existing working groups. See id. at PCL_ECP00223114-15. The CAM
             understands that this proposal is still under review. See Employee Interview/Call
             Notes.

             Formally integrating executive leadership into risk assessment processes is an
             important step toward the Company’s goal of risk-based decision-making. However,
             the proposal does not appear to address how these “freedom to operate” risk
             assessments would be coordinated with other risk activities, including the Ethics &
             Compliance risk assessments and the legal risk register. Nor does it indicate how top
             executive leadership would determine the appropriate focus of the “freedom to
             operate” risks assessments in the absence of a baseline risk assessment.



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     Despite the efforts underway, the Company still appears to be far from achieving an
      integrated approach to risk across the organization, due in large part to historic silos between
      the audit, operations, compliance, legal, and other functions, along with the perceived need
      for Brands to maintain control over certain activities. It is unlikely that such an approach
      will be achieved within the limited time remaining in the period of probation, but it will be a
      necessary linchpin of the Company’s continuous improvement program beyond the ECP.
      Clarifying lines of responsibility and accountability, as well as how relevant groups will
      work together, is essential for developing a sustainable approach to risk that provides the
      necessary insight to executive leadership and the Board of Directors when making decisions.

     Even in the absence of this clarity, it is critical that current risk assessment efforts continue to
      move forward. As the Company emerges from the pause, it will be crucial for management
      to understand the most significant compliance risks facing the Company. This is particularly
      true in a post-pause world where employees may be acutely aware of funding limitations
      (perceived or real), which, if underlying risks are not properly identified and managed, could
      lead to a repeat of the types of behaviors that led to the prosecution in this case.

                  4.      DEVELOPING A HOLISTIC TRAINING GOVERNANCE FRAMEWORK

                          a)      Background

     An increasing CAM area of focus during ECP Years Four and Five has been the efforts by
      some within the Company to develop a corporate-wide training governance framework. See
      CAM January 2021 Quarterly Report at 79-80. Historically, the Company has lacked a
      coordinated, holistic approach across its various training regimes. There is no designated
      individual or group who looks across the various training efforts and assesses the degree to
      which they interrelate or work with, or against, each other. Moreover, the training approach
      is largely opaque to the employees. For instance, unlike in many other large organizations,
      there is no uniform way for an employee to comprehensively see what training they’ve
      received, will need to receive in the near future, and—critically to DEI efforts—what training
      they would need to move to higher level positions within the Company.

     Currently, the training function is siloed, split across a number of departments at both the All
      Brands Group and individual Brand levels. Divisions of responsibilities between these
      groups often intersect and are not always clear. Relevant entities include:

          o   Ethics & Compliance: focuses on HESS and General compliance trainings, as well
              as competency frameworks and Professional Development Records for
              Environmental Officers and Incident Analysis Group investigators.

          o   Maritime Operations (CSMART and Maritime Professional Development):
              focuses on operational trainings for deck, technical, and environmental personnel.
              The Maritime Professional Development group, a part of CSMART, also leads the
              development of competency frameworks and Professional Development Records for
              non-Environmental Officer maritime crew.



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           o   Learning & Development and HR:134 focus on non-HESS, non-operational
               trainings, including culture, DEI, sexual harassment, and employee orientation.

           o   Global Talent Partners: focus on recruiting and training many of the Company’s
               (generally non-officer) crew members. These are external agencies based in countries
               around the world. See Employee Interview/Call Notes.

       The Company employs many talented individuals at all levels within these different groups
        who exhibit a genuine commitment to the fields of pedagogy and learning, and to enhancing
        the Company’s ability to develop and deliver impactful trainings. The CAM is deeply
        appreciative for the time and candid insights of many of these individuals, who have met
        with the CAM Team increasingly over the past year, as well as those of the numerous
        shipboard and shoreside consumers of training who have shared their feedback on the
        Company’s training efforts. These discussions have helped the CAM Team to understand
        some of the challenges discussed in the following section.

       Around late 2020, the Company began exploring the development of a corporate-wide
        training governance framework that would, among other goals, aim to bridge silos between
        different training areas and establish standardized processes for developing, implementing,
        and reviewing trainings. See CAM January 2021 Quarterly Report at 72; HESS Board
        Report Q1 2021 at PCL_ECP00190530. As discussed further below, an initial training
        governance framework proposal is currently under review by the Carnival Corp. CEO and
        the Compliance Committee of the Board of Directors. See infra, Part VII.C.4(d).

                           b)     Current Challenges

       Critically, the Company has no clear methodology for developing, implementing, and
        reviewing trainings, including no consistent or defined processes for: identifying training
        needs/gaps; developing trainings in accord with agreed instructional design principles;
        establishing learning objectives; and measuring training effectiveness.135 These are among
        the aspects DOJ looks at in evaluating compliance training programs. See DOJ Corporate
        Compliance Guidance at 5.

       Some Company employees have described the current approach to training as “the wild
        west” because they see it as almost a shoot-out, in which various individuals initiate training,
        or make judgements about what training approaches are appropriate, largely on their own.
        See Employee Interview/Call Notes. Given the good intent of such efforts, the overriding
        concern is the challenges described below. Further, every training program comes with an
        opportunity cost, as time, attention, and resources must be diverted from other tasks or other
        training approaches. The need to consider these and other factors underscores the importance


  134
     Learning & Development and HR groups are generally set up as separate departments at the
  Brand level. However, their functions often overlap in the training space.
  135
     The Company states that CSMART trainings, which have a “documented process and 3rd
  party accreditation,” are an exception. Company Draft Comment Reports.

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      of a coordinated, formalized, risk-based approach to developing and implementing new
      trainings.

     The current approach creates numerous challenges, including:

         o   A heavy training burdens on employees, who may be overloaded with training that
             may be irrelevant, ineffective, excessive, or poorly timed/coordinated.

         o   A tendency for individuals to unilaterally develop and implement new trainings
             without fully consulting those with training or instructional design expertise, resulting
             in trainings that are rolled out:

                   Without measurable learning objectives that would enable monitoring of
                    training effectiveness.

                   Without mechanisms for soliciting (anonymized) feedback.

                   Without following management of change principles to consider the potential
                    burdens or impacts of new trainings.

                   Without being linked to specific technical and behavioral competencies that
                    can be tracked on an employee-specific basis.

                   Without an analysis as to how the new training fits into the existing training
                    landscape.

                   Without a considered, consistent approach to evaluating whether the selected
                    training solution is the best approach to addressing the identified need or
                    challenge, based on a thorough and accurate root cause analysis.

                    See Employee Interview/Call Notes; CAM January 2021 Quarterly Report at
                    89-96; see also, e.g., Carnival UK 2020 Annual Management Review,
                    PCL_ECP00221757-809 (“Carnival UK 2020 Annual Management Review”)
                    at PCL_ECP00221764 (noting “[v]olume of training,” as well as
                    “[i]naccuracies” and “inconsistencies” in the implementation of training
                    procedures, as areas of concern).

         o   A general inability for employees, including non-officer crew members, to easily
             access information about further trainings and competencies they need to complete or
             acquire in order to move up in their career path, or to pursue an alternative career path
             within the Company.

         o   Unrealized opportunities for greater engagement with the Global Talent Partners who
             provide pre-boarding trainings to the Company’s (generally non-officer) crew.

         o   Unrealized opportunities for integrating aspects of the Company’s core values,
             Culture Essentials, and other goals into trainings, including those provided by Global
             Talent Partners. This could include, for example, integrating Stop Work concepts

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               into equipment training, or integrating Speak Up and Stop Work concepts into
               language training to help overcome potential barriers to reporting compliance
               concerns.136 As DOJ recognizes, training can be designed “to enable employees to
               timely identify and raise issues to appropriate compliance, internal audit, or other risk
               management functions.” DOJ Corporate Compliance Guidance at 5.

       A further challenge to the development of an effective training program has been the
        Company’s general failure to timely deliver IT systems and tools in support of training, such
        as a training attendance app and voyage planning software. See supra, Part VI.C.4; see also,
        e.g., Carnival UK 2020 Annual Management Review at PCL_ECP00221764 (noting the lack
        of “robust [instructor-led training] recording and monitoring capabilities onboard” as an area
        of concern).

                          c)      Competency Frameworks and Professional Development Records

       The Company has also historically lacked corporate-wide competency frameworks and
        Professional Development Records for many positions. As discussed above, such programs
        are designed to provide career roadmaps to employees, allowing them to access information
        about the knowledge, skill, and behavioral competencies they have achieved, as well as those
        they still need to achieve to progress in their careers. See supra, Part VII.B.3.

       As discussed in this and earlier CAM reports, the Company has dedicated resources to
        developing such frameworks. The Maritime Professional Development group has
        established a permanent full-time position to focus exclusively on competency frameworks.
        Efforts are underway for the following positions:

           o   Environmental Officers, led by the Director of the Fleet Environmental Officer
               Program in coordination with Maritime Professional Development. See supra, Part
               VII.B.3.

           o   Non-Environmental Officer maritime crew, with an initial focus on deck and
               technical officers, led by Maritime Professional Development. See Employee
               Interview/Call Notes.

           o   Incident Analysis Group investigators, led by the Incident Analysis Group Director of
               Training in coordination with Maritime Professional Development. See supra, Part
               VI.B.5(c).



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      At the end of ECP Year Two, the CAM observed: “Currently, the Company does not appear
  to require the Global Talent Partners to provide training designed to overcome these barriers to
  reporting. Global Talent Partner personnel stated that other maritime companies who use their
  agencies do require such training. This training takes a variety of forms, ranging from classroom
  training to role playing . . . The Global Talent Partners indicated they would be willing to
  incorporate similar such training into the courses provided to the Company’s employees.” CAM
  Second Annual Report at 62.

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     The CAM Team will continue to monitor and report on these critical ongoing efforts.

                        d)     Training Governance Framework Proposal

     Led by the All Brands Group Chief Operations Officer, CSMART, and the Ethics &
      Compliance Corporate Training Director, the Company has developed an initial concept
      proposal for a training governance framework at the All Brands Group level. The proposed
      framework would entail a centralized, All Brands Group training governance group, as well
      as an All Brands Group steering committee. Details about the membership and functions of
      these groups are still being determined. Under this framework, the training governance
      group would oversee a six-step process for developing, implementing, and reviewing
      trainings:

         o   Step 1: Identify a training need, which could arise from incidents (including near
             misses), investigations, audit findings, new or revised policies, new or updated
             regulations, or new initiatives, among other sources.

         o   Step 2: Analyze the training need, recognizing that sometimes training is not the
             answer and other solutions may better address the need.

         o   Step 3: Develop the training, working with appropriate training leads, subject matter
             experts, and external vendors.

         o   Step 4: Implement the training, communicating and implementing it in a clear and
             consistent way.

         o   Step 5: Measure the training’s effectiveness, using a consistent and established
             system.

         o   Step 6: Review feedback on the training, stepping back periodically to consider if
             adjustments should be made.

     Each Operating Group would also be expected to develop its own training governance
      framework that would align with the All Brands Group framework. See, e.g., Crew Member
      Life Cycle, PCL_ECP00223911 at 8-13 (proposed framework for Carnival Cruise Line).
      The All Brands Group governance group would oversee trainings applicable corporate-wide
      (e.g., Code of Conduct, environmental compliance, or voyage planning), while the Operating
      Group governance groups would oversee trainings applicable to specific Brands (e.g., guest-
      facing topics or employee orientation).

     The CAM understands that the Company intends to develop responsibilities and
      accountabilities (tied to compensation) for top executive leaders, based on achieving
      milestones set out in the All Brands Group framework. See Employee Interview/Call Notes.

     The proposal is currently under review by the Carnival Corp. CEO and the Compliance
      Committee of the Board of Directors. See id.



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                 5.      ACHIEVING A CONTINUOUS LEARNING FEEDBACK LOOP

                         a)     Background

     DOJ emphasizes that a “hallmark of an effective compliance program is its capacity to
      improve and evolve.” DOJ Corporate Compliance Guidance at 15. This includes the
      program’s capacity to: adapt in light of lessons learned; collect and analyze compliance data;
      perform and update risk assessments; review compliance policies, procedures, practices,
      controls, and training; and collect, track, analyze, and use information from its reporting
      mechanisms, including audit and investigation findings. See id. at 15-18.

     The Company has acknowledged that it does not yet have a clear continuous learning
      feedback loop between its audit, investigation, operations, risk, training, and broader Ethics
      & Compliance functions. See Employee Interview/Call Notes. Such a mechanism is critical
      for the Company’s compliance efforts, including its capability to effectively:

         o   Operationalize lessons learned and best practices, including into shoreside planning
             functions like policy and procedure development, procurement, new build
             specifications, and dry dock planning.

         o   Identify and address systemic causes, going beyond the Company’s historic tendency
             to develop narrowly tailored corrective and preventative actions, such as new or
             revised trainings when a training solution may not address the actual root cause(s).

         o   Systematically and holistically identify, prioritize, and communicate to the Board of
             Directors and top executive leadership risks across the Company to enable risk-based
             decision-making.

     The Company has also recognized the need to better integrate its environmental sustainable
      development goals into its environmental policies and procedures. See id.; see also, e.g.,
      Carnival UK 2020 Annual Management Review at PCL_ECP00221802 (“Opportunities
      identified include . . . integrating environmental sustainable development goals into our
      environmental management system and business values.”). The Chief Maritime Officer has
      publicly stated: “Our new 2030 sustainability goals demonstrate our ongoing commitment to
      ingraining sustainability in all aspects of our operations across our nine brands, while
      providing us clear, measurable targets and metrics to improve our performance and overall
      efficiency across our shoreside and shipboard operations.” See Initial 2030 Sustainability
      Goals Announcement (emphasis added).

                         b)     Continuous Improvement and Lessons Learned Efforts

     Efforts are underway to improve continuous learning and lessons learned processes
      throughout the Company. These include:

         o   Quarterly HESS Lessons Learned Meetings: In early 2020, the Company began
             holding “quarterly meetings among HESS leaders to discuss issues, incidents, and
             trends.” Company Updates Letter at PCL_ECP00225065. Attendees include the
             Chief Ethics & Compliance Officer, the Operating Company Ethics & Compliance
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            Officers, the Chief Maritime Officer, and representatives from RAAS, the Incident
            Analysis Group, and the Maritime Policy & Analysis group. The meetings focus on
            discussing “inputs received from investigations conducted by the Incident Analysis
            Group, HESS audits conducted by RAAS, and incidents reported through the
            Maritime Policy & Analysis department (e.g., flash reports and self-reported non-
            conformities).” Id. Beginning in the third quarter of Fiscal Year 2021, the “results
            and action plans” from these meetings will be shared with the Compliance and HESS
            Committees of the Board of Directors. Id.; see also Environmental Compliance
            Scorecard Q1 FY2021 at PCL_ECP00190480-82 (summarizing meetings and action
            items as of the first quarter of Fiscal Year 2021).

        o   Revised HMP-1303 Continuous Improvement and Lessons Learned Process: As
            discussed above, the Company is revising its internal procedure governing the
            processes “through which [Global HESS] procedures are continuously improved by
            incorporating lessons learned from internal and external audit findings, HESS events,
            near misses and incident analyses, and to describe how lessons learned are to be
            communicated to management and the fleet.” HMP 1303 at § 1; see also supra, Part
            VII.B.4(3) and Part VII.B.5(c). The CAM understands that the revised procedure will
            establish formal mechanisms for coordination between RAAS, the Incident Analysis
            Group, and Maritime Operations on identifying and disseminating lessons learned.
            See Employee Interview/Call Notes

        o   Management Reviews: As discussed above, the Company requires shipboard and
            shoreside management to perform annual Management Reviews of “all elements of
            the HESS system,” including audit findings and incidents, and “reflect on continuing
            suitability, adequacy and effectiveness of the management system, opportunities for
            continual improvement, and necessary changes to the management system.” See
            HMP 1501 Management Reviews at § 2 (emphasis added); see also supra, Part
            VII.C.3. However, the Company’s procedures do not provide guidance on how to
            perform this continual improvement analysis.

        o   RAAS Focus Reviews: As discussed in Part VII.B above, RAAS periodically
            performs corporate-wide Focus Reviews into various business issues, including
            compliance issues (such as food waste measurement and spare parts). See supra, Part
            VII.B.4. The CAM understands that there is no established, formal process for
            identifying issues for Focus Reviews. However, as discussed in Part VI.C and Part
            VII.C above, RAAS and the Incident Analysis Group have recently begun to
            coordinate together more on flagging issues for Focus Reviews, especially in the area
            of food waste management. See Employee Interview/Call Notes; see also supra, Part
            VI.C.3 and Part VII.C.2.

        o   Operating Line Compliance Manager Best Practices Meetings: The Operating
            Line Compliance Managers from each of the Company’s four Operating Groups
            continue to hold annual Best Practices meetings, which are attended by various
            additional environmental, compliance, training, and operations personnel. Topics
            from the 2021 meeting (held over a series of virtual weekly meetings in
            February/March 2021) included: electronic environmental data risk visualization;

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              Exhaust Gas Cleaning System issues, including the TPA audit findings of systemic
              issues; Environmental Officer coffee chats; and IT support for training. See
              Environmental Corporate Compliance Manager Annual Report at
              PCL_ECP00211349; 2021 Best Practices Workshop Notes, PCL_ECP00217334-38.

     There does not yet appear to be an established mechanism for integrating these various
      efforts, which may involve different (but overlapping) sets of stakeholders, timing cadences,
      and subject matter focus areas.

     After probation ends, the Company will need to have systems and practices in place to
      support the continuous improvement of its compliance program in the absence of Court,
      CAM, or TPA oversight. While the Company has made substantial progress in many areas,
      it is still in the early stages of establishing governance frameworks and feedback loops for
      critical compliance areas. The evolution of these efforts will be a core CAM focus area in
      ECP Year Five.

  VIII. EVALUATION OF THE EXTERNAL AUDIT FUNCTION (TPA)

         A.      Engagement with TPA

     The ECP requires the CAM to oversee the TPA to confirm that the TPA acts with
      independence and performs adequate ECP-required audits. See ECP §§ VI.F.1-3.

     Throughout ECP Year Four, the CAM Team has remained in regular contact with the TPA
      through both calls (weekly and as-needed) and periodic in-person meetings (held virtually
      since March 2020). The CAM Team has also continued to oversee the TPA’s work by
      attending TPA ship and shoreside facility audits (performed virtually from March 2020
      through early June 2021), speaking with Company personnel who have experienced a TPA
      audit, and reviewing TPA audit reports, annual reports, and correspondence with the
      Company. The CAM Team has also collaborated with the TPA on reviewing and providing
      feedback on Company materials, such as the draft the draft investigations manual discussed
      above. See supra, Part VII.B.5(c).

         B.      ECP Year Four Audit Activities

     During ECP Year Four (April 19, 2020 – April 18, 2021), the TPA conducted the following
      ship and shoreside audits. All audits were performed virtually:

         o    24 ship audits.

         o    6 shoreside office audits, including 1 follow-up shoreside audit.

         o    1 audit of the virtual CSMART Environmental Excellence training course.

         o    31 Compliance Disclosure Certification verification audits, as discussed below.

     As directed by the Court, in addition to the regular course of ship and shoreside audits, the
      TPA reviewed the Company’s submissions pursuant to the Court’s orders on:

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           o    (1) Compliance Disclosure Certifications for Ships Returning to U.S. Waters: As
                discussed above, the TPA reviewed the 32 Compliance Disclosure Certifications
                received to date for ships returning to U.S. waters. See supra, Part VI.B.1(b).137 To
                help verify the accuracy of the information in the submissions, the TPA also
                conducted virtual audits of 31 of these ships (with an audit of the additional ships still
                pending), which included the review of additional background documentation.
                Through its review, the TPA was able to provide the Court with assurances, to the
                extent feasible based on the inherent limitations of its remote review, that the ships
                returning to U.S. waters to date were generally capable of operating in compliance
                with the ECP and environmental laws, provided the ships are adequately staffed and
                nonconformities identified by the TPA are addressed, including repairs to Exhaust
                Gas Cleaning Systems. See Status Conf. at 24-31 (Apr. 30, 2021).

           o    (2) Planned Maintenance Task Updates: The TPA also reviewed and analyzed the
                information provided in the Company’s monthly planned maintenance task update
                submissions to date. In addition, the TPA had discussions with relevant technical
                personnel, both ship and shore. Through its review, the TPA was able to provide the
                Court with assurances, to the extent feasible based on the documentation received,
                that the Company has facially adequate plans for addressing outstanding Planned
                Maintenance System items, provided the ships are supplied with adequate staffing
                and resources. See id. at 31.

       During ECP Year Four, the TPA also began issuing “systemic” audit findings based on
        repeated issues observed during audits that appear to have systemic causes and/or fleetwide
        applicability. The TPA issued two such findings related to Exhaust Gas Cleaning Systems,
        as discussed above: (1) a systemic observation related to soot discharges and other surface
        effects from wash water discharges; and (2) a systemic Major Non-Conformity related to
        equipment condition and reliability. See supra, Part VI.C.2.

       As discussed above, the TPA has also engaged with Incident Analysis Group personnel,
        through a series of written correspondences and virtual workshops outside of regular audits,
        to discuss continuing concerns about investigation reports, including scoping, methodology,
        and root cause analysis. Incident Analysis Group personnel have been receptive to, and
        expressed appreciation for, this feedback. See supra, Part VII.C.2(d).

           C.      General Auditor and Audit Report Assessment

       As in prior years, the TPA auditors appear to be qualified and knowledgeable, with the
        technical ability and maritime experience necessary to identify and explore a wide range of
        issues. See CAM First Annual Report at 59-60; CAM Second Annual Report at 101; CAM
        Third Annual Report at 222-23. Auditors have also exhibited high levels of adaptability,
        focus, and engagement in the challenging circumstances presented by the pandemic, which,
        as noted above, required the TPA to transition to a fully remote audit program from


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     A 33rd certification was submitted on the date of this Report and has not yet been reviewed by
  the TPA.

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        approximately March 2020 through early June 2021.138 Though inherently limited, the TPA’s
        remote audits continue to yield productive insights into compliance challenges, including the
        systemic Exhaust Gas Cleaning System issues discussed in Part VI.C above. See supra, Part
        VI.C.2.

       The CAM Team also did not identify significant shortcomings with the TPA’s audit process,
        nor has the CAM Team seen any indication that the TPA’s independence is compromised,
        even when audit findings are met with disagreement.

       The CAM Team continues to find that TPA audit reports are clear, cover the necessary areas,
        and sufficiently document the TPA’s findings. TPA representatives also continue to be
        receptive to the CAM Team’s feedback.

           D.      Support for Continuous Improvement

       Throughout the ECP, the TPA has identified numerous systemic issues and compliance
        challenges that have shaped the course of the monitorship, including those related to: food
        waste management; waste vendor assessments; Exhaust Gas Cleaning Systems;
        investigations; training; recordkeeping; and support for ship operations, including spare parts
        and reliability of pollution prevention equipment. See, e.g., TPA Second Annual Report at
        18, 21-23; TPA Third Annual Report at 27-29, 31-32, 33-35; TPA Fourth Annual Report at
        13-16, 26-37. Addressing these issues will be critical to the Company’s continuous
        improvement efforts.

       Equally critical will be the Company’s ability to identify and respond to such issues on its
        own. As discussed in Part VII.C above, without TPA (or CAM and Court) oversight, the
        Company’s internal audit function, along with its investigation, legal, operations, risk,
        training, and broader Ethics & Compliance functions, will need to play the role of auditor
        and monitor to support continuous improvement beyond the ECP. See supra, Part VII.C.5.
        While the Company is making progress toward having continuous improvement processes in
        place, it is not there yet.

       The Company, TPA, and CAM all share a goal that, when probation ends on April 18, 2022,
        the Company’s compliance program will have become fully internalized and integrated into
        the Company’s operations.

                                                         Respectfully Submitted,


                                                         STEVEN P. SOLOW
                                                         Court Appointed Monitor
                                                         July 19, 2021


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     The CAM understands that the TPA has resumed in-person visits for ships in locations that
  are safe and practical to access, including some U.S. ports.

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                                APPENDIX A: ETHICS & COMPLIANCE INITIATIVE HIGHLIGHTS

     Initiative                  Description                                                 Status and Updates

ECP                      Communications to share            The Company continues to issue regular communications to its employees, including
Communications            updates, lessons learned, and       case studies, newsletters, notices, bulletins, info-graphic posters, signage, and videos.
                          other information about             See CAM Third Annual Report at App. B.
                          environmental compliance.

Employee Incentive       Reward and recognition             Ongoing programs include: (1) Environmental Challenge Coins and Certificates, a
Programs                  programs for employees who          program to give away collectible environmental “challenge coins” to employees who
                          exceed environmental                go above and beyond on environmental compliance efforts; (2) Environmental
                          compliance expectations.            Excellence Awards, a program to award ships achieving the highest levels of
                                                              compliance, based on standardized scoring criteria; (3) HESS Employee of the Month
                                                              Program, a program to reward employees for their HESS-related compliance
                                                              performance or leadership, with criteria and awards differing by Brand; and
                                                              (4) contests and competitions held to commemorate special dates like Earth Day,
                                                              World Oceans Day, and Global Recycling Day. See CAM Third Annual Report at
                                                              App. B; Environmental Corporate Compliance Manager Annual Report at
                                                              PCL_ECP00211346-47; Environmental Excellence Newsletter Issue 02-2021 at 7-9;
                                                              Environmental Excellence Newsletter Issue 03-2021 at 8.

Operation Oceans         A trademarked brand name for       The Company continues to implement a range of initiatives under the Operation
Alive                     the Company’s environmental         Oceans Alive program, including ECP communications, the Top 5 Program,
                          compliance and stewardship          employee incentive programs, and the Environmental Hub and Hotel Operations
                          program.                            online chat forums. See CAM Third Annual Report at App. B.

Ship Visit Program       Program of ship visits by          In early 2020, before the pandemic, All Brands Group and Operating Group Ethics &
                          Ethics & Compliance                 Compliance personnel held a series of brief, in-person day visits, which included
                          personnel to introduce              town-hall style listening sessions. See CAM March 2020 Quarterly Report at 71.
                          themselves to crew members
                          and receive feedback on            During the pause, Operating Company Ethics & Compliance personnel joined virtual
                          compliance-related issues.          visits with Brand Presidents and other shoreside leaders and managers. The Ethics &
                                                              Compliance group is working on synthesizing feedback and lessons learned from
                                                              these visits. See Employee Interview/Call Notes.




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          Initiative                  Description                                                   Status and Updates

                                                                    Plans for future visits (in-person and/or virtual), including potential office hours-style
                                                                     sessions by All Brands Group Ethics & Compliance personnel are under
                                                                     consideration. See id.

      Stop Work               Evaluation of possible               Historically, the Company’s Global HESS procedures have empowered crew
                               mechanisms to empower                 members with Stop Work authority in the traditional safety context (e.g., to “stop
                               individuals with Stop Work            work” if they observe a crew member performing an operation without the proper
                               authority beyond the                  tools, personal protective equipment, or other safety precautions).139
                               traditional safety context.
                                                                    The Company’s Health/Safety/Security Corporate Compliance Manager is leading
                                                                     efforts to adopt a broader program that would empower employees to Stop Work if
                                                                     they have concerns about programmatic issues, such as a new project, procedure, or
                                                                     initiative. As an initial step, a working group has surveyed current Brand approaches
                                                                     and is considering options for better aligning these approaches to support a more
                                                                     expansive program. See Employee Interview/Call Notes.

      The Environmental       Online platforms with                The Company continues to provide this online platform for Environmental Officers,
      Hub and Hotel            discussion forum and polling          hotel staff, and shoreside compliance personnel to share environmental compliance
      Operations Forums        capabilities.                         information, as well as solicit feedback on training, procedures, and best practices.
                                                                     See CAM Third Annual Report at App. B.

      Top 5 Program           Program, begun in ECP Year           The current Top 5 list is: (1) Ensure food waste is properly separated; (2) Keep alert
                               One, to identify five key areas       and focused while on watch; (3) Ensure compliant waste stream and ballast water
                               of environmental concerns and         discharges; (4) Ensure use of compliant fuels and Exhaust Gas Cleaning System
                               prioritize efforts to reduce          operation; and (5) Report leaks to the bilge and make timely repairs. See
                               risks in those areas.                 Environmental Excellence Newsletter Issue 03-2021 at 3.




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    See OHS 1001 Job Safety Review (stating that “[e]very crew member has the authority and duty to stop work that they deem to be
unsafe”) (emphasis added). The Company’s Global HESS procedures do not make explicit whether existing Stop Work authority also
applies to: (1) individuals other than crew members, such as shoreside personnel, vendors, contractors, visitors, passengers, and other
third-parties; or (2) HESS areas other than safety, including environmental—such that individuals would be empowered to stop an
operation they know or suspect is not environmentally compliant. See CAM January 2021 Quarterly Report at 28; CAM December
2019 Quarterly Report at 67, n.48.

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                                          APPENDIX B: CULTURE ACTION PLAN INITIATIVE HIGHLIGHTS

     Initiative                      Description                                                     Status and Updates

Ambassador                    Peer-to-peer ambassador               Holland America Group started developing a peer-to-peer ambassador program in
Programs                       programs for employees.                2019 for shoreside employees. Under this program, Holland America Group Ethics
                                                                      & Compliance personnel identify employees who are interested in receiving
                                                                      additional training on the Code of Conduct, and who are willing to serve as resources
                                                                      for other employees. These ambassadors receive initial training and are sent
                                                                      “awareness builder” slide decks on a monthly basis. A pilot program has also been
                                                                      launched on five ships. See Employee Interview/Call Notes; Presentation Notes;
                                                                      Leadership Feedback Updates at 8.

                                                                     Carnival UK is working on a project plan for an ambassador program, prioritizing a
                                                                      shipboard program rather than a shoreside program. The shipboard ambassadors will
                                                                      be tasked with modeling Culture Essentials and hosting discussion forums. See
                                                                      Employee Interview/Call Notes.

                                                                     Costa Group is implementing an ambassador program, initially prioritizing a
                                                                      shoreside program that will be implemented by the end of 2021. A similar program
                                                                      will be launched on ships, to be coordinated through the shipboard Learning
                                                                      Managers. See Leadership Updates Feedback at 4; HR Monthly Culture Reports at
                                                                      15.

Bring Back                   A “common set of criteria to           Much of this work was completed by the Brands before the Culture Action Plan was
Selection Strategy            be used in re-hiring (ship and          launched. Each brand developed and implemented its own “methodology and criteria
                              shore-side) employees that              for bringing back the most competent talent before guest operations resume,” with
                              reflect the priorities within the       consideration “given to those who have exhibited behavior in line with the principles
                              Corporate Vision Statement              of the Culture Essentials.” Methodology Brands Are Using to Achieve the PPP Bring
                              and the Culture Essentials,”            Back Selection, PCL_ECP00213877-81.
                              including commitments to:
                              safety and environmental               For example, Holland America Group and Carnival Cruise Line developed
                              protection; ethics and                  assessment/evaluation tools to determine which shipboard officers to bring back.
                              compliance; and DEI. See                These tools include criteria that are aligned with Culture Essentials attributes. See id.
                              Culture Action Plan at 3.
                                                                     By contrast, Carnival UK “will not be undertaking a ‘bring back’ exercise” because
                                                                      they “intend to return all ships to service and [] are close to [their] target




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     Initiative                      Description                                                   Status and Updates

                                                                    establishment” so they “do not have ‘capacity’ to only bring back [their] ‘best’
                                                                    officers first as that would place a significant imbalance in [their] fleet.” Id.

Courageous                    Conversations about culture         Holland America Group has completed a pilot of its Courageous Conversations
Conversations                  and DEI initiated by                 program. See HR Monthly Culture Reports at 61. Leaders also hosted “listen and
                               shoreside leadership.                learn” conversations “with teams aboard ships and with shoreside employees at the
                                                                    Director level and above to engage in conversations about culture essentials, defining
                                                                    DEI, and reinforcing the role all leaders play in driving . . . expected behaviors.” See
                                                                    Leadership Updates Feedback at 7.

                                                                   At Carnival Cruise Line, several shoreside leaders are engaging in Courageous
                                                                    Conversations with shipboard leadership. As of April 30, 2021, shoreside leaders had
                                                                    completed or scheduled over 60 calls, and planned to schedule at least 30 more. See
                                                                    HR Monthly Culture Reports at 7. Shoreside managers have also described informal
                                                                    conversations with crew. For example, at least one Carnival Cruise Line manager has
                                                                    multiple WhatsApp chats with employees (both groups and individuals) to discuss
                                                                    concerns surrounding culture. See Employee Interview/Call Notes.

                                                                   At Carnival UK, these Courageous Conversations are called “Culture Essentials in
                                                                    Practice.” Themes discussed have included employees’ “level of empowerment to
                                                                    make decisions or calling out behaviors in meetings that don’t feel inclusive.” See
                                                                    HR Monthly Culture Reports at 50.

Culture Essentials           A set of six “key actions and        The Culture Essentials program was rolled out to ship and shoreside employees in
                              behaviors” that “everyone             October 2020, with messages from the Carnival Corp. CEO, Chief Ethics &
                              across all brands needs to            Compliance Officer, and Brand leaders. The Brands will conduct supplemental
                              remember to help [the                 “welcome back” sessions shortly after each ship returns to service. Among other
                              Company] live out the top             topics, the sessions will reinforce the Culture Essentials. See Pause Priorities Plan at
                              priorities from [its] Vision          23.
                              Statement, as well as [its]
                              shared core values.” See             Culture Essentials behaviors are being incorporated into All Brands Group and Brand
                              Culture Action Plan at 4.             materials and initiatives, including the Code of Business Conduct and various
                                                                    trainings and HR materials (e.g., job descriptions, interview questions, performance
                             The six Culture Essentials are:       evaluations, exit interview questions). For example:
                              (1) Speak Up; (2) Respect
                              and Protect; (3) Improve;                o    Carnival Cruise Line has incorporated Culture Essentials into its performance
                              (4) Communicate; (5) Listen                   reviews for 2021. See 2021 Performance Reviews, PCL_ECP00213873.


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    Initiative                  Description                                                Status and Updates

                          & Learn; and (6) Empower.                  Reviewers will be asked to score each individual on each of the Culture
                          Id. at 5.                                  Essentials behaviors as “exceptional,” “successful,” or “needs
                                                                     improvements.” Id.

                                                                o    Holland America Group has begun “transforming performance appraisals to
                                                                     become a performance partnership, focusing more on the Culture Essentials
                                                                     behaviors and the joint accountability of performance between the supervisor
                                                                     and the direct report.” See Leadership Updates Feedback at 8.

                                                            Carnival UK is rolling out “Recognition Schemes” ship and shore “to recognize
                                                             people for behaviors that support the Culture Essentials.” See id. at 6. Carnival UK
                                                             is also rolling out “Culture Essentials in Practice” conversations based on “feedback
                                                             from teams on various cultural themes including their level of empowerment to make
                                                             decisions or call[] out behaviors.” Id. A trial program for shipboard officers is
                                                             planned this summer. Id. The Carnival UK Chief People Officer also “publishes a
                                                             monthly blog to all colleagues, ship and shore, covering topics related to Culture
                                                             Essentials, DEI, and wellbeing.” Id. at 5-6.

                                                            In May 2021, Carnival Cruise Line launched a Culture Essentials Spotlight on “Speak
                                                             Up” through an employee town hall and Vice Presidents meeting. Leaders also
                                                             hosted meetings with Vice Presidents and Directors highlighting Culture Essentials.
                                                             Vice Presidents were provided with talking points to cascade to their teams and were
                                                             asked “to routinely recognize employee/team members displaying Culture
                                                             Essentials.” See HR Monthly Culture Reports at 2.

                                                            The President of Costa “is holding monthly Shoreside Townhall and [ship visits],
                                                             highlighting Culture Essentials [and] expected behavior[s] and actions to improve
                                                             [DEI].” See id. at 15. Leaders are also continuing to hold townhall meetings ship and
                                                             shore, as well as broadcasting videos emphasizing Culture Essentials. See Leadership
                                                             Updates Feedback at 3.

Promoting Team           Activities developed by each      Activities vary by Brand but have generally included: free internet to communicate
Wellness                  Brand to promote crew              with friends and family; free mental health counseling resources; training for
                          member wellness aboard ships       shipboard leadership on warning signs for mental health issues; moving crew to guest
                          during the pause.                  cabins to be more comfortable; and outdoor activities for crew, such as games and




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     Initiative                  Description                                                  Status and Updates

                                                                movie screenings. See Employee Interview/Call Notes; Leadership Updates
                                                                Feedback at 2-9.

                                                               Holland America Line has also established a new “Life Onboard Committee” to
                                                                identify “opportunities to improve team members’ onboard life” after restart in areas
                                                                such as: “communal/recreational area design and operation, food and beverage
                                                                service and selections, access to guest areas and services, onboard benefits and perks,
                                                                special events, both on board and on shore, and communication with loved ones at
                                                                home.” See Leadership Updates Feedback at 9.

Trainings                 New or modified trainings to        The Company has revised trainings on “Code of Business Conduct and Ethics,”
                           reflect Culture Essentials and       “Handling Team Members’ Concerns,” and environmental awareness (e.g., TRG
                           core values.                         2302, 2308, 2307, and 2309). See Pause Priorities Plan at 26-28.

                                                               The Brands are continuing to develop or update a range of other trainings to reflect
                                                                the Culture Essentials. See id. at PCL_ECP002251544-45. For example, Holland
                                                                America Group deployed a computer-based training on personal accountability in
                                                                May 2021. See HR Monthly Culture Reports at 82.




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                                       APPENDIX C: BRAND DEI INITIATIVE HIGHLIGHTS

  Category                                                                Description

Conferences               Carnival Cruise Line intends to establish annual conferences on DEI and culture topics. See Leadership Updates
                           Feedback at 3.

DEI Goals                 Most Brands have either not set or have not determined whether they will set affirmative DEI targets or goals. See
and Targets                Employee Interview/Call Notes.

                          Costa Group has set a target to increase the share of female deck and engine crew members by 25% by the end of
                           2022. It has also set a goal to increase the share of non-European Union deck and engine crew members by 20% by
                           the end of 2022. See Diversity, Equity and Inclusion for Deck & Engine Workforce.

Employee                  Holland America Group conducted a “ship and shore engagement survey” in spring 2021 to solicit feedback on DEI
Surveys                    issues. See Leadership Updates Feedback at 8. A steering committee with representatives from different departments
                           was created to determine follow-up actions based on the survey results. One follow-up action is to implement a
                           “Performance Partnership” strategy to standardize performance evaluation templates, while integrating DEI and other
                           Culture Essentials attributes. See Employee Interview/Call Notes; see also supra, App. B.

Global                    Carnival Cruise Line has provided training and marketing materials to its Global Talent Partners on culture and DEI.
Talent                     It also requires its Global Talent Partners to create culture plans and to take DEI training that matches the training
Partner                    Carnival Cruise Line provides to its internal hiring managers. See Culture Essentials Crew Partners (Apr. 14, 2021).
Outreach

Inclusion                 Carnival UK initiatives include: a National Inclusion Week; Fleet Pride activities; and a “Belonging and Inclusion”
Initiatives                training program. See Belonging and Inclusion: Be Curious, Be You, Belong!

                          Carnival Cruise Line initiatives include: shipboard #MeToo presentations; facilitated conversations between
                           shipboard and shoreside leaders on opportunities and barriers to greater inclusion, equity, and accountability, with
                           action plans to follow; and small group discussions with senior shipboard officers on DEI and culture issues. See
                           Leadership Updates Feedback at 2-3.

Management                Holland America Group is looking to hire a Senior Manager of Culture and DEI. See Employee Interview/Call Notes.
Hires




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 Category                                                                 Description

Maternity                 Carnival UK’s maternity return policy extends the right for women to return to their position for up to five years. See
Return                     Employee Interview/Call Notes.
Policies

Model Ships               Carnival Cruise Line intends to identify “DEI/Culture model ships” and create “an actionable plan to convert all ships
                           to DEI/Culture model ships.” See Leadership Updates Feedback at 3.

Recruiting                Costa Group and Carnival Cruise Line have launched cadet programs to recruit deck and technical officers from non-
                           traditional countries outside of Western Europe, as discussed above. See supra, Part III.C.2.

                          Carnival UK and Costa Group conducted a “gender balancing” review of their recruiting documents to remove gender
                           specific words. See Employee Interview/Call Notes.

                          Holland America Group’s Talent Acquisition department “is actively recruiting for several Deck and Technical
                           positions and targeting female and non-traditional nationality candidates.” See Leadership Updates Feedback at 8.

Training                  Carnival Cruise Line conducted a training for its internal recruiters on mitigating unconscious bias. See A Guide to
                           Conducting Behavioral Interviews with Early Career Job Candidates, PCL_ECP00219213; see also DEI Hiring For
                           Managers Training (accessible via Company intranet).




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                                            APPENDIX D: IT AND DATA INITIATIVE HIGHLIGHTS

    Initiative                              Description                                                     Status and Updates
CADIS                   The “Competency and Development Information                 This tool is being used to develop competencies for competency
                         System,” a subsystem of the GLADIS learning                  frameworks and Professional Development Records. See Employee
                         management system.                                           Interview/Call Notes.
CrewTube                A smart phone app designed to help new crew                 CrewTube has been updated with the latest COVID-19 and cyber
                         members become familiarized with HESS content                training. See 2021 Best Practices Workshop Notes at
                         before they arrive aboard.                                   PCL_ECP00217338.
                                                                                     CrewTube “Phase 2” is slated for deployment in mid-2021. In Phase
                                                                                      2, CrewTube will link to GLADIS and contain rank- and ship- specific
                                                                                      information, such as “how-to” training videos. See HESS Committee
                                                                                      Meeting Presentation (Nov. 19, 2020), PCL_ECP00210894 -931 at
                                                                                      PCL_ECP00210929.
Data Virtualization     An effort to harmonize incompatible data from               The Company has selected software vendors to support this effort.
                         multiple sources in use across the Company to help           The timeline remains in progress. See Employee Interview/Call
                         enable more sophisticated, corporate-wide data               Notes.
                         analytics.
Drill App               An offline, tablet-based app to assess specific             The app is currently in pilot with Holland America Group and
                         competencies via drills. It can be used by individuals       Carnival UK. See 2021 Best Practices Workshop Notes at
                         or teams.                                                    PCL_ECP0-0217338.
GLADIS                  The “Global Learning and Development Information            GLADIS was rolled out to all Company ships in 2019. Some Brands
                         System,” a corporate-wide Learning Management                also use GLADIS for shoreside training. See CAM Third Annual
                         System that hosts computer-based trainings, among            Report at 134.
                         other functions.                                            A new functionality was recently launched to allow some aspects of
                                                                                      instructor-led trainings to be managed in GLADIS (such as who
                                                                                      attended, who the instructor was, and what the contents were). See
                                                                                      Employee Interview/Call Notes.


Global HESS             The Company’s corporate-wide electronic HESS                As part of a modernization effort, the current Global HESS software
                         management system. Global HESS contains, among               platform (Domino) is being retired. The Company has not yet selected
                         other things: the Company’s HESS policies,                   a replacement platform. Once selected, the Company anticipates a
                         procedures; newsletters; case studies; compliance            conversion to take approximately 12 to 18 months. In the meantime,
                         notices; videos; internal and external audit reports;        the Company has decided to extend the use of the current Domino
                         investigation reports; and CAM and TPA reports.              platform for two more years. See Employee Interview/Call Notes.

                                                                                     Recent improvements to Global HESS include:


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     Initiative                              Description                                                  Status and Updates
                                                                                        o   An improved process for tracking and responding to
                                                                                            employee-submitted suggestions for revisions to Global
                                                                                            HESS procedures, including the creation of a dashboard for
                                                                                            tracking procedure revision suggestions. See Maritime
                                                                                            Operations Monthly Dashboard, April 2020 (May 14, 2021),
                                                                                            PCL_ECP00217609.

                                                                                        o   A rank-specific user interface dashboard to enable users to
                                                                                            view information relevant to their specific job responsibilities
                                                                                            more easily. See CAM January 2021 Quarterly Report at 84.

                                                                                        o   Simplified environmental procedures to increase readability
                                                                                            and usability. See id.

Investigation Case       A case management system used by the Incident            The platform was launched in early 2021. All current investigations
Management                Analysis Group to track and trend data related to         have been input into the system. Efforts are underway to input past
System                    investigations.                                           investigations so that data can be trended. See Employee
                                                                                    Interview/Call Notes.
MAST                     The “Marine Assets Strategy Transformation”              As discussed above, this effort remains under development. The
                          initiative, which is an effort to adopt a single,         Company recently dedicated additional resources to speed up the
                          corporate-wide planned maintenance and spare parts        timeline. See supra, Part VI.C.4.
                          management (including procurement and logistics)
                          system.
Neptune                  A proprietary software platform that the Company         Various modules and functionalities related to environmental
                          developed prior to the ECP, which collects raw data       compliance are being developed and/or rolled out, although some
                          from ships in real time and utilizes individual           efforts were paused due to COVID-19. Most efforts in the first quarter
                          modules for data analytics across a wide range of         of Fiscal Year 2021 were related to remediating cybersecurity
                          areas, including engine performance and Exhaust Gas       incidents. See Employee Interview/Call Notes.
                          Cleaning System usage.                                   Recent updates include:
                                                                                        o Modules related to electronic seals have been completed and
                                                                                             are ready for roll out.

                                                                                        o   A module for electronic forms and checklists is under
                                                                                            development.

SeaEvent                 A corporate-wide incident and near miss reporting        SeaEvent was rolled out to all Company ships in 2019.
                          and case management system.

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    Initiative                              Description                                                      Status and Updates
                                                                                     Some releases and upgrades scheduled for 2020 were not implemented
                                                                                      due to COVID-19. As of the first quarter of Fiscal Year 2021, those
                                                                                      upgrades have not yet been rescheduled. However, the Company
                                                                                      recently approved a list of SeaEvent enhancements that will be
                                                                                      requested as part of the next version that is schedule to roll out at the
                                                                                      end of 2021. Examples include a functionality to allow for identifying
                                                                                      vendor-related discharge incidents and near misses, as well as
                                                                                      enhancements to provide ships with access to historical information
                                                                                      about an incident. See Employee Interview/Call Notes; SeaEvent
                                                                                      v1.10 Enhancements List (June 2021).
Training                An app to scan crew ID cards to record attendance at        According to the Company, the attendance app was developed in
Attendance App           shipboard instructor-led trainings. It would link data       February 2020. However, operational constraints made it challenging
                         to and from GLADIS to help automate the recording,           to conduct a full shipboard trial. While the proof of concept is ready
                         reporting, and tracking of training attendance.              to test, the app has not yet been rolled out for shipboard use. See
                                                                                      Employee Interview/Call Notes.
Voyage Planning         Software designed to help simplify and automate the         As discussed above, the software remains in the testing and
Software                 voyage planning and execution process.                       development phase. See supra, Part VI.C.4.




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                          APPENDIX E: IMPLEMENTATION OF INVESTIGATION REVIEW RECOMMENDATIONS

                         Recommendation                                                                      Status
Limit and Define Distribution of Draft Reports and          The CAM understands that the revised HMP 1302 procedure, which is expected to be
Comments                                                    published in Global HESS by the end of July 2021, will contain an updated distribution list.
                                                            See Employee Interview/Call Notes.
Conduct a Bi-annual Review of Global Issues                 The Incident Analysis Group intends to use the quarterly HESS Lesson Learned meetings to
                                                            review identified potential systemic issues. See Employee Interview/Call Notes.
Designate Subject Matter Experts to Review Investigation    A list of designated subject matter experts has been created. It is expected to be published
Reports                                                     in Global HESS by the end of July 2021. See Employee Interview/Call Notes.
Reinforce a Constructive Tone at the Top                    According to the Head of the Incident Analysis Group, the Culture Essential program is the
                                                            primary avenue to reinforce constructive tone at the top. See Employee Interview/Call
                                                            Notes; see also supra, Part IV.B.3, App. B.
Clarify the Definition of Root Cause                        The revised Investigation Manual defines root cause as the “fundamental reason or reasons
                                                            for the occurrence of an event in order of priority, if priority can be established.”
                                                            Investigation Manual at 73.
Expand the Incident Analysis Group Investigator Ranks       The Incident Analysis Group is in the process of recruiting additional investigators,
with Former Federal Agents and a Mix of Investigative       including at least one with a classic investigations background. The Incident Analysis
Backgrounds                                                 Group is also seeking to hire more diverse investigators that better reflect the diversity of the
                                                            shipboard personnel. They are using an international recruitment firm to assist in effort.
                                                            See Employee Interview/Call Notes.
Provide Classic Investigative Training for Incident         The Company engaged an outside consultant to provide a series of training sessions on
Analysis Group Investigators                                classic investigative techniques. The Incident Analysis Group investigators have completed
                                                            the training and have the option to request additional sessions. All new hires will also
                                                            receive the training. See Employee Interview/Call Notes.
Create a Single Investigative Guidelines Manual             The Company published a revised Investigation Manual for Level 3 (Incident Analysis
                                                            Group-led) investigations on July 1, 2021. The Company intends to create separate manuals
                                                            for Level 1 (ship-led) and Level 2 (Brand-led) investigations. See Employee Interview/Call
                                                            Notes.
Address Broader Systemic or Fleetwide Issues in Separate    The CAM understands that the HMP 1303 procedure is being revised to address this issue.
Incident Analysis Group Reviews                             The revised procedure is expected to be published in Global HESS by the end of July 2021.
                                                            See Employee Interview/Call Notes.
Designate Brand and Ship Personnel to Assist in             The CAM understands that the Incident Analysis Group Director of Training has instructed
Investigations                                              the Brands to create these lists, in parallel to the development of Level 1 and Level 2
                                                            investigation training. See Employee Interview/Call Notes.
Place Oversight Over Corrective Actions with the Ethics &   The CAM understands that this may be addressed in the revised HMP 1302 procedure. See
Compliance Program                                          Employee Interview/Call Notes.



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Designate the Incident Analysis Group as the Default        The HMP 1302 procedure was revised in November 2020 to clarify that the Incident
Investigative Body for All Environmental Issues             Analysis Group is the default investigative body for all environmental Hotline Reports (but
                                                            not all environmental issues). See HMP 1302-A Internal HESS Incident Analysis Matrix.
                                  Additional Investigation Improvement Plan Efforts Beyond Review Recommendations
Carry Out Continuous Improvement Workshops Every            The Incident Analysis Group has been holding continuous improvement workshops every
Two Months                                                  two months since the beginning of 2021. See Employee Interview/Call Notes.
Explore the Option of Having the Incident Analysis Group    The CAM understands that this effort has not started yet. See Employee Interview/Call
Investigation Process Externally Certified to an ISO-9001   Notes.
Quality Management System Standard
Hold Consultation Exercises with One Ship from Each         The CAM understands that these consultation exercises are underway. See Employee
Operating Group to Solicit Input on Methods of              Interview/Call Notes.
Disseminating Lessons Learned
Develop Incident Analysis Group Report Writing              Completed.
Procedures
Develop a Training Matrix for Incident Analysis Group       Completed.
Investigators
Develop a Standard Investigation Report Template            Completed.
Provide Investigation Report Writing Training to the        Completed.
Incident Analysis Group Team
Consult with Brands and CSMART on Feasibility of            The CAM understands that the Incident Analysis Group Director of Training is developing
Expanding Investigation Training to Select Ship and Shore   training for Level 1 (ship-led) and Level 2 (Brand-led) investigations. See Employee
Personnel Responsible for Carrying out HESS                 Interview/Call Notes.
Investigations




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